Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 1 of 177   PageID 9




                       EXHIBIT A
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 2 of 177   PageID 10
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 3 of 177   PageID 11
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 4 of 177   PageID 12
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 5 of 177   PageID 13
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 6 of 177   PageID 14
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 7 of 177   PageID 15
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 8 of 177   PageID 16
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 9 of 177   PageID 17
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 10 of 177   PageID 18
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 11 of 177   PageID 19
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 12 of 177   PageID 20
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 13 of 177   PageID 21
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 14 of 177   PageID 22
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 15 of 177   PageID 23
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 16 of 177   PageID 24
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 17 of 177                                  PageID 25

                                                                                                        Opy
  MARY RINGOLD,                                              )
                                                             )
              Plaintiff,                                     )
                                                             )
  v.                                                                Case No. CH-1l-1708
                                                             )
                                                             )
  BANK OF AMERICA HOME LOANS;
                                                             )
  BAC HOME LOAN SERVICING, L.P.;
                                                             )
  NATIONWIDE TRUSTEE SERVICES,
                                                             )
  INC.; and WILSON & ASSOCIATES, PLLC
                                                             )
                                                             )
              Defendants.


           MOTION TO DISMISS BY DEFENDANT BANK OF AMERICA, N.A. AND
            DEFENDANT IDENTIFIED AS BANK OF AMERICA HOME LOANS

           Defendant Bank of America, N.A., as successor by merger to Ban of America Home

  Loans Servicing, L.P. and as defendant identified as Ban of America Home Loans,1 ("BANA"),

  by and through counsel, hereby respectfully moves the Court for an Order dismissing Mary

  Ringold's ("Plaintiff') Complaint pursuant to Tenn. R. Civ. P. 8.01 for failing to provide a short

  and plain statement of the claim and failing to show that Plaintiff is entitled to any relief; and

  Rule 12.02(6) for failing to state a claim upon which relief may be granted. Plaintifts claims

  against Defendant for breach of contract, inducing a breach of contract, violation of the covenant

  of good faith and fair dealing, promissory fraud, negligent and intentional misrepresentation,


  violation of the Tennessee Consumer Protection Act, and injunctive relief fail as a matter of law,

  and this Complaint should be dismissed in its entirety.

           In further support, Defendant relies upon its concurrently filed memorandum of law.


           Plaintiff filed suit naming "Bank of America Home Loans" as a defendant. There is no known legal entity
  named "Bank of America Home Loans" ("BACHLS"), but that was a trade name for what is now Bank of America,
  N.A ("BANA"). Furher, as of July 1,2011, BACHLS merged with and into BANA. Therefore, BANA responds
  as successor by merger to BACHLS.


  918087: 1 :NASHVILLE
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 18 of 177                    PageID 26




  This is the ~ay of December 201 1.            Respectfully submitted,




                                                D&t~(~22249
                                                Paul Allen England (BPR No. 26288)
                                                  STITES & HARBISON, PLLC
                                                401 Commerce  Street
                                                  Suite 800
                                                Nashvile, TN 37219-2376
                                                Telephone: (615) 244-5200

                                                  Counsel for Defendant Bank of America, NA. and
                                                Defendant identifed as Bank of America Home
                                                Loans




                                   CERTIFICATE OF SERVICE

           I hereby certify that a copy of th¿ foregoing document was served by United States First
  Class Mail, postage prepaid, on this ~ day of December 201 1 upon:

           E.A. Nichols                              E.A. Nichols
           The Law Offices ofE.A. Nichols, P.C.      198 S. Reese Avenue
           8121 Walnut Run Road                      Memphis, TN 381 1 1
           Cordova, TN 38018

           Counsel for Plaintif




                                               p6c~d~

  918087: 1 :NASHVILLE                             2
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 19 of 177                                            PageID 27



                    IN THE CHANCERY COURT OF SHELBY COUNTY, T
                           THIRTIETH JUDICIAL DISTRICT AT MEMP

  MARY RINGOLD,                                                                    )
                                                                                   )
                 Plaintiff,                                                        )
                                                                                   )
  v.                                                                                   Case No. CH-1l-1708
                                                                                   )
                                                                                   )
  BANK OF AMERICA HOME LOANS;
                                                                                   )
  BAC HOME LOAN SERVICING, L.P.;
                                                                                   )
  NATIONWIDE TRUSTEE SERVICES,
                                                                                   )
  INC.; and WILSON & ASSOCIATES, PLLC
                                                                                   )
                                                                                   )
                  Defendants.


  MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS BY DEFENDANT
  BANK OF AMERICA, N.A. AND DEFENDANT IDENTIFIED AS BANK OF AMERICA
                             HOME LOANS

              Defendant Ban of America, N.A., as successor by merger to Ban of America Home

  Loans Servicing, L.P. and as defendant identified as Ban of America Home Loans,1 ("BANA"),

  by and through counsel, respectfully moves the Court to dismiss Plaintiff s Complaint pursuant

  to Tenn. R. Civ. P. 8.01 for failing to provide a short and plain statement of                      the claim and failing

  to show that Plaintiff is entitled to any relief; and Rule 12.02(6) for failing to state a claim upon

  which relief may be granted. In support thereof, Defendant BANA provides the following


  memorandum of points and authorities.

                                                               INTRODUCTION

              Plaintiff s Complaint is comprised of poorly organized generalizations, broad

  speculation, and legal conclusions lacking any pertinent facts, the sum of which does not support

  any cognizable causes of action against Defendant BANA. Essentially, Plaintifts Complaint is a


           Plaintiff filed suit naming "Bank of America Home Loans" as a defendant. There is no known legal entity
  named "Bank of America Home Loans" ("BACHLS"), but that was a trade name for what is now Bank of America,
  N.A. ("BANA"). Furher, as of July 1, 2011, BACHLS merged with and into BANA. Therefore, BANA responds
  as successor by merger to BACHLS.

                                                                               1
  918098: I:NASHVILLE
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 20 of 177                         PageID 28



  clear attempt to stall a pending foreclosure sale, scheduled for the day after this lawsuit was filed,

  by throwing any possible theories for why foreclosure should not take place against the wall to

  see what sticks, without regard for relevant facts or law.

          Setting aside the confusing nature of Plaintiffs disjointed Complaint, the limited claims

  and theories in the Complaint that are actually discernible fail as a matter of law for a variety of

  reasons. First, based on this meager aray of facts, Plaintiff alleges a violation of the Tennessee

  Consumer Protection Act ("TCP A") but fails to cite any specific facts in support of such

  assertions. Second, Plaintifts claims for breach of contract, "inducing a breach of contract," and


  violation of the covenant of good faith and fair dealing neglects to specify the nature of the

  breach and how the alleged breach caused damages. Further, Plaintiff does not attach the

  contract at issue, and, thereby, fails to comply with the Tennessee Rules of Civil Procedure.

  Third, Plaintiff generally avers without any support that Defendant's loan modification process is

  fraudulent and misleading, and pleads that Defendant made material misrepresentations to

  Plaintiff, but fails to satisfy the elements for fraud and fails to meet the heightened pleading

  requirement of Tennessee Rule of Civil Procedure 9.02. Lastly, Plaintiff fails to comply with

  Rule 65 ofthe Tennessee Rules of Civil Procedure and is clearly not entitled to injunctive relief.

          Out of an abundance of caution, Defendant attempts to address all recognizable claims

  that can be deciphered from Plaintiff s "shotgun" Complaint. In sum, Plaintiff has fallen far

  short of the necessar standard to properly set forth a claim against Defendant - with the result

  being that Plaintiff s Complaint canot surive a motion to dismiss.




  918098:I:NASHVILLE


                                                    2
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 21 of 177                                    PageID 29



                                           FACTUAL BACKGROUND2

             The Complaint and foreclosure relate to a parcel of residential property located at 9245

  Arcadia Place, Cordova, Tennessee 38018 (the "Property"). (Compl. ~~ 1,5,8.) The gravamen

  of Plaintiff s Complaint appears to concern the creation of an escrow account to pay taxes and

  insurance for the Property, and Plaintiffs inability to secure a loan modification prior to the


  foreclosure of     her home. (See generally Compl.)

             Plaintiff alleges that she financed her home with an Adjustable Rate Mortgage ("ARM")

  through "Ban of America.,,3 (Compl. ~ 9.) Based on the allegations, it appears that Plaintiff

  was not required to escrow her taxes and insurance at origination. (Compl. ~ 13.) After owning

  the Property for approximately five (5) years, Plaintiffs ARM increased her monthly mortgage

  payment. (Compl. ~ 9.)

             Subsequently, in early 2010, Plaintiff alleges that she sought a loan modification and

  began working with the Neighborhood Assistance Corporation Association ("NACA"). (Compl.

  ~ 10.) Plaintiff fuher alleges that NACA initially requested that an escrow account be created


  and set up for propert insurance and taxes. (Compl. ~ 10.) Plaintiff insists that NACA, acting

  on her behalf, made several attempts to "begin" the application process for a loan modification,

  but "Bank of America" was unresponsive. (Compl. ~~ 10-11.)

             Plaintiff confsingly maintains that Defendant breached Section 3 of the Deed of Trust

  by improperly creating an escrow account, even though Plaintiff admits that NACA requested it

  on her behalf. (Compl. ~~ 10-1 1, 13.) Plaintiff fails to attach any relevant documentation to her




             The allegations in the Complaint are treated as true for the puroses ofthis motion only.
             Plaintiff incorrectly states that the Propert was financed through "Bank of America." There is no known
  legal entity named Ban of America. BANA assumes that Plaintiff meant to make this assertion against it.
  918098: I:NASHVILLE


                                                             3
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 22 of 177                                    PageID 30



  Complaint in violation of        Tenn. R. Civ. P. 10.03.4 On March 8, 2011, Plaintiff           admits that she

  received a notice of the right to foreclose from Defendant Nationwide Trustee Services, Inc.

  (Compl. ~ 14.) Plaintiff does not allege that she is curent on her obligations to Defendant. (See

  generally Compl.)

             Plaintiff s Complaint then appears to assert a laundry list of purorted wrongful conduct

  with respect to Plaintiffs mortgage, the denial of her modification and subsequent foreclosure,


  none of which contain factual support.5 Specifically, Paragraph 19 of Plaintiffs Complaint

  concludes that Defendant continues to be "deficient" by: (a) falsifying a notary's signature on

  the assignment of Plaintiffs Deed of Trust and Promissory Note, (b) failing to provide proper

  notice of the foreclosure as required by HAP;6 (c) failing to provide to Plaintiff a certified

  letter stating that "all possibilities for modifications had been exhausted," and that she did not

  qualify for any home modification programs; (d) failing to provide alternative home modification

  programs to Plaintiff; (e) intentionally setting up the Plaintiff "such that the costs, the fees, and

  the deficit accrued on the mortgage account" allowing Defendant to foreclose; (e) increasing

  Plaintiffs interest rate from "5.7.5%" to 10.5%; (f) failing to provide information which shows

  the "status on the loan with Defendants"; and (g) stating an incorrect outstanding balance.

                Although Plaintiff filed this Complaint against multiple defendants, her allegations do

  not distinguish among the alleged wrongdoers, and Defendant is forced to speculate as to which



  4
             Tenn. R. Civ. P. 10.03 requires a written instrument to be attached to the pleading when the claims are
  founded on it.
  5 The Complaint is notable for its omission of critical information. The Complaint served on Defendant is
 incomplete, and specifically appears to omit pages 4 and 15-18. Defendant's counsel has attempted to contact
 Plaintifts counsel regarding this matter but, as of the date of this filing, has been unsuccessfuL. In a good faith
 effort, and out of an abundance of caution, Defendant's counsel contacted the Shelby County Cour Clerk's Offce
 and requested a copy of the Complaint filed with the Cour, which, upon review, also appears to omit pages 15-18.
 As such, Defendant has not been afforded the opportnity to specifically address any allegations contained therein.
  6 Paragraphs 19(b) and 19(c) ofPlaintifts Complaint are duplicative.

 918098: I:NASHVILLE


                                                                    4
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 23 of 177                       PageID 31



  claims are asserted against it and which are meant to be asserted against Nationwide Trustee

  Services, Inc.' or Wilson & Associates, PLLC.

          In sun, Plaintiff alleges seven "Counts" purporting to assert causes of action under


  Tennessee law. First, Plaintiff alleges Defendant violated the TCP A by failing to modify

  Plaintiff s loan, falsifying a notary's signature on the assignment of Plaintift s Deed of Trust and

  Promissory Note, improperly creating an escrow account, and fraudulently executing a

  substitution of trustee document. (Compl. ~~ 21-22.) This claim does not site specific facts to

  support such assertions. Second, repeatedly and without explanation, Defendant is accused of

  violating "Section 3" of the Deed of Trust. However, Plaintiffs breach of contract claim

  neglects to specify the nature of the breach and how the alleged breach caused damages other

  than to baldly assert that Defendant erroneously initiated an escrow account. (Compl. ~~ 10-13.)

  Plaintiff next alleges that Defendant induced a breach of contract and violated the covenant of

  good faith and fair dealing by improperly creating an escrow account. (Compl. ~~ 30,,36.)

  Plaintiff also contends that Defendant engaged in negligent and intentional misrepresentations,

  and promissory fraud, stating, for example, that it would assist her in obtaining a loan

  modification. (Compl. ~~ 19,21-22,42,48.)


          On these sparse facts, "Plaintiffs" ask the Court to enjoin "Defendants" from proceeding

  with the foreclosure sale. (Compl. ~ 55.) However, all of these claims must be dismissed as

  Plaintiff fails to give Defendant notice of a plausible claim pursuant to Rule 8 and fails to state

  any cognizable cause of action against Defendant.

                                     STANDARD OF REVIEW

          Rule 12.02(6) of the Tennessee Rules of Civil Procedure provides for the dismissal of a

  complaint when it fails to state a claim upon which relief may be granted. Webb v. Nashvile

  918098:I:NASHVILLE


                                                   5
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 24 of 177                               PageID 32



  Area Habitat for Humanity, Inc., 2011 Tenn. LEXIS 623 at *6 (Tenn. July 21, 2011) (copy

  attached);7 see also Lanier v. Rains, 229 S.W.3d 656, 660 (Tenn. 2007). In order to surive a

  motion to dismiss under Rule 12.02(6), a complaint must contain a statement of the facts

  showing that the plaintiff is entitled to relief. Webb, 2011 Tenn. LEXIS, at *5.

             A motion to dismiss should be granted "when it appears that the plaintiff can prove no set

  of facts in support of the claim that would entitle the plaintiff to relief." Webb, 2011 Tenn.

  LEXIS, at *8 (quoting Crews v. Buckman Labs. Intl, Inc., 78 S.W.3d 852, 857 (Tenn. 2002)).

  "To be sufficient and survive a motion to dismiss, a complaint must not be entirely devoid of

  factual allegations. Tennessee cours have long interpreted Tennessee Rule of Civil Procedure

  8.01 to require a plaintiff to state the facts upon which a claim for relief is founded." Webb,

  2011 Tenn. LEXIS, at *9-10 (citations and quotations omitted).

              A motion to dismiss a complaint for failure to state a claim filed pursuant to Tenn. R.

  Civ. P. 12.02(6) "admits the truth of all of          the relevant and material allegations contained in the

  complaint, but it asserts that the allegations fail to establish a cause of action." Webb, 2011

  Tenn. LEXIS, at *7. (citations omitted). A cour wil accept as true all factual allegations in the

  complaint. ¡d.


             Plaintiff s Complaint must be dismissed in its entirety because Plaintiff has failed to state

  any claim on which relief can be granted.

                                                 LEGAL ARGUMENT

             Plaintiff s Complaint fails to state a claim because it is filled with labels and conclusions

  and it is merely a formulaic recitation of the elements of several causes of action with


  insufficient factual, specific allegations. As such, Defendant cannot reasonably formulate a

  7
             All unpublished cases are attached hereto as collective Exhibit A.
  918098: I:NASHVILLE


                                                             6
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 25 of 177                            PageID 33



  response to the pleading, and Plaintiffs Complaint should be dismissed with prejudice. In

  addition, each individual legal theory cited by Plaintiff is clearly erroneous or improperly pled

  and each is subject to dismissal as a matter of law for failure to state a cognizable claim.

  I. PLAINTIFF'S COMPLAINT FAILS TO MEET PLEADING STANDARDS
              UNDER RULES 8.01 AND 12.02(6).

              In sum, Plaintiffs Complaint consists of seven allegations containing bald legal

  conclusions and lacking any factual support whatsoever that could raise Plaintiff s right to relief

  above a speculative leveL. As a result, the Complaint must be dismissed with prejudice under

  Rule 12.02(6) and Rule 8.01 because Plaintiff fails to provide notice to BANA as to the claims

  alleged.

              A. The Plaintiffs Complaint is a "Shotgun Style" Pleading Warranting
                          Outright DismissaL.


             Plaintiff s Complaint is comprised almost exclusively of irrelevant factual allegations and

  legal conclusions that do not identify any activity to form a basis for Plaintiffs claims. As a

  result, it is an impermissible "shotgun" pleading that must be dismissed.

             The defining characteristic of a shotgun complaint is that it fails "to identify claims with

  sufficient clarity to enable the defendant to frame a responsive pleading." Beckwith v. Bellsouth

  Telecomms., Inc., 145 Fed. App. 368, 371 (lIth Cir. 2005). Each count of        the shotgun complaint

  "incorporates by reference all prior allegations in the Complaint, leaving the final count an

  amalgamation of everything in the complaint." Cobb v. Regions Bank, 2010 U.S. LEXIS 49544,

  at *6 (W.D. Tenn. May 19, 2010) (copy attached) (internal quotations omitted); see also

  Strategic Income Fund v. Spear, Leeds & Kellogg, 305 F.3d 1293, 1295 n.9 (lIth Cir. 2002)

  (describing a shotgun complaint as one that "contains several counts, each one incorporating by

  reference the allegations of its predecessors, leading to a situation where most of the counts '"

  918098: I:NASHVILLE


                                                                             7
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 26 of 177                      PageID 34



  contain irrelevant factual allegations and legal conclusions"). Such complaints "wreak havoc on

  the judicial system because of the resources that opposing parties and the court must waste to

  decipher them." Cobb, 2010 U.S. LEXIS 49544, at *6.

          The shotgun complaint or answer, filed in the hope that discovery will produce the

 justification for it, is improper. Bonner v. Bilen, No. E2005-01901-COA-R3-CV, 2007 Tenn.

  App. LEXIS 674, at *13 (Tenn. Ct. App. 2007) (copy attached). Shotgun complaints may be

  suicidal, inflicting Rule 11 sanctions. Guthrie v. Hunter Marine Transp., No. 3-86-0902, 1987

  U.S. Dist. Lexis 11858, at *22 (M.D. Tenn. Dec. 15,1987) (copy attached).

          Plaintiffs Complaint lacks facts and simply spouts legal theories without any support.


  Plaintiff hurls around random, conclusory allegations, without any attempt to include the

  elements of a single legally-cognizable claim. (See generally Compl.) Any substantive

  allegations that the Complaint contains are entirely conclusory. For example, Plaintiff alleges

  the following:

          Plaintiff entered into a mortgage contract with Defendant Ban of America
          and BAC Home Loan Servicing, L.P. Defendants breached that contract by
          improperly establishing an escrow account for Plaintiff even though
          Plaintiff was not delinquent in her payments as required by the contract
          between Plaintiff and Defendants. Defendant's breach of their own
          contract is the proximate cause of Plaintift s damages. Plaintiff has
          suffered damages in an amount to be proven at triaL.

  (Compl. ~~ 24-27.) These vague generalizations are meaningless without specific facts to
  support them.


          Moreover, Plaintiff refers to "Defendants" without meaningful distinction, making it

  impossible to determine toward which entity or entities Plaintiff is directing a given allegation.

  (See generally Compl.) Therefore, the Complaint fails to put BANA on notice of any actual
  claims against it. Similarly, it is difficult to understand who is a party to the lawsuit as the
  918098:I:NASHVILLE


                                                  8
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 27 of 177                            PageID 35



  Plaintiff switches from the singular to plural and back again, using the terms "Plaintiff' and

  "Plaintiffs" interchangeably, despite the fact that she is the only named Plaintiff. (ld.) For

  example, the Complaint states, "The Plaintiffs pray that this cour enjoin the Defendants from

  proceeding with the foreclosure sale, from removing them from their home until the Court has

  the opportnity to address the facts of       this case." (Compl. ~ 55.) These errors are the rule, rather

  than the exception, to the structure and presentation of Plaintiff s Complaint.

              It is painfully obvious that Plaintiff did not even bother to proofread her Complaint. For

  example, Plaintiff alleges that "Bank of America, and all other Defendants are and continue to be

  (deficient (right word??)...." And also states that Defendants "had not intention of to cary out
  the promise." (Compl. ~~ 19, 51.) Further, Plaintiff alleges that Defendants breached "their

  duties as mentioned in paragraphs 37 and 38." (Compl. ~ 39.) However, the Complaint omits

  Paragraph 37. Therefore, Defendant has not been afforded the opportity to specifically

  address the allegations contained therein. Moreover, and as previously articulated, Plaintiff

  failed to ensure that all pages of the Complaint were attached and served on Defendant.

              Under the foregoing authority, Plaintiffs Complaint is a prohibited shotgun pleading and

  should be dismissed on ths basis as a matter of law.

              B. The Complaint Fails to State a Short, Plain Statement of Any Claim and,
                          Therefore, Fails to Provide Notice of a Claim to BANA.

              In addition to being a "shotgun pleading," Plaintiffs complaint must be dismissed


  because it fails to comply with the pleading standards set forth in Rule 8.01 and 12.02(6)


  generally. While the Complaint is short, it fails to contain any coherent fact-based statement of a

  claim against BANA and must be dismissed. In order to survive a Rule 12.02(6) motion to

  dismiss, a complaint must contain "a short and plain statement of the claim showing that the

  pleader is entitled to relief." Tenn. R. Civ. P. 8.01.
  918098: 1 :NASHVILLE


                                                        9
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 28 of 177                                PageID 36



           Rule 8.01 provides that a complaint, "shall contain: (1) a short and plain statement of       the

  claim showing that the pleader is entitled to relief; and (2) a demand for judgment for the relief

  the pleader seeks. Relief in the alternative or of several different types may be demanded." See

  also CitiFinancial Mortg. Co. v. Beasley, 2007 Tenn. App. LEXIS 20, (Tenn. Ct. App. 2007)

  (copy attached) (discussing Rule 8.01 requirements). Furher, "(mJerely reciting the elements of

  a cause of action or making conclusory statements that Plaintiff is entitled to relief or was

  hared is not enough." Western Express, Inc. v. Brentwood Servs., 2009 Tenn. App. LEXIS


  707, *29-30 (Tenn. Ct. App. 2009)(copy attached)(dismissing the complaint for insufficient

  pleadings ).

           As discussed above, Plaintiff merely makes conclusory statements such as "Defendants

  have deceived and mislead Plaintiff." (CompL. ~ 22.) See Humphries v. West End Terrace, Inc.,

  795 S.W.2d 128,132 (Tenn. Ct. App. 1990) (dismissing claim based on failure to allege specific

  facts related to the alleged fraudulent or deceptive act). What actions of Defendants constitute

  fraud is completely unclear. Defendant canot, and should not be required to, defend against

  conclusory claims that are without sufficient specificity; therefore, Plaintiffs Complaint should

  be dismissed.

      II. EACH OF PLAINTIFF'S INDIVIDUAL CLAIMS FAILS AS A MATTER OF
           LAW.

                 Although Plaintiff s Complaint should be dismissed for the above reasons alone, each

  individual legal theory contained in the Complaint is clearly erroneous or improperly pled and

  subject to dismissal as a matter of law for failure to state a cognizable claim. As listed in the

  following sections, each of Plaintiff s seven (7) "claims" fails as a matter of law.




  918098: 1 :NASHVILLE


                                                                          10
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 29 of 177                              PageID 37



              A. Plaintiff's Claim Under the TCPA Fails as a Matter of Law Because the
                          TCPA Does Not Apply to Disputes Over the Repossession of Collateral
                          Securing a Loan and Plaintiff Fails to Allege Suffcient Facts to State a Claim
                          For Violation of the TCP A.

                          1. The TCP A Does Not Apply to Disputes Over the Repossession of
                                     Collateral Securing a Loan.

              In Count I of the Complaint, Plaintiff alleges that Defendant violated the TCP A, arguing

  that Defendant's conduct was unfair and deceptive. (Compl. ~~ 21-22.) However, well settled

  Tennessee jurisprudence does not permit TCP A claims involving a dispute which arises over

  repossession of the collateral securing a loan. As set out more fully in section II.A.3, herein,

  Plaintiff improperly attempts to recast her HAMP claim as a TCP A violation, and for this reason

  alone, her TCPA claim should be dismissed. However, even assuming Plaintiffs Complaint

  could be interpreted to allege a claim under the TCP A for wrongful foreclosure, such a claim is

  also bared.

             For the TCPA to apply, "the unfair or deceptive acts must affect trade or commerce, as

  defined by the Act." Davenport v. Bates, 2006 Tenn. App. LEXIS 790 (Tenn. Ct. App. Dec. 12,

  2006) (copy attached); See also Tenn. Code Ann. § 47- 18- 103(9). "(WJhile the definition of

  'trade or commerce' contained within the Tennessee Consumer Protection Act are broad, they do

  not extend to . . . dispute(sJ which (ariseJ over repossession of        the collateral securing (aJ loan."


  Pursell v. First Am. Natl Bank, 937 S.W. 2d 838, 842 (Tenn. 1996); see also Launius v. Wells

  Fargo Bank, N.A. and Wilson and Associates, P.L.I.e., 2010 U.S. Dist. LEXIS 89234 (E.D.

  Tenn. Aug. 27, 2010) (copy attached) (quoting Schmidt v. Natl City Corp., 2008 U.S. Dist.

  LEXIS 102371,2008 WL 5248706. (E.D. Tenn. Dec. 17,2008)). "When a debtor defaults on a

  mortgage payment, and the mortgage holder forecloses upon the collateral that secured the loan

  (in this case, the Property), the TCPA does not apply." Id. at 17-18.

  918098:I:NASHVILLE


                                                                      11
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 30 of 177                          PageID 38



              Defendant's alleged wrongful conduct was clearly in the context of a dispute arising over

  foreclosure of the collateral securing the loan at issue. Plaintiff does not allege that she is current

  on her obligations to Defendant. (See generally Compl.) Consequently, Defendant initiated

  foreclosure proceedings. (Compl. ~~ 19(i), 30.) Thus, because Defendant's actions were in the

  context of a dispute over the collateral securing the Plaintiff s loan, the TCP A does not apply,

  and this claim fails as a matter oflaw. See Pursel, 937 S.W.2d at 842.

                          2. Plaintiff Fails to Allege Sufficient Facts to State a Claim for Violation of
                                      the TCPA.

              Even assuming, arguendo, Plaintiffs TCPA claims do not involve disputes which arises

  over repossession of the collateral securing a loan, Plaintiff has failed to state a claim for

  violations of the TCPA, Tenn. Code An. § 47-18-101, et seq., because Plaintiff does nothing

  more than make conclusory statements in support of          her claim. (Compl. ~~ 21-22.)


              To recover under the TCP A, a plaintiff must allege the existence of: (1) an unfair or

  deceptive act or practice, (2) that causes, (3) an ascertainable loss. Tenn. Code Ann. § 47-18-

  109(a)(1) (2011). Plaintiff must also meet the heightened pleading requirements set forth at

  Tennessee Rule of Civil Procedure 9.02, which applies to claims brought under the TCPA.

  Western Express, Inc., 2009 Tenn. App. LEXIS 707, at *29, see also Harvey v. Ford Motor

  Credit Co., 8 S.W.3d 273, 276 (Tenn. Ct. App. 1999).

             Here, Plaintiff makes the unsupported assertion that "Defendants, in course of
  advertising, soliciting, selling, promoting and their Law firm (sic J, that all acted in conjunction

  with one another, have engaged in a courses or (sic J trade or commerce which constitutes (sic J

  unfair or deceptive acts or practices, and is (sic J therefore unlawfl under the (TCP A J." (Compl.

  ~ 21.) Plaintiff further states, in an almost indecipherable maner, that these alleged "false and

  misleading" practices violated specific subsections of the TCP A because Defendants allegedly
  918098: I:NASHVILLE


                                                         12
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 31 of 177                         PageID 39



  (i) caused the likelihood of confusion or misunderstanding by failing to provide accurate and
  timely information to Plaintiff in obtaining a loan modification with BANA, (ii) caused the

  likelihood of confusion or misunderstanding by failing to provide accurate contact information

  and failing to respond to Plaintiffs request to obtain a loan modification, (iii) falsified a notary's

  signature on the assignment of Plaintiffs Deed of Trust and Promissory Note, (iv) improperly

  created an escrow account, and (v) fraudulently executed a substitution of trustee document.

  (Compl. ~ 21.)

           However, Plaintiffs allegations here fail for a number of reasons. First, it is unclear

  which parties these allegations are even aimed at. For example, the reference to Defendants

  "promoting their Law firm" is clearly out of place. Additionally, Plaintiffs claim fails to set

  forth any facts to support these vague and general allegations. For example, Plaintiff does not

  mention what inaccurate information she was provided or by whom. She does not say what

  conduct was untimely or what specific timetable should have been complied with. She does not

  say specifically when her request for a loan modification was made, how such contact was made,

  what was represented, and what inquiry was not responded to.

           With respect to Plaintiffs confused allegations concerning her escrow, she does not

  attach a copy of the Deed of Trust and Promissory Note in question. She does not state the time

  frame during which the escrow account was supposedly created. She also does not attach a copy

  of the purported falsified assignment or fraudulently executed substitution of trustee document,

  and she does not explain how or why she believes they were falsified or fraudulently executed or

  how she was harmed as a result. Furher, Plaintiff omits any explanation or details as to how

  these actions might be "unfair or deceptive" or how these actions caused Plaintiff an
  ascertainable loss.

  918098: I:NASHVILLE


                                                   13
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 32 of 177                         PageID 40



          In addition, in attempting to describe her damages, Plaintiff also fails to meet the

  heightened pleading requirement of Rule 9.02. Plaintiff alleges generally that as a result of

  Defendants' conduct, "Defendants have deceived and misled Plaintiff, and is (sic J therefore

  liable to Plaintiff for treble damages, punitive damages, and reasonable attorney's fees."

  (Compl. ~ 22.) However, Plaintiff does not allege specifically what was lost as a result of
  Defendants' actions.

          It is simply not sufficient for Plaintiff to baldly conclude that Defendant violated the

  TCPA, or make conclusory statements that Plaintiff is entitled to relief or was harmed. See

  Western Express, Inc., 2009 Tenn. App. LEXIS 707 at *29-30 (citations omitted) ("Alleging

  mere conclusions, such as the board exceeded its authority, failed to follow the applicable

  statutes, or violated the plaintiffs legal rights, is not sufficient to state a claim for which relief

  can be granted."). Therefore, Plaintiffs TCPA claims must be dismissed for failing to state a

  claim under TCP A.


                  3. Plaintiff    Fails to State a Claim for Any Violation ofHAMP.

          Although the Complaint does not explicitly state a claim for violations of the Home

  Affordable Modification Program ("HAMP"), to the extent one could glean such a claim from

  the Complaint, such a claim also fails as a matter of law because there is no private right of




  918098:I:NASHVILLE


                                                   14
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 33 of 177                                   PageID 41



  action under HAMP.8 Plaintiffs TCPA claims are strongly premised on Defendant's alleged

  failure to modify her loan. In support of her TCP A claim, Plaintiff specifically alleges that "she

  did not receive the proper notice of the foreclosure as is required by the HAMP regulations," that

  Defendant failed to provide her with notice "to the effect that all possibilities for modifications

  had been exhausted, and that "she was never advised of the federal programs for which she

  qualified...." (Compl. ~~ 19(b), 19(d), 19(e).)


           However, as one court stated, "(nJowhere in the HAMP Guidelines. . . does it expressly

  provide for a private right of action." Marks v. Bank of America, NA., et aI, 2010 U.S. Dist.

  LEXIS 61489, at *16 (D. Ariz. June 22, 2010) (copy attached). Therefore, any claim for failure




           Many jurisdictions have addressed the issue of whether there is a private right of action under HAMP and
  nearly all have come to the same conclusion that there is not. This is not an exhaustive list: see e.g. Allen v.
  Citimortgage, Inc., 2011 U.S. Dist. LEXIS 86077 (D. Md. Aug. 4, 2011); Webb v. Nashvile Area Habitat for
  Humanity, Inc., 2011 Tenn. LEXIS 623 (Tenn. July 21, 2011); Paine v. Wells Fargo Bank, NA., 2011 U.S. Dist.
  LEXIS 83016 (E.D. Va. July 12,2011); Ogbon v. Benefit Credit Servs., 2011 U.S. Dist. LEXIS 74620 (S.D.N.Y.
  July 8, 2011); Sherman v. Litton Loan Servicing, L.P., 2011 U.S. Dist. LEXIS 71756 (E.D. Va. July 1, 2011);
  Brisbin v. Aurora Loan Servs., LLC, 2011 U.S. Dist. LEXIS 46925 (D. Minn. May 2,2011); Nafso v. Wells Fargo
  Bank, NA., 2011 U.S. Dist. LEXIS 44654 (E.D. Mich. April 26, 2011); KeyBank, NA. v. Bingo, 2011 U.S. Dist.
  LEXIS 43812 (W.D. Wash. Apr. 22, 2011); Wittenberg v. First Indep. Mortg. Co., 2011 U.S. Dist. LEXIS 39310
  (N.D. W. Va. Apr. 11,2011); Bourdelais v. JP. Morgan Chase, et aI, 2011 U.S. Dist. LEXIS 35507 (E.D. Va. April
  1,2011); Sena v. Bank of Am. Home Loans, 2011 U.S. Dist. LEXIS 33959 (D. Nev. Mar. 29,2011); Cohn v. Bank of
  America, 2011 U.S. Dist. LEXIS 3076 (E.D. CaL. Jan. 12,2011); Ross v. State Farm Fire and Casualty Co., 2010
  U.S. Dist. LEXIS 133995 (M.D. Tenn. Dec. 17,2010); Speleos v. BAC Home Loans Servicing, LP, 755 F. Supp. 2d
  304 (D.Mass. Dec. 14,2010); Lisier v. Citibank, NA. (In re Wright), 2010 Bank. LEXIS 4393 (Bank. D. Md. Nov.
  23,2010); Zoher v. Chase Home Financing, 2010 U.S. Dist. LEXIS 109936 (S.D. Fla. Oct. 15,2010); Shirk v.
  JPMorgan Chase Bank, NA. (In re Shirk), 437 B.R. 592 (Bank. S.D. Ohio 2010); Pennington v. PNC et aI., 2010
  U.S. Dist. LEXIS 143157 (E.D.Va. Aug. 11,2010); Zeller v. Aurora Loan Servs., LLC, 2010 U.S. Dist. LEXIS
  80449 (W.D. Va. Aug. 10,2010); Hart v. Countryide Home Loans, Inc., 735 F. Supp. 2d 741, 748 (RD. Mich.
  Aug. 9, 2010); Hoffman v. Bank of Am., 2010 U.S. Dist. LEXIS 70455 (N.D. CaL. June 30, 2010); Simon v. Bank of
  America, NA., 2010 U.S. Dist. LEXIS 63480 (D. Nev. June 23,2010); Zendejas v. GMAC Wholesale Mortg. Corp.
  2010 U.S. Dist. LEXIS 59793 (RD. CaL. Jun. 16, 2010); Burtzos v. Countryide Home Loans, 2010 U.S. Dist.
  LEXIS 53509 (S.D. CaL. Jun. 1,2010); Benito v. Indymac Mortg., 2010 U.S. Dist. LEXIS 51259 (D. Nev. May 21,
  2010); Berenice Thoreau de la Salle v. America's Wholesale Lender, 2010 U.S. LEXIS 36319 (E.D. CaL. Apr. 13,
  2010); Vila v. Wells Fargo Bank, NA. 2010 U.S. Dist. LEXIS 23741 (S.D. CaL. Mar. 15,2010); Kravich v. Wells
  Fargo Home Mortgage, 2010 U.S. Dist. LEXIS 12067 (E.D. CaL. Feb. 11,2010); Gardner v. Am. Home Mortgage
  Servicing, Inc., 691 F.Supp.2d 1192 (E.D. CaL. 2010); Aleem v. Bank of Am., 2010 U.S. Dist. LEXIS 11944 (C.D.
  CaL. Feb. 9, 2010); Escobedo v. Countryide Home Loans, Inc., 2009 U.S. Dist. LEXIS 117017 (S.D. CaL. Dec. 15,
  2009); Santos v. Countryide Home Loans, 2009 U.S. Dist. LEXIS 103453 (E.D. CaL. Nov. 5, 2009); Oliver v.
  Countryide Home Loans, Inc., 2009 U.S. Dist. LEXIS 94913 (E.D. CaL. Sept. 29,2009); Ramirez v. Litton Loan
  Servicing, LP, 2009 U.S. Dist. LEXIS 52484 (D. Ariz. June 22, 2009).

                                                         15
  918098: 1 :NASHVILLE
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 34 of 177                                     PageID 42



  to modify, failure to process the application effectively, or failure to follow through on any

  promise under the HAMP program must be dismissed.

           B. Plaintiff's Contract-Based Claims Fail Because Plaintiff Fails to Attach the
                     Contract that was Allegedly Breached and They Also Fail to Allege
                     Suffcient Facts in Support of Such Claims.
                     1. Plaintiffs Contract-Based Claims Fail Because Plaintiff Does Not Attach
                              the Contract at Issue, and, Thereby, Fails to Comply with the Tennessee
                              Rules of Civil Procedure.

           By failing to attach the allegedly breached contract, Plaintiff fails to establish her claims

  for Breach of Contract, Inducing Breach of Contract, and Violation of the Covenant of Good

  Faith and Fair Dealing under Tennessee law.

           Tennessee Rule of Civil Procedure 10.03 requires that whenever a claim is founded upon

  a written instrument, a copy of that instrument shall, with certain immaterial exceptions, be


  attached to the pleading as an exhibit.9 Likewise, Local Rule 4(c) states, in pertinent par, that

  "( aJll pleadings shall conform to the requirements of Rule(J ... 10 ... TRCP, and any pleading not

  so conforming may, upon motion of attorney, or by the Cour sua sponte, be stricken from the

  docket."

           Here, Plaintiff asserts claims for Breach of Contract, Inducing Breach of Contract, and

  Violation of the Covenant of Good Faith and Fair Dealing, which are all founded upon a written

  instruent, i.e., the Deed of Trust. (CompL. ~~13, 25, 30, 36.) Yet Plaintiff fails to attach the


           Rule 10.03 ofthe Tennessee Rule of Civil Procedure states:

           Whenever a claim or defense is founded upon a written instrment other than a policy of
           insurance, a copy of such instrent or the pertinent parts thereof shall be attached to
           the pleading as an exhibit unless the instrent is (1) a matter of public record in the
           county in which the action is commenced and its location in the record is set forth in the
           pleading; (2) in the possession of the adverse part and this fact is stated in the pleading;
           (3) inaccessible to the pleader or is of such nature that attaching the instrment would be
           unnecessary or impracticable and this fact is stated in the pleading, together with the
           reason therefor. Every exhibit so attached or referred to under (1) and (2) shall be a part
           of the pleading for all purposes.

  918098: 1 :NASHVILLE


                                                            16
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 35 of 177                                       PageID 43



  Deed of Trust or even just the pertinent portions thereof to her Complaint. Moreover, Plaintiff

  makes no effort to state whether the Deed of Trust is (l) a matter in the county in which the

  action is commenced and its location in the record; (2) in Defendant's possession; or (3)

  inaccessible to her, as required by the Rule. See Constantin v. Univ. of                   Tenn. , No. 86-7-II, 1986

  Tenn. Crim. App. LEXIS 2380, at *7-8 (Tenn. Crim. App. July 9, 1986) (copy attached)

  (affirming the lower court's decision to dismiss the complaint, in part, due to plaintiffs failure to

  attach a written contract to the complaint); Bellsouth Advertising & Publishing Corp. v. Bonila,

  No. 01-A-01-9505-CH-00213, 1995 Tenn. App. 677, at *10 (M.D. Tenn. Oct. 19, 1995) (copy

  attached) (noting that failure to attach a copy of the contract to the complaint is an appropriate

  subject for a responsive pleading). Thus, Plaintiffs contract-based claims must be dismissed for

  failure to comply with Tennessee Rule of                          Civil Procedure 10.03.

                           2. Plaintiff Fails to Allege Sufficient Facts to State a Claim for Breach of
                                       Contract.

              Even assuming, arguendo, Plaintiff complied with Tennessee Rule of Civil Procedure

  10.03, Plaintiff still fails to state a claim for breach of contract. To survive a motion to dismiss, a

  plaintiff must allege all the elements of a breach of contract claim with supporting facts, namely,

  the existence of an enforceable contract, nonperformance, and damages resulting from the

  breach. Am. Nat'! Prop. & Cas. Co. v. Campbell Ins., Inc., No. 3:08-0604,2010 WL 1754358, at

  *4 (M.D. Tenn. Apr. 30, 2010) (copy attached); see also LifeMed, Inc. v. AMC-Tennessee, Inc.,

  183 S.W.3d 1,26 (Tenn. Ct. App. 2005).

             Here, Plaintiff asserts a breach of contract claim entirely on the theory that Defendant

  breached the Deed of Trust by improperly establishing an escrow account to pay taxes and

  insurance on the Property. (Compl. ~ 13.) Specifically, Plaintiff claims that "Section 3 of her

  deed of trust actually stated that if Ms. Ringold failed to pay taxes and/or insurance that the
  918098: 1 :NASHVILLE


                                                                             17
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 36 of 177                                                PageID 44



  lender would then create an escrow account and pay on her behalf; however, Ms. Ringold had

  always paid her taxes and insurance in a timely manner and was not deficient in any respect to

  payment of either." (ld.) This claim is wholly without merit and fails because Plaintiff

  conspicuously neglects to highlight the provision of the Deed of Trust that address the Lender's

  right to revoke a waiver to pay taxes and/or insurance at any time. (Compl. 13. and attached

  Exhibit B.)IO Specifically, Section 3 of the Deed of Trust, the same covenant Plaintiff claims

  Defendant breached by improperly creating an escrow account, states: "Lender may waive

  Borrower's obligation to pay to Lender Funds for any                     or all Escrow Items at any time." Section

  3 continues to state that "Lender may revoke the waiver as to any or all Escrow Items at any time

  . .. and, upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that

  are then required under this Section 3."

             As such, it is clear that Plaintiff fails to plead sufficient facts regarding, (i) exactly how

  Defendant failed to perform its contractual obligations, or (ii) how that alleged breach caused

  Plaintiff damages. Plaintiff only alleges that "Defendant Bank of America and BAC Home Loan

  Servicing" breached the contract by "improperly establishing an escrow account for Plaintiff'

  which is the "proximate cause of Plaintiffs damages," without alleging what specific provision

  was breached, how Defendant failed to perform its obligations under the Deed of Trust, or how

  these violations have damaged Plaintiff. (CompL. ~ 25.) Further, while Plaintiff vaguely alleges

  that Defendant "improperly applied fees," she fails to allege the amount of fees misapplied, how

  the fees were misapplied, when Defendant initiated the escrow account, and what damage

  resulted from such alleged violations. (CampI. ~ 30.)


  10 Documents attached to a Rule 12 motion "are considered part of
                                                                                 the pleadings if   they are referred to in the
  plaintiffs complaint and are central to the plaintifts claim." Jackson v. City a/Columbus, 194 F.3d 737,745 (6th
  Cir. 1999).
  918098:I:NASHVILLE


                                                                      18
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 37 of 177                         PageID 45



               In sum, Plaintiff must assert some facts to establish what contractual provisions are at

  issue, in which contract, and how such provisions were purportedly breached beyond general

  allegations of violating terms or misapplying fees. Because Plaintiff fails to assert such facts, her

  claim for breach of contract must be dismissed.

                      3. Plaintiff Fails to Allege Sufficient Facts to State a Claim for Inducing
                              Breach of Contract.

               Similar to her breach of contract claim, Plaintiff attempts to state a claim for the

  procurement of a breach of contract by stating that Defendant's improper creation and

  application of an escrow account and improperly applied fees caused Plaintiff to breach her

  mortgage agreement. (Compl. ~ 30.) However, Plaintiffs claim for procurement of a breach of

  contract fails because Plaintiff fails to plead sufficient facts to sustain such a claim.

              Tenn. Code An. § 47-50-109 states:

                      It is unlawful for any person, by inducement, persuasion,
                      misrepresentation, or other means, to induce or procure the
                      breach or violation, refusal or failure to perform any lawfl
                      contract by any party thereto; and, in every case where a breach
                      or violation of such contract is so procured, the person so
                      procuring or inducing the same shall be liable in treble the
                      amount of damages resulting from or incident to the breach of the
                      contract. The party injured by such breach may bring suit for the
                      breach and for such damages.

  Tenn. Code An. § 47-50-109 (2011). For a procurement of a breach of a contract action to be

  sustained: 1) there must be a legal contract; 2) the wrongdoer must have knowledge of the

  existence of the contract; 3) there must be an intention to induce its breach; 4) the wrongdoer

  must have acted maliciously; 5) there must be a breach of the contract; 6) the act complained of

  must be the proximate cause of the breach of the contract; and 7) there must have been damages

  resulting from the breach of the contract. Hanger Prosthetics & Orthotics E., Inc. v. Kitchens,

  280 S.W.3d 192,205 (Tenn. Ct. App. 2008) (citations omitted). "Malice is a necessary element
  918098: 1   NASHVILLE


                                                      19
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 38 of 177                              PageID 46



  to an action for common law and statutory inducement to breach a contract." Testerman v.

  Tragesser, 789 S.W.2d 553, 557 (Tenn. Ct. App. 1989) (citation omitted). In addition, a third-

  party must induce the breach of contract. See York v. Batson, et al., No. M2007-02418-COA-

  R3-CV, 2008 Tenn. App. LEXIS 535, at *16 (Tenn. Ct. App. 2008) (copy attached) (stating that

  "(iJn Tennessee, there is both a common law and statutory tort called wrongful inducement of

  breach of contract that allows recovery when a third par causes a breach of contract.").

             Plaintiff clearly does not plead facts to meet these elements. First, as previously

  articulated, Plaintiff   fails to clearly identify the specific contract(s) at issue or the terms that were

  purportedly breached. (Compl. ~~ 29-32.) Plaintiff merely reiterates the same poorly articulated

  facts in her breach of contract claim, baldly alleging that "Defendant Ban of America through

  its improper creation and application of an escrow account (sic J improperly applied fees (andJ

  wilfully caused Plaintiff to breach the mortgage agreement between Plaintiff and Defendant(.)"

  (Compl. ~ 30.)

             Second, Plaintiff fails to allege an intention to induce a breach of contract. Plaintiff

  merely states that Defendant "willfully caused Plaintiff to breach the mortgage agreement

  between Plaintiff and Defendant," with no supporting facts. (Compl. ~ 30.) Third, Plaintiff fails

  to ariculate an actual breach with any real specificity. Fourth, Plaintiff does not show how her

  damages related to the purported breach or even what those damages might be. Fourh,

  Plaintiffs Complaint is completely devoid of any showing of malice other than a conclusory


  statement. (Compl. ~ 30.) Lastly, Defendant was a party to the contract. Indeed, it is hard to

  conceive why Defendant BANA would maliciously procure a breach of contract by Plaintiff

  from which it benefitted.



  918098: 1 :NASHVILLE


                                                       20
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 39 of 177                                PageID 47



                 Without establishing that there was, in fact, a breach of a valid contract, Plaintiff s claim

  must faiL.

                          4. Plaintiffs Claim for Violation of the Covenant of Good Faith and Fair
                                      Dealing Fails as it is Not an Independent Basis for Relief Under
                                      Tennessee Law.

                 Count IV of Plaintiff s Complaint alleges that Defendants violated the covenant of good

  faith and fair dealing by breaching "their duty to refrain from any action which would render

  performance of the contract impossible which they breached when they improperly created and

  applied funds to an escrow account in violation of the agreement between Plaintiff and


  Defendants, and other violations to be presented at triaL." (Compl. ~ 36.)

                 However, under Tennessee law, a breach of the implied covenant of good faith and fair

  dealing is not an independent basis for relief. Weese v. Wyndham Vacations Resorts, 2009 U.S.

  Dist. LEXIS 55328, at *14 (E.D. Tenn. June 30, 2009 (copy attached); Solomon v. First Am.

  Natl Bank of          Nashvile, 774 S.W.2d 935, 945 (Tenn. Ct. App. 1989). In other words, a claim for

  a breach of        the duty of good faith and fair dealing is just "par and parcel" of a breach of contract

  claim. Weese, 2009 U.S. Dist. LEXIS 55328, at *14. Thus, if               there is no claim for a breach of

  an enforceable contact as between the paries, the good faith and fair dealing claim must fail as a

  matter of law. Id.

                 As set out more fully in section II.B.1-2, supra, Plaintiff fails to state sufficient facts to

  assert a breach of contract claim. As a result, Plaintiff s breach of the implied covenant of good

  faith and fair dealing fails as a matter of law.




  918098: 1 :NASHVILLE


                                                                21
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 40 of 177                                     PageID 48



               c. Plaintiffs Claims for Negligent Misrepresentation, Intentional
                           Misrepresentation and Promissory Fraud Fail Because Plaintiff Has Not
                           Alleged Any Facts Supporting the Alleged Misrepresentation.

              Count V and VI of Plaintiffs Complaint conclusively allege that Defendant engaged in

  material misrepresentations and "promise of future action" through allegations that it would

  assist Plaintiff in obtaining a loan modification. (Compl. ~~ 42, 51.) However, Plaintiff canot

  assert a negligent misrepresentation claim against Defendant for similar reasons because


  Defendant owes no duty outside of the contract. In addition, Plaintiff has not made

  paricularized allegations of fraud and does not even allege a valid framework for fraud.

                           1. Plaintiffs Claim For Negligent Misrepresentation Fails as a Matter of
                                       Law.

              Plaintiff     fails to set forth the elements of     negligent misrepresentation. (Compl. ~~ 41-46.)


  A claim for negligent misrepresentation is stated by showing:

                          One who, in the course of his business, profession or employment,
                          or in any other transaction in which he has a pecuniary interest,
                          supplies false information for the guidance of others in their
                          business transactions, is subject to liability for pecuniary loss
                          caused to them by their justifiable reliance upon the information, if
                          he fails to exercise reasonable care or competence in obtaining or
                          communicating the information.

  McBee v. Greer, 2010 Tenn. App. LEXIS 378, *9 (Tenn. Ct. App. June 8, 2010) (copy attached).

             As a threshold matter, it seems Plaintiff is attempting to hold Defendant liable for her

  own inability to make the loan payments that she admits she contracted to make. (Compl. ~~ 9,

  42-45.) Moreover, Plaintiff                  fails to identify any specific misrepresentations purortedly made, or

  provide any real explanation or clarification as to how any information specifically relates to

  Plaintiff s claims against Defendant. Instead, Plaintiff baldly claims that Defendant made

  "material representations" to Plaintiff in expressing to Plaintiff that Defendant would assist her

  in obtaining a loan modification. (Compl. ~ 42.) Plaintiff insists that Defendant had no intention
  9180981 :NASHVILLE


                                                                 22
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 41 of 177                             PageID 49



  of "ever allowing Plaintiff to modify her mortgage contract." (Compl. ~ 43.) These types of

  generalized statements are insufficient to support any cognizable claims upon which relief can be

  granted. Moreover, as set out more fully in section II.C.2-3, herein, Plaintiff fails to allege that

  Defendant made any promises that it would modify Plaintiffs loan. Additionally, Plaintiff has

  not alleged a plausible case that Defendant failed to adhere to any representations because the

  obligations of the parties are controlled by the written agreements. Thus, Defendant had no legal

  obligation to modify Plaintiffs loan.

             Although Plaintiff s Complaint appears to express frustration with the loan modification

  process, since Defendant never promised that it would modify Plaintiffs loan, and was under no

  obligation to do so, Plaintiffs claim for negligent misrepresentation must faiL.

                            2. Plaintiffs Claim for Intentional Misrepresentation Fails Because Plaintiff
                                   Fails to State a Representation With Particularity.

              Similarly, Plaintiff claims that Defendant made a "material representation" to Plaintiff in

  expressing to Plaintiff         that Defendant would assist her in obtaining a loan modification. (Compl.

  ~ 42.) However, Plaintiffs claim fails to allege fraud with particularity.

              The elements of intentional misrepresentation or fraud are: (1) an intentional

  misrepresentation of a material fact, (2) knowledge of the representation's falsity, (3) an injury

  caused by reasonable reliance on the representation, and (4) the requirement that the

  misrepresentation involve a past or existing fact. Mid-South Indus., Inc. v. Martin Mach. &

  Tool, Inc., 2010 Tenn. App. LEXIS 208, 19-20 (Tenn. Ct. App. Mar. 19, 2010) (citations

  omitted) (copy attached). Again, the elements of fraud must be "stated with paricularity."

  Tenn. R. Civ. P. 9.02; see also Kincaid v. SouthTrust Bank, 221 S.W.3d 32,41 (Tenn. Ct. App.

  2006). Plaintiff must "allege the time, place, and content of the alleged misrepresentation on

  which (they) . . . relied," to support a fraud claim. Coffey v. Foamex L.P., 2 F.3d 157, 161-62
  918098: I :NASHVILLE


                                                           23
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 42 of 177                            PageID 50



  (6th Cir. 1993); Us. ex reI. Bledsoe v. Cmty. Health Sys., Inc., 342 F.3d 634 (6th Cir. 2003). "A

  claim of fraud is deficient if the complaint fails to state with particularity an intentional

  misrepresentation of a material fact." Kincaid, 221 S.W.3d at 41.

              Plaintiff fails to allege any facts supporting a claim for intentional misrepresentation.


  Here, Plaintiff simply states that Defendant promised to assist her in obtaining a loan

  modification. (Compl. ~ 42.) This bald allegation falls well short of the standard set forth by

  Rule 9.02. It does not set forth the time, place, and content of        the alleged misrepresentation on

  which she relied.

              Instead, Plaintiff states, with no supporting facts regarding the time and place of the

  misrepresentation, that "Defendants knew at the time they expressed to Plaintiff that they would

  assist her they had no intention of ever allowing Plaintiff to modify her mortgage contract with

  Plaintiff." (Compl. ~ 43.) Notably, Plaintiff conveniently fails to state when Defendants


  promised they would assist her with a loan modification. In fact, Plaintiff fails to specify when

  those conversations took place, what was said during each conversation, and what specific

  misrepresentation Plaintiff relied on during those conversations to support her claim for

  intentional misrepresentation.

              Moreover, Plaintiff asserts that Defendants misrepresented that they would assist her in

  obtaining a modification. (CompL. ~ 42.) However, representations that are made as to future

  events will not suffice to make a case for fraudulent misrepresentation. Similarly,

  representations about future conduct do not qualify as actionable as fraud. DeFord v. DeFord,

  1984 Tenn. App. LEXIS 3441, at *4 (W.D. Tenn. Nov. 6, 1984) (copy attached) (noting that

  fraud requires a misrepresentation of a past or present fact and fraud, as it related to a future

  event, cannot be grounds for fraud). In order for actionable fraud to be based upon a promise of

  918098: I :NASHVILLE


                                                                     24
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 43 of 177                            PageID 51



  future conduct, it must be established that such a promise was made with the intent not to

  perform. Carter v. American Republic Inc., No. 03AOl-9102-CV-65, 1991 Tenn. App. LEXIS

  580, at *19 (Tenn. Ct. App. 1991) (copy attached). Representations relating to future

  performance are nothing more than "statements of intention" and, therefore, can never form a

  valid basis for fraud.


              Without sufficiently pleading a "promise" or "representation," Plaintiff canot show a

  reasonable reliance. These unsupported allegations canot provide the basis for their fraud

  claim. See Birmingham-Jefferson County Transit Authority v. Boatright, No. 3:09-0304, 2009

  WL 2601926, at *3 (M.D. Tenn. Aug. 20, 2009) (copy attached) (dismissing fraud claim because

  plaintiff did not provide specifics regarding the misrepresentation, nor the date, time or

  circumstance of the misrepresentation).

              In addition, the baldly stated misrepresentations asserted here are identical to the


  allegations made in support of Plaintiff s claim for negligent misrepresentation. As shown

  above, Plaintiff has not alleged any facts supporting an assertion that Defendant promised that

  Plaintiff    would receive a loan modification.

              For these reasons, Plaintiffs intentional misrepresentation claim must be dismissed.

                       3. Plaintiffs Claim for Promissory Fraud Fails Because Plaintiff        Fails to
                                  Allege Fraud With the Necessary Particularity to Survive a Motion to
                                  Dismiss and Plaintiff s Claim is Bared by the Statute of Frauds.

              Plaintiff alleges that Defendant engaged in promissory fraud by making an empty

 promise to assist Plaintiff in obtaining a loan modification. (Compl. ~~ 48-50.) However,

 Plaintiff s Complaint again fails to meet the heightened pleading requirement of Tennessee Rule

  of Civil Procedure 9.02.



 918098: I:NASHVILLE


                                                                        25
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 44 of 177                         PageID 52



           In order to prove promissory fraud, a plaintiff must prove (1) a promise of future conduct;

  (2) that was material; (3) made with the intent not to perform; (4) that plaintiff reasonably relied

  upon; (5) to plaintiffs injury. Fowler v. Happy Goodman Family, 575 S.W.2d 496, 499 (Tenn.

  1978). "The statement of intent must be false and not actually held." Id. Further, failure to

  perform a promise alone is not evidence that the promisor never intended to perform. World

  Help v. Leisure Lifestyles, Inc., 977 S.W.2d 662, 670 (Tex. Ct. App. 1998); see also Bryant v.

  Southern Energy Homes, Inc., 682 So. 2d 3, 5 (Ala. 1996). Fraud also requires a heightened

  pleading requirement. Tenn. R. Civ. P. 9.02 (2010). The elements of a fraud claim must be


  "stated with particularity." Tenn. R. Civ. P. 9.02; Kincaid, 221 S.W.3d at 41.

           Plaintiff fails to satisfy the elements for promissory fraud and fails to meet the heightened

  pleading requirement of Tennessee Rule of Civil Procedure 9.02. Plaintifts allegations are

  disjointed, incomprehensible, and do not allow Defendant the opportity to respond. For


  example, in Paragraph 48(b) of the Complaint, Plaintiff alleges that Defendant:

                     On numerous occasions including but not November 11, 2011,
                     and a December 17, 2011, letter to Plaintiff stating to Plaintiff
                     that "ifyou are unable to cure the default on or before January 16,
                     2011, BAC Home Loans Servicing, LP to prevent a foreclosure
                     sale of your property for example a Repayment Plan ... Loan
                     Modification. .. Sale of Your Property , (or a) Deed in lieu of. . ."

  First, Plaintifts assertion here is incomprehensible and factually impossible. Plaintiff filed her

  Complaint on October 19, 2011, but interestingly alleges that Defendant made an intentional

  misrepresentation to Plaintiff in November 201 1 and December 201 1. Furthermore, Plaintiff

  fails to identify with any paricularity the time, place, or content of any representation made by

  Defendant that promised her a binding loan modification agreement. (Compl. ~ 48.)

           Second, Plaintiff fails to allege a promise of future conduct and also fails to plead with

  any specificity how she allegedly acted in reasonable reliance. Plaintiff merely states she relied
  918098: I :NASHVILLE


                                                      26
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 45 of 177                                PageID 53



  upon the representations made in the November 11, 2011 and December 17, 2011 letters to her

  detriment. (Compl. ~ 50.) Notably, the statements contained in the letters, as quoted by

  Plaintiff, do not contain a promise of future conduct, or any promise at alL. They are not even

  complete sentences. These factually impossible and unsupported allegations cannot provide the

  basis for Plaintiff s fraud claim.

              Third, Plaintiff fails to allege that Defendant made a promise without the intent to

  perform. Plaintiff contends "Defendants knew, and as expressed by their subsequent actions(,J

  that the representations made in those letters regarding (assistance J to Plaintiff were false."

  (Compl. ~ 49.) Interestingly, Plaintiff
                                                     fails to explain what is meant by Defendant's "subsequent

  actions." Moreover, Plaintiff alleges that Defendant had no intention to cary out the "promise

  to at least assist Plaintiff in submitting the correct information." (Compl. ~ 51.) In fact, Plaintiff

  fails to allege any facts that Defendant made any such promise. Plaintiff cannot plead that she

  relied on the promise of a loan modification when her own allegations fail to establish a promise.

              Moreover, to the extent Plaintiff based her claim of promissory fraud on verbal


  misrepresentations or false statements made by Defendant, the Statute of Frauds would bar any

  claim in contract or tort.

              The Tennessee Statute of          Frauds clearly states:

                          No action shall be brought against a lender or creditor upon any
                          promise or commitment ... to alter, amend, renew, extend or
                          otherwise modify or supplement any written promise, agreement or
                          commitment to lend money or extend credit, unless the promise or
                          agreement, upon which such action shall be brought, or some
                          memorandum or note thereof, shall be in writing and signed by the
                          lender or creditor, or some other person lawflly authorized by such
                          lender or creditor.

  Tenn. Code An. § 29-2-101(b)(1). To the extent Plaintiffs fraud and misrepresentation claims

  tum on purported verbal representations to modify her mortgage, the Statute of Frauds would bar
  918098:I:NASHVILLE


                                                              27
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 46 of 177                                           PageID 54



  proof of that agreement to support the fraud. The terms of any purported loan agreement,


  therefore, can only be altered by another written instrument See Bilyeu v. Volunteer State, No.

  M2004-01040-COA-R3-CV, 2006 Tenn. App. LEXIS 241 (Tenn. Ct. App. Apr. 17,2006) (copy

  attached).

              For the above reasons, Plaintiffs claim for promise without intent to perform is not pled

  with particularity, violates the Statue of                      Frauds, and therefore must be dismissed.

              E. Plaintiff's Claim for Injunctive Relief Fails Because Plaintiff Neglects to
                           Verify Her Complaint and Fails to Meet the Required Elements of a
                           Temporary Restraining Order.

                          1. Plaintiffs Complaint is Not Verified.


              Count XI of Plaintiffs Complaint requests the issuance of a Temporary Restraining


  Order to restrain "Defendants from selling at auction the property subject to this lawsuit."

  (Compl. ~ 53.) Notably, Plaintiff conspicuously fails to comply with the Tennessee Rules of

  Civil Procedure by neglecting to verify her Complaint and failing to demonstrate her likelihood

  of success on the merits as the Rule requires.

             Pursuant to Tennessee Rule of Civil Procedure Rule 65.03(1), the court may issue a

  Temporary Restraining Order ("TRO") if: "(A) specific facts in an affidavit or verified complaint

  clearly show that immediate and irreparable injury, loss, or damage wil result to the applicant

  before the adverse party can be heard in opposition; and (B) the applicant's attorney... certifies

  in writing efforts made to give notice and the reasons why it should not be required."

             In an apparent attempt to circumvent the aforementioned procedural requirements,


  Plaintiff attaches a purported "Affidavit of Mary Ringold," which is neither                        signed nor properly


  executed by the affiant. See Smith v. Smith, No. 01AOl-9511-CH-00536, 1996 Tenn. App.

 LEXIS 585, at *6-7 (Tenn. Ct. App. 1996) (copy attached) (concluding that the record on appeal

 918098:I:NASHVILLE


                                                                             28
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 47 of 177                         PageID 55



  fails to support the trial cour's issuance of the TRO because it does not contain a verified

  complaint or affidavit setting forth the bases for issuance of the TRO). Moreover, Plaintiff fails

  to provide any written proof of the attempts made to notify Defendant of the impending TRO.

  Therefore, Plaintiffs request to enjoin Defendant from selling the Property must fail as a matter

  of   law.

                      2. Plaintiff Fails to Meet the Required Elements of a Temporary Restraining
                             Order.

              Even assuming, arguendo, the cour excuses Plaintiffs sloppy filing, the Property was

  sold on October 20, 2011, the day after Plaintiff filed her unverified Complaint and request for a

  TRO, and before Defendant received notice. Therefore, Plaintiff has not (and cannot) meet the

  required elements for a TRO. As such, Plaintiffs request for a TRO should also be denied as

  moot.

              In deciding whether to grant a temporary injunction under Tenn. R. Civ. P. 65.04, a cour

  weighs the following factors: "1) the threat of irreparable harm to the plaintiff if the injunction is

  not granted; (2) the balance between this harm and the injur that granting the injunction would

  inflict on defendant; (3) the probability that plaintiff will succeed on the merits; and (4) the

 public interest." Moody v. Hutchison, 247 S.W.3d 187,199-200 (Tenn. Ct. App. 2007).

              Here, the Court should deny Plaintifts injunction request. First, not only does Plaintiff

 fail to make any showing that she is likely to succeed on the merits on any of her claims, but

 Plaintiff has failed to state a claim upon which relief can be granted. Second, there is no "threat

 of irreparable har" to Plaintiff because Tennessee provides a statutory right of redemption by


 which a debtor has up to two years to redeem her property following a foreclosure sale. TC.A.

  § § 66-8- 1 0 1 to 102. Third, preventing the purchaser at the foreclosure sale from using the

 property pending this matter would result in more har to the purchaser than to Plaintiff. LEBS
 91 8098:   I:NASHVILLE


                                                     29
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 48 of 177                              PageID 56



  Partnership, Ltd. v. Northwestern Mut. Life Ins. Co., 1992 Tenn. App. LEXIS 124, at * 11 (Tenn.

  Ct. App. 1992) (copy attached) ("Northwestern's only recourse under the loan documents was to

  proceed against the property, and the injunctive relief sought posed a greater risk of harm (to

  Northwestern J than the injury perceived by the (claimant)."). Finally, the public interest would

  not be served by allowing injunctive relief as this is a dispute among private parties and, in any

  event, it is "certainly. . . in the public interest that one's debts are paid." Sen. Hous. Aft, Inc. v.

  Bernard Glob. Loan Invest., Ltd., 2011 Tenn. App. LEXIS 346 at * 13 (Tenn. Ct. App. 2011)

  (copy attached). Therefore, because all of the factors weigh in favor of denying Plaintiff any

  injunctive relief, as well as the fact that the foreclosure sale took place on October 20, 2011,

  injunctive relief must be denied.

                                                       CONCLUSION

          For the reasons discussed above, Plaintiff        has failed to properly allege any cause of action

  upon which relief can be granted. Therefore, Plaintiffs Complaint must be dismissed with

  prejudice.




 918098: I :NASHVILLE


                                                           30
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 49 of 177                    PageID 57



  This is the,Ç1 ~ay of December 2011.            Respectfully submitted,




                                                   ¿¿A:~
                                                  Donna 1. Roberts (BPR . 22249)
                                                Paul Allen England (BPR No. 26288)
                                                STITES & HARBISON, PLLC
                                                401 Commerce Street
                                                Suite 800
                                                Nashville, TN 37219-2376
                                                  Telephone: (615) 244-5200

                                                  Counsel for Defendant Bank of America, NA. and
                                                Defendant identifed as Bank of America Home
                                                Loans




                                   CERTIFICATE OF SERVICE

           I hereby certify that a copy of the foregoing document was served by United States First
  Class Mail, postage prepaid, on this .6ay of December, 2011 upon:

           E.A. Nichols                             E.A. Nichols
           The Law Offices ofE.A. Nichols, P.C.      198 S. Reese Avenue
           8121 Walnut Run Road                     Memphis, TN 38111
           Cordova, TN 38018

           Counsel for Plaintif




                                               &;~~

  918098: I :NASHVILLE


                                                   31
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 50 of 177   PageID 58




                    EXHIBIT A
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 51 of 177                                              PageID 59

                                                                                                                       Page I




                       LexisNexis@

  .
  Positive
  As of: Nov 17,2011

                            PAM WEBB v. NASHVILLE AREA HABIT AT FOR HUMANITY, INC.

                                                 No. M2009-o1552-SC-RII-CV

                                       SUPREME COURT OF TENNESSEE, AT NASHVILLE

                                 346 S. Wo3d 422; 2011 Tenn. LEXIS 623; 321.E.R. Cas. (BNA) 1124

                                                   February 3, LOLL, Session
                                                       July 21, 2011, Filed


  PRIOR HISTORY: (**1)                                             alleged that she was terminated by the employer for her
    Tenn. R. App. P. J J Appeal by Permission;     Judgment of     complain~ regarding,. and her unwillingness to
  the Court of Appeals Affined; Case Remanded. Appeal              implement, paricipate in or remain silent about,
  by Permission from the Court of Appeals, Middle Section          discriminatory and illegal policies that the employer's
  Circuit. Cour for Davidson County. No. 09C-1221.                 management requested staff members. to implement. The
  Barbara N. Haynes, Judge.                                        supreme cour declined to adopt the new TwomblylIqbal
  Webb v. Nashvile AreaHabitatfor Humanity, Inc., 2010             plausibility pleading stadard and followed the notice
  Tenn. App. LEXS 273 (Tenn. Ct: App., Apr. 16,2010)               pleading regime. Constring the complaint liberally,
                                                                   presuming all factual allegations to be tre and giving the
  DISPOSITION: Judgment of the Court of Appeals                    employee. the benefit of all Teaonable inferences, it was
  Affrmed; Case Remanded.                                          not apparent from the face of the amended complaint that
                                                                   the employee could have proven no set of facts in support
  CASE SUMMARY:                                                    of the claim that would have entitled her to relief. The
                                                                   amended complaint specifically referred to the statute
                                                                   upon which the employee was relying to state her claim,
  PROCEDURAL POSTURE: Appellee employee filed a                    Tenn. Code Ann. § 50-1-304, and thus comported with
  retaiatory discharge action against appellant employer           Tenn. R. Civ. P. 8,05(1). the amended complaint, while
  under the Tennessee Public Protection Act, Tenn. Code            not a model of pleadng, provided the employer with
  Ann. § 50-1-304 (2008 & Supp. 2010) and the common               suffcient notice of the claims alleged and sufficiently
  law. The trial cour grted the. employer's motion to              pleaded a legal cause of action.
  dismiss for failure to state a claim under Tenn. R. Civ. P.
  12.02(6). The employee appealed. The Cour of Appeals,            OUTCOME: The court affrmed the judgment.
  Middle Section (Tennessee), vacated the tral court's
  judgment. The employer appealed.                                 LexisNexis(R) Headnotes

  OVERVIEW: _ The employee's amended complaint
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 52 of 177                                                   PageID 60

                                                                                                                            Page 2
                                                346 S.W3d422, *; 2011 Tenn. LEXIS 623, **1;
                                                        32 LE.R. Cas. (BNA) 1124


                                                                       Tennessee's notice pleading regime is firmly established
                                                                       and longstading; the object and purpse of any pleading
                                                                       is to give notice of the natue of the wrongs and injuries
   Civíl Procedure ;: Pleading & Practice ;: Pleadings ;:              complained of with reaonable certinty, and notice of
   Complaints ;: Requirements                                          the defense that will be interposed, and to acquaint the
   (HNI) Tenn. R. Civ. P. 8.01 requires that a pleading for            court with the reaL issues to be tred.
  relief shall contain (l) a short and plain sttement of the
  cla showing that the pleier is eiititled to relìe£, and (2)
  a demand for judgment for the relief the pleader seeks.              Civil Procedure ~ Pleading & Practice ;, Pleadings ;:
                                                                       Complaint ;: Requirements
                                                                       (HN5) To be suffcient and surive a motion to dismiss, a
  Civil Procedure ;: Pleading & Practice ;: Pledigs ;:
                                                                       complaint must not be entirely devoid of factual
  Complain ;:' Requirement                                             allegations. Tennessee court interpret Tenn. R. Civ. P.
  (HN2J See Tenn. R Civ. P. 8.05(1).                                   8.01 to require a plaintiff to state the facts upon which a
                                                                       claim for relief is founded. A complaint need not contain
  CivuProcedure ;: Pleading & Practice ;: Defenses,                    detaled allegations of all the facts giving rise to the
  Demurrers & Objections ;: Failures to Stae Claims                    claim, but it must contain sufficient factual allegations to
  Civil Procedure.;: Pleading & Practice ;: Pledings ;:                arculate a claim for relief. The fac pleaded, and the

  Complaint;: Requirements                                             inferences reasonably drawn from these facts, must raise
  Civil Procedure;: Appeals;: Standards of Review;: De                 the pleader's right to relief beyond the speculative 1eve1.

  Novo   Review                                                       While a complaint in a tort action need. not contain in
                                                                      minute detail the facts that give rise to the claim, it must
  (HN3) When a complait fails to comply with Tenn. R.
                                                          to
  Civ. P. 8, it is subject to dismissal by grant ofa motion
                                                                      contain direct allegations on every material point
  dismiss for failure to state a claim upon which relief can           necesar to sustain a recovery on any legal theory, even
  be granted, as provided by Tenn. R. Civ. P. 12.02(6). A              though it may not be the theory suggested by the pleader,
  Rule 12.02(6) motion challenges only the legal                       or contain allegations from which an inference may fairly
  sufficiency of the complaint, not the strength of the                be drawn that evidence on these matei-al points will be
  plaintiffs proof or evidence. The resolution of a Rule               introduced at tral. Moreover, court are not requiled to
  12.02(6) motion to dismiss is determined by an                       accept as tre assertons that are merely legaJ arguents
  examination of the pleadings alone. A defendant who                  or legal conClusions couched as .facts.
  files a motion to dismiss admits the trth of all of the
  relevant and material allegations contained in the                   Civil Procedure ;: Pleading & Practice ;: Defenses,
  complaint, but. asserts that the allegations fail to establish       Demurrers & Objections;: Faílures to State Cúims
  a cause of action. In considering a motion to dismiss,
                                                                       Civu Procedure ;: Pleading & Practice;, Pleadings ;:
  court must constie the complaint liberally, presuming                Complaints ;, Requirements
  all factual aJlegations to be tre and gìving the plaintiff
                                                                       (H6) Until 2007, th~ Tennessee standard on a Tenn. R.
  the benefit of all reasonable inferences. A trial court
                                                                       Civ. P. 12.02(6) motion to dismiss was generally the
  should grant a motion to dismiss only when it appears                same as the federal standard under the similarly worded
  that the plaitiff can prove no set of facts in support of
                                                                       Fed. R. Civ. P. 12(b)(6). Both followed the Conley
  the claim that would entitle the plaintiff to relief. An             formulation of the accepted rule that a complaint should
  appellate cour reviews the trial court's legal conclusions           not be dismissed for failure to state a claim unless it
  regarding the adequacy of the complaint de novo.
                                                                       appears beyond doubt that the plaintiff ca prove no set
                                                                       of fats in support of his clai which would entitle him

  Civil Procedure ;: Pleading & Practice ;: Pleadings ;:               to relief. However, the U.S. Supreme Cour announced
  Complaints;: Requirement                                             the retirement of the Conley stdard in favor of a new
                                                                       plausibilty pleading stadad. Stating a claim requires a
  (H4J Under Tenn. R. Cìv. P. 8, Tennessee follows a
  liberal notice pleading standard, which recognizes that              complaint with enough factual matter (taen as tre) to

  tle priar purse of pleadings is to provide notice of                 suggest that an agreement was made. Asking for
  the issues presented to the opposìng par and cour.                   plausible grounds to infer an agreement does not impose
                                                                       a probability requirement at the pleading stage; it simply
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 53 of 177                                                PageID 61

                                                                                                                       Page 3
                                       346 S.W.3d422, *; 2011 Tenn. LEXIS 623, **1;
                                                . 32 LEK Cas. (BNA) 1124



  calls for enough fact to raise a reasonable expectation that    rise to an entitlement to relief. Determining whether a
  discoveiy will reveal evidence of illegal agreement. The        complaint states a plausible claim for relief is a
  need at the pleading stage for allegations plausibly            context-specific tak that requires the reviewing court to

  suggesting (not merely consistent with) agreement               draw on its judicial ex.perience and common sense. If the
  reflects the threshold requirement of Fed. R. eiv. P.           facts pleaded do not permit the cour to infer more than
  8(a)(2) that the plain staement possess enough heft to          the mere pOssibility of misconduct, then the complaint is
  show that the pleader is entitled to relief. The plausibility   insucient because it has alleged -- but it has not shown
  stdard applies in all federal civil actions.                       that the pleader is entitled to relief. Fed. R. Civ. P.
                                                                  -- .

                                                                  8(a)(2).

  Civil Procedure ;: Pleading & Practice ;: Defenses,
  Demurrers & Objeaions :: Failures to State Claims               Governments ~ Cours ~ Judicial Precedenis
  Civil Procedure ;: Pleading & Praäice ~ Pleangs ~               (HN9J Once the Tennessee Sùpreme Cour has àddressed
  Complain ~ Requirement                                          an issue, its decision regardig that issue is binding on
  (H7J To survive a motion to dismiss in a federal civil          the lower cour. The Tennessee Cour of    Appeals has no
  action, a complaint mustcontan sufficient factual matter,       authority to overrle or modify. the Tennessee Supreme
  accepted as tre, to state a claim to r~lief that is plausible   Cour's opinions.
  on its face. A claim has facial plausibility when the
  plaintiff pleads factual content that allows the court 10
                                                                  Governments:: Court;: Judicial Precedent
  draw the reasonable inference that the defendant is liable
                                                                  Governments ;: Courts :: Rule Application &
  for the misconduct alleged. The plausibility stdard is
                                                                  Intrpretation
  not akin to aprobability requirement, but it asks for more
                                                                  (HN 1 OJ Although federal judicial decisions interpreting
  than a sheer possibility that a defendant has acted
                                                                  rules similar to Tennessee's own are persuasive 'authority
  unlawfully. Where a complaint pleads facts that are
                                                                  for purposes of constring the Tennessee rule, they are
  merely consistent with a defendant's liability, it stops
                                                                  nOh-binding even when the state and federal rules are
  short of the line between possibility and plausibility of
                                                                  identicaL.
  'entitlement to relief Two working principles underlie the
  decision: First; the tenet that a cour must accept as true
  all of the allegations contained in a complait is               Civil Procedure ;: Pleadùíg & Practie ;: Defenses,
  inapplicable to legal conclusions. Threadbare recitas of        Demurrers & Objections;: Faiures to Stae Claims
  the   elements of a cause of action, supported by mere          Civil Procedure ;: Pleadng & Practice ;: Pleadings ~
  conclusory statements, do notsuffce. Fed. R. Civ. P. 8          Complaints ;: Requirements
  marks a notable and generous departre from the                  (HN I 1 J The Tennessee Supreme Court declines to adopt
  hyper-technical, code-pleading regime of a prior era, but       the new federal Twomblyllqbal plausibility pleading
  it does not unlock the doors of discovery for a plaintiff       stdard and adheres to the notice pleading stadard.
  ared with nothing more than conclusions. Second, only
  a complaint that states a plausible claim for relief
  survves a motion to dismiss.                                    Governmenis). Courts;: Judiâal Precedent
                                                                  (HNI2) The doctrine of stae decisis is one of
                                                                  commandig importance, giving, as it does, firmess and
  Civil Procedure ;: Pleading & Practice ;: Defenses,             stability to principles of law. Staility in the law allows
  Demurrers & Objections;" Failures to State Claims               individuals to plan their afairs and to safely judge of
  Civil Procedure ;: Pleading & Practice ;: Pleadings ::          their legal rights.

  CQmplainis:: Requirements
  (HN8J Under the  Twombiynabal plausibility pleading
                                                                  Civil Procedure ;: Pleading & Practice ;: Defenses,
  standard, a trial court presented with a Fed. R. Civ. P.
  /2(b)(6) motion to dismiss can choose to begin by               Demurrers & Objections). Failures to State Claims
  identifyng pleadings that, because they are no more than        Civil Procedure ;: Pleading & Practice ;: Pleadings ::
  còncJusions, are not, entitled to the assumption of trth.       Complaints;: Requirements
  The tral court is then taked with determining whether           (H13J The plausibility pleadig stadard incorporates
  the well-pleaded facts, assued as tre, plausibly give           an evaluation and determination of likelihood of    success
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 54 of 177                                                        PageID 62

                                                                                                                                 Page 4
                                            346 S.W.3d 422, *; 2011 Tenn. LEXIS 623, **1;
                                                     32 I.E.R. Cas, (BNA) i 124


  on the ,merits -- a judicial weighing of the fats pleaded to      discussion and examination of the policies at issue and
  see if they "plausibly" present a claim for relief -- at the      allows for input from the advisory commission, Tenn.
  earliest stage of the proceedings, before a sworn denial is       Code Ann. § 16-3-601 (2009), and members of              the bench,

  even required. The new Fed R. Civ. P. 12(b)(6) stadad             bar, and general public. .
  effectively reas "plausible" into the rule, as follows:
  failure to state a plausible claim upon which relief can be .
                                                                    Civil Procedure ;; Pleading & Practie )- Pleadings )-
  granted. This adds a determinàtion of the likelihood of
                                                                    Complain ~ Requirements
  success on the merits, so that a tral judge can dismiss a
  claim, even where the law does provide a remedy for the           (Hl8J Tenn. R. Civ. P. 8.0/ has not been amended aId
                                                                    stil only requires (I) a short and plain statement of the
  conduct alleged by the plaintiff, if that judge does not
                                                                   . claim showing that the pleaer is entitled to relief, and (2)
  believe it is plausible tpe claim will ultimately succeed.
                                                                    a demand for judgment for the relief           the pleaer seeks.


  Civil Procedure ~ Pleading & Practice )- Defenses,
                                                                    Labor & Employment Law )- Discriminaton ;;
  Demurrers & Objections)- Failures to State Claims
                                                                    Retaliation ~ General Ove",ie
  Civil Procedure ~ Pleading & Practice ~ Pleadings ~
  Complats;; Requirements
                                                                    (HNI9J See Tenn Code Ann. § 50-1-304(b), (d)(l).
  (HN14) In Tennessee, a Timn. R. Civ. P. 12.02(6) motion
                                        the complaint, not
  challenges only the legal suffciency of                           Labor & Employment Law ;; Discriminaton ~
  the strengt .of the plaintiffs proof or evidence.                 Retaliaiion ~ Burdens of Proof
                                                                    Labor & Employment Law )- Discrimination ~
                                                                    Retaliaion ~ Elements ~ Gen~ral Overvie
  Civil Procedure )- Pleadig & Practice ~ Defenses,
  Demurrers & Objections ~ Failures to Stat Claim                   (HN20J A claImant alleging a claím of retaliatory
                                                                    discharge tmder Tenn. Code Ann. § 50-1-304 has the
  Government ~ Courts ~ Rule Applicaton &
                                                                    burden of proving the following four elements to prevail
  Interpretaton
                                                                    on his or her statutory retaliatory discharge claim: (1) the
  (HNlS) There is a strong preference embodied in the               plaintiff was an. employee of the defendant; (2) the
  Tennessee Rules of Civil Procedure that cases stating a
                                                                    plaintiff refused to paricipate in or remain silent about
  valid legal claim brought by Tennessee citizens be
                                                                    ilegal activity; (3) the defendant employer discharged or
  decided on their merits. The Tennessee Rules of Civil
                                                                    terminated the plaintiffs employment; and (4) the
  Procedure are intended to insure that caes and
                                                                    defendant terminated the plaintiffs employment sole.ly
  controversies be determined upon their merits and not
                                                                    for the plaintiffs refusal to partcipate in or remain silent
  upon legal technicalities or procedural niceties.
                                                                    about the illegal activity.

  Constiutumal Law ~ Bul of Rights ~ Fundamental
                                                                    Labor & Employment Law ~ Discriminaûon ;;
  Right:; Trial by Jury in Civil Actions
                                                                    Retaliation ~ Burdens of Proof
  (HN16J The right of tral by jur shall remain inviolate.           Labor & Employment Law ;; Discriminûon ~
  Tenn. Const. art, I, § 6.
                                                                    Retaliation:; Elements;; General Overview
                                                                    (HN2IJ A claimant alleging a claim of common                   law
  Governments;; Court;; Autorit to Adjudicate                       retaiatory discharge bas the burden of proving the
  Governments ~ Courts ;; Rule Application &                        following four elements of the claím: (1) that an
  Interprettion                                                     employment-at-will relationship existed;(2) that the
  (f 17) As a constitutional matter, the Tennessee
                                                                    employee was discharged; (3) that the reaon for the
  Supreme Court has the inherent power to promulgate                discharge was that the employee attempted to exercise a
  rules governing the practice and procedure of the cour            statutory or constitutional right, or for any other reason
  of Tennessee, and this power cannot be constitutionally           which violates a clear public policy evidenced by an
  exercised by any other brach of-governent. Tenn. Code             unambiguous constitutional, statutory, or regulatory
  Ann. §§ 16-3-401, -402 (2009). The ordinar rule-makng             provision; and (4) that a substatial factor in the
  and amendment procedure provides for a broad                      employer's decision to discharge the employee was the
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 55 of 177                                                       PageID 63


                                                                                                                                  Page 5
                                                   346 S.W.3d 422, *; 2011 Tenn. LEXIS 623, "'1;
                                                            32 I.E.R. Cas. (BNA) I l24


   employee's exercise of protected rights or compliance                   Background
   with clea public policy.
                                                                                Pam Webb was employed by the Nashvile Area
   COUNSEL: R. Eddie Wayland, Nashville, Tennessee,                        Habita for Humanity, Inc. ("Habitattt) as vice president
   for the appellant, Nashvile Area Habitat for Humanity,                  of faily services, begiIiing her employment in August
   Inc.                                                                    of 2007. Habitat terminated Ms. Webb's       employment in
                                                                           Februar of 2009. Ms. Webb fied a complaint alleging
  James L. Hars, Nashville, Tennessee, for the appellee,                   retaiatory díscharge under the Tennessee Public
  Pam    Webb.                                                             Protection Act ("TPN), Tenn. Code Ann. § 50-1-304
                                                                           (2008 & Supp. 2010), and the common law of      Tennessee.
  Dale Conder, Jr and Bradford D. Box, Jackson,                            After Habitat filed a motion to dísmiss her complait for
  Tennessee, for the Amicus Curiae, Tennessee Defense                      failure to state a claim upon which relief (**3) ca be
  LaWyers Association.
                                                                           grted pursuant to Tennessee Rule of Civil Procedure
                                                                           12.02(6), Ms. Webb filed an amended complaint that
  Justin Gilbert, Jackson, Tennessee, William B. Ryan,
                                                                           alleged the following:
  Memphis, Tennessee, Jennifer B. Morton, Knoxville,
  Tennesee, and Wade B. Cowan, Nashville, Tennessee,
  for the Amcus Curiae, Tennessee Employment LaWyers                                     (IJn December 2008 plaintiff filed a
                                                                                    written complaint regardíng what she had
  Association.
                                                                                    reasonable cause to believe perceived (sic)
  Jonathan O. Harrs, Nashville, Tennessee, for the Amicus                           were ilegal acts which had been or would
  Curiae, Center for Individual Freedom.                                            be performed at the discretion of
                                                                                    (Habitat's) management. Specifically,
  JUDGES: SHARON G. LEE, J., delivered the opinion of                              plaintiff was told not to allow (*425)
  the Court, in which CORNELIA A. CLARK C.J.,                                       services to be given to a person 74 years
  JANICE M. HOLDER, GARY R. WADE, and                                               old because it would be a bad decision to
                                                                                    loan money to someone this old. Furer,
  WILIAM C. KOCH, JR., J1., joined. .
                                                                                    Chris McCay, a management employee,
  OPINION BY: SHARON G. LEE                                                         made statements and asked sta members
                                                                                    to implement policies that were and are
  OPINION                                                                           discriminatory and in dírect violation of
                                                                                   the Equal Credit Opportnity Act,
        . (*424) In this action alleging retaliatory discharge,                    regulations promulgated thereuder, and
  the tral court granted the defendant's motion to dismiss                         the Tennessee Human Rights Act in that
  for failure to state a claim (**2) upon which relief can be                      the policies in question involved unlawful
  grted pursuant to Tennessee Rule of Civil Procedure                              age discrimination. The statements have
  12.02(6). The Court of Appeals vacated the trial court's                         been made in regard not only to age but
  judgment, holding that the amended complaint                                     also as to failial status, and disability,
  suffcient1ystaed a cause of action for retaliatory                               thus evidencing a coure of ilegal
  discharge. We address the issue of              the proper stadard for           corporate conduct.
  Tennessee cOur to apply in ruling on a Rule 12.02(6)
  motion to dismiss in light of the United States Supreme                                As a result of plaintiffs complaints

  Court's recent decisions in Belf Atlantic Corp. v.                               and unwillingness to parcipate in or
  Twombly, 550 Us. 544, 127 S. Ct. 1955, 167 L. Ed. 2d                             remain silent about these ilegal acts,
  929 (2007), 'and Ashcroft v. Iqbal, 556 Us. 662. 129 S.                          plaintiff was terminated approximately

  Ct. 1937, 173 L: Ed 2d 868 (2009). We decline to adopt                           two months later on or (**4) about
  the new Twomblyllqbal "plausibility" pleading stadard                            Februar 23, 2009. The reaon given was

  and. afrm the judgment of            the Cour     of Appeals.                    "budgeta reasons." Hòwever, plaintiff
                                                                                   would state that this reason is a pretext
  OPINION                                                                          meant to disguise the real reason which
                                                                                   was the fact that she complained about
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 56 of 177                                                  PageID 64

                                                                                                                             Page 6
                                        346 S.W.3d 422, *425; 2011 Tenn. LEXIS 623, **4;
                                                   32 LE.R. Cas. (BNA) 1124


            iUegalactivities, and refued to paricipate                    charged. The substance of any ordinance
            in or remain silent about those activities.                   or regulation relied upon for claim or
                                                                          defense shall be stted in a separate (**6)

  Habitat responded by fiing an amended 12.02(6) motion                   count or paragrph and the ordinance or
  to dismiss, aserting that the amended complaint failed to               regulation shall be clealy identified. The
  state a claim upon which relief ca be granted.                          maner iIi which violation of any statute,
                                                                          ordinance or regulation      is claimed shall be
       The trial coUr granted Habitat's motion and                        set fort.
  dismissed Ms. Webb's amended complaint on àll of her
  clàims. The Cour of Appeals vacated the trial court's
  judgment, holding that the amended complaint                        (H3) When a complaint fails to comply with Rule
  sufficiently stated a cause of action for retaliatory           8, it is subject to dismissal. by grant of a motion to
  discharge. We granted review to address the issue of the        disrriss for failure to state a (*426) claim uPon which
  proper stadard for Tennessee cour to apply in ruling on        relief can be granted, as provided by Tennessee Rule of
  a Tennessee Rule of Cìvil Procedure 12.02(6) motion to         Civil Proceduré 12.02(6). The stadards by which our
  dismiss a Complaint for failure to stat a claim upon           cour should asess and dispose of a Rule 12.02(6)
  which relief can be grted in light of the United St.ates       motion to dismiss are well-established and have ixen
  Supreme Court's recent decisions altenng the federal           clearly and. consistently applied in Tennessee for nearly
  stmdard in Twombly, 550 U.S 544, 127 S Ct. 1955, 167            fort year, following the adoption of the Ternessee
  L. Ed. 2d 929, and Iqbal, 556 US. 662, 129 S Ct. 1937,         Rules of Civil Procedur in         1970.
  173 L. Ed. 2d 868. In        this appeal, Habitat and amici
  cunae Tennessee Defense Lawyers Association and The                 A Rule 12.02(6) motion challenges only the legal
  Center (**5) for Individual Freedom urge us to adopt the       suffciency of the cOmplaint, not the strengt of. the
  Twombly/Iqbal stadard, which "retired" the notice              plaintiffs proof or evidence. Higlroods Props., Inc. v.
  pleading regime recognized in Conley v. Gibson, 355
                                                                 City of Memphis, 297 S W.3d 695, 700 (Tenn. 2009);
   U.S 41, 78 S Ct. 99, 2 L. Ed. 2d RO (1957), and followed       Wilis v. Tenn. Dep't of Carr., 113 SW3d 706, 710
  for fift years, in favor of a new "plausibility" standard.      (Tenn. 2003); Bell ex reI. Snyder v. Icard, Merrill, Culli,

  For the reaons discUssed below, we decline to adopt the         Timm, Furen & Ginsburg, P.A., 986 S W2d 550, 554
   Twombly!lqbal plausibilty pleading standard.                   (Tenn. 1999); Sanders v. Vinson. 558 S.W2d 838, 840
                                                                  (Tenn. 1977). The resolution of a .12.02(6) motion to
  Anaysis                                                        dismiss is determined by. an examination (**7) of the
                                                                 pleadings alone. Leggett v. Duke Energy Corp., 308
  1. The Tennessee Standads - Motion to Dismiss                  SW3d 843,851 (Tenn. 2010); Trau-Med of Am., Inc. v.
                                                                 Allstate Ins. Co., 71 S. W3d 691, 696 (Tenn. 2002); Cook
        (HNl) Tennessee Rule of Civil Procedure 8.01              ex reI. Uithoven v. Spinnaker's of Rivergate; Inc., 878
  requires that a pleading for relief "shall contain (1) a       S W2d 934, 938 (Tenn. 1994); Cornpropst v. Sloan, 528
  short and plain statement of the claim showing that the        SW2d 188, 190 (Tenn. 1975) (overred on other
  pleader is entitled to relief, and (2) a demand for            grounds by McClung v. Delta Square Ltd. P'ship, 937
  judgment for the relief the pleader seeks." Rule 8.05(1)       SW2d 891, 899-900 (Tenn. 1996)). A defendant who
  furter provides:                                               files a motion to dismiss "'admits the trth of all of the
                                                                  relevant and material allegations contained in the
              (HN2) Each averment of a pleading shall             complait, but . . . assert that the allegations fail to
            be simple, concise and direct. No technical           establish a cause of actÎon.''' Brown v. Tenn. Title Loans,
            forms of pleading or motions are required.           Inc.,' 328 S W,3d 850, 854 (Tenn. 2010) (quoting
            Every pleading stating a claim. or defense           Freeman Indus., LLC v. Eastman Chem. Co., 172 S. W3d
            relying upon the violation of a statue               512, 516 (Tenn. 2005)); see Edwards v. AlIen, 216
            shall, in a separate count or pargraph,              S W3d 278, 284 (Tenn. 2007); White v. Revco Disc. Drug
            either specifcally refer to the statute or
                                                                 Ctrs., Inc., 33 S.W3d 713,718 (Tenn. 2000); Holloway v.
            state all of the facts necessary to constitute       Putnm Cnty., 534 SW2d 292,296 (Tenn. 1976).
            such breach so that the other part can be
            duly apprised of the statutory violation
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 57 of 177                                                 PageID 65

                                                                                                                           Page 7
                                      346 S.W.3d 422, *426; 2011 Tenn. LEXIS 623, **7;
                                                 32 LE.R. Cas. (BNA) ll24


       In considerig a motion to dismiss, cour "'must                   (H5) To be suffcient and surive a motion (**10)
  constre the complaint liberally, presuming all factual           to dismiss, a complaint must not be entirely devoid of
  allegations to be tre and giving th plaintiff the benefit        factual allegations. Tennessee cours have' long
  of all reasonable inferences:" Tigg v. Pire/l Tire Corp.,        interpreted Tennessee Rule of Civil Procedure 8.01 to
  232 S.W.3d 28. 31-32 (Tenn. 2007) (**8) (quoting                 require a plaintiff to state "'the facts upon which a claim
  Trau-Med. 71 S W.3d at 696); see Leach v. Taylor,' 124           for relief   is founded.'" Smith v. Lincoln Brass Works, Inc.,-
  S W3d 87, 92-93 (Tenn. 2004); Stein v. Davidson Hotel            712 S. W2d 470. 471 (Tenn. 1986) (quoting W & 0
  Co:, 945 S W2d 714, 716 (Tenn. 1997); Bellar v. Baptist          Constr. Co. v. City of Smilhville, 557 S. W2d 920, 922
  Hosp.. Inc.. 559 S W.2d 788, 790 (Tenn. 1978); see also          (Tenn. 1977)).   A complaint "need not contain detailed
  City of Brentwood v. Metro. Bd. of Zoning Appeals, 149           allegations of all the facts gi,:ing rise to the claim," but it
  S W3d 49, 54 (Tenn. Ct. App. 2004) (holding that cours .         "must contain suffcient factual allegations to ariculate a
  "must constre the complaint liberally in favor of the            'claim for relief." Abshure, 325 SW.3d at 103-04_ "The
  plaintiff by . . . giving the plaintiff the benefit of all the   facts pleaded, and the inferences reasonably drawn from
  inferences that can be reasonably drawn from the pleaded         these facts, must rnse the pleader's right to relief beyond
  facts"). A trial cour should grant a motion to dismiss           the speculative leveL." Id. at /04. ThiiS, as we observed in.
  "only when it appears tht the plaintiff can prove no set         Leach,
  of facts in support of the claim that would entitle the
  plaintiff to relief." Crews v. Buckman Labs. Int'l. Inc., 78                "While a complaint in a tort action need
  S W3d 852, 857 (Fenn. 2002); see Lanier v. Rains. 229                     not contain in minute detal the facts that
  S.W3d 656, 660         (Tenn. '2007); Doe v. .sundquist. 2                give rise to the claim, it must contain
  SW3d 919, 922 (Tenn. 1999); Pemberton v. Am.                              direct allegations on every material point
  Distilled Spirits Co., 664 S W2d 690. 691 (Tenn. 1984);                   necessar to sustain a recovery on any
  Fuerst v. Methodist Hasp. S, 566 S. W.2d. 847, 848 (Tenn.                 legal theory, even though it may not be the
  1978); Ladd v. Roane Hosiery, Inc., 556 S W2d 758,                        theory suggested ... by the, pleader, or
  759-60, (Tenn. 1977). We review the trial court's legal                   contain allegations from which an
  conclusions regarding the adeqIlacy of the complaint de                   inference may fairly be draw that
  novo. Brown, 328 S.W3d at 855; (**9) Stein, 945                           evidence on these material points wil be

  S. W2d at 716.                                                            introduced (**11) at trial."

       (HN4) Under Tennessee Rule of Civil Procedure 8,            124 S W3d at 92 (quoting Donaldon v. Donaldson, 557
  Tennessee follows a liberal notice pleading stadard, see         SW2d 60.61 (Tenn: 1977)) (alteration in original);
  Leach, 124 S W3d at 92-93, which recognizes that the             accord Givens v. Mull!dn ex ref. Estate of McElwaney,
  primar purpose of pleadings is to provide notice of the          75 S. W3d 383, 399 (Tenn. 20(2). Moreover, Cour are.
  issues presented to the opposing par and cour. Abshure           not required to accept as tre assertions that . are merely
  v. Methodist Healthcare-Memphis Hasps., 325 SW3d                 legal argUents or "legal conclusions" couched as fats.
  98, !O3 (Tenn. 2010); see also Robert (*427) Ban, Jr.            Riggs v. Burson. 941 S. W2d 44, 47-48 (Tenn. 1997).
  & June F. Entman, Tennesee Civil Procedure § 5-4(a)
  (3d ed. 2009) ("The essential fuction of the pleadings is        2. The Federal Standard - Twombly and Iqbal
  simply to give notice of a claim or defense. History, as
  Professors Wright and Miller point out, has shown that              . (HN6J Until 2007, the Tennessee stadard on a Rule
  the pleadings cannot successfully do more.") (footnotes          1202(6) motion to dismiss was generally the same as the
  omitted). Our state's notice pleading regime is finly
                                                                   federal stadard under the similarly worded FederalRule
  established and longstanding; this Court recognized well         of Civil Procedure 12(b)(6). Both followed the Conley
  before the Tennessee Rules of Civil Procedure were
                                                                   formulation of "the accepted rule that a complaint should
  adopted that "(tJhe object and purpose of any pleading is        not be dismissed for failure to state a claim unless it
  to give notice of the natUre of the wrongs and injuries
                                                                   appears beyond doubt that the plaintiff can prOVe no set
  complained of with reasonable certainty, and notice of           of fatS in support of his claim which would entitle him
  the defenses that will be interposed, and to acquaint the
                                                                   to relief." 355 U.S at 45-46. This Court adopted the
  cour with the real issues to be tred." Hammett v. Vogue,         Conley standard in Ladd, 556 S. W2d at 759-60, and we
  Inc., 179 Tenn. 284,165 S.W2d 577,579 (Tenn. 1942).              have routinely applied it many times since Ladd was
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 58 of 177                                                       PageID 66

                                                                                                                                 Page 8
                                              346 S.W.3d 422, *427; 2011 Tenn. LEXIS 623, **11;
                                                          32 I.E.R. Ca. (BNA) 1124


  decided in 1977.1                                                             . agreement. ...

                  1 See, e.g., Leggett, 308 S W3d at 851;                              The need at the pleading stage for
              Highwoods Props., 297 S. W3d at 700; Lanier,                       allegations plausibly suggesting (not
              229 S W3d at 660; Leach, 124 SW3d at 92;                           merely consistent with) agreement reflects
                  Wills, lJ3 S.W.3d at 710; (**12) Crews, 78                     the threshold requirement of Rule 8(a)(2)
              SW3d at 855; Givens. 75 SW3d at 391;                               that the "plain statement" possess enough
              Trau-Med, 71 S. W3d at 696; White, 33 S W3d at                     heft to "sho(w) that the pleader is entitled
              718; Doe, 2 S W3d at 922; Bell ex ref. Snyder.                     to relief," A statement of parallel conduct,
              986 S W.2d at 554; Stein, 945 S W2d at 716;                        even conduct consciously underten,
              Cook ex reI. Uithoven. 878 S.       W2d   at 938; Smith.           needs some setting suggesting the
              712 SW2d at 471; Pemberton, 664 S.W.2d at                          agreement necessar to make out a § 1
              691; Fuerst, 566 S.W2d at 848; Bellar, 559                         claim; without that fuher (**14)
              S. W2d at 790.                                                     circumstace pointing toward a meeting of
                                                                                 the minds, an account of a defen.da:nts
          In Twombly, the Supreme Court announced the                            commercial efforts stays in neutral
  "retirement" of the Conley standard in favor of a new                          terrtory.
  "plausibility" (*428) pleading standad. 550 US. at 563.
  The Twombly plaintiffs alleged that major                              ld at 556, 557 (alteration in original).
  telecommunications providers violated the Shennan
  Antitrst Act, 15 US C. § 1, by engaging in parlel.                         The Twombly formulation of the plausibility
  conduct unfavorable to competition and by agreeing to                  stadard left open many questions about the stte of
  refrin from competing wíth one another, 550 U.S. at                    federal pleading practice.2 The Supreme Court answered
  550-51. The Cour observed that the allegation of parallel              some of  these questions two years later in Iqbal. 556 U.S
  conduct was factully ambiguous, stating that "(t)he                    662,129 S Ct. 1937, 173 L. Ed. 2d 868, The Court made
  inadequaCy of showing parallel conduct or                              it clear in Iqbal that the Twombly plausibility stadard
  interdependence, without more, mirrors the ambiguty of                 applies in all federal cìvil actions.:! Id. at 1953. The Cour
  the behavior. consistent with conspiracy, but just as much             elaborated on its plausibility pleading stadard
  in' line with a wide swath of rational and competitive                 formulation as follows:
  business strategy unilaterally prompted by common
  perceptions of the market." Id. at 554. The Court held                             (*429) (HN7) To surive a motion to
  that in an antitrst action, (**13) "an allegation of                           dismiss, a complaint must contan
  parllel conduct and a bare assertion of conspiracy wiI                         suffcient factul mattr, accepted as tre,
  not suffce," and that allegations of parallel conduct                          to "state a claim to relief that is plausible
  "must be placed in a context that raises a suggestion of a                     on its face." A claim bas facial plausibility

  preceding ágreement, not merely parllel conduct that                           when the plaintiff pleads factual content
  could    just     as well be independent action."ld. at 556-57.                that allows the cour to draw the
                                                                                 reaonable inference that the defendant is
          The Twombly Cour stated the following in                               liable for the misconduct alleged. The
  formulatig its new plausibility pleading standard:                             plausibility standard is not akin to a
                                                                                 "probability requirement," but it asks for
                  we hold that stating such a claim                              more than a sheer possibility that a
              requires a complaint with enough factual                           defendan,t has acted unlawflly. Where a
              matter (taen as tre) to suggest that an                            còmplaint pleads facts that are "merely
              agement was made. Asking for plausible                             consistent with" a defendant's liabílity, it
              grounds to infer an ageement does not                              "stops short (** 15) of the line between
              impose a probabilit requirement at the                             possibility and plausibility of 'entitlement
              pleading stage; it simply calls for enough                         to relief.'"
              fact to raise a reaonable expectation that
              discovery will reveal evidence of illegal                  Id. at 1949 (Citations omitted) (quoting Twombly, 550
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 59 of 177                                                       PageID 67

                                                                                                                              Page 9
                                     346 S.W.3d 422, *429; 2011 Tenn. LEXS 623, **15;
                                                 32 I.E.R. Cas. (BNA) 1124


  u.s. at 556-57, 570). The Cour observed "(t)wo working          determining whether the well-pleaded. fats, assumed as
  priciples" underlying the Twombly decision:                     tre, "plausibly give, nse to an entitlement to relief." Id.
             Firt, the tenet that a cour must accept              The Iqbal Court .advised that "(d)etermining whether a
          as tre all of the allegations contained in a            complaint states a plausible claim for relief (** 17) will

          complaint is inapplicable to legal                       ... be a context-specific task that requires the reviewing
          conclusions. Theadbare recitals of the                  court to draw on its judicial expenence and common
          elements of a' cause of action, supported               sense." Id. If the facts pleaed "do not permit the cour        to
          by mere conclusory statements, do not                   infer more than the mere possibility of misconduct," then
          suffice. Rule 8 marks a notable and                     the complaint is insffcient beause it "has alleged - but
          generous depare from the                                it has not 'show(n)' - 'that the pleader is entitled to
          bypr-technical, code-pleadg regime of a                 relief.''' Id. (alteration in original) (quoting Fed. R. Civ. P.
          pnor era, but it dos not unlock the dors                8(a)(2)).
          of discovery for a plaintiff armed with
          nothing more than conclusions. Second,                      The Tennessee Cour of Appeals has cited Twombly
          only a complaìnt that states a plausible                and/or Iqbal in eight opinions4 since the Supreme Court
                                                                  decided Twombly, and on one occasion has purrted to
          claim for relief surves a motion to
                                                                  "recognze (Twombly's)             applicability" in Tennessee.
          dismiss.
                                                                  Hermosa Holdings, 2009 Tenn. App. LEXIS 282, 2009
  Id. at 1949-50 (citations omitted).                               WL TII 125, at *3. However, in Morris v. Gruin, the
                                                                    Cour of Appeals, urged by the defendants to adopt the
          2 See, e.g., Joseph A. Seiner, The Trouble With         . (*430) TwomblylIqbal stadard, correctly stated that
          Twombly: A Proposed Pleading Standard for
          Employment Discnmination Cases, 2009 U. II. L.                       (HN9) (o)nce the Tennessee Supreme
          Rev. iou, 1038 (2009) (hereinafter "Seiner, The                  Court has addressed an issue, its decision
          Trouble With Twombly") ("Despite the fact that                   regarding that issue is binding on the
         'Twombly is a very recent decision, it has already                lower cour. The Cour of Appeals has no
          generated significat confuion and conflcting                     authority to overrle or modify (the)
          decisions in the appellate cour. It); Z. W. ('" i 6)             Supreme Cours opinions. Accordingly,
          Julius Chen, Note, Following the Leader:                         we are not at libert to adopt the more
          Twombly, Pleading Stadards, and Proceural                        libera (TwomblylIqbal) standard for
          Uniformity, 108 Colum. L. Rev. 143I,431 (2008)                   dismissing complaints for failure to state a
                                                                           claim urged by Defendants.
          ("Ths new (Twombly) paradigm has confounded
          the legal community since its inceptiòn.").
          3 The language employed by the Cour in                  2009 Tenn. App. LEXIS 874, 2009 WL 4931324, at *4
          Twombly left open the possibilty tht the Court           (**18) (first alteration ìn original) (citations and internal
          intended to limit the application of the plausibility   quotation marks omitted); see alSo Brnkardt, 2009 Tenn.

          standard to the antitrst setting. Twombly, 550          App. LEXS 269, 2009 WL 426237, at *7 (stating that
          U.S. at 553 ("We granted certora to address the          "this Court is not in a position to adopt the strcter
          proper standard for pleading an antitrt                 Twombly stadard").
          conspiracy . . . ."); 0. at 554-55 ("This case
          presents the antecedent question of w~at a                       4 See Deja Vu afNashvile. Inc. v. Metro. Gov't,
          plaintiff must plead in order to state a claim under             31l S.W3d 913, 9/8-19 (Tenn. Ct. App. 2009);
          § 1 of   the Shennan Act.").                                     State ex rei. Watson v. Waters, No.
                                                                           E2009-01753-COA-R3-CV, 2010 Tenn. App.
       Thus, (HN8) under the TwomblylIqbal plausibility                    LEXIS 535, 2010 WL 3294109, at *4 (Tenn. Ct.
  pleading stadard, a tral cour presented with a Rule                      App. Aug. 20, 2010); Jackson v. Metro. Gov't, No.
  12(b)(6) motion to dismiss "ca choose to begin by                        M2009-01970-COA-R3-CV, 2010 Tel1. App.
  identifying pleadings that, because they are no more than                LEXIS 379, 2010 wi 2287639, at *3 (Tenn. Ct.
  conclusions, are not entitled to the assumption of trth."                App. June 7, 2010);. Morris v. Grusin, No.
  Id. at /950. The tral court is then taked with                           Wl009-00033-COA-R3-CV, 2009 Tenn. App.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 60 of 177                                                         PageID 68

                                                                                                                                Page 10
                                            346 S.W.3d 422, *430; 2011 Tenn. LEXIS 623, **18;
                                                        32 LE.R. Ca. (BNA) 1124


           LEXS 874, 2009 PV 4931324, at *3 (Fenn. Ct.                 Atlantic Corp. v. Twombly and Ashcroft v. Iqbal: A New
           App. Dec. 22, 2009); Steele v. Ritz, No.                    Phase in American Legal History Begins, 58 Drake L.
           W2008-02125-COA-R3-CV, 2009 Tenn. App.                      Rev. 401. 420 (2010) ("Twombly stands for the most
           LEXIS 843, 2009 WL 4825183, at *2 n.3 (Tenn.                remarkable shift in pleadings requirements since the
           Ct. App. Dec. 16. 2009); W Express. Inc. v.                 implementation of Conley's highly libera constrction of
           Brentwood Servs.. Inc., No.                                 thè already generous Rule 8."); Artur R. Miller, From
           M2008-02227-COA-R3-CV, 2009 Tenn. App.                      Conley to Twombly to Iqbal: A Double Play on the
           LEXIS 707, 2009 WL 3448747, at *9 (Tenn. Ct.                Federal Rules of Civil Proceure, 60 Duke L.J I, 15-16
           App. Oct. 26. 2009); Hermosa Holdings. Inc. v.              (2010) (hereinafter "Miller, A Double Play")
           Mid-Tenn. Bone & Joint Clinic, p.e, No.                     ("Recognizing the importce of Twombly and Iqbal,
           M2008-00597-COA-R3-CV, 2009 Tenn. App.                    , most -- but not all - observers believe these two cases
           LEXS 282,2009 WL 711125, at *3 (Tenn. Ct.                   represent a major depare from the Cour's established
           App. Mar. 16, 2009); Ind. State Dist. Council        of    pleadng jurisprudence . . . .") (footnotes omitted);
           Laborers v. Brukardt,. No.                                  Alexander A. Reinert The Costs of Heightened Pleading,
           M2007-02271-COA-1?3-CV, 2009 Tenn. App.                     86 Ind. L.J 119, 122 (2011) ("(T)here is close to a
           LEXIS 269, 2009 WL 426237, at *7 (Tenn. Ct.                 consensus among. academic observers that the
           App. Feb. 19,2009).                                         IqbaVTwombly pleading standard marks a shar break
                                                                       (**21) with the pastil) (footnote omittd); A. Benjamin
       This case squarely presents the question of whether             Spencer, Plausibility Pleading, 49 B.C. L. Rev. 431,
  Tennessee should adopt (l'* 19) the federal                          431-32 (2008) ("In a staing move by the U.S. Supreme
  Twomblyflqbal plausibility pleadng standad. (HNIO)                   Court, the seventy-year-old liberal pleading standard of
  Although federàl judicial decisions "interpreting rules              (Rule) 8(a)(2) has been decidedly tightened (if not
  similll to our own are persuaive authority for purposes              discarded) in favor of a strcter standard requiring the
  of constring the Tennessee rule," they "are non-binding             pleading of facts painting a 'plausible' pictue of
  even when the state and federa rues are identicaL. II                liability."). Notably, the Cour in Iqbal did not mention
  Harris v. Chern. 33 S. W3d 741, 745 n.2 (Tenn. 2000);                the concept of "notice" in its discussion and formulation
  see also Bowman v. Henard, 547 S. W2d 527, 530 (Tenn.                of tbe plausibility (*431 J stadard, nor did the Court cite
  1977). (HNl 1 J We decline to adopt the new plausibility             any pre-Twombly decision in that discussion.
  standard and adhere, for the following reasons, to the
  notice pleading stadard and the principles discussed in                   The result of this change has been a loss of claritY,
  section 1 above that have long governed Tennessee                   stability, and predictability in federal pleaings practice.
  pleading practice.                                                  See Kevin M. Clermont & Stephen C. Yeazell, Inventing
                                                                      Tests, Destabilizing Systems, 95 lowa L. Rev. 821,832
      First, the Twombly and Iqbal decisions reflect a                 (2010) ("The two cases profoundly changed the law of
  significant and substatial deparre from the United                  pleading. by adopting a procedural mechanism without
  States Supreme Cour's prior interpretations of Fed. R.              precedent in the law. No             prior model exists to help us
  Civ. P. 8 and the seventy-year history of a liberal notice           understand bow to test factual suffciency DOW."); Miller,
  pleading standard as envisioned by the Federa Rules of               A Double Play, 60 Duke L.J. at 2,21-22 ("Twombly and
  Civil Procedure and recognzed in Conley. The                         Iqbal have destabilized both the pleaing and the
  Washington Supreme Cour, in a recent decision rejecting              motion-to-dismiss practices as they have been known for
  the federal plausibility stdard, described it as "a drtic          . over sixty (**22) yea. . . . Most               significatly, the
                                      II McCurr v. Chevy Chase
  change in cour procedure.                                            decisions have unmoored our long-held understding
  Bank, FSB, 169 Wn.2d 96, 233 P.3d 861, 863 (Wash.                   that the motion to dismiss simply tests a pleading's
  2010) (en banc). Despite the Cour's insistence in a                 notice-Eiving and substative-law suffciency."); Seiner,
  Twombly (""20) footnote that "we do not apply any                   The Trouble With Twombly, 2009 U. Il. L. Rev. at 1038
  'heightened' pleading standard," 550 U.S. at 569 n.14,               (observing that Twombly "has already generated
  academic commentators have been in general agreement                 significant confusion and conflicting decisions in the
  that TwomblyfIqbal affected a major change in pleading               appellate courts").5
  practice and jurisprudence. See, e.g., Thomas P.
  Gressette, Jr, The Heightened Pleading Standard of Bell                       5 See also Kevin M. Clennont, Three Myths
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 61 of 177                                                 PageID 69

                                                                                                                            Page II
                                         346 S.W.3d 422, *431; 2011 Tenn. LEXlS 623, **22;
                                                     32 LE.R. Cas. (BNA) 1124


            About Twombly-Iqbal, 45 Wake Forest 1. Rev. .                  (Neb. 2010) (adoptig the TwomblylIqbal
            1337, 1338 (2010) (noting "the thee destabilizing              standard); Iannacchino v. Ford Motor Co., 451
            attibutes of    Twombly and Iqbal: their doctrine is           Mass. 623, 888 NE.2d 879, 890 (Mass. 2008)
            thoroughly novel, quit uncertin, and shaly                     (adopting the Twombly stadard in a pre-Iqbal
            resting on a foundaton laid by a faulty legal                  decision), Sisney v. Best Inc" 2008 SD 70, 754
           proces"). A number of scholarly commentators,                   NW2d 804, 807-09 (S.D. 2008) (adopting the
            however, have either supported the pleading                    Twombly stadard ina pre-Iqbal decision).
            changes arising from Twombly and Iqbal or
           questioned whether the decisions are being                   Second, (RNl3) the plausibility pleading stdard
           misconstred by detrctors. See, e.g.~ Victor E.          incorporaes an evaluation and determination of
           Schwar & Chrstopher E. Appel, Rational                  likelihood of SUccess on the merits.- a judicial weighing
           Pleading in the Modem World of Civil Litigation:        of the fats (*432) pleaded to see if they "plausibly"

           The Lessons and Public Policy Benefits of               present a claim for relief -- at the earliest stage of the
           Twom.bly and Iqbal, 33 Harv. JL. & Pub. Poly            proceedings; before a sworn denial is even required. As
           1107, 1110 (2010); Bradley Scott Shannon, I             the Washington Supreme Cour observed,
           Have Federal Pleaing All Figured Out, 61 Case
           W Res. L. Rev. 453, 455-56 (2010); Douglas G.                       (t)he new Fed. R. Civ. P. 12(b)(6)

           L**23J Smith, The Evolution of a New Pleading .                 standad effectively reads "plausible" into
           Stadard: Ashcroft v. Iqbal, 88 Or. 1. Rev. 1053,                the rule, as follows: "failure to stae a
           1057-58 (2009).                                                 (plauible) claim upon which relief can be
                                                                           grated. n This adds a determination of
      If this Cour were to follow the Supreme c.ours lead                  (0125) the. likelihood of success on the
  in TwomblylIqbal and "reinterpret" Tennessee Rule of                     merits, so that a trial judge can disiss a
  Procedure 8 to mandate the new plausibility stadard, it                  claim, even where the law does provide a
  would similarly require the substtial alteration or                      remedy for the conduct alleged by the
  abandonment of pleading principles that have been stable                 plaintiff if that judge does not believe it is
  and predictable for fort years in Tennessee. See Colby v.                plausible the claim will ultimately
  Umbrella, Inc., 184 Vt. 1, 955 A.2d 1082, 1086-87 n.1                    succeed.
  (Vt. 2008) (Whether Twombiy "create a new and
  heightened pleading st3dard . . . and it is arguble in           McCurr, 233 P..3d at 863; see also Miller, A Double
  light of conflicting interpretations of Twombly, . . . we        Play, 60 Duke LJ at 17-18, 30 (,'L)he center of grvity
  have relied on the Conley stadad for        over twenty year,    of federal litigation has been shifted forward in time and
  and are in no way bound by federal jurisprudence in              the Cour has accorded the Rule 12(b)(6) motion. to
  interpretig ou.r state pleading rules . . . and are              dismiss potentially life-or-death significance for the
  unpersuaded . . . that we should now abandon it for a            pleader of an affrmative claim. . . . In other words, a
  heightened standard."); McCurr, 233 P.3d at 864                  tral-like scrtiny of the merits is being shifted to an

  (finding no "basis to fudamentally alter our                     extremely ealy point in the pretrial phase.").
  interpretation of (Washington Superior Court Civil Rule)
  12(b)(6) that has been in effect for nearly 50 years").6 In          This fact-weighing and merits-based determination

  making this determination we are mindfu of (H12) the             aspect of the Twombly /Iqbal standard is at odds with the
  doctre of stae decisis, which is '''one of commanding            well-established principle (HNI4) in Tennessee that a
  importance, giving, as it (**24) does, firmness and              Rule 12.02(6) motion challenges only the legal
  stability to principles of law.' Staility in the law allows      suffciency of the complaint, not the strength of the
  individuals to plan their affairS and to 'safely judge of        plaintiffs proof or evidence. Highwoods Props" 297
  their legal rights.''' In re Estate of McFarland, 167            S. W.3d at 700; Willis, 113 S. W 3d at 7 J 0; Bell ex reI.
  S.W3d 299,306 (Tenn. 2005) (quotingJr. Fargason Co.              Snyder, 986 S. W.2d at 554; Sanders, 558 S. W.2d at 840.
 . v. Bail, 128 Tenn, 137, 159 S.w. 221,222 (Tenn. 1913)).         It also conflicts with (HNI5J the strong preference
                                                                   embodied in the Tennessee Rules of Civil Procdure that
           6 But see also Doe v. Bd of Regents of Univ. Of         (**26) . cases stating a valid legal claim brought by
          . Neb.,' 280 Neb. 492, 788 N W2d 264, 274-78             Tennesseecitizens be decided on their merits. Jones v.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 62 of 177                                                      PageID 70


                                                                                                                              Page 12
                                      346 S.W.3d 422, *432; 2011 Tenn. LEXIS 623, **26;
                                                  32 I.E.R. Cas. (BNA) 1124


   Profl Motorcycle Escort Serv., LL C, 193 S W3d 564,                       step is shadowy at best. Worse, the
   572 (Tenn. 2006) ("The Teiiessee Rules of Civil                           categories are likely to generate motion
   Pròcedur are intended 'to insure that cases and                           practice unrelate to the merits. Moreover,
  controversies be determined upon their meritS and not                      it is precisely what the drfters of the
  upon legal technicalities or procedural niceties."')                       original Rules intentionally rejected as
  (quoting Karash v. Pigoit 530 S. W2d 775, 777 (Tenn.                       counterproductive and sought to .eliminate
  1975)); see also Patton v. Dixon, 105 Tenn. 97,58 SW                       by substituting "short and plain" and
  299, 301 (Tenn. 1900). Furtermore, the TwomblylIqbal                       "cíaim for relief' for any reference to the
  stndard requiring the trial court to scrutiize and weigh                   troublesome coe categories of "facts,"
  . the well-pleaded facts to determne if they present a                      "conclusions," "evidence," and "cause of
  plausible claim, and allowing the cour to dismiss the                      .action."
  case at the pleairg stage if it determinès, in light of its
  "judicial experience and common sense," Iqbal, 129 S              Miller, A Double Play, 60 Duke L. J. at 24. Professor
  Ct. at 1950, that .the claim is not plausible, raises             Miller, arguing that the fact/conclusion dichotomy and
  potential concerns implicating the Teimesse                       the plausibility standard "has granted virtly unbridled
  constitutional mandate that (H 16) "the right of trial by         discretion to district court judges," id. at 22, furter

  jui shall remain inviolate." Tenn. Const. art. I, § 6.7           observed th
                                                                                         (t)he conclusion category is being
          7 See also Kenneth S. Klein, Ashcroft v. Iqbal                     applied quite expansively, embracing
          Crahes Rule 8 Pleading Standards on to                             allegations tht one reaonably might
          Unconstitutional Shores, 88 Neb. L. Rev. 261,                     . clasify'     as factual and therefore potentially
          262, 287 (2009) ("The collision between Iqbal                      jury triable, includig the key allegations
          and the SfNenth Amendment, (**27) simply                           in Iqbal itself. It is now fairly common for
          stated, is that under the historical test it is                    federal court to channel words used in
          unconstitutional to give a judge the power to                      Iqbal and chaacterize allegations as
          weigh the factual heft of a complaint at the outset                merely' "formulaic," ~'conclusory,"
          of a civil case and to dismiss it as insuffcient. . . .            "speculative," "ciytic," "generalized," or
          There can be no debate that this is not a mere                     "bare." By transforming arguably factual
          incident of technical procedure -- this is a                       allegations into legal conclusions and
          weighing of evidence, pre-discovery, with the                      refusing to draw favorable ("*29)
          potential consequence of dismissal .of potentially                 inferences from them -- thereby ignonng
          meritorious litigation. ").                                        portons of the complaint -- judges are
                                                                             both failing to constre the complaint in
      Third, the tests formulated by Twombly and Iqbal in                    favor of the pleader as prior Rule 12(b)(6)
  attemptig to guide cour that must now determine the                        doctrine requied and performing
  plausibility. of a claim on the pleading alone are                         fuctions previously thought more
  problematic. Under the first prong of Iqbal's prescribed                   appropriate for the factfnder. And they
  analysis, a court may discard and not assume the trh of
                                                                             are doing so based only on the complaint.
  allegations that the cour determines are merely "labls
  and conclusions, n 129 S Ct. at 1949, "naked assertons            Id. at 24-25 (footnotes omitt). The diffculty presented
  devoid of fuer factual enhancement," id., or "mere                by the elevated status of the fact/conclusion dichotomy
  conclusory statements." Id. (quoting Twombly, 550 U.S             formulated by TwomblylIqbal is seen in an examination
  at 555, 557) (internal quotation marks and brackets
                                                                    of the Iqbal decision itself. In Iqbal,           the five-justice
  omittd). In many instaces, however, the distinction               majority rejected as "conclusions" not requirng the
  between whether an allegation is a (*433) "fact" or a             assumption of tr the followig allegations in Iqbal's
  "conclusion" is fine, blur, and hard to detect One                complaint: (i) that the "petitioners 'kew of, condoned,
  leading civil procedure commentator has observed that             and willfully and maliciously. agreed to subject'"
                                                                    respondent.qbal "to harsh conditions of confinement 'as
                (t)he fact-legal conclusion (**28)                  a matter of policy, solely on account of (his) religion,
          dichotomy presented by Twombly's first                    race, and/or national origin and for. no legitimate
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 63 of 177                                                    PageID 71


                                                                                                                           Page 13
                                            346 S.W.3d 422, '"433; 2011 Tenn. LEXIS 623, '"29;
                                                        32 I.E.R. Cas. (BNA) 1124


  penologi~l interest"; (2) that petitioner "Ashcroft was              conclusory cannot be squaed with its treatent of certin
  the 'principal architect of this invidious policy"; and (3)          other allegations in the complaint as nonconclusory." Id.
  that petitioner "Mueller was 'instrmental' in adopting               at 1961.

  and. executing it." 129 S. Ct. at 1951 (alteration in
  original). The four-justice disserit, written. by Justice                The differing viewpoints of the Iqbal majority and
  (**30) Souter (Twombly's author), viewed these                       dissent ilustrate a fudamental problem with the
  allegations quite differently, namely, as. "factual                  fact/conclusion dichotomy: many, if not most, allegations
  assertons" entitled to a presumption of        trth:                 can be fairly described as at least having a "conclusory"
                The complaint thus alleges, at a bare                  aspect. The problem is generally avoided by adhering to
           minimum, that Ashcroft and Mueller knew                     the principles that are 'already well established in

           of and condoned the discriminatory polìcy                   tenneSsee for ruling on amotion to dismiss. The texts of
           their subordinates caried out. Actually,                    Federal Rule of Civil Procedure 8 and Tennessee Rule of
           the complaint goes fuer in alleging  that                   Civil Procedure 8.01 indicate that the drfters of the rules
           Ashcroft and Muller affrmatively acted to                   also aspired to avoid this problem: the rules do not

           create the discriminatory detention policy.                 include terms such as "fact," "conclusion," or "cause
           If these factual allegations are tre,                       (**32) of action."
           Ashcroft and Mueller were, at the very
                                                                           This is not to say that there is absolutely no place for
          . leat, awàre of the discriminatory policy
                                                                       drawing aù analytical distinction between factual
           being implemented and deliberately
                                                                       assertions and legal conclusions, however; as noted, we
           indifferentto it.
                                                                       stated in Riggs that "the legal conclusions set fort in a
                                                                       complaint ar not required to be taen as tre." 941
                                                                       S. W2d at 48 (citing Dobbs v. Guenther, 846 S. W,2d 270,
                 The majority says that these are "bare                273 (Tenn. Ct. App. 1992)). Riggs, however, involved an
           assertons" that, "much like the pleading                    unusual "allegation" that was quintessentially a legal
           of conspiracy in Twombly, amount to                         conclusion, or perhaps more accurately, a legal argument
           nothing more. than a 'formulaic recitation                  couched as a factual asertion -- that a statute was
           of the elements' of a constitutional                        unconstitutionaL. Id. We reached the obvious conclusion
           discrimination claim" and therefore are                     that "(tJhe plaintiffs' allegations that the statute violated
           "not entitled to be assumed tre." The                       due process and equal protection under the United States
           fallacy of the majority's position, however,                and Tennessee Constitutions and suspended general law,
           lies in looking at the relevant assertions in               in violation of the Tennessee Constitution were legal
           isolation. The complaint contais specific                   conclusions that should not have been taen as tre." Id.

           allegatioris that, in the aftermath of the                 Our review of Tennessee motion-to-dismiss
           September (*434) II attcks, the Chief                      jurisprudence as outlined in section 1 abve confims the
           of the FBI's International Terrorism                        observation of Professors Bank and Entman that the
           Operations Section and the Assistnt                         fact/conclusion dichotomy has rarely been invoked in
           Special Agent in Charge for the (**31)                      Tennessee. Tennessee Civil Procedure, § 5-4(c).
           FBI's New York Field Offce implemented
                                                                           Four, a number of commentators and observers
           a policy that discriminated against Arab
           Muslim men, including Iqbal, solely on                      (**33) have noted the possibility that the Twombly/Iqbal
           account of their race, . religion, or national              stadad requirig a demonstration of plausibility at the .
           origin. Vìewed in light of these subsidiai                  pre-discovery phase of the case results in the
           allegations, the allegations singled out by                 disproportonate dismissal of certain tyes of potentially
                                                                       meritorious claims that require discovery to be proven,
           the majority as "conclusory" are no such
           thing.                                                      including actions for violatons of civil rights,
                                                                       employment discriination, antitrst, and conspiracy.

  1d. at 1959, 1959-61 (Souter, J., dissenting) (emphasis             This "information asymmetr" problem has been
  added) (citations omitted). The dissent concluded that               described as follows:
  "the majority's holding that the statements it select ar
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 64 of 177                                                            PageID 72


                                                                                                                                   Page 14
                                     346 S.W.3d 422, *434; 2011 Tenn. LEX                    is 623, **33;
                                                     32 LE.R. Cas. (BNA) 1124


               It is uncertin     how plaintiffs with                                    complcmts that assert wrongdoing, but
         potentially meritorious claims are                                              merely offer supporting factul allegations
         expected to plead with factual suffciency                                       consistent with -- rather than factually
         without the benefit. of some discovery,                                         suggestive of -- liability. Thus, although
         especially when they are Iiinited in tenn                                       discòveiy might reveal facts that prove
         of time or money, or have no access to                                          liability, that opportity is preemptively
         importt information that often is in the                                        (**35) foreclosed and the investigation for
         possession of the defendant, especially                                         supportive facts that the rules contemplate
         when the defendant denies access.                                               never occurs,

                                                                            Spencer, Plausibility Pleading, 49 B. C. L. Rev. at. 481
                                                                            (footnote omitted); see also Goutam U. lois, Pearson,
              This problem of information                                   Iqbal, and Procedurl Judicial Activism, 37 Fla. St. U. L.
         asymmetr .'. . presents itself in many                             Rev. 901, 903 (2010) (argung that Iqbal and Pearson v.
         litigation contexts. It is prevalent in,
                                                                            Callahan, 555 u.s. 223, 129 S. Ct. 808, 172 L. Ed 2d
         acions challengíng the conduct of large                            565 (2009), "will work a disservice to our nation's
         institutions - for example, antitrust and
                                                                            promise of p~itting victims of civil rights violations to
         securities cases -- when the necess                                achieve redess though civil litigation"); Ramzi Kassem,
         information relatng to issues such as
                                                                            Implausible Realities: Iqbal's Retrenchment of MajoritY
         frud, ("'435) conspiracy, price-fixing,
                                                                            Group Skepticism Towards Discrimiation Claims, 114
         and corprate governance' can be, found
                                                                            Penn St. L. Rev. 1443, 1446 (2010) (arguing that
         only in the defendant's fies ard
                                                                            "(d)iscrimination claims are particularly vulnerable to an
         computers. The problem is exacerbated                              unf~vorable application of dispositive judicial discretion
         (*"34) in multiple-defendant situations in                    , at the theshold stage"); Elizabeth M., Schneider, The
         which access to information is critical to                         Changing Shape of Federal Civil Pretrial Practice: The
         indicating the.alleged wrongdoing in order                         Disparate Impact on Civil Rights and Employment
         to focus on the alleged wrongdoer.                                 Discrimination       Cases, 158 U. Pa. L. Rev. 517, 519 (2010)

              The same is tre of questions ¡ike
                                                                            ("(T)he greatest impact of this change in the landscape of
                                                                            federal pretrial practice is the dismiss of civil rights and
         intent and malice. A similar asymmetry
                                                                            employment discrimination cases from federal court in
         exists in other importantlitigation contexts
                                                                            disproportionate numbers."). (**36) Early academic
         such as actions against governental
                                                                            empirical studies following Twombly and Iqbal have
         entities. Parcularly affected are civil
                                                                            tended to confirm the concerns regarding a possible
         rights and employment-discrimination
                                                                            disproportonate impact on ciVii rights and employment
         cases in which issues of motivation, state
                                                                            discrimination cases. See Patcia W. Hatamyar, The Tao
         ofmlid, and insidious practices ar~ hidden
                                                                            of Pleading: Do Twombly and Iqbal Matter Empirically?
         by agents and employees or ar buried
         deep within an entity's records.                                   59 Am. U. L. Rev. 553, 556-57 (2010); Seiner, The
                                                                            Trouble With Twombly, 2009 U. Il. L. Rev. at 1026-38;
         Discrimination in hiring, promotion, or
                                                                            K~ndaii W. Hannon, Note, Much Ado About Twombly?
         employee discipline depends on
                                                                            A Study on the Impact of Bell Atlantic Corp. v. Twombly
         compartive data drawn from the
                                                                            on 12(bX6) Motions, 83 Notre Dame L. Rev. 1811,
         employer's records that simply are
                                                                            1836-38 (2008). Thus, although ¡tmay still be too soon to
         inaccessible absent discovery.
                                                                            fully gauge the impact of the new plausibility stadad, it
                                                                            is at least arguable that it has operated to deny access to
  Miller, A Double Play, 60 Duke L.J at '43, 45-46
                                                                            justice in the federal cour to possibly meritorious
  (footnotes omitted). As aresult,
                                                                            claimants for civil' rights violations and employment
            (u)nder plausibility pleading, one has no
                                                                            discrimination.
         confidence that a plaintiffs dismissed
         claim was frvolous or nonmeritorious
                                                                                   Fift, neither Habitat nor amici curiae in the present
         because it permits the        dismissal of
                                                                            case have presented evidence showing that the policy
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 65 of 177                                                     PageID 73

                                                                                                                               Page 15
                                         346 S.W.3d 422, *435; 2011 Tenn. LEXIS 623, **36;
                                                     32 LKR. Cas. (BNA) 1124


  conce cite by the Cour in Twombly and Iqbal are                  rules governing the practice ànd procedure of the court
  present in Tennessee to the extent they exist in the federal     of this state," and "this power caot be .constitutionally
  judicial system, much less that they wart "such a                exercised by any other brach of government." State v.
  drtic change in cour. procdure," McCun, (*436).                  Mallard, 40 S. W3d 473,481 (Tenn. 2001); see also Tenn.
  233 P.3d at 863, as the defendat asks (**37) us to affect        Code Ann. §§ 16-3-401 to -402 (2009). The ordinary
  here. The Washington Supreme Cour made a similar                 rule-making and amendment procedure provides for a
  observaton in McCur in stating:                                  broader discussion and examination of the policies at
                                                                   issue and allows for input from the advisory commission,
                 The Supreme Cour's plausibility                   see Tenn. Code Ann, § 16-3-601 (2009), and members of
          standard is predicated on policy                         the bench. bar, and general public. The Supreme Courts
          determinations specific to the federal tral              in several of our sister states have reached the' same
          court. The  Twombly Court concluded:                     conclusion. Cullen v. Auto-Owners Ins. Co., 218 Ari.
          federal tral court are incapable of                      417, 189 P.3d 344,347 (Ariz. 2008) (en ban           c) (holding

          adequately preventing discovery abuses,                  that "Arizona has (*"39) not revised the language or
          weak claims cannot be effectively weeded                 interpretation of Rule 8 in light of Twombly" and that any
          out ealy in the discovery process, and this              change must come though the Arizona rule-making
          makes discovery expensive and                            process); McCur,. 233 P.3d at 864 ("The appropriate
          encoures defendants to settle "largely                   (*437) foru for revising the Washington rùles is the
          groundless" claims. See 550 US. at                       rule-making        process."); see also Roth Y. DeFeliceCare,
          557-58, 559, 127 S. Ct. 1955. Neither                    Inc., 226 W Va. 214, 700 S.E.2d 183, 197 (W Va. 2010)
          par has shown these policy                               (Benjamin, 1., dissenting) (stating that it is "preferable
          determinations hold suffciently tre in the               that we consider (the adoption of a heightened pleading
          Washington trial cours to wart such a                    standard) in the reflection of rule-making rather than in
          drstic change in court procedure.                        the vacuum ofan individual case before us on appeal").9

               Nor has either par here addressed                                 8 Moreover, one study of empirical data and the
          countervailing policy considerations. For                              judicial decisions following Twombly and Iqbal
          example, do current discovery expeses                                  concludes that the "fudamenta assumption" of
          justiiY plaintiffs' loss of access to that                             the Court in formulating the new plausibility
          discovery and general acces to the court,                              pleaing stadad, that "notice pleaing lets in too
          partcularly in cases where evidence is                                 many meritless cases, and heightened pleading
          almost exclusively in the possession of                                wil keep them out," is unupported by the
          defendats? Could ruaway discovery                                      evidence. Reinert; The Costs of Heightened
          expenses be addrssed by better means -- .                              Pleading, 86 Ind. LJ. at 119-20. Professor
          perhaps involving more court       oversight of                        ReInerts study concludes that
          the discovery' process or a change in the
          discovery rules?                                                                (t)here is, however, no empirical
                                                                                        basis supporting the assumption
  Id.                                                                                   that heightened pleading standards
                                                                                        -. either the plausibility standard
        The policy concerns cited by the Court (**38) in                                ushered in by Iqbal and Twombly
  Twombly - the' threat of expensive and/or abusive                                     or the closely related "fact (*'i40)
  discovery practices leading to the settlement of "even                                pleading" standard that has always
  anemic cases," 550 U.S, at 559, -- should not be lightly                              lurked as a competitor to notice
  dismissed. However, it is clear that such a broad and                                 pleading - are more effcient
  sweeping change in the procedurl landscape as has been                                filters than Conley's notice
  discussed here should corne by operaton of the nornal                                 pleading standard. . , . The data
  rule-making process, not by judiCial fiat in the limited                              reported here suggest that the
  context of a single case,8 (RN!7) As a constitutional                                 common wisdom among
  matter; this Court "has the inherent power to promulgate                              supporters of heìghtened pleading
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 66 of 177                                                    PageID 74


                                                                                                                             Page 16
                                            346 SW.3d 422, *437; 2011 Tenn. LEXlS 623, **40;
                                                       32 LE.R. Cas. (BNÀ) 1124


                                            and
                      along the lines of Iqbal

                      Twombly cannot bè support                       Tenn. Code Ann. § 50-1-304.10 (HN20J A claimant has
                      empirically. Rules that subject thin            the burden of proving the following four elements to
                     pleadings to ~eater scrtiny and                  prevail on his or her statutory retaliatory discharge claim:
                     dismissal do not do a better job                             (l) the plaintiff was an employee of the
                     than notice pleaing of filtering out                    defendant;
                     meritless claims.                                            (2) the plaintiff refused to paricipate in
                                                                             or remain silent about illegal (*"'42)
           Id at 125, 126.                                                   activity;
           9 See also Paul D. Carington, Politics and Civil                          (*438) (3) the defendant employer
           Procedur Rulemakng: Refli::ctions on                              discharged or terminated the plaitiffs.
           Exprience, 60 Duke LJ 597,648-57 (2010).                          employment; and
                                                                                     (4) the defendant temiinated the
       In summar, it must be remembered that we are                          plaintis employment solely for the
  addresing the stadard in assessing the suffciency of a                     plaitiffs refusal to paricipate in or
  single document filed at the very beginning of a case --                   remain silent about the illegal activity.
  the complaint. Our motion-to-dismiss jurisprudence
  reflects the priciple that this stage of the proceedings is
                                                                      Sykes v. Chattanooga Hous. Auth., _ S W3d _, _'
  paricularly il-suited for an evaluation of the likelihood           No. E2008-00525-SC-Rll-CV. 343 S W3d 18, 20j 1
  of success on the merits or of the weight of the facts              Tenn. LEXIS 604.2011 WL 2517145, *6 (Tenn. June 24,
  pleaded, or as a docket-clearng mechanism. (lI          i 8) Rule   2011); see also Voss v. Shelter Mut. 1ns. Co:. 958 S. W2d
  8.01 has not been amended and still only requires "( i) a           342,344 (Tenn. Ct. App. 1997).
  short and plain statement of the claim showing that the
  pl~ader is entitied to relief, and (2) a demand (**4 I) for                io But see 2011 Tenn. Pub. Acts 461 (amending
  judgment for the relief the pleader seeks." We decline to                  Tennessee Code Annotated section 50-1-304 and
  reinterpret Rule 8 to require a pleader to demonstrate                     enacting Tennessee Code Annotated section
  "plausibility" and continue to adhere to the weIl                          50-1-701) (effective on and applicable to causes

  established stadards set fort in section 1 of ths                          of   action accruing on or afer June 10, 2011).'
  opinion.
                                                                          (HN2l) A claimant alleging a claim of common law
       Applying these standads to Ms. Webb's amended                  retaiatory discharge has the burden of proving the
  complaint in the present case, we affmi the Cour of                 following four elements of the claim:
  Appeas' holding that it states a cause of action for
  retaiatory discharge under the TPPA and Tennessee                                   (1) that an employment-at-wiIl
  c~mmon law. The TPPA, Tennessee Code Annotated                             relationship existed;

  section 50-1-304, creates a cause of action for retaliatory                     (2) that the employee was dischared;
  discharge by providing that:                                                 (3) that the reason for the discharge was
                                                                             that the employee attempted to exercise a
               (HN19) (b) No employee shall' be                              statutory or constitutional right, or for any
           discharged or terminated solely for                               other reason which violates a clear public
           refusìng to paricipate in, or for refusing to                     policy evidenced by an unambiguous
           remain silent abut, ilegal activities.                            constitutional, . statutory, or regulatory
                                                                             provision; and
                                                                               (4) that a substantial factor in the (**43)
                                                                             employer's decision to discharge the
                 (d)(l) Any employee terminated in                           employee was the employee's exercíse of
           violation of subsection (b) shaH have a                           protected rights or compliance 'with clear
           cause of action against the employer for                          public policy.
           retaliatory discharge and any other
           damages to which the employee may be                       Kinsler v. Berkline, LLC, 320 SW3d ï96, 800 (Tenn.
           entitled.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 67 of 177                                           PageID 75


                                                                                                                   Page 17
                                      346 S.W.3d 422, *438; 2011 Tenn. LEXIS 623, **43;
                                                  32 I.E.R. Ca. (BNA) 1124


  2010); accord Gossett v. Tractor Siipply Co., Inc., 320       Ms. Webb is relying to state her claim, Tenn. Code Ann.
  S. W3d 777 781 (Tenn. 2010) (citing Crews v. Buckman          .§ 50-1-304, and thus  comport with Rule 8.05(1). (**44)
  Labs.     Int/, 78 S. W3d 852,862 (Tenn. 2002)).              The amended complaint, while not a model of pleading,
                                                                provides Habitat with suffcient notice of the claims she
          Ms. Webb's amended complaint alleges that she was     is alleging and suffciently pleads a legal cause of action.
  an employee of Habitat. who was terinated for her
  complaints regarding, and unwillingness to implement,         ConclusiOn
  parcipate in or remain silent about, discriminatory and
  illegal policies that Habitats management requested staff           The judgment of the Cour of Appeals is afl1ed,

  members to implement. Constring '''the complaint              and the case. is remanded to the Circuit Court for

  liberally, presuming all factual allegations to be tre and    Davidson County for further action as may be necessar,
  giving the plaintiff. the benefit of all reasonable           consistent with this opini on. Costs on appeal are assessed
  inferences,'" Tigg. 232 S.W3d at 3/-32 (quoting               to the appellant, Nashville Area Habitat for Humanity,
  Trau-Med, 71 S.W3d at 696), it is not apparent from the       Inc., and its surety, for which execution may issue if
  face of    the amended complaint that Ms. Webb "can prove     necessar.
  'no set of facts in support of the claim that would entitle
                                                                      SHARON G. LEE, JUSTICE
  (her) to relier, Crews, 78 S. W3d at 857. The amended
  complaint specifically refers to the state upon which
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 68 of 177   PageID 76
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 69 of 177                                              PageID 77


                                                                                                                       Page 1




                    LexisNexis@
                                                      1 of 1 DOCUMNT




  o
  Cited
  As of: Dec OS, 20 I I

                   JERRY W. COBB, individually and on behalf of the Qualico SteeI40J(k) Plan and
                          its participants, Plaintiffs, v. REGIONS BANK d/b/a REGIONS MORGAN
                     KEEGAN TRUST; QUALICO STEEL CO., INC.; and MORGAN KEEGAN &
                                        CO., INC., Defendants.

                                                          No.    09-2806

                     UNITED STATES DISTRICl COURT FOR THE WESTERN DISTRICT OF
                                   TENNESSEE, WESTERN DIVISION

                                                 2010 U.S. Dist. LEXIS 49544


                                                   May 19, 2010,Decided
                                                     May 19, 20iÒ, Filed

  COUNSEL: (*1) For Jerr W. Cobb,individually and                   For Morgan Keegan & Company, Inc., Defendant: Anna
  on behalf of the Quaiíco Steel 401 (k) plan on behalf of all      M. Grizzle, BASS BERRY & SIMS PLC, AmSouth
  others who were participants in the Qualico Steel 401(k)          Center, Nashville, TN; Mattew M. Curley, BASS
  plan, Plaintiff: Charles M Thompson, LAW OFFICE OF                BERRY & SIMS PLC, Nashvile, TN; W. Brantley
  CHARES M. THOMPSON, Birmingham, AL; James                         Phillips, Jr., BASS BERRY & SIMS PLC- Nashvile,
  Harold Anderson, BEERS ANDERSON JACKSON                           Nashville, TN.
  PATT & FAWAL, PC, Montgomery, AL.
                                                                    JUDGES: SAMUEL H. MAYS, JR., uNITED STAtES
  For Regions Ban, doing business as Regions Morgan                 DISTRICT JUDGE.
  Keegan Trut, Defendant: Jeffey A, Lee, PRO HAC
  VICE, MAYNAR COOPER & GALE, PC,                                   OPINION BY: SAMUELH. MAYS, JR.
  Birmngham, AL; Wiliam B. Wahlheim, Jr.,
  MAYNAR COOPER & GALE, PC, AmSouth Harbert                         OPINION
  Plaza, Birmingham, AL.

  For Qualico Steel Co., Inc., Defendant: Albert Loring             ORDER GRANTING DEFENDANT QUALICO
  Vreeland, II, LEHR MIDDLEBROOKS & VRELAND,                        STEEL CO., INC.'S MOTION FOR A MORE
  PC, Birmgham, AL; Michael L. Thompson, LEHR                       DEFINITE STATEMENT
  MIDDLEBROOK & VREELAND, PC, Birmingham,
  AL.                                                                      Before the Court is Defendant Qualico Steel Co.,
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 70 of 177                                                   PageID 78

                                                                                                                              Page   2
                                                  2010 U.S. Dist. LExrs 49544, "'2



   (*2) Inc.'s ("Qualico") August 31, 2009, Motion for a            Alabama to the Western District of Tennessee, where this
   More Definite Statement pursuant to Federal Rule of              Cour is heang all litigation related to the collapse of the
   Civil Procedure 12(e). (See Dkt. No. 37, Exb. 9.) Plaintiff      Funds. (See Trasfer Order, Dkt No. 37, Exh. 52); see
  Jerr W. Cobb responded in opposition on October 5,                also In re Regions Morgan Keegan Sec.. Derivative, and
  2009, and Qualico filed its reply on October 13, 2009.            ERISA Wig., 598 F Supp. 2d 1379, 1382 (L.P.ML.
  (See Dkt No. 37, Exhs. 46, 49.) For the following                 2009) (original order tranferrng related Morgan Keega
  reaons, Quaico's Motion is GRANTED.                               cases to the Western District of Tennessee and
                                                                    establishing Morgan Keegan MDL).
      Plaintiff originally. filed suit unde.r the Employee
  Retirement Security Act of 1974 ("ERISA"), 29 Us.c.                    Qualico's Motion seeks an order requiring Plaintiff to
  §§ 1109, ll32, in the Middle District of Alabama,                 file a more detailed complaint, delineating the specific
  alleging that Defendants Regions Ban d//a Regions                 claims he has against each named Defendant. Qualico
  Morgan Keegan trust ("Regions"), Qualco, and Morgan               argues that Plaintiffs current Complaint refers
  Keegan & Company ("Morgan Keegan") had violate the                genericaly to "Defendants" without "designting which
  statutory fiduciary duties they owed to the beneficianes          aJltgations are made against each parcular defendant."
  of the Qualico Employee 401 (k) Plan (the "Plan").                (Defendant Qualico's Motion for a More. Definite
  (Comp!. P 6.) The Plan was a "defined contrbution plan"           Statement P 5.) (nDets Mot.") The Motion also aserts
  into which Qualico employees made elective                        that Plaintiffs Complaint is a. cut-and-paste job,
  contributions that Qua.lico matched. (Id PP 24-25.)               comprised of sections lifted from other complaints
  .Regions served as the Plan's trste, and Morgan Keegan            against Defendants that are inapplicable to the present
  was the Plan's "exclusive investment advisor." (Id. PP 19,       . suit. (Id. P 4.) Qualico argues that, absent a more specific
  23.)                                                               Compliünt, it canot know the claims to which (*5) it
                                                                     must respond. (ld P 7.)
            Through the Plan, employees had "the option of
  purchasing one or more vanations of investments for                   Federal Rule of      Civil Procedure) 2 states that
  (their) retirement investment portfolio(s)." (fd. P 5.) (*3)
  Two of the funds in which employees could choose to                           A part may move for a more definite
  invest were the Regions Morgan Keegan Select                              statement of a pleading to which a
  Intermediate Bond Fund and the Regions Morgan Keega                       responsive pleading is allowed but which
  Select High Income Bond Fund (the "Funds"). Plaintiff                     is so vague or ambiguous that the par
  alleges     that the Funds violated their published investment            cannot reasonably prepare a response. The
  restictions by investing more than fift percent of their                  motion must be made before filing a
  assets in mortgage-backed securties. (Id. p. 50.) The                     responsive pleading and must point out the
  Funds were restrcted from investing more than                             defects complained of and the details
  twenty-five percent of their assets in anyone induslI.                    desired. If the court orders a more definite
  (fd.) Plaintiff also alleges that Defendats failed to                     statement and. the order is not obeyed
  inform Plan paricipants that the Funds had violated their                 within 14 days after notice of the order or
  investment restrctions and that the mortage-backed                        within the time the cour sets, the court
  securties composing the majority of the Funds'                            may strike the pleadig or issue any other
  investments were highly iliquid because of the limited                    appropriate order.
  market for them. (fd. PP 52-53.) This made the Funds
  inappropriate investmenTS for an employee 401(k) plan             Fed. R. Civ. P. 12(e). Whether to grant a Rule 12(e)
  and exposed the Funds to much greater than average risk.         Motion is within the sound discretion of the Cour. Babb
  (Id P 39.) When the credit crisis began in late 2007, the         v. Bridgestone/Firestone, 861 F Supp. 50, 52 (MD.
  Funds' share price collapsed as the value of their                Tenn. 1993); Fleming v. Michigan, No. 2:09-cv-ll795,
  underlying mortgage-backed securties dropped. Plaintiff          2010 u.s. Dist. LE.XlS 22790, at        "'27 (E.D. Mich. Feb.
  alleges that the Funds suffered "far greater adverse             23, 2010). However, a motion for a more definite
  effect(sJ" than their peer funds. (!d. P 54.) On December        statement is not intended as a substitute for the discovery
  2, 2009, (*4) the United States Judicial Panel on                process. Wheeler v. United Slates Postal Serv., 120
  Multidistrct Litigation transferred Plaintifts suit from         FRD. 487, 488 (MD. Pa. 1987).
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 71 of 177                                                       PageID 79

                                                                                                                                  Page 3
                                              2010 U.S. Dist. LEXIS 49544, *5



  Plaintiffs Complaint contans four counts alleging that              The Complaint's first three counts also lack
  "Defendats" violated the duties of prudence and loyalty         specificity. Plaintiff never uses the name of an actu
  (CompI. PP (* 6) 81-88), failed to provide complete and        Defendat. (See id.PP 81-105.) Instead, Plaintiff                refers to
  accurte information to the Plan's beneficiaries (id. PP         "Defendants" and leaves it to those unspecified
  89-99), improperly acted while under a conflict of             Defendants to determine which paragraphs of the
  interest (id. PP 100-05), and failed to monitor the other       Complait might refer to them. Although not as unclear
  fiduciares. (Id. PP 106-115.) Each count of the                 as count fOUT, the first three counts are indefinite about

  Complaint incorprates by reference all prior allegations        the allegations Qualico must answer. Cf Magluta v.
  in the Complaint, leaving. the . fmal count "an                 Samples, 256 F.3d 1282, 1284 (lith Cir.2001) (*8J (per

  amalgamation of everying in the complaint." Byre v.             curiam) (remanding for repleading where "(t)he
  Nezhat, 261 F.3d 1075, 1128 (II th Cir. 2001); (see             complaint (was) replete with allegations that 'the
  Compl. PP 81, 89, i 00, 106.) Plaintiffs Complaint,             defendants' engaged in certin conduct, making.. no
  therefore, isa clear example of a "shotgun complaint."          distinction among the fourteen defendants charged").
  Wagner v. First Horizon Pharm. Corp.. 464 F.3d 1273.
  1279 iJ Ith Cir. 2006) ("Shotgun pleaings are those that            Rule 12(e) exists to rectify complaints that ar
  incorporate every antecedent allegation by reference into       unintelligible or vague. See Fed. R. Civ. P. 12(e); Cox v.
  each subsequent claim for relief," (citation omittd)); see      Maine Maritme Acad., 122 F.RD. lJ5, 116 (D. Me.
  also Byrne, 261 F.3d at 1130 (notig that such                   1988). As currently pled, count four fails to notify
  complaints can "wreak havoc on the judicial system"             Qualico of what, if any, specific wrongs Plaintiff alleges
  because of the resources that opposing pares and the            against it. Therefore,. Quaico's Motion for a More
  court must waste to decipher them).                             Definite Statement is GRANTED. Plaintiff is ORDERED
                                                                  to submit an amended complaint within 30 days. See Fed
       Qualico is correct that Plaintiffs Complaint fails, in     R. Civ. P, 12(e) (noting that the Court may set a deadline
  pars, to specify the paries against which it makes              of not less than foureen days to comply with an order to
  allegations. Although the first three counts note that their    replead). Plaintiff should replead. count fOUT in its
  allegations apply to all named Defendants, (*7) count           entirety, noting the Defendant or Defendants to which
  four provides no hint about the par or parties against          specific allegations apply and removing all references to
  which it is directed. (Compare Comp!. at 26, 28, 31             non-existent or undefined defendants. Where appropnate,
  (noting that the counts apply to "all Defendats"), with        . Plaintiff should also revise and edit the Complaint's first
  CampI. at 32 (containing no indication about the                three counts to include the proper names ,of the
  Defendant or Defendants implicated).) Count four alleges        "Defendants" against which Plaintiff alleges culpable
  that certin Defendats failed to monitor or. properly            conduct and the specific conduct alleged.
  oversee the Plan, (see, e.g.. id PIll), but contains no
                                                                       So ordered this 19th day (*9) of             May, 2010.
  proper name of any Defendant Indeed, it refers to
  non-existent defendants, i.e., the "Director Defendants."
                                                                       /s/ Samuel H. Mays, Jr.
   (Id. P 109(f).) Plaintiff has not sued any individual
   directors. Count fOUT also refers to "The Company," a               SAMEL H. MAYS, JR.
   ter the Complaint does not define. (M) Because each of
   the three named Defendants is a legal entity, it could              UNITED STATES DISTRCT JUGE
   apply to anyone ofthem.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 72 of 177   PageID 80
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 73 of 177                                              PageID 81


                                                                                                                       Page 1




                       Lexis:
                         ., N .exis
                               .. @


    Positive
  . As of: Dec 05, 2011

                       JERRY BONNER and JERRY BONNER, ADMINISTRATOR AD LITEM FOR
                            GALE BONNER, v. ANDREW BILLEN and RISK ENTERPRISE
                      MANAGEMENT LfMTED, INC., on behalf of BELK DEPARTMENT STORE OF
                                          CHATTANOOGA, TN, INC.

                                                 No. E200S-1    901-COA-R3-CV

                                     COURT OF APPEALS OF TENNESSEE, AT KNOXVILLE

                                                   2007 Tenn. App. LEXlS 674

                                                    August 13, 2007, Session
                                                    November 5,2007, Filed

   PRIOR     HISTORY: (*1)                                         the driver and $ 500 for propert damage. The verdict

      Tenn. R. App. P.3 Appeal as of Right; Judgment of the        form stated that $ 36,500 was awarded for medica
   Circuit Court Affrmed. Direct Appeal from the Ciruit            cae/services and $ 3,000 for loss of eaing caacity.
   Cour for Hamilton County" Division IV. No. 97 CV                The appellate court ruled that the drver's   argment that
   1376. Hon. W. Neil Thomas, II., Circuit Judge.                  the action against him should be bared due to the statute
                                                                   of lìmitations failed, because the claimant complied with
   DISPOSITION:                  Judgment of the Circuit Cour      Tenn. Code Ann. § 56-7-1206. Since the driver's policy
   Affirmed.                                                       limits were less than the claimants, he was uninsured and
                                                                   the uninsured motorist (O) statute applìed. If service
   CASE SUMMARY:                                                   was timely made upon the UM carer, and service was
                                                                   attmpted but retued "not found" against the other
                                                                   motorist, the cae could proceed with the UM carier as
   PROCEDURAL POSTURE: Appellant claimant and                      defendant. Also, the trial cour did not abUse its discretion
   appellee drver challenged the judgment of the Cìrcuit           in failing to sanction the workers' compensation insurer
   Cour for Hamilton County, Division iv, Tennessee,               and .its attorneys. The attorneys for the workers'
   awarding the claimant damages for personal injuries             compensation insurer gave a reasonable explanation for
   sustained in an automobile accident, and awardinE               their actions in fiing the motion sèeking to disqualify the
   appellee employer's workers' compensation insurer a lìen        driver's attorney.
   against the judgment entered on behalf of    the claimant.
                                                                   OUTCOME: The judgment was affrmed.
   OVERVIEW: The automobile accident occurred during
   the course and scope of the claimants employment. A             LexisNexis(R) Headnotes
   jur awarded the claimant $ 40,000 in d~ages against
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 74 of 177                                            PageID 82

                                                                                                                     Page 2
                                               2007 Tenn. App. LEXIS 674, *1



                                                                 prejudicial injur to the person being tried that it could
                                                                 not be corrected by a proper admonition from the trial
                                                                 judge, there Would be few trials that coùld ever be
  Insurance La ~ Motor Vehicle Insurance ~ Coverage              conducted tó an end. Jurors are intelligent persons, and
  ~ Unáerinsureá Motorists ~ General Overview
                                                                 when properly instrcted at the proper tie when things
  Insurance Law ~ Motor Vehitle Insurance ~ Coverage             like this come about, the court does not think that such is
  ~ Uniured Motorists:; General       Overview                   prejudiciaL.
  (ll) Pursuant to the wording of
                                     the uninsured statute. it
  is clea that underinsured is considered the same. as
  uninsured for the purposes of the statute. Tenn. Code          Civil Procedure ~ Appea :; Standards of Revie ~
  Ann. § 56-7-1202(a) expressly defines an uninsured             Abuse of Discretin
  motor vehicle as one that is underinsured, Le. one for         Evidence ~ Procedural Considerations :; Rulngs on
  which the sum of the limits of liability. available to the     Evidence
  insured under all valid and collectible insurance policies,    (HN51 Trial cours are given wide discretion regarding
  bonds. and securities applicable to the bodily injur,          admissibility of evidence, and the appellate court wil not
  death, or damage to propert is less than the applicable        interfere .with their judgment. absent a clea abuse of
  limits of uninsured motorist coverage provided to the          discretion.
  insured under the policy against which the claim is made.
                                                                 Civil Procedùre:; Judgments;: General     Overvie
  Insuram:e Law ~ MolDr Vehkle Insurance ~ Coverage              (HN6) It is the dut of the cour in constrng verdicts to
  :; Uninsured Motorists ~ General    Overview                   give them the most favorable interpretation and to give
  (H2) Appiícation of Tenn. Code Ann. § 56-7-1206(d)             effect to the intention of the jurors if that intention be

  estalishes that if service is timely made upon the             permissible under the law and ascertnable. from the
  uninsured carrer, mid service is atmpted but retued            phreology of the verdict. If after an examination of the
  "not found" against the other motorist. the cae can            terms of the verdict the cour is able to place a
  proceed with the uninsured carrier as defendat.                constrction thereon that will uphold it~ it is incumbent
                                                                 upon the court to do so.

  Civil Procedure ~ Pleading & Practice :; Service of
  Process ~ GeneralOvervie                                       Civü Procedure:; Sanctions ~ General     Overview
  Insurance Law ~ Motor Vehicle Insurance ~ Coverage             (li7) The test to be applied in deciding whether an
  ~ Uninsured Motorists :; General Overview                      attorney's conduct is sanctionable. is one of objective

   (HN3) Tenn. Code Ann. § 56-7-1206(e) provides: In the         reasonablenes's under all the circumstances. ànd the
  event the uninsured motorist's whereabouts is discovered       reaonableness of the attorney's be'lief must be assessed
  durg the pendency of the proceedings, an alias process         in light of the circumstaces existing at the time the
  may issue against the uninurd motorist. In such a cae,         document in question is signed. The cour is expected to
  the uninsured motorist shaH be allowed a reasonable time       avoid using the wisdom of hindsight and should test the
  within which to plead to the original proces and then the      signer's conduct by inquiring what is reasonable to
  case may proceed against uninsured motorist as if he was       believe at the time of signing. .
  served with process in the first instance. Tenn. Code Ann. .
  § 56-7-1206 supersedes Tenn. R. Civ. P. 3 in this
                                                                 Civil Procedure :; S,:nctions ;: Baseless Filings ~
  situation.
                                                                 General Overview
                                                                 (HN8) An attorney must read every paper before signing
   Civü Procedure ~ Trials :; Jury Tri :; Jury                   it. He must make a reasonable pre-filing investigation of
  Instructins ~ General Overview                                 the facts. He must reearch the law, unless he is certain
   Civil Procedure ~ Judgments ~ Relief From Judgment            he knows it. The law as applied to the facts must
   :; Motions for New Trials                                     reasonably warnt the legal positions and steps he takes.
   (HN4) if every improper statement that creep into             If existing law does not warant these positions. a
   lawsuits were prejudicial or had the effect of such           plausible arguent for the extension of the law to the
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 75 of 177                                                 PageID 83


                                                                                                                          Page 3
                                                   2007 Tenn. App. LEXIS 674, .. i



  facts of the case is required. It must be demonstrated, as        Jeffrey L. Clear, Chattnooga, Tennessee, for appellee,
  the basis of pre-filing ìnvestigation and research, that          Risk Enterprise Management Limited, Inc.
  there is. a reasonable basis to name each defendant
  named, and to support each claim asserted. The shotgu             JUGES: HERSCHEL PICKES FRNK, P.1.,
  complait or answer, fied in the hope that discovery will          delivered the opinion of the cour, in which CHAES
  produce the justification for it, is improper.                    D. SUSANO, JR., J., and D. MICHAL SWIY, J.,
                                                                    joined.

  Civil Procedure ;, Sanctions ;, Baseless Filings;"                OPINION BY: HERSCHEL PICKENS FRANKS
  General Overview
  (HN9) The adequacy of an attorney's investigation,                 OPINON
  research and legal analysis will be evaluate by the cour
  under an objective standard, namely, whether the attorney              In ths action for daages for personal injures
  acted as a reasonably competent attorney aditted to               sustaied in an automobile accident, plaintiff obtained a
  pratice. Except as to improper purpose, subjective good           Judgment against defendant drver, an underisured
  faith is not a defense to Fed. R. Civ. P. 11 sactions. A          motorist, and the intervener who had paid plaintiffs
  pure hear but an empty head is of no avaiL. An attrney            workers compensation benefits, was awarded a lien
  must not have an improper purpose, such as harsment               against the Judgment entered on behalf of the plaintiff.
  or intimidaton, in naming any defendant, asserting any            On appeal, we affirm the Judgment of the Trial Cour.
  legal position or taing any legal step. If an attorney
  violates Fed. R. Civ. P. 11 the imposition of some                 OPINION
  sanction is mandatory, although the nature and extent of
                                                                    Background
  the saction is discretionary with the tral court.
                                                                         Jerr Bonner brought this action against Andrew

  Civil Procedure ;, Sanctions ;, Baseles Filngs ;:                 Bilen, alleging the paries were involved in an.
  General Overview                                                   automobile accident, that plaintiff was injured at the fault
                                                                     of Bilen, and (*2) for damages for personal injury and
  Civil Procedure ;, Appeals ;, Standards of Revie ;,
  Abuse of Discretion                                                propert damage. The original summons to Billen was
                                                                     renimed with a notation that Billen could not be found,
  (HIO) . Whether an attorney has made suffcient
  inquiries in light" of the circumstances is a façtual
                                                                     and had moved from that address, and CUNA, plaintiffs
  determnation. The issues involved in determining                   UM carer, Answered, stating that Bonner had a UM
  whether an attrney has violated Fed. R Civ. P. 11                  policy with them, with limits of $ 100,000 per person and
  likewise involve fact-intensive, close calls. For this.            $ 300,000 per occurrence.
  reason, appellate courts review Fed. R. Civ. P. 11 under
                                                                         An alias summons was issued to Billen, which was
  the abuse of discretion and deferential stadard.
                                                                     retued marked "refused" and/or "unclaimed".
                                                                     Subsequently, on Januar 7, 2001, service was obtained
  Workers' Compensation & SSDI ;, Third Party Actions                on Billen at his residence, and Bìlen then fied an
  ;, Subrogation                                                     Answer, and denied the accident could have caused

  (HNl i) Tenn. Code Ann. § 50-6-112(c)(l) provides for a            injur to plaintiff.
  recovery lien when an employee recovers against a third
                                                                         Risk Enterprise Management Limited, Inc., ("REM")
  par, and when the employer's liability for workers'
  compensation .has been fully or parially paid and                  on behalf of Belk Deparent Store, was allowed to
  discharged.                                                        intervene and asserted its subrogation rights. REM stated
                                                                     that it was the third-part adinistrtor of workers'

  COUNSEL: Kathr R. Leidennan, Jaser, Tennessee,                     compensation risk for Belk Deparent Stores of
  for appellant, Jerr Bonner.                                        Chattanooga, and that Belk was plaintiffs employer at the
                                                                     time of the accident, which occured durg the course
  Scott A. Rhodes, Brentwood, Tennessee, for appellee,               and scope of plaintiffs employment REM stated that it
  Andrew Billen.                                                     har paid benefits to plaintiff under the workers'
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 76 of 177                                             PageID 84

                                                                                                                     Page   4
                                                 2007 Tenn. App. LEXIS 674, *2



  compensaton laws for his injunes from the accident, and        against Belk, Belk was given a subrogation interest of $
  sought to recover any benefits it had paid from any            53,011.86 against "any recovery    of the employee from
  damages (*3) that plaintiff   recovered in this action.        any third paries liable to the employee for the expenses
                                                                 for the injtries alleged herein."
      Plaintiffs discovery reveaed that Billenwas insured
  by Direct Insurance at the time. of the accident, with              Bilen filed a Motion (*5) for Judgrent
  limits of liability on his policy of $ 25,000/$ 50,00.0.       Notwithstanding the Verdict or, alterntively, Motion for
                                                                 New Trial, asserting that the Court erred in denying his
      Billen filed a Motion to Dismiss which was tre'ated        Motion for Summai Judgment based on th statute of
  as a Summai Judgment, and responding, the Court                limitations, and that the cour erred in allowing Ken
  detered that Billen had insurance limits of $ 25,000/$         Johnson to testify. Furter, that the cour erred in denying
  50,000, and that plaintiffs UM coverage was $                  Bilen's motion for a mistral after plaintiff stated in his
  100,000/300,000. The Court concluded that since Billen         testiony about Bilen having been in jaiL. Bilen also
  was under-insued, plaintiff could rely on the provisions       deposited fuds of $ 25,500 with the Cour in partial
  of Tenn. Code Ann. § 56-7-1206(e) regading service of          satisfaction of   the judgment.
  process, and then denied Bilen's motion. On February
  16, 2004, the Court ordered Bilen to comply with                    The Trial Cour entered an Order Allowing Lien
  discovery within 30 days. The plaintiff subsequently filed    . Against Judgment, and imposed a lien againt plaintiffs
  a Third Motion to Compel and/or for Contempt and/or for         recovery in the amount of $ 53,011.86, in favor of REM.
  Default Judgment, assertng that Billen had stil not            After ruling' on severa motions, the Cour entered
  responded to discovery. The Court then entered an Order        Judgment and appeals by Billen and the plaintiff ensued.
  giving Billen 30 more days to respond, stating that if he
  did not, his Answer would be stricken and a default            Issues on Appeal
  judgment would be entered.
                                                                    1. Did the Trial Cour err in overrling Bilen's
      Billen sought an extordinai appeal on the issue,           Motion for Summary Judgment based upon plaintiffs
                                                                 failure to comply with Tenn. R. Civ. P. 3?
  but his application was denied. The Tnal Cour then
  entered an Order finding that the defendant had failed              2. Did the Tnal Court err in denying Billen's Motion
  (*4 J to comply with discovery, and ordering that he be        for New Tnal on August 29, 2005, aftr the Court
  declared in default, and the case set for hearing on
                                                                 overrled Billen's' motion for a mistrial, allowed a key
  damages.                                                       witness to testify in violation of local rules, and upheld a
                                                                 verdict which is inconsistent?
        Plaintiff filed an Exhibit List and Witness List, and
  Bí1en responded with a Motion asserting that 'plaintiff          . 3. Did the Tna! Cour err (*6) in denying Bilen's
  should. be prohibited from presenting the testimony of         motion for sanctions against REM and its attorneys?
  Ken Johnson and Donna Poole, who were listed, because
  plaintiff failed to name them in his interrogatory                  4. If this Cour finds in Billen's favor on issues 1 or
  responses or his deposition. Billen admitted that plaintiff    2, did the Trial Court err in awarding discretionar costs
  had attempted to supplement his interrogatory responses        to Bonner and REM?
  on the same date the witness lìst was filed.
                                                                       5. Would REM be entitled to a subrogation lien
        A jury tral was held, and the Cour entered a             against that portion of Bonner's judgment that represents
  Judgment on the verdict, awarding plaintiff $ 40,000 in        futue medical ex.penses?
  damages against Bilen, and $ 500.00 for propert
  damage. The Verclct fonn stated that $ 36,500.00 was           Discussion
  awarded for "medical care/services", and $ 3,000 for loss
  of earing capacity.                                                  Billen argues that he should never have had to
                                                                 defend this action, because plaintiff did not comply with
        REM then filed a Motion assertng the subrogation,        the requirements of Tenn R Civ. P. 3 by having process
  and that in a Final Decree entered in the underlying           reissued in a timely fashion. He argues that Tenn. Code
  workers' compensation action fied by the plaintiff             Ann. § 56-7-1206 does not change this result, because it
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 77 of 177                                                    PageID 85

                                                                                                                           PageS
                                                       2007 Tenn. App. LEXIS 674, *6



   is par of the uninsured motorist statute, and he was not            Robertson, 1994 Tenn. App. LEXIS 604, 1994 WL
   an unined motorist.                                                 579972 (Tenn. Ct. App. Oct. 24,1994). However, none of
                                                                       these cases is applicale to the issue before us. In Kirk,
               (l 1 J Pursuant to the wording of the UM statute, it    the unilisured v. uIiderinsured issue was never addressed,
   is clea that underinsured is considered the same as                 and in Carr and Davis, the defendants were explicitly
  uninsured. for the purposes of the statute. Tenn. Code               found by the cour to be "fully" insured, such that the UM
  Ann. § 56-7-1202(a) expressly defines an uninsured                   statue would not apply. Finally, in Lasher, the Court
   motor vehicle as one that is underinsured, i.e. one for             ruled that plaintiff could not rely on Tenn. Code Ann. §
   "which the sum of the limits of liability available to the          56-7-1206 because theUM carrer had not been properly
   insued under all valid and collectible insurance policies,          served, as required by that statute. These cases are
   bonds, and securities applicable to the bodily injury,              inappösite to the ruling herein.
   death, or daage to propert is less than the applicable
   limits        of uninsured (*7) motorist coverage provided to            Bilen also argues that the Trial Cour erred in failing
   the inurd under the policy against which the claim is               to grant his motion for new trial, becaùse the Court
   made."                                                              denied his motion for a mistral afer Bonner made a
                                                                       statement from the stand that he thought Bilen bad been.
       In this case, since Bilen's policy limits were less -           in jaiL.
   than plaintiffs, he is uninsured and the UM statutes
   apply. (HN2) Application of Têin. Code Ann. . §                          Durng cross-examination, Bonner was asked abut
   56-7-1206(d) establishes that since service was timely              the lengt of time the lawsuit had been pending, and he
   made upon the UM carer, and service was attempted but                                                      en, because
                                                                       stated that it had been hard (*9) to serve :Bil

   returned "not found" against the other motorist, the case           he understood Billen had spent some time in jaiL.
   ca proceed with the UM carer as defendant. Tenn.                    Resonding to an objection, the Trial Court gave a
   Code Ann. § 56-7-1206(e) provides:                                  curative instrction to the jury, tellng them that any
                                                                       reference made to Bilen having been incarcerated was

                      (HN3J In the event the uninsùred                 hearay, that there was no proof of it, and that they
                 motorists whereabouts is discovered                   should disregard it. The Trial Court's ruling was correct.
                 durng the pendency of the proceedings,                See, Wills v. Settle, 162 S.W.3d 169, 188-189 (Tenn. Ct.
                 an alias process may issue agait the                  App. 2004). As our Supreme Cour has explained, (HN4J
                 unnsured motorist. In such ii case, the               "If every sttement of this tye that creep into lawsuits
                 uninsured motorist shall be allowed a                 were prejudicial or had the effect of such prejudicial
                 reasonable time within which to plead to              injur to th person being tried that it could not be
                 the original process and then the case may            corrected by a proper admonition from the trial judge,
                 proceed against uninsured motorist as if he           there would be few trals that could ever be conducted to
                 was served with process . in the first                an end. Jurors are intellgent persons, and, when properly
                 instance.                                             instrcted at the proper time when things like this come
                                                                       about, we do not think that such is prejudiciaL" Brown v.
   In this regad, see Lady v. Kregger, 747 S. W2d 342                  State, 220 Tenn. 709, 423 S. W2d 493, 496 (Tenn. 1968).
   (Tenn. Ct. App. 1987). This case held that T.C.A §                  The. Trial Court did not abuse its discretion in denying
   56-7-1206 superseded T.R.C.P. 3 in this sitution. Ed.               Billen's motion for a new tral, after giving a proper
   Billen's arguent that the action against him should be              curative instrction.

   bared due to the state of limitations fails, because
   plaintiff       complied with T.C.A. § 56-7-1206.
                                                                            Next; Billen argues that the Trial Cour erred in
                                                                       refusing to exclude Ken, Johnson as a witness, on the
               Finally, (*8) Bilen ares that underinsured is not       groiid that Johnson's (* 1 0) identity was not disclosed
   the same as uninsured, and relies on the cases of Estate of         (despite prior discovery) until six days before trial, and
   Kirk v. Lowe, 70 S W.3d 77 (Fenn. Ct App. 2001), Carr               that the local rule requires witnesses to be disclosed ten
   v. Borchers, 815 SW2d 528 (Tenn. Ct. App. 1991),                    days before tral. Bonner's response is that while Johnson
   Carlton v. Davis, 2003 Tenn. App. LEXIS 302, 2003 WL                was not identified by name until six days before trial, he
   1923825 (Fenn. Ct. App. Apr. 24, 2003), and Lasher v.               had listed in the discoveiy responses that other "Belk
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 78 of 177                                                 PageID 86

                                                                                                                            Page 6
                                               2007 Tenn. App. LEXlS 674, * i 0



  store employees" had information about the case, and that      Templeton v. Quarles; 52 Tenn. App. 419, 374 S.W.2d
  Johnson is a Belk store employee and Bonnets                   654, 660 (Tenn. Ct. App. 1963). ('" l2j in this case, the
  co-worker. Bonner also points out that he supplemented        jur's verdict is not so unintelligible or inconsistent as to

  his discovery responses as. soon as he found out that          show "caprice or whim on the par of the jur" or
  Johnson was a fact witness, and.that Bilen was given the       disregard for the court's instrctions. See Hogan v. Doyle.
  opportity to depose Johnson prior to tral, but declined        768 S. W.2d 259 (Tenn. Ct. App. 1988). This issue is
  to do so. Furter, Bí1en was offered a continuance to           without merit.
  give him the opportity to investgate this witness, but
  he declined                                                        Finally, Bì1en argues the Trial Court abused its
                                                                 discretion in failing to sanction REM and its attorneys for
       The Local Rules relied upon by Bilen, state that the     the "factia1ly and legally frvolous motion" seeking to
  judge has the discretion to suspend the same in the            disquaify BiUen's counsel.

  interet of justice. Moreover, (H5J tral cours are given
                                                                     Our Supreme Cour has explained the proper Rule i 1
  wide discretion regarng admissibility of evidence, and
  we wil not interfere with their judgment, absent a ciea .      analysis as follows:
  abuse of discetion. Tire Shredders, Inc. v. ERM. 15
  S. W.3d 849 (Tenn. Ct. App. 1999). This issue is without                 (R7J The test to be applied in decidig
  merit.
                                                                        whether an attorney's conduct is
                                                                        sanctionable, is . one of objective
     Furer, Bilen argues the Trial Cour 1* i 11 erred in                reasonableness under all the
  upholding the jur's verdict becuse it is "inconsistent                circumstaces, and the reasonableness of
  and caot be rationally explained". He argues that the                 the attorney's belief must be assessed in
  jury found that plaintiff suffered no injury, yet still               light of the circumstances existing at. the
  awarded damages for medica expenses.                                  time the document in question was signed.
                                                                        The Advisory Committee notes to the
       A review .of the jur form demonstrates otherwise.                federal version of Rule 11 state that "(tJhe
  The jur clearly found that defendant was at fault and                 Cour is expected to avoid using the
  caused damage to plaintiff, and then the jur was asked to             wisdom of. hindsight and should test the
  award darages based on varous categories, including                   signets conduct by inquiring what was
  medical expenses, propert damage, permanent                           reasonable to believe at the time r of
  impairment, and personal injur. The jur made an award                 signing)." One of the clearest and most
  of damages for medica expenses, propert damage, and                   succinct explanations of the principles
  loss of earning capacity. Thus, the jur found that                     asociated with a proper Rule 11 analysis
  plaintiff suffered injur, and simply awarded damages                  was set forth in Whittington v. Ohio River
  based on the provided categories that they deemed                     Co., 115 F.R.D. 201, 209 (E D.Ky.1987):
   appropriate.
                                                                               1. ('" i 3 J (H8) An attorney must
       As we have held:                                                  READ every paper before signing it.

              (HN6J It is the duty of the cour in                             2. He must make a reasonable
           constrng verdicts to give them the most                       pre-filing investigation of     the FACTS.
           favorable interpretation and to give effect
                                                                              3. He must reseach the LAW, unless
           to the intention of the jurors if that
                                                                         he is certin he knows it.
           intention be permissible under the law and
           ascertinable from the phrseology of the                            4: The law     as applied to the facts must
           verdict. If after an examinàtion of the
                                                                         REASONABLY WARRNT the legal
           terms of the verdict the cour is able to                      positions and steps he takes. If existing
           place a construction thereon that will                        law does not warrant these positions, a
           uphold it, it is incumbent upon the court to                  plausible arguent for the extension of       the
           do so.
                                                                         law to the facts of the case is required.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 79 of 177                                               PageID 87


                                                                                                                        Page 7
                                                2007 Tenn. App. LEXIS 674, '" 13




               5. It must be demonstrted, as the
                                                                       Bonner bas also appealed, and raises the issue of
          basis of pre-filing investigation and
                                                                  whether REM is entitled to a subrogation lien aganst that
          research, that there is a REASONABLE                    porton of Bonner's judgment that represents future
          BASIS to name each defendant named,                     medical (* i 5) expenses. He argues that it would be
          and to support each claim assertd. The
                                                                  improper to allow REM to recover the amount it paid him
                                                                  in a lump sum settement of the workers' compensation
          shotg complait or answer, filed in the
          hope that discovery wil produce the                     action by getting fuds eararked for "future medical
          justification for it, is improper.                      expenses" that were awarded in the third par action.
                                                                  REM's response is that the Final Decree in the workers'
               6. (HN9) The adequacy of an                        compensation action provided that REM would have a
           attrney's investgation, resarch and legal              lien against "any" recovery Bonner might obtain in his
           analysis wil be evaluated by the court                 third par action, and did not exempt out amounts
           under an OBJECTIVE STANDARD,                           awaded for futue medical expenses.
           namely, whether. the attorney acted as a
           reasonably competent attorney admitted to                    The Trial Cour found that Bonner agreed in the .
           ... practice. Except as to improper purpose,           settlement (that was incorporated into the Final Decree)
           subjective good faith is not a defense to              that REM would have a lien against "any recovery of the
           Rule 1 i sanctions. A pure heart but an                employee from any third paries liable to the employee
           empty head is of no avaiL.                             for iheexpenses for the injuries alleged herein." this
                                                                  provision was not only agreed to by Bonner, but also
                **"'***                                           received the sanction of the Court. Bonner has not
                                                                   directed this Court to any provision of the workers
                8. An attorney must not have an                    compensation statute. that would prohibit such an
           IMPROPER PUROSE, such as                                agreement In fact, (Hll) Tenn. Code Ann. §
           harsment or intiidation, in naming any                  50-6-112(c)(1) provides for such a lien, when an
           defendat, (*14) asertng any legal                       employee recovers against a third     par, and when the
           position or taking any legal step.                      employer's liability for workers' comp has been "fully or .
                                                                   parially paid and (* 16) discharged", as in this case.
                9. If an attorney violates Rule i 1 the
           imposition of some sanction is                               The cases relied upon by Bonner deal with credit for
           MANDATORY, although the nature and                      an employets future liability and are distinguishable from
           extent of the sanction is discretionar with             this case because the employer has already paid the full
           the (tral) cour.                                        amount of its liability, and there is no "credit" for "futue
                                                                   liabilty" involved, as any future liability was foreclosed
   Andrews v. Bible. 812 S. W.2d 284, 288 (Fenn.                   by Bonner and REM in their settlement. Thus, there is no
   1991)(citations omitted).                                       issue regarding credits or finality of judgments as was
                                                                   present in those cases. See Hickman v. Continental
        As the above reflects, "(w)hether (HNIDJ an attorney       Baking Co., J 43 S. W.3d 72 (Tenn. 2004); Graves v
   has made suffcient inquines in light of the circumstances       Cocke County, 24 S. W.3d 285 (Fenn. 2000). REM has
   is a factual determination. 'The issues involved in             already paid the full amount of workers compensation
   determining whether an attorney has violated Rule J 1           benefits to plaintiff, and has the statutory right, as well as
   likewise involve 'fact-intensive, close calls'.' For this       the contractul right based upon the pares' settlement, to
   reason, appellate cour review Rule i 1 under the 'abuse .       seek to recover those amounts from any recovery plaintiff
   of   discretion' and 'deferential' standard. Krug v. Krug.      gets from a third par regarding his injuries. Plaintiffs
   838 S. W 2d 197, 205 (Tenn. Ct. App. 1992)( cìtations           arguent that he wil be, in effect, gettng "no recovery"
   omitted). In this case, we are unable to say the Trial          for his future medical expenses is disingenuous, since
   Court abused its discretion in refusing to award sanctions,     plaintiff knew he would have future medical expenses
   given the facts and circumstances surounding this               when he entered into the settlement with REM, and thus
   litigation. REM's attorneys gave a reasonable explanation       part of that settlement amount was to compensate
   for their actions in filing the motion, and we conclude         plaintiff for the same, Plaintiff also argues that (* 17)
   ths issue is without merit.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 80 of 177                                           PageID 88


                                                                                                                   Page 8
                                              2007 Tenn. App. LEXIS 674, *17



  REM is getting a "double credit" by recovering the            recovery, which the workers' compensation statutes do
  amount he received from a third par to pay his futue .        not permit. See Tenn. Code Ann. § 50-6- J J 2 atd Graves.
  medicals, and also by being relieved of its obligation
  pursuant to the settlement to pay future medica1s, but this
                                                                    For the foregoing reaons we affrm the Judgment of
  arguent ignores the fact that REM compenseted
                                                                the Trial Cour and remand, with the cost of the appeal
  plaintiff for his agreement to releaSe REM from atY           assessed to Andrew Bilen.
  liability for futue medicals. Thus, if REM was not
                                                                    HERSCHEL PICKENS FRA, PJ.
  allowed to recover the amount it has already paid,
  plaitiff plaintiff would in effect enjoy a "double"
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 81 of 177   PageID 89
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 82 of 177                                             PageID 90

                                                                                                                      Page I




                 @

                .. LexisNexis@

  o
  Cited
  As of: Dec 05, 2011

                          BALFOUR GUTHRIE, INC. v. HUNTER MARIN TRANSPORT, INC, and
                                                    SCNO Barge Lines, Inc.

                                                         No. 3-86-0902

                           UNTED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
                                       TENNESSEE, NASHVILLE DIVISION

                         118 F.R.D. 66; 1987 U.S. Dist. LEXIS 11858; 9 Fed. R. Servo 3d (Callaghan) 1256


                                                  December 15, 1987, Decided

  CASE SUMMARY:                                                   Federal Rule of   Civil Procedure 11 against the purchaser
                                                                  and its attorney, because the attorney had failed to make a
                                                                  reasonable inquiry into the validi-ty of the purchaser's
  PROCEDURAL POSTURE: Defendat caer moved                         claim before signing and. filing its complaint. The court
  for sanctions against plaintiff purchaser under Federal         fuer detennned that pint to Rule 11 the cour had
  Rule of Civil Procedure 11 in the purchasets action             the .authority to impose sanctions upon the purchaser and
  against the carer for breach of contract, breach . of           its attorney for the frvolous resonse to the carrets
  bailient, and negligence, which the purchaser alleged           motion for summar judgment afr the purchaser refused
  had damaged coils that the purchaser had contrcted with         to voluntalydismiss its complaint agait the carrier_
  the caier to deliver and which were        held by a storage
  warehouse durng the shipping process.                           OUTCOME: The cour granted the èarer's motion for
                                                                  sanctions and ordered that the carrier was awarded costs
  OVERVIEW: The carrer claimed that the purchaser                 and attorney's fees from both the purchaser and its
  filed its complaint although the piirchasets attorney's         attorneys, in an amount determined by a magistrte as
  pre-filing inquiry disclosed facts      that exculpated the     being reasonable under the guidelines related in the
  carer and that the attorney for the purhaser had failed         cours opinion.
  to examine their shipping documents before responding
  to the carer's motion for summai judgment. The cour             LexisNexis(R) Headnotes
  determined that though the attorney for the purchaser
  had discovered from expert that the coils were not
  damaged while in the carets possession, but had rusted
  while stored in the warehouse facility afer the carrer had
                                                                  Civu Procedure. ~ Parnes ;: SelfRepresentation ;:
  delivered the coils. The court determined that it was
                                                                  Pleading Standards
  within its discretion to impose sanctions pursuant to
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 83 of 177                                                PageID 91

                                                                                                                         Page 2
                                           118 F.R.D. 66, *; J987 U.S. Dist. LEXIS 11858, *";
                                                  9 Fed. R. Servo 3d (Callaghan) 1256


  Civil Procedure:; Counel:; General           Overvie                a client, or both attorney and client. Sanctions may be
  Civil Procedure :; Sanctions :; Baseles Filgs :;                    imposed against a pro se litigant.
  General Overvie
  (H1) Before signg pleadings, motions, or papers                     CMI Procedure ;: Pleading & Practice ;, Motion.
  described by Federal Rule of Civil Procedure ll, an
                                                                      Practice;, Content & Form
  attorney or pro se litigant must be satisfied afer
                                                                      Civil Procedure ~ Pleading & Practice ;, Pleadings ;:
  reasonable inquiry that the. document signed is well
                                                                      Complaints ;, Geneal Overiew
  grounded in fact, that it is warrted by existing law or a
                                                                      Civu Procedure ~ Sanctions ;, Baseless Filings ;,
  goo fath belief in changing the law, and that it is not
                                                                      General Overvie
  interposed for any improper purpose.
                                                                      (H6) The signer's experience or inexpenence wil not
                                                                     revoke a sanction madated by Federal Rule of Civil
  Civil Procedwe :; Pl~ading & Practice ;: Pleadings :;              Procedure 11 (as amended 1983), but may afect the
  Complrint :; General Overview                                      severity of    the penalty.
  Civil Procedure ;, Sam:iions ;, Baseless Filngs ;,
  General     Overview
                                                                      Civu Procedure;" Counsel;, General Overie
  (H2) See Federal Rule of Civil Procedure 11. (as                    Civil Procedure ~ Sanctions ;, Baseles Filngs ;,
  amended 1983).
                                                                      General      Overview
                                                                      Tort ;, Negligence;" Standards of Care;" Appropriate
  Civil Procedure ;, Pleading & Prcrtie ;, Motin                     Standrd;, Objectivity
  Practice ~ Content & Form                                           (H7l Federal Rule of Civil Procedure 11 (as amended
  Civil Procedure ~ Pretrial Matters;" General Overview               1983) incorporates an . objective standard. of
  Civil Procedure ;, Sanctions ;, Baseless Filings ~                  reaonableness into the evaluation of attorney conduct.
  General     Overview .                                             The standard is one of reaonableness under the
  (HN3) Federal Rules of Civil Procedure 7(b)(3) makes                circumstaces. A greater range of circumstaces will
  explicit the application of Federal Rules of Civil                  trigger its violation. Attorney conduct is evaluated in
  Procedre 11 to motions as well as pleadings.                      . light of what a competent atorney would reasonably have
                                                                      believed at the time the pleading, motion, or paper was
                                                                      filed.
  Civil Procedure ~ Pleadig & PraCtice ;, Motion
  Practice ~ Content & Form
  Civil Procedure ;, Pleading & Practie ~ Pleadings ~                 Civil Procedure;" Counsel;, General Overvie
  Complaints;, General          Overview                              Civil Procedure ;, Sanctions ;, Baselss Filings ;,
  Civil Procedure ;, Parties ;, SelfRepresentation ~                  General Overview
  Pleading Standards                                                  (HNS) Federal Rule of Civil Procedure 11 (as amended
  (HN4) Federal Rule of Civil Procedure 11 (as amended                1983) tests the actions of a signing attorney by a stndard
   1983) applies not just to pleadings, but to pleadings,             of objective reasonableness under the circumstces.
  motions, and papers signed by an attorney or pro se
  litigant.
                                                                      Civil Procedure ~ Partie ;, SelfRepresention ;,
                                                                      Pleading Standards
  Civil Procedure ~ Partes ;, SelfRepresenttion. ;,                   Civil Procedure ~ Parties ;, SelfRepresentation ;,
  Sanctions                                                          Sanctions
  Civil Procedure ~.Counsel;, General Overview                       Civil Procedure;" Counel;, General Overview
  Civil Procedure ;, Sanctions ;, Baseless Filings ;,                 (HN9) Federal Rule of Civil Procedure 11 applies to
  Gèneral Overvie                                                     pleadings, motions, or papers signed by an attorney or a
  (HN5) Although Federal Rule of
                                           Civil Procedure 11 (as     pro se Iìtigant. An attorney who does not sign one of
  amended 1983) mandaes sanctions for violations, the                 these documents cannot be sanctioned under Rule 11.
  severity of the sanction is within the trial cour's
  discretion. Sanctions may be imposed against an attorney,
                                                                      Civil Procedure;" Counsel;, General Overview
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 84 of 177                                                 PageID 92

                                                                                                                         Page 3
                                      1 i8 F.R.D. 66, "'; 1987 U.S. Dist. LEXIS 11858, "";
                                               9 Fed. R. Serv; 3d (Calaghan) 1256 .

   Civil Procedure )0 Sanctions )0 Baseless Filngs. ;;             or paper was filed. Federal Rule of Civil Procedure n. In
   General Overview                                                considering the nature and severity of the sanctions to be
  (HN10) There are thee critical components to Federal             imposed, the court takes account of the attorney or par's
  Rule of Civil Procedure 11. Measuring the conduct of             actul or presumed knowledge when the pleaing or other
  counsel that is subject to sanctions by an objective             paper was signed. .
  stadard of reaonableness under the circumstances, a
  cour must impose sanctions if reasonable inquiry                 Civil Procedure )0 Pleading & Practice )0 Pleadings )0
  discloses th the pleading, motion, or paper is (1) not
                                                                   Amended Pleadings )0 General Overview
  well grounded in fact; or (2) not warted by existng
                                                                   Civil Procedure )0 Dismissals )0 Voluntary Dismissals )0
   law or a good faith argwent for the extension,
                                                                   General Overvie
  modification or revers of existing law; or (3) interpsed         Civil Procedure )0 Sanctions )0 Baseless Filings )0
   for any improper purse, such as harassment or delay.
                                                                   General Overvie
                                                                   (H15) The continuing duty issue under Federal Rules of
   Civ~l Procedure )0 Sanctions )0 Baseless Filngs )0              Civil Procedure 11 only arises when a once worthy claim
   General Overvie .                                               is later discovered to be meritless.
   (Hll) Factual errors in a complaint need not result in
   sanctions under Federal Rule of Civil Procedre 11.
                                                                   Civil Procedure )0 Dismissals )0 Volunuzry Dismissals )0
                                                                   General Overview
   Civil Procedure )0 Partes )0' SelfRepresentation )0             (HN16) See Federal Rule of
                                                                                                   Civil Procedure 41 (a)(l).
   Pleading Standards
   Civil Procedure )0 Paries )0 SelfRepresentation )0
                                                                   Civil Procedure )0 Dismissals )0 Voluntar Dismissals )0
   Sanctions                                                       Ge1Ural Overvie
   Civil Procedure )0 Sanctions )0 Baseless Filings )0
                                                                   (HN17) A ptnding motion for sumary judgment will
   General Overview
                                                                   not preclude dismissal if the pares agree to the
   (H12J Wben there is. neither factual nor legal support          dismissaL.
   for a daim, it may be constred as frivolous.

                                                                   Civil Procedure )0 Dismissals )0 Voluntry Dismissals )0
   Civil Procedure )0 Partes )0 SelfRepresentaton )0
                                                                   General Overview
   Pleading Standards
                                                                   Civil Procedure )0 Sanctions )0 Baseless Filings )0
   Civil Procedure )0 Sanctions )0 Baseless Filings )0             General    Overview
   General Overview
                                                                   (HN18) Even if a voluntar dismissal occurs, it does not
   Contracts Law )0 Negotiable Instruments )0                      prevent a cour from imposing sanctions under Federal
   Enforcement)o Joint & Several     Instruments
                                                                   Rule of   Civil Procedure 11.
   (HNl3) If a pleading, motion, or paper certified by an
   attorney's or pro se litigant's signatue fails the three part
   test of Federal Rule of Civil Procedure ll, sanctions           Civil Procedure )0 Sumltry Judgment )0 Supporting
   must be imposed.                                                Materials )0 General Overview
                                                                   Civil Procedure )0 Sanctions )0 Baseless Filings )0
                                                                   General Overview
   Civil Procedure )0 Pleading & Practice )0 Motion
                                                                   (H19) A respnse to a motion for summar judgment
   Practice)o Content & Form                                       that is made without reasonable inquiry into the facts on
   Civil Procedure )0 Pleading & Pnu:tice )0 Pleadings )0          whìch the motion is based violates Federal Rule of Civil
   Complaints )0 General Overvie                                   Procedure 11.
   Civil Procedure )0 Sanctions )0 Baseless Filings )0
   General    Overvie
   (HN14J A court is expected to avoid using the wisdom of         Civil Procedure ~ Remedies )0 Costs & Attorney Fees ~
   hindsight and tests the signer's conduct by inquiring what      Attorney Expenses & Fees)o Reasonable Fees
   was reasonable to believe at the time the pleading, motion      Civil Procedure )0 Sanctins )0 Baseless Filngs )0
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 85 of 177                                           PageID 93

                                                                                                                    Page 4
                                     118 F.RD. 66, *; 1987 U.S. Dist LEXIS 11858, **;
                                             9 Fed R. Servo 3d (Callaghan) 1256



  General Overvie                                                (*67) MEMORADUM
  (H20) To award an opposing par the reasonable                       THOMAS A. WISEMAN, JR, CHIEF JUDGE.
  expens it inCurs becaus of the improper filing of the
  pleading, motion, or other paper a cour must fid that the
                                                                    In this case, the defendat SCNO Barge Lines has
  actions for which fees are sought were reasonably
                                                                moved for sanctions against the plaintiff Balfour Guthrie
  necess to defend aganst the motions. A
                                                                under Federal Rule ofCívil Procedure 11. (HNl) Before
  reasonaleness inquiry necesarily requires a                   signing pleadings, motions, or papers described by R~le
  determnation as to what extent plaintiffs expenses and
                                                                11, an attorney or pro se litigant must be satisfied aftr
  fees could have been avoided and were self-imposed.
                                                                reasonable inquÍI that the document signed is well
  When counsel is called upon to defend against its             grounded in fact, that it is warranted by existing law or a
  adversa's unreasonable motion practices, he must
                                                                good faith belief in changing the law, and that it is not
  mitigate daages by correlating his response, in terms of
                                                                interosed. for any improper purose. i SCNO claims that
  hours and fuds expended, to the merit öfthe claims. The
                                                                Balfour Guthe fied a complaint alleging that SCNO
  mitigation requirement prevents a pary from misusi~g
                                                                damaged 109 steel coils owned by the plaintiff durng
  sactions under Federal Rule of Civil Procedure 1 i In         shipment, although the plaintiffs pre-filing inquiry
  order to benefit from the errors of opposing counseL. The
                                                                disclosed facts that only exculpated SCNO. SCNO also
  distrct cour is therefore required to balance carefully
                                                                contends that Balfour 'Guthre's response to (*68)
  these competing interests in determining the amount of
                                                                SCNO's motion for sumriar judgment is sanctionable
  sanctions.
                                                                because the plaintiffs attrneys (**2) allegedly failed to
                                                                examine the shipment contract and bil of ladig before

  Civil Proceáure :; Juáicíal Offcers :; Juáges :;              fashioning their arguents.
  DiscretUn
                                                                       . I See Fed. R. Civ. P. 11.
  Civü Procedure:; Remedies:; Costs & Attorney Fees:;
  Costs :; General Overview
                                                                1.
  Civil Procedure :; SanctUns :; Baseless Filngs :;
  G~neTal Overvew                                                    In August of 1984, Balfour Guthrie, owner of 109 .
  (HN21) Federal Rule of Civil Procedure JJ expressly           steel coils, contracted with SCNa Barge Lines to deliver
  provides that an award of the opposing par's reasonable       the coils to Hunter Marine, a storage warehouse in
  expenses, including a reasonable attorney's fee, .is ~nly     Nashvile. 2 When rut was discovered on the coils,
  onepossible sanction. A district cour, moreover, is given     Balfour Guthie filed a complaint against SCNO and
  wide. discretion in deciding the nature and extent of         Hunter Marine for breach of contract, breach of bailment,
  sanctions to impose.                                          and negligence. The complaint, filed on October 21,
                                                                1986, alleges that the damage to the coils must have
  COUNSEL: (** i) Allan B. Thorp of Price, Criss &              occured either during transport by SCNO or during
  Thorp and C. Dewey Branstetter, Jr., for Plaintiff.           storage by Hunter Marine.

  John S. Sandberg,. Gar D. McConnell of Shepherd,                       2 Complaint, Balfour Guthrie, Inc. V. Hunter
  Sandberg & Phoenix and E. Clifton Knowles of Bass,                     Marine Transport (No. 3-86-0902) (filed Oct 21,
  Beny & Sims, for SCNO Barge Lines, Ioc.                                1986).

  John W. Wagster of Hollins, Wagster & Yarbrough, for               Balfour Guthrie's insurance sureyor, K. W. Diers,
  Hunter Marne Transport.                                       investigated the cause of damage in the spring of 1985.
                                                                Afer examination of both the Hunter    Marne warehouse
  JUDGES: Thomas A. Wiseman, Jr., Chief United States           records and the coils, Diers concluded that the ruting had
  District Judge.                                               occurd afer condensation had formed on the coils at
                                                                the warehouse. 3 One year later, in prepartion for
  OPINION BY: WISEMAN                                           litigation, Balfour Guthrie's counsel hired a marine
                                                                surveyor, Catain Zane, to discover when and how the
   OPINION                                                      coils had rusted. (**3) Zane studied Diers' reports and
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 86 of 177                                              PageID 94

                                                                                                                         Page 5.
                                       118 F.R.D. 66, *68; 1987 U.S. Dist. LEXIS i 1858, **3;
                                                9 Feel R. Servo 3d (Callagan) 1256


   agreed with Diers' conclusion that the rust formed on the                      continuity of trsit is well
  . coìls while they were stored in Hunter Marine's                               estblished, verifying loss was
   warehouse. 4 Unbeknownst to plaintifs (*69) counsel,                           sustained a considerable time after
   Captain Zane was also employed by SCNO at the time he                          the coils were ín cae/custody
   gave his opinion   assigning full liability to Hunter Marne.                   storage of   Hunter Marine.


            3 See Affdavit of Captain C. Zane (hereinafter                            . The fact that some coils were
            "Zane Affdavit"), Exhibits Z-76 to Z-80. In an                        delívered from the overall lot
            April 16, 1985 lettr by Diers to Balfour Guthre,                      storage without damage claim (sic)
            Diers reported that he made one inspction qf the                      should reaonably indicate that the
            coils at Hunter Marne's warehouse and a more                          remaining . subsequent damaged
            detaled examination of six coils selected at                          coils were the result of inadequate

            random and transported to Nashvile Steel                              protection . against weather
            Corporation. All six coils showed evidence of                         elements while in storage. In
            rut. Testing revealed that there. was no seawater                     essence, while the coils may have
            in the can in which the coils were stored. Diers                      been in covered warehouse
            said that the coils were in the warehouse from                        storage, there apparently was no
            September 12, 1984 until at least April of 1985.                      protection against severe
             Diers observed that coils from the lot shipped out                   temperature changes.

             in Novembe of 1984 were not report by Hunter
             Marine or by the customer who received them to                          In my opinion the key
             have been damaged in any way. Accordingly,                           documents would be the
            . Diers concluded that the rust was caused by.                        climatological data from the
             sweating or condensation that resulted some time                     weather bureau closest to the
             after the coils were stored at Hunter Marine. Jd.                    warehouse facilities. This should
                                                                                  establish an offcial record of the

                  Diers traced some of the coils to S & G                         ambient frezze (sic) thaw
             Metals Company in Kansas City and issued a very                      conditions condusive to
             similar report to Balfour Guthrie on May 20,                         moistire/rusting accruals.

             1985. The results of both examinations are
                                                                                       The report of Diers and
             surarzed in' a July 3, 1985 letter to Balfour
                                                                                  Associates, Inc. dated April 16,
             Guthrie. That letter assigns responsibility for the
             ruting to Hunter Marine. See Zane Affdavit,
                                                                                   1985 concludes with opinion,
                                                                                  "Damages appear to have resulted
             Exhibits Z-82 to Z-85 and Z-73 to Z-74.
                                                                                  frm the time cago was stored in
    (**4)
                                                                                  warehouse, because reportedly, no
             4 Zae Affdavit, Exhibits Z-9 to Z-24. In Zane's
                                                                                  loss was was (sic) reported against
             affidavit, Zae explains that he first concluded
                                                                                  coils which were shipped out
             that Hunter Marne was responsible for the
             damage afer review of Diers' report in the                           shipped out (sic) of warehouse in
             sumer of 1986. Zane told plaintiffs attorney of                      November, 1984."
             this opinion orally, around August 8, 1986. In                             I can concur with the opinion.
             October, approximately two months after the
             complaint had been fied, Zae reemphasized his
             position in his recommendations to plaintiffs                              It is suggested you review
             counsel, urging the use of climatological data to                    your existing case file for
             strengten the case against Hunter Marne.                             documents relating to Hunter
             Relevant portions of Zane's December 26, i 986                       marine (sic) and then request any
             letter read as follows:                                              documents relaúve to in/out
                                                                                  warehouse receipts for the purse
                       From the case file you sent me,                            of estalishing if any exceptions
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 87 of 177                                     PageID 95


                                                                                                             Page 6
                             118 F.RD. 66, *69; 1987 U.S. Dist. LEXIS 11858, "'4;
                                     9 Fed. R. Servo 3d (Callaghan) 1256


           were made by Hunter Marine.                                  exercise reasonable prcautions
                                                                        (sic) for cago protection.
                It is also suggested that you
           request warhouse activity and/or                     Zae Affdavit, Exhibits Z-9 to Z- i o.
           payrll recrds 'concernng the
           handling cost of coils. There may                 (**5) At the time the complaint was filed, Balfour
           be a possibility that coils may have          Guthe's counsel believed that both expert' opinions
           been re-handled while in                      supported a claim against Hunter Marine. 5 Before
           warehouse storage for space                   naming SCNO, however, the plaintiffs attorneys
           accomodations (sic) or the like. If           specifically discussed with their client whether there were
           such is the case, the relative weight         suffcient facts to jusfy the complaint under Fed. R. Civ.

            bearng force of the coil rounds              P. 11. 6 Although Diers and Zane agred that the rut
            would change enhancing moisture              formed at the warehouse, Balfour Guthrie made a claim.
            ingress between the coil windings.           against SCNO. An affdavit of the plaintiffs attorney
            In that some coils were shipped out          gave three reasons for filing suit against SCNO: (l)
            in November 1984 there is a                  Hunter Marne continued to disclaim fault; (2) Balfour
            probability that some coils                  Guthrie employees had no personal knòwledge of how
            rehandling occured (sic). And if             the coils were hadled; and (3) neither Diers nor Zae
            some coils were rehadled during.             had personal knowledge of how the coils were handled. 7
           . freeze periods, or shorty before or
                                                                5 Affidavit of Allan B. Thorp in Opposition to.
            after, in warehouse, ths would
                                                                SCNO's Motion of Sanctions (hereinafter "Thorp
            compound the likelyhood (sic) of
            moisture accruals between
                                                                Afdavit") at 2.
                                                                6 ¡d.
            windings.
                                                                7 ¡d.
                A paramount factor in the
            interrogatory discover (sic) would
                                                             After SCNO had been named in the October 21,
                                                         1986 complaint, Captain Zane told Balfour Guthrie's
            be the questions and answers
            relative to temperatue (sic)
                                                         counsel that he worked for SCNO and would not testify
                                                         against the company. 8 Counsel's response was to urge
            controls, if any, in the warehouse.
                                                         Zae to remain an expert in the case against Hunter
                Furer, discover if the                   Marne arid to assure Zane that he would (**6) not be
            warehouse is constrcted so as to             required to testify against SCNO. 9 Despite these
            provide a wind force barier to               assuances, in March of 1987 Zane gave his entire file on
            inhibit strong circulation of air in         the case to his SCNO superiors, who relayed them to
            the warehouse which usually                  SCNO's counsel. 10 At this time, SCNO leared that
            accompany (sic) frgid                        Balfour Guthe may have believed as early as the spring
            temperatues. A strong circulation            of i 985, the date of Diers' report and one and a half years
            of frigid air could cree a 'flash.           before the complaint was fied, that SCNO was not
            tye freeze' of any moistue
                                                         responsible for the damage to the coils.
            between windings which in tu
                                                                 8 Zane Affidavit, Exhibit Z-6; Thorp Affidavit at
            would prlong (sic). thaw and
                                                                 3-4.
            aggrvate rusting exposure.
                                                                 9 Thorp Affdavit at 3-4.
                 Based on known facts and                        10 ¡d. at 4-6; Exhibit 6 (letter from plaintiffs
            factors it is reasonable to conclude                 attorney to Zae, Apr. 8, 1987).

            that damages to coili: occured (sic)
            while in care and custody of
                                                            On April 6, 1987, SCNO's attorneys told Balfour
            Hunter Marine, and that Hunter
                                                         Guthrie that SCNO suspected a Rule 11 violation and
                                                         demanded a volunta dismissal with prejudice under
            Mare did Dot have reasonable
                                                         Fed. R. Civ. P. 41. Ll Balour Guthrie countered on April
            storage facilties or did not
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 88 of 177                                                       PageID 96

                                                                                                                                  Page 7
                                         118 F.R.D. 66, *69; 1987 U.S. Disl LEXIS 11858, **6;
                                                 9 Fed. R. Servo 3d (Callaghan) 1256


  16 by offering a voluntary dismissal without prejudice if                       customers and were undamaged.
  SCNO would withdraw its pending motion for summar
                                                                                              * * *
  judgment and cooperate in the ca$e against Hunter
  Marne. 12 SCNO refused and moved for sarctions on
                                                                                       8. Sta all facts and
  July 31.
                                                                                  informaton upon which you allege
           11 Motion for Sanctions at 5. This conversation                        in your complait that SCNO
                                                                                  delivered the coils to Hunter
           was confrmed by letter on May 13, 1987. Thorp'
                                                                                  Marne in a good and undamaged
           Affdavit at 6-8; Exhibit 8 (letter from SCNO
           counel to plaintiffs attorney, May 13, 1987).                          condition. .
   ("'7)                                                                                   Answer to              Interrogatory
           12 Motiôn for        Sanctions at 5.
                                                                                  Number          8:

       SCND's motion argues that Balfour Guthie made
                                                                                           The Bill of Lading of SCND;
  the reasonable pre-fiing inquiry reauiedunder Rule 11
                                                                                  the fact that Hunter Marine made
 . and that the result ofthat inquiry should have Jed Balfour
                                                                                  no exceptions to the condition of
  Guthe not to fie suit against SCNO. 13 (*70) In
                                                                                  the coils; and, the fact some of the
  response, Balfour Guthie's counsel clais that he had a
                                                                                  coils had been delivered to
  good faith basis in fact and law for fiing against SCNO
                                                                                  customers who made no claim as
  and th the claim was. not made for any improper
                                                                                  to the condition.
  purose. Balfour Guthrie also argues that it was unable to
  dismiss its claims against SeND in view of SCNO's                                        9. State all facts and
  outstanding motion for summary judgment. 14                                     information upon which you allege
                                                                                  in your complaint that SCND
           13 As support, SCNO cited attachments to the
                                                                                  delivered the coils to Hunter
           Zane affidavit and the plaintiffs answers to                           Marne in a damaged condition.
           Hunter Marine's interrogatories, in which Balfour
           Guthrie said the coils left SCNO in good.                                       Answer to              Interrgatory
           condition. . Answers . to these interrogatories,                       Number         9:
           submitted by plaintiffs counsel to Hunter Marine
           on May 15, 1987, show that the opinion Balfour                                  The Plaintiff has' no
           Guthrie held before fiing the complaint agnst                          knowledge except for information
           SCNO remained unchanged afer subsequent                                which the Defendat Hunter
           discovery. These answers have been neither                             Marne has concerning. the
           sworn nor notarized.                                                   condition             of the coils when
                                                                                  delivered by SeNO to Hunter
                       2. State all facts and information                         Marine.
                    upon which you allege in your
                  . cmplaint (sic) that the coils were                                        * *..
                    delivered to SCND in New Orleans
                    In good and undamaged condition.                                       i 9. State all facts and
                                                                                  information upon which you allege
                             Answer     to    Interrogatory                       in your complaint that defendant is
                    Number      2:                                                gulty of breach of contract and/or
                                                                                  breach of           bailment.
                         The SCNO Bill of Lading; the
                    fact that there were no exceptions                                     Answer to              Interrgatory
                    taen to the coils when they were                              Number 19:
                    delivered by seNO to Hunter
                    Mare; and, the fact that some of                                       Discovery is continuing.

                    the coils had been delivered to
                                                                                  However, the coils were delivered
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 89 of 177                                                PageID 97

                                                                                                                           Page 8
                                     118 F.R.D. 66, "70; 1987 U.S. Dist. LEXIS 11858, ""7;
                                                9 Fed R. Servo 3d (Callaghan) 1256



                   to Hunter Marine in a good                              16 Plaintiffs Response to Motion for Sumar
                   condition and were redelivered                          Judgment by SCNO Barge Lines, Inc. The
                   damaged. Hunter Mare did not .                          response is reprnted in its entirety.
                   exercise proper temperatue
                   control to waehouse the coils                                PLAINIF'S REPONSE TO MOTION
                   without daage.                                          FOR SUMARY JUDGMENT BY SCNO
                                                                           BARGE LINS, INC.
            See Notice of Filing Doument, Balfour Guthrie.
            Inc. v. Hunter Marine Transport (No. 3-8~0902)
                                                                                        The defendant, SCNO Barge
                                                                                   Lines, Inc., has fied a Motion for
            (filed Aug. 5, i 987) (interrogatories and anwers
                                                                                   Summar Judgment alleging that
            are attched).
                                                                                   the plaintiffs claim is time-barred
   (**8)                                                                                                           claim
                                                                                   because neithèr notice of the
            14 Plaintiffs Memorandum Opposing SCNO's
                                                                                   to the defendant nor the fiing of
            Motion for Sanctions at 2c3, 9-10; Supplemental
                                                                                   suit occurred within the limitations
            Memoradum Opposing Motion for Sanctions at
            2-3.                                                                   periods stated on the back of the
                                                                                   bil of lading. (Exhibit A to
       In March of 1987, SCNO fied a motion for                                    Afdavit of Gerald Weinmann,
   sUJmar judgrent against Balfour Guthrie. This motion,                           Vice President of SCNO Barge
   submitt before Captan Zane's disclosues to SCNO,                                Lines, Inc.)
   argued that Balfour Guthrie's complaint was fied aftr
                                                                                         The defendat is not entitled
   the time period pennitted in a notice-to-sue provision
                                                                                   to summar judgment on this issue
   incorporated into the shipping contract through the bil of .
                                                                                   because the limitations periods
   lading. i 5 Balfour Guthe's perfnctory response to the
                                                                                   relied on dìd not become par of
   motion for summar judgment argued that the tenns of
                                                                                   the contrct of the paries. n A
   the bil of lading, which contained the limitations' period,
                                                                                   stap or notice on the back of a
   were never incorprated into the contract and were not
                                                                                   bill of lading does not constitue a
   signed by the plaintiff or its agents. 16 Hence, Balfour
                                                                                   par of the contract or var its
   Guthre (*71 J asserted that the contractual limitation
                                                                                   obligations unless it receives the
   never came into being.
                                                                                   asent of the shipper or is
            15 SCNO's Motion for Sumar Judgment. The                               incorporated by reference on the

            strght bill of lading required that SCNO receive
                                                                                   face of the bill, . . . .n 70 AmJur2d
            wrtten notice of any claims for damage to the                          Shipping, § 736. The front side of
                                                                                   the bill of lading exhibited to the
            shipment within nine months of delivery, and that
            suits arsing from these claims be instituted within
                                                                                   Weinmann Affdavit does not
            two years and one day from the date of SeND's.                           incorporate by reference the terms
            receipt of the written notice. d. at 2. According to                   and conditions on the back side,
            SCNO, the bill of lading was issued pursuant to                          nor is the bil signed by Balfour

            the trsporttion contract between SCNO and                                Guthrie, Inc. or its agent.
            Balfour Guthrie's agent, Houston Stevedores. The
                                                                                          Therefore, the plaintiff
            trsportation contrct was said to incorporate the
                                                                                     requests that the defendant's
            bil of lading in its entirety. Both the bill of lading
                                                                                     Motion for Summar Judgment be
            and accompanying Freight Schedule 800,
                                                                                     denied.
            referenced in the transporttion contract between
            plaintiffs agent and SCNO, contan the
             limitations period. See Reply of SCNO Barge
                                                                         (** 1 0) This CoW1 grated SCNO's motion in
             Lines, Inc. to Plaintiffs Response to SCNO's            Augut 1987. 17 The Court observed that, plaintiffs'
             Motion for Summary Judgment and attachments.            objection notwithstanding, the terms of the limitations
    (**9)                                                            period on the face of the bil were expressly incorporated
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 90 of 177                                                PageID 98


                                                                                                                           Page 9
                                     118 F.R.D. 66,'*71; 1987 U.S. Dist. LEXIS 11858, **10;
                                              9 Fed. R. Servo 3d (Callaghan) 1256


  in the transporttion contract in Freight Schedule 800 and                witness sustained by . corroborating
  that Balfour Guthrie had actual notice of that contract                  circumstances is ablished. The signature
  Furter, the Cour noted that the face of the bil                          of an attorney constitutes a certlficate by
  incorporated the trsportation contract Finaliy, the                      him that he has read the pleading; that to
  Cour also determined that the Doticecto-sue provision                    the best of his knowledge, informdiion,
  was a common coD1ercial practice and that limitations                    and belief there is good ground (** 12) to
  periods of much shorter duration        had been upheld as               support it; and that it is not interposed for
  reanable.                                                                delay. If a pleading is not signed or is
                                                                           signed with intent to defeat the purse of
            17 Memoradum and Order, BaljourGuthrie,                        ths rule, it may be stricken as sham and
           Inc. Y. Hunter Marine Transport (No. 3-86-0902)                 false and the action may proceed as
           (August 6, 1987).                                               though the pleadig had not been served.
                                                                           For a wilful violation of this rule an
     SCNO's motion for sactions argues that Balfour                        attorney may be subjected to appropriate
  Guthe's response to the motion for summar judgment                     . disciplinary action. Similar action may be
  is. sanctionable because it showed that plaintiffs counsel               taen if scandalous or indecent mattr is
  had not closely examined the contract produced to them.                  inserted. (Emphasis arded).
  18 Balfour Guthrie responds that the documents produced
  did not show that the paries ever contracted for a             Rule 11 once required "good ground" to support a
  notice-to-sue provision. Balfour Guthrie adds that "a           pleading and baned any pleading interposed for delay. If
  g~d faith dispute as to whether the statute of limitations      a violation occurred, sanctions were'not mandated by the .
  has run ca be no basis to support a Rule (** I I) 11            Rule; but if the court did impose sactions, only one
  motion." 19
                                                                  choice was permitted by the Rule - to strike the pleading
                                                                  entirely. Because the Rule relied on a subjective good
           18 Motion for Sanctions at 4; Memorandum in
                                                                  faith stadard to detect violations and allowed only one
           SuPPort of    MotioD for Sanctions at 7. .
                                                                  harsh penalty for violators, court rarely enforced Rule
           i 9 Plaintiffs Memorandum Opposing SCNO's
                                                                  11. See Nelken, Sanctions Under Amended Federal Rule
           Motion for Sanctions at 3-7.
                                                                  11 -- Some "Chiling" Problems in the Strggle Between
  II.                                                             Compensation and Punishment, 74 Georgetown L.Rev.
                                                                  1313, 13 14-17 (1986) (hereinafer ''Nelken"J. An
  The Original Rule II                                            attorney's genuine belief in the validity of the pleaings
                                                                  was usually sufficient protection (**13) from sanctions
        Rule 11, adopted into the Federal Rules of Civil          Under Rule n. See, (*72) e.g., Nemeroffv. Abelson, 620
  Procedure in 1938, tred to promote the responsible             F.2d 339, 350 (2d Cir. 1980) (because action not without
  practice of law but offered neither guidance in defining        foundation, no subjective bad faith suffcient to warrt
  appropriate conduct nor flexibìlity in punishing breaches       sanctions).
  of it. The 1938 Rule reads as follows:
                                                                  Changes in Rule 11: The 1983 Amendent
              Every pleading of a par represented by
           an attorney shall be signed by at least one               . The new Rule 11, amended in J 983, took shape
           attorney of record in his individual name,
                                                                  because of frstrations with both the strctues of the old
           whose address shall be stated. A par who               Rule and the explosion of litigation in the federal courts.
           is not represented by an attorney shall sign           An increased desire to let federal couTt manage their
           his pleading and state his address. Except             dockets and the urge to       discourage unfounded filings
           when otherwise specifically.provided by               were also contrbuting factors. Rule 11 was one in a
           rue or statute, pleadings need not be
                                                                 series of several amended rules designed to make lawyers
           verified or aècompanied by affdavit. The               more accuntable for their actions, increase judicial
           rule in equity that the averments of an
                                                                 management of cases, improve the discoveiy process, and
           answer under oat must be overcome by
                                                                 encourage use of sanctions where appropriate. 20 Federal
           the testimony of two witnesses or of one
                                                                 Rule of Civil Procedue 11 now reads as follows:
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 91 of 177                                             PageID 99

                                                                                                                        Page 10
                                 118 F.R.D. 66, *72; 1987 U.S. Dist. LEXIS 11858, **13;
                                          9 Fed. R. Serv. 3d (Callagan) 1256


                                                                        Federal Rules of Civil Procedure 7, 11, 16, and
            (H2) Every pleading, motion, and                            26 as an "integrated package" promoting judicial
       other paper of a par represented by an                           mangement. These rues
       atorney shall be signed by at least one
       atorney of record in his individual name,                                   focus on the pretral proces and
       wh~se addres shall be stated A par who                                   attmpt to remedy the percei ved
       is not represented by an attorney shall sign                             ineffciencies and abuses of the
       his pleading, motion; or other paper and                                 system by increasing judicial
       state his addrt:ss. Excet when otherwise                                 oversight of litigation and by
       specifically provided by rule or statute,                                diminishing the incentives for
       (** 14) pleadings need not be verified or                                certain kinds of litigation behavior
       accompanied by    affdavit. The rule in                                  though sanctions provisions.
       equity that the averments of an answer                                   (HN3) Rule 7(b)(3) makes explicit
       under oath must be overcome by the                                       the application of Rule 11 to
       tetimony of two witnesses or of one                                      motions as well as pleadings. Rule
       witness sustaned by corroborating                                        16, which expands the role of
       circumstces is abolished. The signature                                  pretral confererices, is a "blueprint
       of an attorney or party constitutes a                                    for management," and role 26 puts
       certifcate by him ,hat he ha read the                                    the judge in the drver's seat with
       pleading, motion. or other paper; that to                                respect to the scope of discovery.
       the best of his knowledge. information,                                 Rule 11 is a general provision that
       and beliefformed afer reasonable inquiry                                supplements the case management
       it is well grounded in fact and is.                                     tools prescribed in rules 16 and 26.
       warranted by existing law or a good faith
       arguent for the exension, modifcation,                         Id.
       or reversal of existing law, an that it is
       not interposed for any improper purpose,                    (HN4) Rule I I now applies not just to pleadings, but
       such as to harass or to cause unnecessar              to pleadings, motions, and papers signed by an attorney
       delay or needless increase in the cost of             or pro se litigant (H5) Although the amended Rule
       litigation. If a pleading, motion, or other           mandates sanctions (*'" i 6). for violations, the severity of
       paper is not signed, it shall be stricken             the sanction is within the trial cours discretion. Fed. R.
       unless it is signed promptly after the                Clv. P. 11, Notes of Advisory Committee. Sanctions may
       omission is Called to the attention of the            be imposed against an attorney, a client, or both attorney
       pleader or movant. If a pleading, motion,             and client. Sanctions may be imposed against a pro se
       or other paper is signed in violation of this         litigant. See Kurkowski v. Volcker, 819 F,2d 201 (8th Cir.
       rule, the court, upon motion or upon its              1987); Doyle v. United States, 817 F.2d 1235 (5th Cir.
       own initiative, shall impose upon the                 1987). (HN6) The signer's experience OF inexperience
       person who signed it, a represented part,             wil not revoke a sanction mandated by Rule 11 but may
       or both, an appropriate sanction, which              affect the severity of the penalty. Compare Unioil, Inc. v.
       may include an order to pay (* '" 15) to the         E.F. Hulton & Co., 809 F.2d 548, 557-559 (9th Cir.
       other par or paries the amount of the                 1987) (sanctions of $ 294,141.0 upheld in' par        becuse
       reasonable expenses incured because of               attorney was experienced (*73) and firm specialized in
       the filing of the pleading, motion, or other         complex business litigation) with Brown v. Nationwide
       paper, including a reasonable atorney's              Mut. Ins. Co., 805 F.2d 1242, 1244 (5th Cir. 1986) (tral
       fee. (Emphasis added).                               cour had reduced sanctions to $ i ,000 because it
                                                            considered counsel suffciently humiliated by a first time
                                                            offense).

       20 Nelken at 1317. In her aricle on Rule fl,            Perhaps the most important difference in (HN7) the
       Nelken describes the 1983 amendments to              amended Rule is that it incorprates an objective stadard
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 92 of 177                                                    PageID 100

                                                                                                                            Page 11

                                          118 F.RD. 66, *73; 1987 U.S. Dist. LEXIS ) 1858, n I 6;
                                                     9 Fed. R. Servo 3d (Callagha) 1256


                                                                                signing attorney may be subject to sanctions even
   of reasonableness into the evaluation of attorney conduct.
   The standard is one of reasonableness under the
                                                                                if the . attorney is an associate signing at the
                                                                                direction ofa parer or a local attrney signing
   circumstaces. Ths stadard is more stringent than
                                                                                for out-of-state counseL. The court wared
   (**17) the original good faith formula and thus it is                        attorneys to be selective about the documents they
   expeted that a greater range of circumstaces wil trigger
                                                                                 sign. See id at 1128-lJ 29. The Ninth Circuit
   its violation. Fed R. Civ. P. 11, Notes -of Advisory
                                                                                 disagrees under some circumstaces. See Uniail,
   Committ (citations omittd). Attorney conduct is
                                                                                 Inc. v. E.F Hutton & Co., 809 F.2d 548, 558 (9th
   evaluated in light of what a competent attrney would
                                                                                 Cir. 1987), citing Schwarer, Sanctions Ulier the
   reasonably have believed at the time the pleadig,
                                                                               . Nf: Rule 11 - A Closer Look. 104 F.R.D. 18-1
   motion, or pap was fied. Id
                                                                                 (1985).
        Court often say that the subjective stadard of goo
   faith no longer applies in Rule 11 cases. See Greenberg V.                 ("'*19) (H10) There are thee cntical components

   Sala, 822 F.2d 882 (9th Cir. 1987) (before 1983, Rule II              to Rule 11. Meauring the conduct of counsel that is
   was interpreted to require subjective bad faith by a                  subject to sanctions by an objective stadard of
   signing attorney . . . . but (HN8) amended Rule 11 tests
                                                                         reaonableness under the circumstances, a cour must
  . the actions of a signing attorney by a stadard of                    impose sanctions if reasonable inquiry discloses that the
                                                                         pleading, motion, or papr is
   objective reasonableness under the circumstances). See
   also INVST Financial Group v. Chern-Nuclear Systems,
   815 F.2d 391,401 (6th Cir. 1987), cert. denied,
                                                             Garratt                (i) not well grounded in fact; or
   v. INVST Financial-Group. Inc., 484 u.s. 927, 108 S. Ct.
   291, 98 L. Ed 2d 251 (1987), citing Albright v. Upjohn                        (2) not waranted by existing law or a
                                                                                  good faith argument for the extension,
   Co., 788 F.2d 1217, 1221 (6th Cir. I986); Robinson V.
                                                                                  modification or reversal of existing law; or
    National Cash Regiter Co., 808 F.2d 1119, 1127 (5th
    Cir. 1987); Zaldivar V. City of Los Angeles, 780 F.2d
    823, 829 (9th Cir. 1986); Whittington v. Ohio River Co.,
                                                                                  (3) interposed for any improper puise,
                                                                                  such as harassment or delay.
    115 F.R.D. 201, 208 (E.D. Ky. 1987). (**18) Some
    writers believe that amended Rule 11 modifies the good
                                                                          Knop v. Johnson, 667 F. Supp. 512, 5 I 6 (W.D. Mich.
    faith formula of the original Rule by restricting it to two
                                                                         1987), citing Westmoreland v. CBS, Inc., 248 u.s. App.
    areas: in the attorney's belief about arguents for the
                                                                         D.C. 255, 770 F.2d 1168, 1174 (D.C. Cir. 1985); Fed. R.
    extension, modification, or reversal of existing law and in
                                                                         Civ. P. 11
    the prohibition agains fiing documents for an improper
    purose. See Whittington, 115 F.R.D. at 208, n.23;                         In Albright v: Upjohn Co., 788 F.2d 1217 (6th Cir.
    Nelken at 1320. One corIentator observes that the new                 1986), the Sixth Circuit discussed what constitutes
    Rule adds an objective layer to the subjective core of               reasonable inquiry suffcient to show that a complaint is
    traditionally sanctionable bad faith conduct. Id
                                                                         well grounded in fact. The court upheld Rule 11 sanctions
                                                                          against a plaintiff who sued a drg manufactuer solely
    Requirements of Rule 11
                                                                          because it had (*74) been a defendant in similar suits
                                                                          and because her medical        records were. illegible and
          (HN9) Rule 11 applies to pleadings, motions, or
     papers signed by an attorney or a pro se litigant. An                incomplete. The plaitiff who had sued several different
     attorney who does not sign one of these documents                    manufactuers, was using discovery to determine whether
     cannot be sanctioned under Rule 11. See In re Ruben, 825             her claims against Upjohn had any ("'*20) merit. Cf
     F.2d 977 (6th Cir. 1987). Limiting sanctions to the                  Southern LeaSing Partners v. McMullan, 801 F.2d 783,

     person who signed makes sense in light of the                        786 (5th Cir. 1986) (counsel filed complaint hoping

     certification rationale for the Rule and avoids the need for         discovery would uncover facts to support its claims);
     extr discovery to find out who prepared the document.                Whittington v. Ohio River Co., 115 F.R.D. at 206 (a
     See Robinson v. National Cash Register, 808. F.2d at                 clai must not be asserted in the mere hope that
     1129.21                                                              discovery will turn up something against the defendant).
                                                                          The Sixth Circuit sanctioned Albrights action because
              21 In Robinson. the Fift Circuit observed that a
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 93 of 177                                             PageID 101

                                                                                                                      Page 12
                                   118 F.R.D. 66, *74; 1987 U.s. Dist. LEX!S 11858, **20;
                                            9 Fed. R. Servo 3d (Callagan) 1256


   she asserted her claim against Upjohn with knowledge              Deciding what are reasonable inquiries into fact and
   that she had no factual basis for it Albright v. Upjohn       law requires the cour to balance th legitimate concerns

   Co., 788 F.2d at 1221, n.7. Cf INVST Financial Group          about shotgu pleadings and frvolous filings. against
   v. Chern-Nuclear Systems, 815 F.2d at 402 (motion for         several factors: the Rule's own adonition not to stifle
   recusal not well grounded in fat when Judge had made          attorneys' creativity and enthusiasm, the general intent of
   no comments showing personal bias against the                 th.e Federal Rules to replace technica code pleading with
   defendants).                                                  more liberal pleaing rues, and the need for change and
                                                                 growt in the law itself. See Fed. R Civ. P. 1/, Note of
       (HNll) Factual errors in a complaint need not result      Advisory Conuittee. See generally Note, Plauible
   in Rule 11 sanctions. In a recent case, the Ninth Circuit     Pleadings: Developing Standards Jar Rule 1 i Sanctions,
  . denied sactions imposed against a attorney who had put       100 Harv L. Rev. 630 (1987).
   in over 100 hours of pre- fiing reseah because. neither
   clear lega authority nor the lítigants own adission               Rule 11 labels harsment and delay as improper
   erased the factual underpinning of the litigant's pleading.   puroses, and the Advisory Committee Notes observe
   Greenberg v. Sala, 822 F2d at 889 (9th Or. 1987). By          ("'*23) that the litigation process may be abused for other
   contrt, minimal pre-filing researh that consists              puroses as welL. (HNI2J When there is neither factual
   primarily of conversations (**21) with a client is not        nor legal support for a claim, it may be consted as
   enough to show that a complaint is well grounded in fact      frvolous. See Kurkowski v. Volclcr, 819 F.2d at 204
   See Southern Leasing Partners v. McMullan, 801 F2d            (faers' pro se complaint aganst lenders sanctionable
   783 (5th Gir. 1986). However, extended reseach alone          when filed in face of previous dismissals involving the
   wil not redeem a claim that is without legal or factul        same pares. under the same legal theories); /NVST
   merit. Knop v. Johnson, 667 F. Supp. at 516~                  Finanial Group v. Chern-Nuclear Systems, 815 F.2d at
                                                                 402-403 (*75) (motion for recusal without basis in fact
        'Determining what constitutes reasonable inquiry         or law); Brown v. Nationwide Mut. Ins. Co., 805 F2d at
   suffcient to show that the pleadig, motion or paper is        1244-/245 (neither legal nor factual merit in plaintiffs
   well grounded in existing law or in a good faith belief in    claim against insurance company for failure to settle fast
   changing the law seems more diffcult In Whittington v.        enough). The Ninth Circuit observes that harsment
   Ohio River Co., the Eastern District of Kentucky              must do more than bother, annoy or vex the complaining
   observed that   a competent attorney must do enough           pary. Zaldivar v. City oj Los Angeles, 780 F.2d at 832.
   reseach to know what the existing law in the case is.         Hente, successive complaints based upon propositions of
   115 F.R.D. at 207-208. Hence, if a controlling case is        law previously rejected may constitute harsment. 1d.
   fatal to a claim and a reasonably competent attorney          Similarly, a blizzd of poorly prepared but potentially
   wo~ld have found it, the claim is not well grounded in        dispositive motions submitted shortly before trial may be
   law. Id. See 1NVST Financial Group v. Chern-Nuclear           constred as harassment. Knop v. Johnson, 667 F Supp.
   Systems, 815 F.2d at 403 (cursory review of Fed. R. Civ.      at 519-520. A motion fied to delay a hearg has been
   P. 12 would have shown the motion to dismiss was              fied for an improper purose. (**24) INVT Finandiû
   improper); Robinson v. National Cash Register Co., 808        Group, 815 F.2d at 402. By contrast, political motives for
   F.2d at 1131 (law of res judicata clealy bar the              filing a lawsuit that is well grounded in fact and law have
   claim); Southern Leasing Partners v. McMullan, 801            been held not to be improper. Zaldivar, 780 F2d at 834.
   F.2d at 788-789 (argument that res (**22) judicata not        These cases reveal two patterns. Either the document is
   applicable to case mere rhetoric that misstates the law).     so devoid of factul and legal merit that any purose for
   Shotgun complaints may be suicidal, inflcting Rule 11         which it has been filed must be improper, or the
   sactions. See Thomas v. Capital Security Services, 812        document has been filed for some purose other than the
   F.2d 984, 986 (5th Cir. 1987); Southern Leasing               orderly resolution of disputes through litigation.
   Partners, 801 F2d at 787; Whittington, lJ5 FR.D. at
   207. If the area of law is considered complex and             Beyond Rule 11: Continuing Duty
   uncertin, however, Rule 11 sactions are raely granted
   under this provision. See Vatican Shrimp Co. V. Solis, 820         (H13) If a pleading, motion, or paper certified by
   F.2d 674,681 (5th Gir. 1987).                                 an attorney's or pro se litigant's signature fails the three
                                                                 par test of Rule 11, sanctions must be imposed. Fed. R.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 94 of 177                                                PageID 102

                                                                                                                       Page 13
                                       1 i 8 F.R.D. 66, *75; 1987 U.S. Dist. LEXIS 11858, **24;
                                                  9 Fed. R. Servo 3d (Caiiaghan) 1256


   Civ. P. 11. The Advisory Committee's Notes emphasize              F.2d 882(9th Cir. 1987); KurlWwski v. Volcker, 819 F.2d .

   that the signer's compliance is to be judged by what was          201 (8th Cir. 1987); Siabo Food Service. Inc. V. Canteen

   reasonable. to have been believed at the time the                 Corp.. 823 F.2d 1073, (No. 86-3093), (7th Cir. June 29,
   document was fied.                                                1987).

       Some cour have asked whether the duty imposed                 Il.
   by Rule 11 at the time of filing contiues thoughout the
   litigation. They speculate abut whether the attorney who               SCNO's motion for sanctions against Balfour Guthre
   files in compliance with Rule 11 and thereafter leas that
                                                                     raises two questions: whether the original complaint was
   the document is not well grounded in law or fact must             filed in violation . of Rule .1/ and whether Balfour
   take fuer action. When the' document in queson is a
                                                                     Guthe's response to SCNO's. motion for. summary

   complaint, the issue (**25) arses whether a volunta               judgment also violated the Rule.
   dismissal under Federal Rule of Civil Procedre 41 is .
                                                                      (*76) The Complaint
   reired.
                                                                           Balfour Guthe's complaint, signed by attorney
           Circuit cours are split as to whether Rule 11 imposes
                                                                     Allan Thorp and filed on October 21, 1986, is clearly a
   a continuing duty. The Fift Circuit invokes the doctrine
                                                                     pleading that falls within the bounds of Rule 11. The
   as a sensible extension of the rule. See Thomas V. Capital
                                                                     plaintiff conducted a reasonable pre-filing investigati~n
   Security Services, 812 F.ld at 988; Róbinson v. National
                                                                     by hiring tWo different expert to discover what had
   Cash Regiter, 808 F.2d at' 1117; Southern Leasing
                                                                     caused the steel (**27) coils to rust.
   Partners V. McMullan, 801 F.2d at 788. By contrt, the
   Second Circuit opposes the continuing duty doctrne                    Plaintiffs compliance with the Rule ends at this
   because it is viewed as undercuttng the languge of the            point, however. The reasonable inquiry, based    on first
   Rule and the intent of the drafters. See Oliveri v.               hand examination of the coils and the warehouse records,
   Thompson, 803 F.2d 1265, 1274 (2d Cir. 1986);                     disclosed facts that only exculpated SCNO. Diers
   Stiefvater Real Estate, Inc. v. Hinsdale. 812 F.2d 805.           inspected the coils both at Hunter Marine and at another
   809(2d Cir. 1987).                                                warehouse to which they had been trsported for the

           The Sixth Circuit's position on continuing duty is        purose of furter testing. Tests on six coils selected at
                                                                     random revealed gradations of rut on the ~oils in the
   unclear. In dicta, the cour has suggested that a plaintiff
                                                                     absence of seawater, an element .one might expect to be
   whose claim lacked merit at the outset should have                 present had the coils been improperly handled by SCNO.
   dismissed      it.
                                                                      Review of Hunte~ Marine's own records confirmed .this
                                                                      analysis. Coils from Balfour Guthrie's lot were delivered
                 Albright asserted her claim for liability
                                                                    . to a customer in November of 1984, two months afer
               against Upjohn with the knowledge that
                                                                      SCNO had delivered them to the warehouse.' Neither
               she had no factual basis for the claim and
                                                                      Hunter Marne nor the customer who received the coils
               continued to asert it long after it would
                                                                      reprt any daage to them. . .
               have been reasonable to have dismissed it.
                                                                           Captain Zae agreed with th analysis before the
    Albright Y. Upjohn Co., 788 F.2d at /221. n~ 7. Albright         complaint was filed; afterwards, he suggested discovery
   turned on the plaintiffs (**26) failure to make a                 of climatological data as a mean of fixing damage
   reasonable prefiling inquiry. The Court determined that           exclusively on Hunter Marine. With hindsight, Captain
   the claim violated Rule i i at the time of filing. Because        Zane's credibility is questionable: as an SCNO employee
   the continuing duty issue only arises in the context of a         who refused to testify against his employer, Zane could
   reasonable filing that later becomes unreasonable, it is          have been expected (**28) to point the finger at the only
   uncertin what position this Circuit would adopt on the            remaining defendant in the lawsuit, Hunter Marine. Yet,
   issue.                                                            the Advisory Committee's Notes to Rule 1/ caution
                                                                     against hindsight judgments and urge the Court to
           Interestingly, several circuits have imposed sanctions
                                                                     consider what it would have been reasonable for Balfour
   for Rule 11 violations even afr volunta dismissal
                                                                     Guthrie's counsel to believe abut SCNO's potential
   under Fed. R. Ciy. P. 41. See Greenberg Y. Sala, 822
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 95 of 177                                                    PageID 103


                                                                                                                          Page 14
                                        118 F.R.D, 66, *76; 1987 U.S. Dist LEXTS 11858, "'28;
                                                 9 Fed. R. Servo 3d (Callaghan) 1256


   liability when the complaint was filed. 22 Counsel for the        SCNO. In December of J 986, Captain Zae confrmed in
   plaintiff says that he did not know Captain Zae worked            wrting his initi position that (*77) the rusting of the

   for SCNO until well after the filing. 23 Hence, plaitiffs         coils .was attbutable solely to Hunter Marne. In May of
   counsel had no reason to doubt Zane's opinion of Diers'            1987, Balfour Guthie's answers to Hunter Marine's

   study. In addition, Zane's credibility is irrelevant to the       interrogatries showed the plaintiffs belief that the coils
   force of    Diets analysis, available to plaintiffs counsel for   had been delivered by SCNO to the warehouse in goo
   over a ýear before the lawsuit began,
                                                                     condition. Most importantly, in the spring of 1987, up to
                                                                     seven months afr the complaint was filed, Balfour
              .22 (HNI4) The Court is expected to avoid using        Guthrie's counsel admitted that it had no evidence to
              the wisdom of hindsight and should test the            support a claim against SCNO,
              signets conduct by inquiring what was reasonable
              to believe at the time the pleading, motion or.                   By the time this request (by SCNO to
              paper was filed. Fed. R. Civ. P. /1. Notes of                  dismiss under Fed. R. Civ. P, 41) had been
              Advisory Committee. In considering the nature                  made, discovery had ben taken, all of
              and severity of the sanctions to .be imposed, th               which indicated the coils had been
              cour should tae account of the attorney or                     delivered to Hunter in a goo and
               par's actual or presumed knowledge when the                   undamaged condition. 24
               pleading or other paper was signed. ¡d. See INVST
               Financial Group v. Chern-Nuclear Systems, 815
               F.2d 391, 401 (6th Cir. 1987).
                                                                             24 Plaintiffs Supplemental Memoradum
    (**29)                                                                   Opposing Motion for Sanctions       at 2.
               23 Thorp Affdavit at 3.
                                                                          Because the Cour firids that Balfour Guthrie's
         Balfour Guthrie's justifications for fiing suit agaist
                                                                      origma! complaint against SCNO lacked any basis in fact
   SCNO in light of these factual' findings are weak at best.
                                                                      when filed, there is no need to reach (HN i 5) the
   Hunter Marne's protestations of innocence are
                                                                     . continuing duty issue, which only arises when a (**31)
   insuffcient to make the complaint well-grounded in fact
                                                                       once worty claim. is later discovered to be meritless.
   when every factual finding pointed to Hunter Marine as
                                                                       Balfour Guthrie resembles the plaintiff in Albright, who
   the culprit. Indeed, Hunter Marne could scarcely have
                                                                       knew that the claim was not well grounded in fact and
   been expected to say anything else. The issue is not
                                                                       continued to assert the claim long after it would have
   whether the other defendant's belief in SCNO's liability
                                                                      been reasonable to dismiss it. Albright v. Upjohn Co.,
   was reasonable, but whether Balfour Guthrie's belief was
                                                                      788 F.2d at 1221, nJ.
   reasonable. It was not.
                                                                         The plaintiff assert that because the narage must.
          The plaintiffs argument that neither its expert nor
                                                                      have occurred either durg shipment or storage, the
    employees had first hand knowledge of how the coils
                                                                      claims against SCNO can defeat Rule 11 sanctions under
    were handled is not persuasive. At least one of the
                                                                      a theory of alternate liability. The plaintiff in Albright,
    plaintiffs experts, Mr. Diers, had personal knowledge of
                                                                      who sued several drug manufactuers on theories of
    the condition of the coils at the warehouse, because he
                                                                      concert of action and alternate liability, made a similar
    examined them there. The plaintiff hired experts
                                                                      argument. The Sixth Circuit obseived
    presumably because plaintiff was willing to rely on
    opinions based not on direct observation of the coils'                                                   Rule 11 motion
                                                                                 the basis of (Upjohn's)
    storage and transport but on tests made thereafer. In
                                                                              was that Albright failed to reasonably
    short, Balfour Guthrie made reasonable inquiry through
                                                                              investigate the facts, not that Albright
    its two experts but lacked any basis in fact to support its
                                            filing.                           failed to conduct a reasonable inquiry into
    claim against SCNO at the time of
                                                                              the law. Whether or not Albright's
          This conclusion (""30) is strengtened by thee                       assertion of joint enterprise liability was
    pieces of evidence showing that months after the                          waranted by a good faith argment of
                                                                              ex.sting law is not detenninative of the
    complaint was filed, plaintiffs counsel continued to
    believe that there was no basis in fact for the suit against              question of whether she made reasonable
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 96 of 177                                                  PageID 104


                                                                                                                          Page 15
                                         118 F.RD. 66, *77; 1987 U.S. Dist. LEXIS 11858, *"31;
                                                  9 Fed. R. Servo 3d (Callaghan) 1256


          prefiling inquiry into the facts to satisfy                pending motion for suimar judgment wil not preclude
          the affrmative duty imposed by Rule 11.                    dismissal if   the pares agee to the dismissaL. In this case,
                                                                     the pares could not agree because Balfour Guthrie
   Id at 1221, n.5. In the case before this CoUr, Balfour            refued to dismiss the complaint (*78) with prejudice.
   Guthe's (**32) prefiling inquiry made the Claim                  . The plaintiff sought to use a groundless complaint to
   against SCND uneasonable. The existence of alternate              prompt SCNO's aid in the suit against Hunter Marne,
   liabilty theory does not change that 'result. Lawsuits do         and at the sae time wanted to leave open the possibility
  . not exist in a theoretical vacuum - they require real            of a later suit against SCNO on the merits. When Balfour
   disputes beteen real partes. That under different facts           Guthrie's counsel ha aditted that there was no real
   the law would have provided a theory of recovery does             basis in fact for th SeNO claim, such machiations
   not change this result.                                           constitute an improper purpose.

       Ther is also evidence in the record that Balour                   To some extent, the uproar created by the paries
   Guthrie fied suit against SCNa for improper purses:.              over volunta dismissal (**34) is a tempest in a teacup.
   to "fish" for some evidence of SCNO's liability and to            The partes neither agreed to dismissl nor did one par
   compel SCNO to cooperate in the case against Hunter               move the Cour to dismiss. (fII8) Even if volunta
   Marine. The plaintiff makes much of SCNO's refusal to             dismii;sal had occured, this would not prevent this Court
   withdraw its motion for summar judgment after SCNO                from imposing sanctions under Rule II.
   asked Balfour Guthre to dismiss the claim. Balfour
   Guthrie argues that SCNO's pending motion prevented
                                                                          The Cour finds that Balfour Guthrie made a
   volunta dismissaL. Federal Rule of Civil Procedure
                                                                     reaonable prefiing inquiry into the facts of the cae.
   41 (a)(!) rea as follows:
                                                                     That inquiry disclosed that a claim against SCND was
                                                                     without merit. Furter discovery failed to uncover any
                                                                     evidence to refute the initial findings that exculpated
             Rule 41. Dismissal of Actions
                                                                     SeND. The Cour finds that Balfour. Guthe's claim
                      (a) (HN161 Voluntary Dismissal:                against SCNO was not well grounded in fact. The Cour
          Effect Thereof.                                            also finds that Balfour Guthrie filed the claim for
                                                                     improper purposes.
                      (I) By Plaintiff; by Stipulation.
          Subject to the provisions of       Rule 23(e), of          The Response to SCNO's Motion for Summary Judgment
         . Rule 66, and of' any statute of the United
           States, an action may be dismissed by the
                                                                        Examined in light of other circumtaces, Balfour
          plaintiff      without order of court (i) by fiing         Guthre's abbreviated response to SCNO's motion for
          a notice of dismissa at any tie before
                                                                     summar judgment also reveals the plaintiffs failure to
          service by the adverse (**33) par of an                    make a resonable inquiry into the facts of the case.
          answer or of a motion for summar
                                                                     Balfour Guthrie argued that the pares never agreed to a
                                                                     limitations period in the contract because the 'front of the
          judgment, whichever first occurs, or (ii) by
           filing a stipulation of dismissal signed by               bil of lading did not incorporate the terms on the back of
                                                                     the bill and because the bill was' not signed by Balfour
           all paries who have appeared in the
           action. Unless otherwise stated in the
                                                                     Guthe or its agents.
           notice of dismissal or stipulation, the                         In response (**35) to the motion for sanctions,
           dismissal is without prejudice, except that
                                                                     plaintiffs attorney makes two arguents: (l) that a good
           a notice of dismissal operates as an
                                                                     faith belief that a limitations period has not run defeats a
           adjudication upon the merits when fied by
                                                                     Rule J 1 motion; and (2) that Balfour Guthie did not
           a plaintiff who has once dismissed in any
                                                                     produce to its counsel either the Transporttion Contract
           cour of the United Staes or of any state                  or the Freight Schedule. Without these documents the
           an action based on or including the same                  cross-references to the limitations period presumably
           claim.
                                                                     would be impossible to ascertain.

   The language of the rule makes clear that (H17) a                       Clearly, the issue before the Cour is not whether the
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 97 of 177                                                PageID 105


                                                                                                                        Page 16

                                   118 F.R.D. 66, *78; 1987 U.S. Dist. LEXIS 11858, *"35;
                                             9 Fed. R. Servo 3d (Callagha) 12'56



                                                                  Guthrie's counseL.
   attorney's response was filed in good faith. Instea, the
   issue is whether the attrney, aftr reasonable pre-filing
                                                                        There is another reason why sanctions are
   inquiry, had a suffcient basis in fact and law for the         appropriate. SCNO need never have moved for summar
   filing and lacked an improper purpse. The Cour                 judgment if the complaint had not been filed. Rule 11
   concludes that the attorney failed to make a reasonable
                                                                  applies not just to complaints, but to pleadings, motions,
   pre-fiing investigation of the relevant documents. SCNO
                                                                  and papers. Fed. R. Civ. P. Il. (H19J A response to a
   alleges that it actuly produced ali of the contractual
                                                                  motion for summar judgment that is made
                                                                                                                         without
   documents to plaintiffs counsel before the response was        reasonable inquiry into the facts on which the mòtion is
   made. 25 Even if SCNO had not done this, it should have
                                                                  based violates Rule 11. For the sae reason that sanctio~s
   been a relatively simple mater for Balfour Guthrie's
                                                                  are justified on the complaint, sactions ar warted on
   counsel to contact its client and retreve. all the             the response.
   documentation necessar; including the names of its
   agents.                                                        IV.

          25. Memorandum in Support of Motion for                     In Knop v. johnson, 667 F. Supp. at 521, the Eastern
           Sanctions at 7.                                        Distrct of Michigan cite the Sixt Circuit's decision in
                                                                  INVST Financial Group, Inc. v. Cher-Nuclear Systems,
        Careful review (**36) of the bil of lading, the           Inc., 815 F.2d 391,404 (6th Cir. 1987) and'explained
   trsporttion contract, and the Freight Schedule show
                                                                  how (H20) to award an opposing part the reasonable
   that plaintiffs arguments in the response to the motion        expenses it incurs because of the improper fiing of the
   were without factual support. In this Court's
                                                                  pleading, motion, or other paper.
   Memorandum Opinion on SCNO's motion for summar
   judgment, the Court observed that the face of the bil                        In order to award the fees sought by
   incorporates the trsporttion contract between SCNO
                                                                            plaintiffs counsel. . . ., the court must find
   and Houston Stevedores, plaintiffs agent, in language                    that the actions for which fees ar sought
   specifying that it. is "subject to the contract in effect on             were reasonably necessar r**38) to
   date of issue of this original Bill of Lading." The Court                defend against the motions. A
   observed:                                                                reasonableness inquiry necessarily
                                                                            requires a determination as to what extent
              Plaintiff fuer contends that it lacked
                                                                            plaintiffs expenses and fees could have
           notice of the notice-to-sue provision
                                                                            been avoided and were self-imposed.
           because the terms on the reverse side of                         When counsel is called upon to defend
           the bil of lading ar not expressly
                                                                            against its adversars unreasonable
           incorporated by reference on the face of
                                                                            motion practices, be must mitigate
           the bilL. As SCNO has pointed out,                               daages by correlating his response, in
           however, the notice provision is part of its
                                                                            terms of hours and funds expended, to the
           Freight Schedule 800, which is expressly                         merit of the claims. The mitigation
           referred to in the trsportation contract,
                                                                             requirement prevents a par from
           of which plaintiff had actual notice before                       misusing rule 11 sanctions in order to
            the carriage ever began when its agent Mr.
                                                                             benefit from the errors of opposing
            Milam signed it on July 27, 1984. Exhibit                        counsel. The district cour is therefore
            C to SCNO's Reply Memoradum.                                     required to balance carefully these
            Memoradum and Order.                                             competing interests in determining the
                                                                             amount of sactons. Id. at 404 (footnote
     (*79) Balfour Guthrie, Inc. V. Hunter Marine Transport                  and citations omitted).
    (No. 1-86-0902), Augut 6, 1987 at 4, n.4. This Court.is
    not sanctioning (**37) plaintiffs attomey because he
                                                                             (HN2l) Rule 1l expressly provides, of
    responded to a motion and lost on the merits. Rather, the                course, that an award of the opposing
     Court is imposing sanctions because the response shows
                                                                             par's reasonable expenses, including a
     an insuffcient basis in facts available to Balfour
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 98 of 177                                         PageID 106

                                                                                                               Page 17

                                    J 18 F.R.b. 66, *79; 1987 U.S. Dist. LEXIS 11858 **38'
                                             9 Fed R. Servo 3d (Calaghan) 1256 ' ,



          reasonable attorney's fee, is only one
                                                                 awarded to sma.
          possible saction. A district cour                      ORDER
          moreover, is - given wide discretion "in
                     'the natue and extet of sanctions
          deciding
                                                                     For the reasons stated in the Court's memorandum
          to impose." Knop. 667 F. Supp. at 522.                 opinion, the defendant's motion for sactions is grted.
                                                                 The defendant SCND wil be awarded costs and
   This Cour orders that the plaintiff Balfour Guthrie and       attrney's fees from both the plaintiff Balfour Guthe
   its counsel be sanctioned for filing the intial complaint     Inc. and from the plaintiffs attrneys, Price, Criss &..
   against SCND. Plaintiffs counsel wil also be sanctioned       Thorp, in an amount determined by the Magistrate to be
   (**39) for the respons to SCND's motion for swnmar            reonable under the guidelines imposed by the Sixth
   judgment SCND may present proof of costs and                  Circuit in INST Fincial Group v. Chern-Nuclear
   attorney's fees to the Magitrte. Those costs and fees         Systems, 815 F.2d 391,404 (6th Cir. 1987).
   determned to be reaonable under the guidelies
   explained by the Sixth Circuit in the INVST case will be
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 99 of 177   PageID 107
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 100 of 177                                                      PageID 108


                                                                                                                               Page 1




                     Lexis.
                       - · .~exis
                            N · @

   .
   Positive
   . As of: Dec 05,2011

                    CITIFINANCIAL MORTGAGE COMPAN, INC. v. AUGUSTUS BEASLEY, ET
                                                                       AL.

                                                   No. W2006-00386-COA-R3-CV

                                   COURT OF APPEALS OF TENNESSEE, AT                         JACKSON

                                                       2007 Tenn. App. LEXlS 20

                                                       October 26, 2006, Session
                                                        January i i, 2007, Filed

    PRIOR mSTORY: (*1) Tenn. R. App. P. 3 Appea                              the petition as a pleading yielded the sae result. The
    as of Right; Judgment of the Circuit ColU Reversed; and                  homeowners complied. with the statory requirements of
    Remanded. Direct Appeal from the Circuit Cour for                        posting bond and fiing for wrts of certorai and
    Tipton County. No. 6086. Joe H. Walker, m, Judge.                        supersedea within 30 days of the unlawful detainer
                                                                             judgment, As petitioners who complied with the statute in
    DIsposiTION: Judgment of the Circuit Court                               seeking de novo review in circuit court, the homeowners
    Reversed; and Remanded.                                                  had to have made a pria facie showing of merit in their
                                                                             petition to retr the detainer action. The appellate court

    CASE SUMMARY:                                                            believed that the homeowners staed a valid defense
                                                                             because the mortgae company would have lacked
                                                                             authority to sell the propert at foreclosure. This ty of
    PROCEDURAL POSTURE: The Circuit Court for.                               contrct breach would be suffcient to prevent the passage
    Tipton County, Tennesee, denied appellant homeowners'                    of good title and, thus, the. emergence of the
    request to appeal an adverse unlawfl detainer judgment                   landlord/tenant relationship. In the absence of this
    to the circuit cour and to set aside the foreclosure of their            relationship, the mortgage company would not have been
    residence. The circuit court denied the homeowners'                      in constctive possession of the propert so as to
    petition for wrts of certora and supersedeas and                         maintain an unlawfu detainer action.
    granted appellee mortgage company summar judgment.
    The homeowners appealed.                                                 OUTCOME: The judgment was reversed and remanded
                                                                             for the issuance of writs of certorar and supersedeas and
    OVERVIEW: The homeowners argued that the circuit                         for furter proceedings.
    court did not properly consider their amended petition for
    writs of certiora and supersedea. The appellate court                    LexisNexis(R) Headnot.es
    detennined that, considered as a motion, the amended
    petition was properly before the trial court. An analysis of
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 101 of 177                                            PageID 109


                                                                                                                     Page 2
                                                2007 Tenn. App. LEXIS 20, K 1



                                                                  originai motion.


   Civil Procedure ~ Judgments ~ Entr of Judgments :;             Civil Procedure ;: Pleading & Practice ;: Pleadings ;:
   Stays Pending Appeal ~ Supersedeas Bonds                       Amended Pleadigs;: Geneal Overview
   Civil Procedure ;: Appeals ~ Appellte Jurisdiction :;          (H6) Tenn. R. Civ. P. 15.01 provides that a par may
   State Court Review                                             amend the par's pleadings once as a mattr of coure at

   Real Property Law ~ Landord & TelUt ~ Laidlord's               any tie before a responsive pleaing is served. If the
   Remedie & Rights ~ Eviction Actns? Forcible Entry              pleading at issue is the type to which no respons is
   & Detair                                                       permitted, then the rules provide a fifteen (15) day

   (Hl) See Tenn. Code
                           Ann. § 29-18-129.                      window for amendment as of right, so long as no tr
                                                                  date has been set.

   Civil Procedure;: Appeal? Stanards of Review? De
   N(lVO Review-                                                  Civil Procedure :; Pleading & Practie ;: Defenses,
                                                                  Demurrers & Objecions:; Failures w State Clciims
   (H2) The appellate cour reviews questions of pure law
   de novo with no presumption of correctness for the ruling      Civil Procedure :; Pleadg & Practice.)- Motion
   of the trial cour below.
                                                                  Pracice;; Content & Form
                                                                  (H7) The appropriate pre-answer procedure for testing
                                                                  the legal suffciency of a complaint is fiing a motion to
   Civil Procedure ;: Pleadng & Praetù:e ? Motion -               dismiss for failur to state a claim. Moreover, whether a
   PTlu:tice:; Content & Form                                     par files a motion to dismiss or a motion for sumaiy
   Civil Procedure :; Pleading & Practice :;Pleadings ?           judgment, it still must comply with the paricularty
   Complaints ~_ Req uirements
                                                                  rerements set fort in Tenn. R. Civ. P. 7.
   (H3J The Tennessee Rules of Civil Procdure govern
   appeals taen from general sessions cour to circuit
   cour, Tenn. R. Civ. P. 1. According to the Rules, fiings       Civil Procedure;: Judgment)- Entry of Judgments;:
   addressing the cour may take one of two forms:                 Stays Pending Appeals;: Supersedeas Bonds
   pleadings or motions, Tenr. R. Civ._ P. 7. A pleading that     Civil Procedure:; Appeal? Appellate Jurisdictin?
   sets fort a clai for relief must include a short and plain
                                                                  State Court Revie
   statement of the claim showing the pleader is entitled to      Real Propert Law? Lcindord & Tenant)- Landlrd's
   relief and a demand for relief, Tenn. R. Civ. P. 8.01. The     Remedies & Rights ;: Eviction Actions? Forcible Entry
    Rules limit the tyes of pleadings allowed and distinguish
                                                                  & Detair
    them from motions, Tenn. R. Civ. P. 7. A motion, on.the       (HN8) An unsuccessful defendant in a forcible entr and
    other hand, is an application to the cour for an order that   detainer (FED) action has ten (i 0) days following the
                                                                  general sessions judgment to fie for appellate review in
    must be in wrting (unless made during a heanng or trial),
    state its grounds with suffcient parcularty, and identifY     circuit cour Tenn. Code Ann. § 29-18-/28 (2000)_
    the relief or order requested Tenn. R. Civ. P. 7.02.          Although the defendat can appeal as of right, the
                                                                  plaintiff may regain possession of the premises by
                                                                  posting bond for twice the amount of one year's rent,
    CÓ'il Procedure :; Pleadng & Practie :; Motion                 Tenn. Code Ann. § 29-18-J30(b)(I) (2000). Alternatively,
    Practke :; Content & Form                                      if the unsuccessful defendat desires to retain possession
    (HN4) As contemplated by the Tennessee Rules of Civil          of the propert thoughöut the litigation, he or she may
    Procedure, a motion is not a pleading.                         petition the cour for wrts of certioranand supersedeas,
                                                                   which, if issued, wil stay the wrt of possession and
                                                                   allow for review in circuit court To succeed in a petition
    Civil Procedure ;: Pleading & Practice ? Motion
                                                                   for writs of certiorari and supersedeas, the
    Practice;: General Overview
                                                                   defendant/petitioner must file within thirt (30) days
    (H5) No provision in the Tennesee Rules of Civil               following the judgment, suffciently set forth ments and
    Procedure addresses the amendment of motions. In
                                                                   post bond to cover costs, damages, and the value of the
    general, Tennessee cours wil allow for a motion's
                                                                   rent dunng litigation, Tenn. Code Ann. § 29-18-129
    amendment so long as there has been no ruling on the
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 102 of 177                                               PageID 110

                                                                                                                        Page 3
                                                 2007 Tenn. App. LEXlS 20, oil




   (2000). When the petitioner meets these more strngent           CÏlü Procedure :: Judgment :: Entry of Judgments ~
   stdards, the cour must issue the wrts.                          Stays Pendíng Appeal :: Supersedeas Bonds
                                                                   Civil Procedure ~ Appeal :: Appella Jurdicon ::
                                                                   State Court Revew
   Civil Procedure :: Judgment :: Ent of Judgment ~                Real Proper Law :: Landlord & Tenant:: Landlrd's
   Stays Pending Appeals :: Supersedeas Bonds                      Remedíes & Rights :: Evictin Actions :: Forcible Entry
   Civü Procedure :: Appeal:: Appelle Jurisdition ::               & Detíner
   State Court Review                                              (lll) Certin circumstaces wil require the forcible
   Real Propert Law:: Landlord & Tenant:: Landlord's               entr and detaner petitioner to show good cause for not
   Remedies & Rights :: Eviction Acûons :: Forcible Entry          taing an     appeaL. First, if the petitioner files afer the
   & Deuliner                                                      expiraon of the statuory thir (30) day period, he or
   (H91 Although certora and supersedeas offer an                  she must make the      more demanding showing required
   alternative to the unsuccessful forcible entr and detainer      under the general stdard. Similarly, if the petitioner
   (FED) defendant, the remedy by this alternatve is               fies only for a wrt of certorari without also petitioning
   different from, but not a substitute for, the remedy by         for a writ of supersedeas, he or she must meet the higher
   appeal. The authorities unequivocaly stae that, in FED          stadard by justifying the failure to appeaL.
   actions, certorari is not a substitute for appeaL. Insad,
   when coupled with the writ of supersedeas, certiorai
   provides an alternative remedy distinct frm that offered        Civíl Procedure :: Judgments :: Entry of Judgments ::
   by the appeal as of right. Certiorari and supersedeas allow     Stays Pending Appeals :: Supersedeas Soli

   the defendant to retain possession of the proprt,               Civu Procedure ~ Appeals :: Appellate Jurisdiction ::
   whereas appeal leaves the defendat vulnerable to the            State Court Revie
   writ of possession, Although a petitioner for wrts of           Real Propert Law:: Landord ~ Tenant:: Landlord's
   certora and supersedeas enjoys more tie to file than            Remedie & Rights :: Evíction Actions :: Forcible Ent
   does an appellant, he or she must post bond sufcient to         & Detamer
   cover the costs of appeal, damages, and rent during             (l 12) Merits suffcient to sustan a petition for 'writs of

   litigation, as well as bea the risk of the petition's denial,   certiorari and supersedeas are allegations which, if tre,

   Tenn. Code Ann. § 29-18-129 (2000). .                           would constitute a meritorious defense. The language of
                                                                   Tenn. Code Ann. § 29-18-129 does not require the
                                                                   petitioner tò prove the allegations by a preponderance of
   Civu Procedure :: Judgments :: Entry of Judgment ::             the evidence or to the level of detail expeted at tral.
   Stays Pending Appeals :: Supersedeas Bonds                      Rather, the petitionets prima facie showing of merit will
   CÏlil Procedure :: Appeals :: Appellate Jurisdiction ::         suffce for the issuance of the wrts.
   State Court Review
   Rial Property Law :: Landlord & Tenant:: Landlord's
   RemedÚs & Rights :: Evu:tion Actons :: Forcile Ent              Real Property Law:: Landlrd & Tenat:: Landlord's
   & Deuliner                                                      Remedies & Rights :: Eviction Actions :: Forcible EntIJ'
                                                                   & Detíner
   IHNIOl The requirements for sustaiing a petition for
   writs of certiorari and supersedeas following forcible          (H13) Since 1821, Tennessee has recognized a right to
   eIitr and detainer (FED) actions differ from those              bring a cause of action for a writ of possession when a
   ,following other cases. The general stadard requires the        lessee remains on the leased propert afer the lease has

    petitioner to show good reason for not taing an appeal,        been terminated. Tenn. Code Ann. § 29-18-101 provides
    whereas the standard applicable in cases of FED                that no person shall enter upon any lands, tenements, or
   judgments does not. Both stadads, however, require a            other possessions, and detain or hold the same, but where
   showing of suffcient merits. Thus, when an unsuccessfl          entr is given by law, and then only in a peaceable

   FED defendant posts bond and fies for writs of certorari        maner. The legislative intent behind the creation of
    and supersedeas within thirt days of the judgment, he or       forcible entr and detainer (FED) actions was to provide

    she need only state suffcient merits in the petition to        a streamlined. Inexpensive, summar procedure to
    obta review in circuit court.                                  detennne the rights to possession of land, In contrast to
                                                                   the . old formal common law ejectment action. FED
                                                                   proceedings also serve the function of preventing
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 103 of 177                                             PageID 111

                                                                                                                       Page   4
                                                2007 Tenn. App. LEXIS 20, * 1



    violence and breches of the peace that result from the       title; ths constrctive entr provides the basis for
    inherent frction caused by repossessing propert though       maintaing the unlawfu detainer action. Under the facts
    self-help. To avoid these conflicts, the par seeking to      of ths unlawful detainer action, the right to immediate

    repossess the land must do so with the aid of a wrt of       possession requires (1) the plaintiffs (constrctive)
    possession issued by the cour.                               p()ssession and (2) the plaintiffs subsequent loss of
                                                                 possession by the defendant's act ofun:lawfl detaner.

    Real Propert Law;: Financing;: Mortgages & Other
    Securit Insruments ;: Foreclosures ;: General                Real Propert Law;: Financuig;: Mortgages & Other
    Overvie                                                      Security Instrument ;: Defmitins & Interpretaton
    Real Propert Law ;: Landlord & Tenant;: Landord's            (HN17) In genera, Tennessee law has' required the
    Remedis & Rights ;: Evktion Actions ;: Forcible Entry        trstee's strict compliance with the advertisement and
    & Detainer                                                   notice terms as provided io the deed of trst The
                                                                 consequences of a foreclosing trste's failure to comply
    (Hl4) In contrast to suits in ejectment, which resolve
   . issues of title and the resuting right to possession,       with foreclosure tenus depend upon the sourc of the
    forcible entr and detainer aCtions concern only the right    requirement. Specifically; if the terms are suffciently

    to possession. In these sumar proceeings, the estate,        clear and originate in the deed of trst, the law demands
    or merits of the title, shall not be inquird into, Tenn.     strct compliance for the conveyance to be valid. In
    Code Ann. § 29-J8-1l9(c) (2000). At first glance, it.        contrast, where a foreclosing trstee proceeds according
    would seem that wrongful foreclosure, being tantaount         to statutory requiremeiits, the law in Tenessee is not so
    to an asserton of title, could not constitute a defense in    exacting. The failure of a trstee to comply with statutory
    this action. Where title bears directly upon the right of     requirements doe not render the sale at foreclosure void
    possession, however, a par may legitimately. interpse        . or even voidable.
    the issue. For example, a cour may inquire into title
    when a claimant. has frudulently represented his title to    Real Propert Law;. Financuig;: Mortgages & Other
    another and induced him to lease the propert.
                                                                 Securit Instrument ;: DeftnWons & Interpretation
                                                                 (H18) The paries can var the terms of foreclosure by
    Real Property Law;: Landlord & Tenant;: Landlord's           contract, and where a deed af trt provision vares from

    Remedies & Rights;: Eviction Actions;: Forcile Entry         the statutory requirements, that term wil generally
    & Detainer                                                   supersede the statutory requirement, Tenn. Code Ann. §
    (H15) Forcible entr and detainer actions cannot be           35-5-IOJ(d) (2001 & Supp. 2006). When the purchaser at
    resolved in favor of a claimant when title, if beang         the foreclosure sale has drafted the deed of trst
    directly on his immediate right to possession, is            controlling the sale, and where the deed of trst waives
   . questionable.                                               and conveys the makers' equity of redemption for the
                                                                 benefit of the pUrchaser, the instrment mus be strctly
                                                                 constred, and the terms thereof must be followed strctly
    Real Propert Law;: Landlord & Tenant;: Landlord's            by the trtee, in order to deprive the makers of their title
    Remedis & Rights ;: Eviction Actions ;: Forcible Entry       by means of a sale thereunder. For example, a trstee
    & Detainer                                                   must comply with terms such as notice of tie and place
    (HNl6J Unlawful detainer ocC)irs where the defendant         of sale, as well as personal notice of sale, if provided for
    enters by contract, either as tenant or as assignee of a     in the deed of trt.
    tenant, willfully and without force, holds over the
    possession from the landlord or the assignee of the
    remainder or reversion, Tenn. Code Ann. § 29-18-104          Real Propert Law;: Finaning;: Mortgages & Other
                                                                 Security Instrument;: Definitins & Interpretation
    (2000). Thus, a landlord/tenant relationship, established
    by contract, is the baseline requirement for maintaining      (H i 9) When, by the terms of the deed, the trstee is
    an unawfl detaner action. If the trt deed establishes a      required before making sale to give notice to the
    landlord/tenant relationship between the mortgagor and       bargainor of the time and place of sale, the giving of such
    foreclosure sale purchaser, then a constctive entr on        notice is in the nature of a condition precedent, and, if not
    the par of the purchaser attches upon the passing of         complied with, the sale is unauthorized and void and wil
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 104 of 177                                              PageID 112

                                                                                                                         Page 5
                                                 2007 Tenn. App. LEXIS 20, * I



    communicate no title to the purchaser. And if the              (Citi), holder of the deed of trt and loan, by facsimile
    requirement be that personal notice shall be given, the        date July 29, 200. The facsimle correspondence, "per
    trstee caot substitute notice by advertsement in a             requested," included the amount required to cure the
    newspaper, or at some public place or places, because not      default and indicated that the reinstatement figues would
    within the scope of his authority and also because such a      be "good to (August 12, 2004)." The Beasleys did not
    depare on the par of the. trstee might be made to              cure the default, and the foreclosure sale occur on
   . defeat th very object of the requirment by enabling him       August 13, 2004, at the Shelby County courouse. Citi
    to sell the propert without the knowledge of the par           purchased the residence for $ 248,606.73.
    makng the deed.
                                                                       The" Beas1eys refused to vacae the residence. Cii:i
    COUNSEL: Sheila L. Robinson-Beasley, Memphis,                  obtained a (*3) detaner wart on August 24, 200,
    Tenessee, for the appellants, Augutus Beasley and              which was posted at the Beasleys' residence on the third
    Sheila Robinon-Beasley.                                        attempt at service. A copy was then mailed to the
                                                                   Beasleys.
   Jason S. Mangrm and Katherine Kellogg Kuhn,
   Nashvile, Tennessee, for the appellee, CitiFinancial                At the General Sessions detainer hearg on
   Morgae Company, Inc.                                            September 27, 2004, Citi obtained a judgment for
                                                                   possession. The Beasleys concede in their merorandwn
   JUGES: DAVID R. FARR, J., delivered the                         opposing summar judgment that they did not appea at
   opinion of  the court, in which W. FRNK CRAWFORD,                the detainer hearing. Nor did they appeal the General
   P.J., W.S., and ALAN E. HIGHERS, J., joined.                   . Sessions judgment. Instead, slightly less than a month
                                                                   later, they filed a petition for writs of certiora and
    OPINON BY: DAVID R. FARER                                      supers'edeas pursuant to Tennessee Code Annotated
                                                                   Section 29-18-129 i on October 21, 2004, in Shelby
    OPINON                                                         County Circuit Court. In the petition, the Beasleys
                                                                   alleged that they did not have the funds available to post
        Appellants Augustu and Sheila Bealey (the                  the bond for a timely appeal and that they were unaware
  . Beasleys) seek to challenge the denial of their request to     of Citi's intent to repossess the home until October 20,
    appeal an adverse unlawful detainer judgment to circuit        2004, the evening before filing their petition.
    cour and to set aside the foreclosure of their residence.
    Specifically, the Bealeys appea the tral court's grant of .           i Tennessee Code Annotated Section 29-18-129
    summar judgment to CitiFìnacial Mortgage, Inc. (Cití)                 provides that
   and denial of their petition for Writs of certiorari and
   supersedea, filed after the deadline for appealing the                           (lI) (t)he proceedings in such
   judgment as of right. The court denied the petition on the                     action-may, within thir (30) days

   grounds that it did not set fort suffcient (*2) merits for                     after the rendition of judgment, be
   removal to circuit cour for a trial de novo. In the petition                  removed tó the circuit court by
  . for writs of certiorari and supersedeas, the Bealeys                          writs of certiorari and supersedeas,
   . advanced as grounds for review the insuffciency of funds                    which it shall be the duty of the
    for fiing a timely appeal and premature foreclosure on                       judge to grnt, upon petition, if
    their residence in violation of the deed of trt. Oii                          merits are suffciently set fort,

    appeal, they contend these allegations constituted                            and to require from the applicat a

    suffcient merits as required by Tennessee Code                               bond, with securty suffcient to
   Annotated Section 29-18-129. We reverse and remand.                           cover all costs and damages; and,.
                                                                                  if the defendant below be the
    OPINION                                                                       applicant, then the bond and
                                                                                  security shall be of sufficient
        The Appellants, Augutus and Sheila Beasley (Mr.                           amount to cover, besides costs and
    Beasley, Ms. Beasley, or the Beasleys), defaulted on a .                      damages, the value of the rent of
    loan secured by their residence and received notice of                        the premises during the litigation.
    default from CitiFinancial Mortgage Company, Inc.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 105 of 177                                                    PageID 113

                                                                                                                              Page 6
                                                  2007 Ten. App. LEXIS 20, *3



                                                                   to the terms of the dee (*6) of trt by exercising the
              Tenn. Code Ann. § 29-18-129 (2000).                  power of sale no sooner than thirt (30) days after
                                                                   tenderig notice of default, tfey could have cured the
            (*4) In Januar 2005, Citi fied a motion for            default and reinstated the loan.
    sumar judgment in response to the Beasleys' petition
    and appended a Statement of. Material Facts Not in             IssueS Presented and Standard of Review
    Dispute. In the staement, Citi recited the relevant facts
    supporting the judgment in the detainer action, yet                  On appel, the Beasleys raise the issue, as we
                                                                                                       tral cour erred in dismissing
    omitted the relevant facts, if any, pertning to the           . perceive it, of whether the


    Beasleys' petition. Nowhere in its filings does Citi           their petition for wrts of certiora and supersedea on
    mention the date of notice of default. On Februar 25,          the grounds of insufficient merits. Citi, on the other hand,
    2005, a heag on the matter oCcurred in Shelby County           restates th issue as whether the trial court erred in
    Circuit Cour before Judge Rita Stott, who anounced             grting Citi's motion for sumar judgment. Because
    that she would recuse herself   in the mattr. The same day,    the trial cour grted summar judgment in the absence
    the Beasleys fied a motion for leave to amend the
                                                                   of disputed material facts, the paries on appea present
    original petition, a proposed amended petition seting          only questions of Jaw. (H2) We review questions of
    fort the facts pertinent to the wrongfl foreclosure
                                                                   pure law de novo with no presumption of correctness for
    allegation, a statement of material facts in dispute, and a    the ruling of the tral cour below. Inmon v. Hadley, 2006
    ~Resonsive Opposition to Plaintiffs Motion for                 Tenn. App. LEXlS 581, 2006 WL 2507188, at *5 (Tenn.
   . Sum Judgment."                                                Ct. App. 2006) (citing Campbell v. Fla. Steel Corp.. 919
                                                                   S. W2d 26,35 (Tenn. 1996)).
         On August 8, 2005, upon motion by Citi and by
    agreement of the paries, venue for the hearing changed             The resolution of this case requires us to answer
    to Tipton County. The Tipton. County Circuit Court             three questions: first, whether the tral cour properly
    conducted the summar judgment hearng on Januar 12,             considered the Bealeys' amended petition; second, what
    2006. The Statement of Evidence or Proceedings fied by         a petitioner for writs of certiora and supersedeas must
                                                                   show (*7) to obtan review of an unlawful detainer
    the Beasleys indicates that they argued the issue of
    wrongful (*5) foreclosure before the court on Januar           judgment; and third, whether wrongful foreclosure is a
   . 12, 2006. The record also reveals that the Beasleys
                                                                   meritorious defense to an unlawful detainer action.
    re-filed all previous filings, including the proposed
                                                                   Whether the Tnal Court Properly Considered the
    amended petition, in Tipton County on the next day, even
                                                                   Amended Petition
    though the transfer of venue occured after the filings had
    been submittd to the court in Shelby County. They also               We now address the theshold issue of whether the
    provided, "as promised," a Memorandum of Law with              tral coUr properly considered the Beasleys' amended
    attchments, another copy of the proposed amended               petition. Resolution of this issue proves determinative
    petition, and case law in support of their arguent,            because the original petition lacked suffcient merits 2 to
    directly to the judge by letter dated January 12, 2006. In     support a trial de novo, whereas the amendment added
    its order of Januar 26, 2006, the cour found that the          wrongful foreclosure, a potentially meritorious defense.
    Beasleys had not stated suffcient merits in the petition       We conclude. on procedural grounds, that the amended
    and accordingly granted summary judgment to Citi. The          petition was properly before the tral coult
    order referenced the fact of foreclosure, the detaner
    action, the Beasleys' refusal to vacate, the filing of the              2 The only allegation in the original petition that
    petition, and the insuffcient allegations therein Although              might satisfy the suffcient merit requirement is
    based "upon the entir record," the order did not                        lack of n~tice of Citi's intent to repossess the
    reference the amended petition or the Beasleys' motion                  propert. The language of         the petition leaves open
    for leave to amend the petition.                                        the question of whether the Beasleys alleged Jack
                                                                            of notice of the detainer hearg or of Citi's
         On appeal, the Beasleys restate their contentions of               imminent execution of the wrt of possession.
    insuffcient funds for a timely appeal and of wrongful                   Vague and indefinite allegations cannot sustan a
    foreclosure. The Beasleys contend that, had Citi adhered                petition for writs of certiora and supersedeas
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 106 of 177                                                 PageID 114


                                                                                                                          Page   7
                                                  2007 Tenn. App. LEXIS 20, *7



             following forcible entr and detainer actions.          the petition (constred as the original motion). Moreover,
            Pritchard v. Dix Greyhound Lines, 183 Tenn.             the . record on appeal reveals that _ the . proposed

             408, 192 S. W,2d 845, 847 (Tenn. 1946). We find        amendmnt was in the possession of Cíti for almost one
             the Beasleys' allegation of lack of notice to be       yea before th hearing, was filed with the Shelby County

             equivocal at best and insuffcient to satisfy the       (* 10) Circuit Court Clerk prior to the transfer of venue,
             requirement.                                           and was argued at the hearng. 3 Indeed, the Beasleys'
                                                                    sttement of evidence indicateS that the court head
        (*8) (H3) The Tennessee Rules of Civil Procedure            argument on and considered the issues pertning to
   govern appeals _ taen from general sessions cour to              foreclosure, yet, as apparent from the ruling, found them
   circuit cour. Tenn. R. Civ. P. 1. According to the Rules,        unpersuasive. Nothing in the recrd sugges that Citi
   filings addressing the cour may take one of two form:            ever objected to or contested the contents of the Beasleys'
   pleadings or motions. See Tenn. R. Civ. P. 7. A pleading         stament of evidence, so we acept it as an acurte
   that sets fort a claim for relief must include a "short and      account of   the proceedings in the tral cour. Accordingly,_

   plain statement úf the claim showing the pleader is              considered as a motion, the amended petition was
   entitled to relief' and a demand for relief. Tenn. R. Civ.       properly before the tral cour.

   P. 8.01. The Rules limit the types of pleadings allowed
   and distinguish them from motions. See Tenn. R. Civ. P.                   3 Although the Tennessee Rules of Civil
   7 (limiting pleadings to the complaint, answer, reply to
                                                                             Procedure do not address the amendment of
   counterc:aim, answer to cross-claim, third-par                            motions, they do contan safeguds for the
   complaint, and third-part answer, and treating motions                    benefit of non-movants. For example, the
                                                                             paricularty and wrting requirements for motions
   and other papers in a separate rule). A motion, on the
   other hand, is "an application to the cóur for an order"                  serve to notify the adverse par of the pendency
   that mus be in writing (unless made during a hearng or
                                                                             of and grounds for the motion. Banks & Entman,
   trial)', state its grounds with suffcient paricularty, and                supra, at 5- i 1,5-13. The facts of this case provide
   identify the relief or order requested. Tenn. R. Civ. P.
                                                                             fuer supprt for amendment because Citi was

   7.02.                                                                     on notice of the motion and its contents well
                                                                             before the hearng. Thus, amending the
        (H4) As contemplated by the Tennessee Rules of                       motion/petition would not violate the
   Civil Procedure, a motion is not a pleaing. Robert                        saeguarding of farness through notice as
   Bans, Jr. & June F. Entman, Tennessee Civil Procedure                     provided by the Rules.
   § 5.1(a), at 5-7 (2d ed. 2004) (*'9) ("Rule 7 provides
   separte treatment for pleaings and for motions and                    (* 11) Likewise, an analysis of the petition as a
   other papers . . . it is important not to read the term          pleading yields the same result. Although the Beasleys
   'pleadng' as encompassing a motion."); id. § 5. l(e), at         moved for leave to amend the petition, they could have
   5-1 i ("Rule 7.02(1) requires that any application to the
                                                                    amended it as of right 'in any event because CitÍ never
   cour should be in -the form of a motion. Technically,            filed an answer. (HN6) Tennessee Rule of Civíl
   therefore, neither letters Lo the cour, 'petitions,' nor other   Procedure 15.01 provides that "(aJ part may amend the
   forms of requests other than by motion are proper.").            par's _ pleadings once as a mattr of course at any time
   Although reasonable persons might differ as to whether           before a responsive pleading is served. n Tenn. R. Civ. P,
   this tye of petition is a motion or a pleading, we need          15.01. If the pleading at issue is the tye to which no
                                                                    response is permitted, then the rules provide a fiften (15)
   not make this esoteric distinction here. The petition,
   whether treate as a pleading or a motion, should have            day window for amendment as of right, so long as no trial
   been amended.                                                    date has be set. See Term. R. Civ. P. 15.01. Nothing in
                                                                    the Rules forbids an answer in response to a petition for
           (H51 No provision in the Tennessee Rules of Civil        wrts of certora and superseea in ths circumstace.
   Proedure addresses the amendment of       motions. Ban &
    Entman supra, § 5.1(e), at 5-14. In general, Tennessee             The record indicates that Citi fied a motion for
    cour will all ow for a motion's amendment so long as            summar judgment but never filed an answer. Thus,
    there has been no ruing on the original motion. ¡d. at          because a motion is not a pleading, Citi never fied a
                                                                    responsive pleading so as to foreclose the Beas1eys'
    5-15. In this cae, the court had obviously not rued on
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 107 of 177                                                 PageID 115


                                                                                                                          Page   8
                                                2007 Tenn. App. LEXIS 20, * 11




   opportity to amend the petition as of right. 4 As                   fHN8J An unsuccessful defendant in a forcible entr
   proponents of a complaint under the Rules, the. Beasleys        and detainer (FED) action has ten (10) days following the
   could have amended the petition as of right in any event.       general sessions judgment to file for appellate review in
   Either procedural approach arves at the same conclusion         circuit cour. Tenn. Code Ann. § 29-18-128 (2000).
                                                                    Although the defendant can appeal as of right, the
   properly amended. .
   (*12) that the petitio¡¡ was, for all intents and purposes,
                                                                    plaintiff 5 may regain (* 14) possession of the premises
                                                                    by posting bond for twice the amount of one years rent.
          4 We note that (HN7J the "appropriate                     Tenn. Code Ann. § 29-18-130(b)(l) (2000). Alternatively,
          pre-answer procedur~ for testing the legal                6 if the unsuccessfu defendat desires to retain
          suffciency of a complaint" is filing a motion to         possession of     the propert thughout the litigation, he or
          dismiss for faiure to stte a claim. Ban &                 she may petition the' cour for writs of certorai and
          Entman, .supra § 5.6(g), at 5-109. Moreover,              supersedea, which, if issued, will - stay the writ of
          whether a par files a motion to dismiss or a             _ possession and. allow for review in circuit cour.
          motion for summar judgment, it stil must                  Nashville Hous. Auth. v. Kinnard, 186 Tenn. 33, 207
          comply with the paricularty requirements set              S.W.2d 1019, 1020 (1949); see Tenn. Code Ann. §
          fort in Rule 7 óf the Tennessee Rules of Civil            29-18-129 (2000). To succeed in a petition for wrts of
          Procedure. In its motion for summar judgment,             certiorar and supersedeas, the defendantJpetitioner must
          Cití identifies no grounds in support of its motion       file within 'thirt (30) days following the judgment,
           and instead conclusively asserts that it is entitled     sufficiently set fort merits, and post bond to cover costs,
           to judgment as a matter of law. In its stsement of       damages, and the value of    the rent during litigation. Tenn.

           facts not in dispute, it does, however, enumerate        Code Ann. § 29-18-129 (2000). When the petitioner
           the underlying facts of the' foreclosure and             meets these more stringent stadads; the cour must issue
           detainer action. Taken together, these fiings seem       the writs. ¡d.

           to place the merits of the detainer action back into
           question, rather than to challenge the suffciency                 5 Section 29-18-130(b)(2) alters these
           of the Beasleys' petition. Neverteless, because                   requirements in cases where the landlord brings
           the gravamen of this action is whether the                        an FED action in response to the lessee's failUre to
           Beasleys can retry the detainer action, we will                   pay rent. See Tenn. Code Ann. § 29-18-130 (b)(2)
           proceed by considering the sole question of                       (2000).
           whether the Bealeys stated suffcient merits in            (*15)
           their petition.                                                   6 (HN9J Although certora and superedeas
                                                                             offer an alternatve to the unsuccessful FED
    (*13) The Required Showing for Sustaining a Petion                       defendant, we emphasize that the remedy by this
    for Writs of Certiorari and Supersedeas Following an                     alternative is diferent from, but not a substitute
    Unlawful Detainer Action                                                 for, the remedy by appeal. The authorities
                                                                             unequivocally state that, in FED actions, certiorari
        The paries in this appeal dispute the standard for                   is not a substitute for appeal. See, e.g., Ammons v.
    prevailing on a petition for writs of certorar and                       Coker, 124 Tenn. 676, 139 s.w. 732, 733 (Tenn.
    supersedea. The Beasleys cite varous standards yet fail                   1911)(noting that the petitioner could have
    to identify which one applíes to their case. They argue                   obtained the same remedy by certorari as by
    that the pioblem of insuffcient funds suffciently                         appeal only by showing good reason for failing to
    explains a petitioner's reason for not appealing; that a                  appeal; opining that she could have obtained a
    petition need not stte merits or an excuse for failing to                 different remedy by using the certorari and
    appeal; and that allegations constituting a meritorious                   supersedeas together as provided by the statutes;
    defense satisfy the suffcient merits requirement. Citi, on                and holding that the petitioner could not use
    the other hand, contends that a petitioner must show a                    certorar alone as a'substitute for appeal). Instead,
   . substantial reason for not appealing as well as allegations              when coupled with the writ of supersedeas,
    that, if tre, would constitute a meritorious defense. The                 certorari provides an alternative remedy distinct
    proper stadard under Tennessee law lies in the middle of                  from that offered by the appeal as of right Bell v.
    this spctr.                                                               Smith, 185 Tenn. 11, 202 S. W. 2d 654, 656 (Tenn.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 108 of 177                                                          PageID 116

                                                                                                                                   Page 9
                                                  2007 Tenn. App. LEXIS 20, * 15



           1947); Ammons, 139 S W. at 733 ("(I)f the                       (* 17) (H I 2) Merits suffcient to susin a petition
           defendant desires to retan possession . . ., he has       for wrts of certorai and supersedea are allegatons
           his remedy by certorar and supersedea. If he is           which, if tre, would constitute a meritorious defense. S

           wiling to surrender possession pending the                 Servs., Inc. v. Brewington, Nó. 86-42-I/ 1986 Tenn. App.
           litigation . . ., he has his remedy by appeal.);         . LEXIS 3040, 1986 WL 6062, at *3 (Tenn. Ct. App. May
          Robertson v. Penn. Mut. Life Ins. Co., 22 Tenn.            29,' 1986); Investors Diversifed Prop. Mgmt., Inc. v.
          App. 387, 123 S W,2d 848, 850 (Tenn. Ct. App.              Wright, 1985 Tenn. App. LEXS 2947, at *11-*12 (Tenn.
           1938) (noting that Tennessee statutes provide             Ct. App. 1985); see Ellott v. Laless, 53 Tenn. at
           "two. alterntive remedies," one of which is "by           126-27. The language of the statute does not require the
           appeal, and the other . . . by certiorar and              petitioner to prove the allegations by a preponderace of
           supersedeas"). Certorari and supersedeas allow            the evidence or to the level of detail expected at tial. S.
           the defendant to retain possession of the propert,        Servs., 1986 Tenn. App. LEXIS 3040, 1986 WL 6062, at
           whereas appeal leaves the defendant vulnerable to         *3. Rather, thepetitionets prima facie showing of merit
           the writ of possession. Although a petitioner for         will .suffce for the issuace of         the writs.Id
           writs of certiorai and supersedeas enjoys more
           time to file than does an appellant, he or she must           The Beasleys complied with the statutory
           post bond suffcient to cover the costs of appeal,         requirements of posting bond and filing for writs of
           damages, and rent durng litigation, as well as            certorar and supersedeas within thirt (30). days of the
                                                                     unlawfl detaer judgment. As petitioners who complied
           bear the risk of the petition's dèniaL. See Tenn.
           Code Ann, § 29-18-129 (2000).
                                                                      with the statute in seekig de novo review in circuit cour,
                                                                      the Bealeys must have mae a prima facie showing of
         I* 16) (H 1 OJ The requirements for sustaining a
                                                                      merit in their petition to retr the detainer action. We now
   petition for writs of certorari and superseea following          . address whether, in the Beasleys' case, the allegation
   FED actions differ from those following other cases.              (* 18) of wrngful foreclosure constitutes a meritorious
   Ellott v. Lawless. 53 Tenn.' 123 (Tenn. 1871). The                defense to the unlawful detaner action. If it does, then
   general standaId requires the petitioner to show good             the Beasleys are entitled to their wrts.
   reason for not taking an appeal, wherea the stadad
                                          does not. Ellott,          Whether Wrongful Foreclosure is a Valid Defense to
   applicable in cases of FED judgments 7
                                                                     an Unlawful Detainer Action
   53 Tenn. at 126. Both stadards, however, require a
   showing of suffcient merits. Id. Thus, when an
                                                                          (H13) Since 1821, Tennessee has recognized "a
   unsuccessful FED defendant posts bond and fies for                right to bring a cause of action for a writ of possession
   writs of certorar and supersedeas within thirt days of
                                                                     when a lessee remains on the leased propert afer the
   the judgment, he or she need only state suffcient merits .
                                                                     lease has been terminated." Cain P'ship v. Pioneer Tnv.
    in thè petition to obtain review in circuit cour. See
                                                                     Servs. Co., 914 SW.2d 452, 456 (Tenn.                  1996). Section
   Ammons v. Coker, 124 Tenn. 676, 139 S W 732, 733                  29-18-101 of the Tennessee Code provides that "(n)o
    (Tenn. 1911); Rogers v. Wheaton, 88 Tenn. 665, 13 S. W           person shall enter upon any lands, tenements, or other
    689, 689 (Tenn. 1890); Ellott, 53 Tenn at 126.
                                                                     possessions, and detain or hold the same, but where entr
                                                                     is given by law, and then only in a peaceable manner."
           7 (RNll) Certn circumstances will require the
           FED petitioner to show good cause for not takng           Tenn. Code Ami. § 29-18-101 (2000). The legislative
           an aPpeal. First, if the petitioner files after the
                                                                     intent behind the creation of FED actions was to provide
                                                                     a strealined, inexpensive, sumary procedure to
           expiration of the statutory thirt (30) day period,
                                                                     determine the rights to possession of land, in contrt to
           he or she must make the more demanding
           showing required under the general stadard.               the old formal common Jaw ejectment action. Newport
           Rogers, 13 Sw. at 689. Similarly, if    the petitioner    Hous. Auth. v. Ballard, 839 SW.2d 86, 89 (lenn. 1992).
                                                                     FED proceedings also serve the function of preventing
           fies only for a wrt of certiorar without also
           petitioning for a writ of supersedea, he or she           violence (* 19) and breaches of the peace that result from
           must meet the higher stadard by justifying the            the inherent friction caused by repossessing propert
           failure to appeaL. Ammons, 139 S. W at 733.
                                                                     through self-help. Childress v. BIack, 17 Tenn. 317, 320
                                                                      (1836); 35A Am.Jur.2d Forcible Entr and Detainer § 6
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 109 of 177                                               PageID 117

                                                                                                                      Page 10
                                                   2007 Tenn. App. LEXIS 20, * 19




   (2006). To avoid these conflicts, the par seeking to             unlawflly detaned it. Id. a! 129-30. Rather, the proof
   reposses the land must do s.o with the aid of a writ of          tended to show that the defendant had either taken

   possession issued by the cour. Hayes Y. Sèhweikarts
                                                                    possession from one who claimed title though adverse
   Upholstering Co., 55 Tenn. App. 442, 402 S W.ld 472,             possession or had entered when no other person was in
   484 (1965).                                                      actul possession of the propert. Id at 130. Because
                                                                    forcible entr and detainer actions do not resolve issues

          (HNI4) In contrast to suits in ejectment, which           of title, the plaintiff had apparently sued for possession
   resolve issues of title and the resltig dght to                  under the wrng theory, Jd. a! 129. Assuming the
   possession, FED actions concern only the right to                defendant took possession of vacant propert or from a

   possesion. Newort Hous. Auth., 839 S. W2d at 89. In              third par claiming title through adverse possession,
   these sumar proceedings, "the estate, or merits of the           ("'22) the Tennessee Supreme Court noted that the
   title, shal not be inquired into." Tenn. Code Ann. §             plaintiff should have brought a suit in ejectment to
   29-18-119(c) (2000). At first glance, it would seem that         attempt to regain possession. Id. The distiguishing
   wrongfl foreclosure, being tatamount to an assertion of          feature between ejectment and unlawfl detainer is the
   title, could not constitute a defense in this action. Where      appeance of an issue regarding lega title of the
   title bears directly upon the right of possession, however,      plaintiff. Metro. Life Ins. CO. Y. Moore, 167. Tenn. 620,
   a par may legitiately interpse the issue. Allison v.             72 S. W2d 1050, 1051 (1934).
   Casey, 63 Tenn. 587 (Tenn. 1874) (*20) (allowing
   evidence of title as proof of right to control and rent out           Here, we consider a detainer action brought against
   propert); Philips Y. Sampson, 39 Tenn. 429 (Tenn.                the maker of a deed of trst who, afer default and

   1859); Settle Y. Settle, 29 Tenn. 504 (Tenn. 1850). For          foreclosure, refused to surender possession of the
   example, a court may inquire into title when a claimant          propert. Under these facts, one seeking to regain
   has fraudulently represented his title to another and            possession by way of the summar FED proceeding must
   induced him to leae the propert. Philps, 39 Tenn. at             rely on the action of unlawful detainer. 8 (HN i 6)

   429.                                                             Unlawful detaner occur "where the defendat enters by
                                                                    contract, either as tenat or as assignee of a tenant, . . .
          Additionally,(HNI5) FED actions 'cannot be                wilfully and without force, holds over the possession
   resolved in favor of a claimant when title, if bearing           from the landlord, or the assignee of the remainder or
   directly on his immediate right to possession, is                reversion." Tenn. Code Ann. §29-18-104 (2000). Thus, a
   questionale. See       Ellott v. Laless, 53 Tenn. ¡ 23 (Fenn.    landlord/tenant relationship, established by contrct, is
   1871); 35A AmJur.2d Forcible Entr & Detainer § 50                the baseline requirement for maintaning an unlawful
   (2006) ("(I)f the issue of title is germane to the issue of      detainer action. If the trst deed establishes a
   who has the present right of possessi~n, questions of tie        landlord/tenant relationship between the mortgagor and
   maybe raised. . . . However, such an issue may result in         foreclosure (*23) sale purchaser, then a constnctive
   the case being removed from the summar proceedings               entr on the par of the purchaser attches         upon the
   contemplated by a forcible entr and detaner action, or           passing of title; this constrctive entr provides the basis
   the claimant may be required to establish his or her             for maintaing the unlawful detaner action. Metro. Life
   superior title prior to bringing the summar proceeding."         Ins. Co., 72 SW2d at 1051; Grifth v. Brackman, 97
   (footnotes omitted)). In Ellott v. Laless, the plainti in        Tenn. 387, 37 S W. 273, 274 (/896). Under the facts of
   a detainer (*21) action appealed an adverse judgment             this unlawfl detaner action, the right to immedate
   following a retral of the summar proceeding below. Id.           possession requires (1) the plaintiffs (constrctive)
                                                          of his
   a! 124-25. He specifically appeaed the denial                    possession and (2). the plaintiffs subsequent loss of
   motion to dismiss the defendant's petition for certorari         possession by the defendant's act of unlawful detainer.
   and supersedeas, as well as the judgment entered for             Accord Foster v. Hil, 510 SW2d 520, 522.        (lenn.. Ct.

   defendant after the retriaL. Id. The Tennessee Supreme           App. /973).
   Court held that the tral court properly denied the
   plaintiffs motion to dismiss the petition because the                     8 Although FED proceedings are considered one
   defendant had stated suffcient merits; moreover, there                    type of action, the Tennessee Code identifies
   was no evidence that the. defendant had forcibly taken                    separte bases for the recovery of real propert by
                                                                             summar proceeding: forcible entr and detainer,
   possession of the propert from the plaintiff or that be
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 110 of 177                                                     PageID 118


                                                                                                                              Page 11
                                                          2007 Tenn. App. LEXIS 20, *23



            Tenn. Code Ann. § 29-18-102 (200), forcible.                          secured by this Security Instrument
            detaner, Tenn. Code Ann. § 29-18-103 (2000),                          without further demand and may invoke
            and unlawful detainer, Tenn.. Code Ann. §                            the power of sale and an other remedies
            29-18-104 (2000).                                                    permitted by applicable law. Lender shall
                                                                                 be entitled to collect all expenses incurred
           (*24) Even though the right to inuediate                              in puruing the remedies provided in this
   possession does not generaly hinge on title to the                            pargrph 21 including, but not limited to,
   propert, in the unique case of foreclosures conducted                         reasonable attorneys' fees and costs of title
   under a power of sale, however, the landlord/tenant                            evidence.
    relationship may not arise when the trstee has eXercised
   the power of sale in violation of the deed of trst If,                             If Lender invokes the power of sale,
    according to. the Beasleys' allegations, Citi's wrongfl                      . Trustee shall give notice of sale by public.
    foreclosure resulted in the passage of void title and failed                  advertsement in the county in which the
   to place it in constrctive possession of            the propert, then          Propert is located for the (*26) time and
   it could not maintain an unlawful detaner action. It                           in the maner provided by applicable law,
    follows that the Beasleys would iiave stated a meritorious                    and Lender or Trustee shall mail a copy of
   defense and should have secured writs of certiora and                          the notice of sale to Borrower in the
   supersedeas.                                                                   maner provided in paragraph 14. Trustee,
                                                                                  without demand on Borrower, shall sell
        We first consult the terms of the deed of trust to                        the Propert at public auction to the.
    determine the effect of the trtee's tiing of foreclosw-e.                     highest bidder at the tie and under the
   The deed of trst executed by the Bealeys provides, in                          terms designated in the notice of sale.
    pertinent par, as follows:                                                    Lender or its designee may purchase the
                                                                                  Propert at any sale.
                 21. Acceleration; Remedies. Lender
            shall give notice. to Borrower prior to                                   Trutee shall deliver to'   the pw-chaser

            acceleration following Borrower's breach                              Trustee's deed conveying the Propert
            of   any covenant or agreement in this                                without any covenant or waanty
            security instment but not prior to                                    expressed or implied. . . . If the Property
            acceleration under paragraph 17 (unless                               is sold pursuant to this paragraph 21,
            applicable law provides otherwise). The                               Borrower, or any person holding
            notice shall specif: (a) the default; (b) the                        possession of the Property through
            action (*25) required to cure the                                     Borrower, shall immediately surrender
            default; (c) a date, not less than 30 days                           possession of the Property to the
           from the date the notice is given to                                  pUrchaer at the sale. If possession is not
            Borrower, by which the default must be                                surrendered, Borrower or such person
            cured; and (d) that failure to cure the                               shall be a tenant at will of the purchaser
            default on or before the date specifed in                             and hereby agrees to pay the purchaser
            the notice may result in acceleration of          the                 the reasonable rental value of the.
            sums secured by this Security Instrument                              Property after sale.
            and sale of the Property. The notice shall
                                                                           Since the original filig of their amended petitlon in
           further inform Borrower of the right to
            reinstate afer acceleration and the right                      February of 2005, the Beasleys have asserted that they
            to bring a court action to assert the                          received "notice" of default and aceleration on July 29,
            non-existence of a default or any other                        2004. The facsimile is the only evidence of notice
            defense of Borrower to acceleration and                        submitted by the Beasleys, (*27) and Citi has neither
           . sale. If the default is not cured on or                       disputed the charterization of the facsimile as the
            before the date specifed in the noti,                          "notice" required under these term, nor has it provìded

            Lender at its option ma require                                documentation to show other corresondence between the
            immediate payment in full of all sums                          pares. For the pwposes of evaluating the Beasleys'
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 111 of 177                                                              PageID 119

                                                                                                                                      Page 12
                                                      2007 Tenn. App. LEXIS 20, *27



   petition, then, we consider the facsimile to support the                S. W.2d at 337; In re: Kitts, 274 B.R. 491, 494 (Bankr.
   Beasleys' prima facie case of wrongful foreclosure. It                  ED. Tenn. 2002) (settng aside a foreclosure sale in light
   appear on its face that the undisputed date of the                      of   the trstee's violaton of the deed of trst default notice

   foreclosur sae was within the thrt (30) day curative                    provisions). When the purchaser at the foreclosure sale
   penod and that the sale violate the. terms of the trst                  has dr the deed of trt controllng. the sale, and
   deed Whether or not the facsimile was in fact the onIy                 where the deed of trst waives and conveys the makers'

   "notice" provided by Citi under the terms of the contract               equity of redemption for the benefit of the purchaser, the
   and whether Citi in fact foreclosed in violation of the                 instrment "must be s.tictly constred, and the term
   trst deed, however, are mattrs for tral.                                thereof must be followed strctly by the trstee, in ('Ö30)
                                                                           order to deprive the makers of their title by mean' of a
        (HNJ7) In general, Tennessee law has required the                 . sale thereunder." Mclntyre, 89 S. W2d at 336. For
    trstee's strict compliance with tJe advertisement and                  example, a trstee must comply with term such as notice
   . notice terms as provided in the deed of trst. See, e.g..              of time and place of sale, as well as personal notice of
    Henderson v. Galloway, 27 Tenn. 692, 695-96 (Tenn.                     sale, if provided for in the deed of        trt.
   1848). The consequences of a foreclosing trtee's failure
   to comply with forelosur terms depend upon the source                               (H19J When, by the term of             the deed,
   of the requirement. Specifically, if tJe terms are                               the trtee is required before making sale
   suffciently clear and originate in the deed of trst, the                         to give notice to the bargainor of the time
   law demands strct (*28) compliance for the conveyance                            and place of sale, the .giving of such notice
   to be valid. Progressive Bldg: & Loan Ass'n v. Mclntyre,                         is in the nature of a condition pree:dent,
   169 Tenn. 491. 89 S.W2d 336, 336 (Tenn. 1936). In                                and, if not complied with, the sale is
   contrast, where a foreclosing trustee proceeds according                         unauthorized and void and wil
   to sttutory requirements, the law in Tennessee is not             so             communicate no title to the purchaser..
   exacti~g. See Tenn. Code Ann. §§ 35-5-101-35-5-//6                               And if the requirement be that personal

   (2001 . & Supp. 2006) (addrssing
                                                     non-judicial sales             notice shall be given, the trstee canot
   pertaining to the foreclosure of deeds of trst). The                             substitute notice by advertisement in a
    failure of a trstee to comply with statutory requirements                       newspaper, or at some public place or
    doe not render the sale at foreclosure void or even                             places, because not within the scope of his
   voidale. See Tenn. Code Ann. § 35-5-106 (2001 & Supp.                            authority and also because such a
    2006) (sale without advertisement is not void); Doty Y.                         deparre on the par of the trstee might
    Fed. Land Bank oj Louisvile, 169 Tenn. 496, 89 S. W2d                           be made to defeat the very object of the
    337 (Tenn. 1936); Wiliams v. Williams, 25 Tenn. App.                            requirement by enabling him to sell the
    290, 156S.W.2d363, 369  (Tenn. Ct. App. 1941).                                  propert without the knowledge of the
                                                                                     pary making the deed.
        But (HN18J the partes ca var the terms of
    foreclosure by contrct, and where a deed of trt                        Henderson v. Galloway, 27 Tenn. 692, 695-96 (Tenn.
    provision varies from the statutory requirements, that                 1848).
    term will generally supersede the statutory requirement.
    See Tenn. Code  Ann. § 35-5-I01(d) (2001 (*29) & Supp.                        According to the terms of the deed of trst executed
    2006)("Nothing in this section shall be constred as                    by the Beasleys, the Lender may invoke the power (*3 I)
    applying to any notice published in accordance with any                of sale only after the expiration of the thirt (30) day
    contract entered into heretofore, and expressed in a                   period. Moreover, only when the sale occurs "pursuant to
    mortgage, deed of trst or other legal instrments. ");                  . . . pargraph 21" and the Borrwer refuses to surender
    Mcintyre, 89 S. W2d at 336 (holding a foreclosure sale to              possession dos a landlordtenant relationship arse
    be void, and purchaser's title invàlid, where trstee sold              between the Borrower and purchaser. Assuming the
    propert after twenty-two days of advertisement, rather                 Beasleys' allegations to be              tre and construing these
    than the twenty-eight days required by the deed of trst);              terms stctly, we believe the Beasleys have staed a valid
    Potts v. Coffman. 146 Tenn. 282, 240 S. W. 783, 784                    defense because Citi would have lacked authority to sell
    (Tenn. 1922). If the trstee breaches the controlling                   the propert at foreclosure. This tye of contrat breach
    term, the foreclosine sale may be set aside. Mcintyre, 89              would be suffcient to prevent the passage of good title
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 112 of 177                                                 PageID 120


                                                                                                                       Page 13

                                             2007 Tenn. App. LEXIS 20, *31




   and, thus, the emergence of the landlord/tenant            expiraton of the curative period clearly set forth in the
                                                              deed of tr; where the contrtu curative period
   relationship. In the absence of this relationship, Citi
                                                              supersedes the statutory requiements for non-judicial
   would not have been in constrctive posseSsion of the
                                                              foreclosure sales; where the terms of the deed of trt
   proper so as to maintan an unlawfl detaner action,
                                                              give rise to the power of sale only afterthe expiration of
   Conclusion                                                 the curtive period; where the breach of this term would
                                                              invalidate the conveyance at the foreclosure sale; and,
       In this cae, the Beasleys seek to retr the unlawful    therefore, where the purch~er would acquire no title and
   detaer action in circuit court by way of writs of          could not establish the right to immediate possession of
   certiorari and supersedeas. To prevail in petiÜohing for   the premises in an unlawful detaner action.
   the writs, the Beasleys must have set forth sufficient
   merits, or a prima facie, meritorious defense. We hold          For the foregoing reasons, we reverse the judgment
   that the Beasleys are entitled to writs of certorar and    of the trial cour below and remand for the issuance of
   supersedea because, in addition to complying with the      wrts of certiorari and supersedeas and for furter
   sttutory bond and (*32) timeliness requirements, they      proceedings consistent with this'opinion. The costs of       this
   stted a prima facie case of wrongful foreclosure, which,   appeal are taxed to CitiFinancial Mortgage (*33)
   in this parcular circumstace, is a valid defense. An       Company, Inc., for which execution may issue if
   allegation of wrongfu foreclosure constitutes merits       necessar.
   suffcient to sustain a petition for review pursuant to
   Tennessee Code Annotated Section 29-18-129 where the            DAVID R. FARMER, JUGE
   trstee has conducted the foreclosure sale before
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 113 of 177   PageID 121
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 114 of 177                                             PageID 122


                                                                                                                      Page I




    .@ LexisNexis@

   ..
   Posìtve
   As of: Nov 17,201 I

                         WESTERN EXPRESS, INC. v. BRENTWOOD SERVICES, INC. ET AL.

                                              No. M2008-02227-COA-R3-CV

                              COURT OF APPEALS OF TENNESSEE, AT NASHVILLE

                                                2009 Tenn. App. LEXIS 707

                                                  April 14,2009, Session
                                                  October 26, 2009, Filed.

   PRIOR HISTORY: (*1)                                           liquidator and the trst, which reslved all claims
    Tenn. R. App. P. 3 Appeal as of Right; Judgment of the       cornon to the members of the trst, was approved by

   Chancery Cour Affnned. Appeal from the Chancery              . the Chancery Court and entered in ihe liquidation action.
   Court for Davidson County. No. 07-1040-II. Ellen              The corporation presented two issues 011 appeal: the tral
   Hobbs Lyle, Chancellor.                                       cour erred in considering thi: settlement agreement from
                                                                 the trt liquidation action and the tral cour erred in

   DISPOSITION:           Judgment of the Chancery Court         dismissing its complaint for failure to stte a claim upon
   Affrmed.                                                      which relief could be granted. The settlement ageement
                                                                 from the liquidation action, which the corporation
   CASE SUMMARY:                                                 referenced in the complaint, was properly    considered as it
                                                                 was a public record of which the tr court        could tae
                                                                 judicial notice. The tral cour properly dismissed the
   PROCEDURAL POSTURE: Plaintiff corporation,                    complait as the corporation did not allege    anyting other
   which wa one of 29 members of a workers'                      than a corron injury held by the trt. The failure to
   compensation self-insurance group trst esblished              adequately supervise, failur to pedoi; fiduciar duties,
   puruant to Tenn. Code Ann. § 50-6-405(c), appealed the        breach of contrt, and negligence claims were common
   dismissal for failure to state. a claim upon which relief     to the members of the trst.
   could be granted pursuant to' Ten~. R. Civ. P. 1202(6) by'
   the Chancery Cour for Davidson County, Tennessee, of          OUTCOME: The judgment of the trial court was
    its suit against defendant former administrator of the       afrmed, aDd the matter was remanded with costs of
    liquidated self-insurce group trst.                          appeal assessed agaiiit the corpration.

    OVERVIEW: The trst was liquidated in a separate              LexisNexis(R) Headnotes
    liquidation proceeding wherein the Commissioner of the
    Deparent of Commerce and Insurace served as the
    liquidator. A settlement entered into between the
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 115 of 177                                               PageID 123

                                                                                                                        Page 2
                                                2009 Tenn. App. LEXIS 707, * 1



   Insurance Law :: Busine~ Insurance :: SelfInsurance            Insurance Law :: Industr Regulation ;: Insurer
   :: Geneal    Overvew                                           Insolvency;: Liquidons & Rehabiliions
   Workers' Compensaton & SSDI:: General Overview                 (H5) Tenn. Code Ann. § 56-9-3/0 provides the
   (H1J Under Tenn. Code Ann. § 50-6-405(c) and the               liquidator with the authority to (8) Collect al debts and
   applicable Departent of Commerce and Insurce                   moneys due and claims belonging to the insr,
   regulations, a group often or more employers in the sae        wherever located. and for this purse to: (A) Institute
   trde are peritted to form a pool to self-insure all            timely action in other jursdictions, in order to forestall
   members collectively agat workers' compensation                garishment and atchment proceedings aganst such
   claims.                                                        debts; (B) Do such other acs as ar necessa or
                                                                  expedient to collect, conserve or protect its assets or
                                                                  propert, including the power to sell, compound,
   Civil Procedure :: Pleading & Practe :: Defenses,              compromise or assign debts for purposes of collection
   Demurrers & Objectins;: Failures to Stat Claims                upon such terms and conditions as the liquidator deems
   (HN2) The failure to state a claim upon whi.ch relief can      best; and (C) Pursue any creditor's remedies available to
   be granted is determined by an examination of the              enforce the liquidatots claims. (14) Continue to
   complaint alone.                                               prosecute and institute in the nae of the insurer, or in
                                                                  the liquidator's own name, any and al suits and other
   Civil ProCedure :: Pleadig & Practice ;: Defenses,             legal proceedings, in this state or elsewhere, and abandon
                                                                  the prosecution of cJaìms the liquidator deems
   Demurrers & Objections ;: Faüures to State Claim
                             Tenn. R Civ. P. 12.02(6) motion      unprofitable to pursue fuer. If the insurer is dissolved
   (l3) In the context of
   to dismis for failure to stae a claim upon which relief
                                                                  under Tenn. Code Ann. § 56-9-309, the liquidator sh~ll
   could be grted, numerous cases have allowed
                                                                  have the power to 'apply to any court in this state or
   consideration of matters incorporated by reference or          elsewhere for leave to substitute the liquidator for the
                                                                  insurer as plaìtiff; (I 5) Prosecute any action which may
   integral to the claim, iteins subject to judiç;ial notice,
   mattrs of public record, orders, items appearng in the
                                                                  exist in behalf of the creditors, members, policyholders or
                                                                  shareholders of the insurer agait any offcer of the
   record of the case, and exhibits attched to the complaint
   whose authenticity is unquestoned; these items may be          insurer, or any other person; Tenn. Code Ann. §
   considered by the district juc!ge without converting the       56-9-310(a)(8)(A)-(C), (/4)-(15) (2004).
   motion into one for summar judgment.
                                                                  Insurance Law :: Industr RegulatÙJn ;: Insurer

    Civil Procedure ;: Pleadig & PrlUtice ;: Defenses,            Insolvency:: Liquidations & Rehabilitawns
   Demurrers & Objections ;: Faiures to State Claims              (HN6) See Tenn. Code Ann. § 56-9-307(0).
    Civil Procedure;: Appeals :: Standards of Review ;: De
   Novo    Review                                                 Insurance Law :: Industry RegulatÙJn :: Insurer
    (HN4) The purose of a Tenn. R. Civ. P. /2.02(6) motion        Insolvency;: Liquidations & Rehabüitaons
    to dismiss is to determine whether the pleadings state a      (HN7J The liquidator is vested with the power to pursue
   claim upon which relief can be granted. A Rule 12              claims against the company's offcers, and prosecute and
   motion only challenges the legal suffciency of the             institute all claims in the insurer's name that the liquidator
    complaint. It does not challenge the strengt of the           deems necessa. Tenn. Code Ann. § 56-9-307(a), 310.
    plaintiffs prof. In reviewing a motion to dismiss, an
    appellate court must liberaly constre the complaint,
    presuing aU factual allegations to be tre. and giving the     Civu Procedure ;: Pleading & Practice ;: Pleadings ::
    plaintiff the benefit of all reasonable inferences. Thus, a   Heightened Pleading Requirements ;: Fraud Claims
    complaint should not be dismissed for failure to state a      (HN8J Tenn. R. Civ. P. 9.02 states that in all averments of
    claim uIless it appears that the plaintiff ca prove no set    frud or miste, the circumstaces constituting fraud or

    of facts in support of his or her claim that would wart       mistake shall be stated with parcularity. A plaintiff mus
    relief. Makng such a determnation is a question of law.       allege the following elements to assert a common law
    Review of a tral court's determinations on issues of law      fraud claim: (I) an intentional misrepresentation of a

    is de novo, with no presumption of correctness.               materi fact, (2) knowledge of the representation's
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 116 of 177                                                      PageID 124


                                                                                                                              Page 3
                                                     2009 Tenn. App. LEXIS 707, *1



       falsity, (3) an injury caused ~yreasnable reliance on the        COUNSEL:     Isham B. Bradley, Nashvile, Tennessee, for
       representaion and (4). the requirement) that the                 the appellant, Wester Expres, Inc.
       misrepresentation involve a past or existing fact. A claim
       of frud is deficient if the complaint fails to state with
                                                                        Tara L. Swafford and Wendee Hilderbrand, Nashvile,
                                                                        Tennessee, för the appellees, Brentwood Services,       Inc.
       paricularty an intentional. misrepresentation of a
       material fact To pass the paricularty test, the actors           and Brentwood Services Adminstrators, Inc.
       should be identified and the substace of     each allegation
       should be pled.
                                                                        JUDGES: FRA G. CLEMENT, JR, J., delivei:ed the
                                                                        opiIiion of' the court in which P A TRCIA 1.
                                                                        COTTLL, P J., M.S., and RICHAR H. DINS, J.,
       Civil Procedure ;: Pleading & Practice ;: Pleadings ;:           joined.
   .
       Complaint ;: Requirement .
       (H9) A plaintiffs obligation to provide the grounds of           OPINON BY: FR G. CLEMEN, JR
       his entitlement to relief requires 'more than labels and
       conclusions, and a fonnulaic recitation of the elements of.      OPINION
       a cause of action 'wil not do.
                                                                             Western Express, which was one of twerity-nine
                                                                        members of a workers' compensation self-insurance
   . Torts;: Business. Torts ;: Fraud & MisrepresenJon ;:.              grup trt esablished pursuat to Tenn. Code Ann. . §
     Negligent MisrepresenJon ;: Elements                               50-6-405(c), appeals the dismissal of its civil action
       (HNIO)-The necessar elements to estalish a cause of              against the fonner administator of the now liquidated
       action based upn negligent misrepresentation ar One              self-insurance group trst, Brentwood Services, Inc.
       who, iIi the course of his business, profession, or              Plaintiffs claims were dismissed puruant to Tenn. R.
       employment, or during a trnsaction in which he had a             Civ. P. 12.02(6) for failure to stte a claim upon which
       pecuniary interest, supplies false information for the           relief may be grnted. The Trust was liquidated in a
       gudance of others in their business trsactions, is               separate liquidation proceeding wherein the
       subject to liability for pecuniaI loss caused to them by         Commissioner of the Deparment of Commerce and
       their justifiable reliance upon such information, .if he fails   Insurance served as the (*2) Liquidator. A settlement
       to exercise reasonable care or competence in obtaining or        entered into between the Liquidator and Brentwoo,
       communicating the information. Statements of opinion or          which resolved all claims common to the members of the
       int~ntion are not actionable, nor, is puffing or other sales     Trut, was approved by the Chancery Cour and entered
       talk.                                                            in the liquidation action. Following the settlement of the
                                                                        liquidation action, Plaintiff filed this civil action agaist
                                                                        Brentwood to assert claims Plaintiff believed to be
       Antitust & Trad Law ;: Consumer Protection ;:                    personal or unique to Plaintiff and which were not barred
       Deceptive Acts & Practies;: State Regulation
                                                                        by the Liquidatots settlement wiil Brentwood.
       (HNI IJ Tenn. Code Ann. § 47-18-104(b)(7) provides it is         Thereaftr, Brentwoo filed a Tenn. R. Civ. P. 1202(6)
       a violation to represent that goods or services are of a
                                                                        motion to dismiss for falure to state a claim upon which
       parcular stadad, quality or grade, or that goods are of
                                                                        relief could be grted, contending that the claims
       a parcular style or rnodel, if they are of another, and §
                                                                        asserted by Plaintiff were not personal or .unique to
       47-18-104(b)(27) provides that it is a violation to engage
                                                                        Plaintiff but common to all members of the trst and
       in any other act or practice which is deceptive to the
                                                                        that all such claims had been resolved in the liquidation
       consumer or to any other person.
                                                                        action; alternatively, Brentwood asserted that any claims
                                                                        that were unique to Plaintiff were not suffciently pled
       Civil Procedure ;: Pleading & Practice ;: Pliadigs ;:            and, thus, should be dismissed. The tral court grated
        Complaints;: Requirement                                        Brentwood's motion, dismissing all claims based upon
        (HNI2) Merely reciting the elements ofa cause or'action         the reasoning submitted by Brentwoo. We affrm.
       or makng conclusory statements that a plaintiff is
       entitled to relief or was hared is not enough.                   OPINION

                                                                              This action arises from the operation and
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 117 of 177                                                PageID 125

                                                                                                                          Page 4
                                              2009 Ten. App: LEXIS 707, *2



   cour-asisted liquidation of a workers' compensation                      Six months aftr approving the settement (*5)
   self-insurace group trst established (*3) and regulated       agreement, the Chancellor addressed third-par claims

   pursuant to Tenn. Code Ann. § 50-6-405(c). (Hl) Under         filed against Brentwood by the trstes of the Trust. Two
   the sttute ~d the applicable Deparent of Commerce             of the issues presented were whether any third-par
   and Insurace regulations, a group of ten or more              claims against the Trut fell outside of   the authority of   the
   employer in the same trade are permitted to form a pool       Liquidator and the scope of the settlement agrement
   to self-insue all members collectively against workers'       between the Liquidator and Brentwood. The Chancellor
   compensation claims.                                          found that "Tennessee law doe not vest a liquidator with
                                                                 the authority to sette persnal claims, and it accords
       In compliance with the statute; Western Express, Inc.     individual claiants the right to pursue these purely
   ("Plaintift') and twenty-eight other trcking companies        personal    causes of action," and, therefore, the Chancellor
   pooled together to establish the Tennessee Trucking           determined that claims which were personal or unique to
   Asociation Self Insurace Group Trust (nTrust").               a'member of     the Trust could be pursued by that member,
   Brentwood Services, Inc. and Brentwoo Services                but claims which were common to all members of the
   Administtors, Inc. (collectively, "Brentwood") provided       Trut were within theexc1usive' authority of the
   certin adinistrtive services to the Trust pursuant. to a      Liquidator and could not be separtely pursued by
   contract with the Trust. Brentwood did not have               individual members of the Trust.
   individual contracts with any of the Trust members.
                                                                        Plaintiff filed this action in the Wiliamson County
       In December 2002, a Deparent of Correrce and              Chancery Court in August 2006 to pursue its separte and
   Insurance examiner issuéd a report identifying                unique claims against Brentwood. Shòrtly therafter, th
   deficiencies in the administrtion of the Trust. Over a        paries agreed to trsfer this action to the Davidson
   year later, the Commissioner of the Deparent of               County Chancery Cour which had presided over the
   Commerce' and Insurance used the Examiner's Repört -a         liquidation proceeding. Brentwood filed its Answer to the
   a basis for fiing.a petition in Davidson County Chancery      Complaint on September (*6) 21, 2007. Thereafter;
   Court seeking to liquidate the Trust under Tenn. Code         Brentwood fied its Tenn. R. Civ. P. 1202(6) motion to
   Ann. § 56-9-101, et seq. The chancellor grated the            dismiss wherein Brentwood contended, inter alia, that
   petition (*4) to liquidate the Trust and appointed the        Plaintiffs claims were not personal or unique to Plaintiff
   Commissioner to serve as the Liquidator. The Liquidator       but mther claims held in common by the Trust and its
   was grte all the rights and authority set fort in Tenn.       members. The chancery court entered an. order, sua
   Code Ann. § 56-9-301, et seq. Among the rights and            sponte, allowing Plaintiff to amend its complaint to
   authority granted to the Liquidator, by cour order and        "provide more detailed facnial allegations concerning its
   statte, 'was the assumption of any causes or' action          frud claim and more detaled facnial allegations
   belonging to the Trust and the authority to prosecute or     . concerning how its alleged cause of action and damages
   settle legal claims belonging to the Trust or its members.    are personal to it        and are not claims and damages
   Also pursuant to the statute, the cour's order expressly      common to the trst" Plaintiff fied an Amended
   enjoined and prohibited Trust members from bringing           Complaint on June 20, 2008. Three days later, Brentwood
   their own suits against the Trust or initiating any other     filed a renewed Motion to Dismiss.
   legal actions that might interfere with the Liquidation
   cae or the Trust's rights and assets.                             On August is, 2008, the chancery court entered an
                                                                 order dismissing all but three of Plaintiffs claims. In the
       During the liquidation cae, the Litluidator purued        same order, the cour requested additional briefig on the
   certain claims against Brentwood arsing out of               . three remaining claims, frud, misrepresentation, and
   Brentwood's contract to provide adminstrative servces         negligence, before ruling on those claims. After the
   to the Trust Brentwood count~red with its own ciaims          partes submitted additional briefs, the cour entered a
   against the Trust. Ultimately, the Liquidator and             handwrtten order, adopting the "reasoning and
   Brentwood entered into a cour-approved settement              authorities of (Brentwood's) July 23, 2008' Supplemental
   agreement. Under the terms of the settement agreement,        Memoradum of Law and their August 15, 2008
   the Liquidator releaed all claims against Brentwood in        Supplemental Memoradum," (*7) and dismissing
   exchange for a $ 215,000 settement payment.                   Plaintiffs Amended Complaint "in its entirty." This
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 118 of 177                                                   PageID 126

                                                                                                                            Page 5
                                                        200~ Teru. App. LEXIS 707, *7



   appeal followed..                                                                    whose authenticity. is
                                                                                        unquestioned; these items
         Plaintiff     presents two issues on appel. First, Plaintiff                   may be considered by the
   contends that the tral cour err in considering the                                   distct judge without.
   Settlement Agreement from the Trut Liquidation action.                               convertng the. motion into
   Seconit Plaintiff contends the tral cour erred in                                    one for summar judgment.
   dismissing its complaint for failur to state a claim upon
   which relief could be grted. We Will addres each issue
   in   tu.                                                                         Wright and Miler, Federal Practice
                                                                               ant Procedure, Civil § 1357, p. 376 (3d
   ANALYSIS                                                                    ed2004). The above, as noted, is refl~ted
                                                                              . in numerous cour decisions and is well
   SETTLEMENT AGREEMENT                                                        recognized. See, e.g., Wyser-Pratte
                                                                               Management Inc. v. Te1xon Corp., 413
         The tral cour dismissed the Complaint upon          a Tenn.
                                                                               F.3d 553, 560 (6th Cir.2005) ("In addition
   R. Civ. P. 12.02(6) motion to dismiss for failure to state a
                                                                               to allegations in the complaint, the cour
   claim upon which relief could bè granted. (H2) The                          may also consider other materials that are
   failure to stte a claim upon which relief can be granted is
                                                                               integral to the complaint, are (*9) public
   determined by an examnation of the complaint alone.
                                                                               reords, or are otherwise appropriate for
   Wolcotts Fin. Servs. Inc. v. McReynolds, 807 S. W.2d 708.
                                                                               taking judicial notice"); Rothman v.
   710 (Tenn. Ct. App. 1990) (emphasis added). Plaintiff                       Gregor, 220 F.3d 81, 88-89 (2d eir.2000)
   argues on appeal that the Settlement Agreement entered
   into by the Liquidator and Br~ntwoOd should not have
                                                                               (cour may consider SEC disclosure
                                                                               documents without converting moti¿n to
   been considered in a Rule 12.02(6) motion to dismiss for
                                                                               dismiss to summar judgment).
   failure to state a claim. Specifically, Plaintiff objects to
   the Settlement Agreement becuse "it was not par of the
                                                                        Ind. State Dist. Council of Laborers v. Brukardt, No.
   pleadings and it was not an Order entered by.                 the
                                                                        W007-0Z271-COA-R3-CV, 2009 Tenn. App. LEXIS 269,
   Chacery Cour in a related (*8) case." ThuS, Plaintiff
                                                                        2009 WL 426237, at *8 (Tenn. Ct. App. Feb. 19, 2009)
   argues the matter should have been 'convered into a Rule
                                                                        (perm app. denied Aug. 24, 2009).' .
   56 motion for summar judgent
                                                                            Based on the excep~on to the rule above, we find
         As this court recently explained in Indiana State
                                                                        that the Settement. Agreement was properly considered
   Distrct Council of Laborers v. Brukadt, there are                    as it is a public record of which the cour could tae
   exceptions to this rule:
                                                                        judicial notice. ÄJ par of the record in the liquidation
                                                                        action, which Plaintiff references in his Complaint, the
                     There are exceptions to the above rule,'
                                                                        tral cour did not err by consider~g the Settlement
               and the appellee contends that thes
                                                                        Agreement when deciding whether to dismiss Plaintiffs
               exceptions aply here. The exceptions are
                                                                        complaint for failure to state. a claim upon which relief
               reflected as follows:
                                                                        can be grted.

                            (RN3) Numerous caes,                        RULE 12.02 MOTION TO DISMISS
                         as the note below reflects,
                         have allowed consideration                     . (RN4) The pwpose of a Tenn. R. eiv. P. 1202(6)
                         of matters incorporated by                     motion to dismiss is to detennine whether the pleadings
                         reference or integral to the                   state a claim upon which relief can be granted. A Rule 12
                         claim, items subject to                        motion only challenges the legal suffciency of the
                         judicial notice, mattrs of                     complaint. It does not challenge the strengt of the
                         public record, orders, items                   plaintiffs proof. See Beti ex ref. Snyder v. Icard, Merrill
                         appearng in the record of                      Cullis, Timm, Furen & Ginsburg, PA.. 986 S. W2d 550'
                         the case, and exhibits                         554 (Tenn. 1999). (*10) In reviewing a motion t~
                         attached to the complait                       dismiss, we must liberally constre the complaint,
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 119 of 177                                                  PageID 127

                                                                                                                           Page 6
                                                2009 Tenn. App. LEXIS 707, * I 0



   preswng all factual allegations to be tre and giving the                           (A) Institue timely (*12)
   plaintiff the benefit of all reaonable inference. See                            action in other
   Pursell v. First American National Bank, 937 SW.2d                              jurisdictions, in order to
   838, 840 (Tenn. 1996); see also Trau-Med of Am., Inc. v.                         foresta garishment and
   Allstate Ins. Co., 71 S W3d 691, 696-97 (Tenn. 2002).                            attchment proceedings
   Thus, a complait should not be dismissed for. failure to                         agast such debts;

   state a clai unless it appear th the plainti ca prove .
   no set of facts in supprt of his or ber claim that would                            (B) Do such other acts
   wart relief. See Doe v. Sundquit. 2 S W. 3d 919, 922
                                                                                    as are necessai or
                                                                                    expedient to collect~
   (Tenn. 1999); Fuerst v. Methodist Hospital South, 566
                                                                                    conserve . or protect its
   S W.2d 847, 848 (Tenn. 1978) (emphais added). Making
   such a detenIination is a question of law. Our review of a                     . assets or property,
   trial cours determnations on issues of law is de novo,                           including the power to sell,
                         correctness. Frye v. Blue Ridge                            compound, compromise or
   with no presumptiori of

   Neuroscience Çenter, p.e, 70 SW.3d 710, 7/3 (Tenn.                               assign debts for purposes of
                                                                                    collection. upon such .terms
   2002); Bowden v. Ward, 27 S.W.3d 9i3 916 (Tenn.
   2000); Ganzevoort v. Russell. 949 S W.2d 293. 296                                and conditions as the
                                                                                    liquidator deems best; and
   (Tenn 1997).

        In th case, th tral cour dismissed all of Plaintiffs                                 (C) Pursue any
                                                                                    creditor's remedies
   claims adopting the reasoning of Brentwood Services in
                                                                                    available to enforce the
   its July 23, 2008 Supplemental Mèmoradum of Law and
                                                                                    liquidator's claims;
   (*llJ its Augt 15, 2008 Supplemental Memoradiu.
   The cru of Brentwood Services' argument in its m~tion
   to dismiss wa that the clais assertd by Plaitiff were
   com:on claims that the Liquidator asserted on behalf of
   the Trust, and not. "personal" claims. Thus, it contends
                                                                                (14) .Continue to prosecute and
   Plaintiff was bared frm bringing these claims in a                      institute in the name of the insurer, or in
   subsequent action by both case law and the order of the                 the liquidaor's own name, an and all
   trial cour. Plaintiff, however, contends that the causes of            suits and other legal proceedings, in this
   action pled in its complaint assert personal actions with               state or elsewhere, and abandon the
   injures unique to it, and thus, the tral court erred in                 prosecution of claims the liquidator deems
   dismissing its claims.                                                  unprofiæble to purue fuer. If the
                                                                         . insurer is dissolved under § 56-9-309, the
   COMMON CLAIMS                                                           liquidator shall have the power to apply to
                                                                           any court in this state or elsewhere for
       . The claims asserted by Plaintiff arse from the
                                                                           leave to substtue the liquidator. for the
   actions of Brentwood Services in its admiistration of the
                                                                           insurer as plaintiff
                                  the Trut, in which the
   Trust. Following the liquidation of

   Commissioner served as the Liquidator, an action was
                                                                                (15) Prosecute any action which may
   fied aganst Brentwood Services by the Liquidator on                     exist in behalf of the creditors. members,
   behalf of the members of the Trust. The Liquidator                     policyholders or shaeholders of the
   brought these actions based upon the statutory authority
                                                                          insurer against anyoffcer of the insurer,
    granted (HN5J by Tenn. Code Ann. § 56-9-310 which
                                                                           or any other person;
   provides the liquidator with the authority to:
                                                                  Tenn. Code Ann. § 56-9-3           1O(a)(8)(A)-(C)   , (/4)-(/5)
               (8) Collect all debts and moneys due and
                                                                  (2004) (emphasis added). 1
             claims belonging to the insuer, wherever
             located, and for this purpse to:                                  While both ('I 13 J paries cite to the 2008
                                                                           version of the statute, the Commissioner was
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 120 of 177                                                        PageID 128


                                                                                                                                    Page 7-
                                                     2009 Tenn. -App. LEXIS 707, * i 3



            appointed as Liquidator in Febru 2004, and,                Following a motion .for the cour. to approve the
            therefore, we find that the 2004 sttute is the             settement agreement, several State insurance guarnty
            applicale provision.                                       fuds and asociations sought to intervene in the action in
                                                                       order to asser separte claims againSt the accuntat, to
       Thus, according to the provisions of the statute, the           conduct discovery, and to object to the settlement.ld. The
   Liquidaor had the sole authority to asert claims on                 motion to intervene was denied pending the response of a
   behalf of the Trut.(H6) See Tenn. Code Ann. §                       ful cour response on several questions, one of which
   _ 56-9-307(a) ("The liquidator shall be vested by operation         _ was the scope of th authority of the Commissioner to
   oflaw with the title to ail ofthe propert, contracts and            assert clais on for the insolvent insurer. ld.
   rights of action. . . . ") (emphasis added).
                                                                           The Massachusetts court fust looked to the statutes
        Neither par has cited, and we have not found, any              under which the Commissionets authority as receiver
   Tennessee caes directly on point concerning the                     stemmed. 1d at 1212. These statues, which are similar to
   preclusive effect of a settlement by a liquidator tht -             Tennessee's, provided:
   prosecuted claims on behalf of members of an insurace
                             right of an individua member
   trt such as this, or on the                                                      The receiver's authority emanates
   to commence 'and maintain claims that are common to the                     principally from G. L. c. I 75, §§ 6 and
   members of the Trust. Brentwood Services, however,                          ¡BOC (1992 ed.). Section 6 authorizeS the
   cited severl caes that were relied upon by the trial                       . receiver appointed for an insolvent insurer
   court, and which we find persuasive, that support the trial                 "to tae      possession of all the propert and
   court's determination _ that Plaintiff is bared - from                      effects of     the company, to settle its affairs,
   asserting claims against Brentwood Servces that were                        and to distrbute its asets, subject to such
   common to the membership of the Trust.                                      rules and orders as the court may
                                                                               prescribe." Section I BOC provides that,
        In the Matter of         the Líquìdationof American Mutual             after' entr' of a liquidation order and
   Liabilty Insrance Company, 417 Mass. 724, 632 N.E.2d                        "subject to the approval of the court (the
   1209 (Mass. 1994), (*14J the Supreme Judicial Court of                      receiver) may (* 16) sell or otherwise
   Massachusett addressed the question of whether the                          dispose of the real and personal' propert,
   Commissioner of Insurance appointed as receiver of an                       or any .par thereof, and sell or
   -insolvent ins~ance company had the exclusive authority                     compromise al choses in action, of the
   to assert and sette the' claims of the insurce company.                     company." In conformity with these
   In the case, the Commissioner had been appointed                            statUtes, there was entered in the county
   purùant to the governing statutes as receiver with the                      cour an order of liquidation which
   authority to take possesion and control_ of the insurance -                 diected the. receiver, "to liquidate
   company, American Mutual, which had. become
                                                                               (America Mutul) as provided. in and
   insolvent. Id at 1210. Following an investigation into the                 subject to (G. L. c. 175, § 180Cl to tae
   _reasns for American Mutual's insolvency, the                              possession of, with the authority to
   Commissioner determned potential claims existed                             transfer and      control, the propert, records,
   agaist the former certfied accountant and auditor of                        accounts, and effects of JAmerican
   Amercan Mutual, and began negotiations to settle the                        Mutual), to settle the affairs and distrbute
   claims. 1d. - at 1211. A proposed settlement agreement was                  the assets of (American Mutu) subject to
   reached between the parties in which the former                             such rules and orders as the Court or some
   accountant would pay a settlement amount in - exchange                      Justice hereof may prescribe."
   for the release from liability on all claims "'that she,
   acting either as Commissioner of Insurace or as                     Id. The court then held that the Commissioner as receiver
   Permanent Receiver on behalf of (American Mutual) or                had the exclusive-. authority to assert and settle claims
   on behalf of (America MutualJ policyholders, claimants,             against the accountant, such as those that the accountat
   and other credtors (including, without limitation,                  had provided negligent service causing AmeTican
   guty fuds and insurance insolvency fuds) has had,                   Mutual to become insolvent. ld. The cour reaoned that
   (*15) may now, or hereafr can shall or may have.'" 1d.              the pertnent statute conferred upn the receiver "broad
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 121 of 177                                             PageID 129


                                                                                                                         Page 8
                                                  2009 Tenn. App. LEXIS 707, *16



   authority to 'sette its affairs,'" and the statute expressly              Certinly a receìver for an insolvent

   allowed the receiver lito 'compromise all choses in                   insurce corpration . . . has a right to
   action.'" ¡d. The cour noted tht an alternate result would            maintain a suit which is necesar to
   "undennine the reasonaly specifc and broad language"                  preserve the corporation's assets _ and to
   (*17) of the statute and "create a potential morass of
                                                                         recover assets of which the corpration
   lawsuits involving the receiver, and potentially up to fift           has been wrongfly deprived through
   fuds, in which many seek to assert as a representative of             frud. In such a suit the receiver may be

   American Mutual, the lattets claims aganst (the                       said to sue as the represntative of the

   accountat) for alleged negligent services." ld at 1213.               corporation and its creditors, stokholders
                                                                         and policyholders, for they have an
         The cour fuer determined, however, that the                     interest iIi the corpration's asets and
   receivets sole authority to assert claims was only in                 (* 19) upon liquidation they are entitled to
   regads to "common claims":                                            a proper distrbution of the assets.

                "The weight of authority makes it clea                        But some actions for fraud are by
             that a statutory receiver, such as the                      their nature personal to each creditor, or
                                                                         eah stockholder, or each policyholder,
             (receiver) here, may prosecute claims on
             behalf of creditors aid policyholder of                     and the receiver may not then maintan a
             the insolvent (insurace)company in order                    suit in his representative capacity for their
             to preserve its estate assets, but may not                  joint benefit In such case each claimait

             maitain a suit in such a representative                     and he alone may bring and maintan the
             capacity if it is strctly personal in nature,               suit himself, for the action is personal,

             that is, if the cause of action belongs                      separate and several, not joint, and extends
             clearly to the individua creditor or                         no furter than the individual loss of each

             policyholder." Matter a/the Liquidation of                  parcular creditor who sues. .Por example,

             Integrity Ins. Co., 240 N.J Super. 480,                      one who proves that he relied on false
             491, 573 A.2d 928 (App. Div. 1990). See                      representations as to the corpraion's

             Corcoran v. Frank B. Hall & Co., supra at                    fiancial condition and was thereby
             177 (receiver has authority tò - prosecute
                                                                          induced to extend credit to thè
             claims on behalf of creditors); Foster v.                    corporation, or to purchase stock in it, or
             Peal Marwick Main & Co., supra at                            to tae out an insurance policy with it,
             151-155 (insurace commissioner, as                           must in his own name maintain a separate
             rehabilitator of insolvent insurer, had                      suit for his damages against the person

             autority to assert (* 18) claim against-                     who uttred the fraudulent representations.
             insurer's auditor on behalf of insurer, all                  The aggrieved par and he alone may
                                                                          maintain the suit.
             policyholders and insurers, creditors, and
             interested pares alleging malpratice,
             breach of contract, and misrepresentation).           Cotten, 395 S.W2d at 941. The Massachusetts cour then
                                                                   noted that while it had not been asked to rue on what
    !d. The cour'   then looked to the Texas cae of Cotten v.      constituted a vaid personal claim, it appeared that the
    Republic Nat'l Bank, 395 S.W2d 930 (Fex. Civ. App.             claim assertng the accountat's negligent auditing
    1965), for guidance in the distinction between common          practices was a common claim. American Mutua. 632
    claims and personal claims. Id. In Cotten, the cour "held      N.E.2dat 1214 n.7.
    that a receiver could sue to recover assets for an insolvent
                                                                       Another ("'20) case cited by both Brentwood
    insurer on. behalf of creditors and policyholders, but
                                                                   Services and Plaintiff provides fuer guidance in the
    could not maintan a suit. as the representative of a
                                                                   inquiry regarding what constitutes a common claim. In
    policyholder or creditor who claimed that he or she had        Boedeker v. Rogers, the Ohio Cour of Appeals addessed
    been induced by frud to invest in'the insurr." American
                                                                   the issue of whether the Ohio statute which authorized
    Mutual. 632 N.E2d at 1213. In so findig, the cour in
                                                                   the Superintendent of Insurce to assume responsibility
    Cotten explained:
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 122 of 177                                                  PageID 130


                                                                                                                           Page   9
                                                    2009 Tenn. App. LEXlS 707, *20



   over a liquidaed insurets aff also authorized' the                        liquidation process does not degenerate
   Superitendent to be substituted as a plaitiff in an acton                 ino cacophony and disarray, ihere ca be
   by shareholders of the insurer who were asserting both                    only one conductor.
   derivative claims on behalf of the corporation and
   individùal claims on behalf of shareholders. Boedeker,            Id at 636 (emphasis added). The cour stated however
   140 Ohio App. 3d I I, 746 N.E.2d 625; 628 (Ohio Ct.               that the individual claims were different becau'e a direc;
   App. 20ÒO). Under Ohio's statutory scheme, the                    claim is "personal,' separate, and distinct from that
   Superintendent, acting as liquidator, was' authorized to          otherise suffered in common by the corporation and its
   "prosecute any and a!! claims and other legal proceedings         other shareholders." Id. at 637.
   of the insurer." Id. The cour found this included the
   derivative claims aserted by the shareholders on behalf
                                                                         Tennessee's sttutory scheme for dissolution of an
   of the corporation, because these actions were "asserd            insolvent insurer is similar to that of the state discussed
   on behalf of the corporaton to right an alleged wrong
                                                                     in the opinions above, i.e., Masachusetts, Texas, and
   done to the corporation." Id at 635. The court found that
                                                                     Ohio. In each of these staes, and Tennessee, (HN7J the
   this conclusion supportd the purose of       the statute:         liquidator is vested with the power' to pursue claims
                                                                     against the cOmpany's offcers, and prosecute and

                The obvious intent of such a statutory               institute all claims in the insurer's name that the liquidator
                                                                     deems necessar. See Tenn. Code Ann..§ 56-9-307(a),
            scheme is to give the liquidator the sole
                                                                     3/0. Thus, we concur with the reasoning adopted by the
            authority (*21 J to prosecute or abandon
            all legal rights of action that inure to the
                                                                     tral cour that the only claims which Plaintiff could
            benefit of the insurer, including        'legal          pursue were claims not in common with those that were
            claim of the insurets creditors, members,
                                                                     purued or could have been pursued by the Liquidator.
            policyholders or shareholders who look to                We find that Plaintiff has not alleged anything other than
            the insurer for satisfaction. See Four Star              a' commol; injur held by the Trust. Plaintiff had no
            Insurance Agency, Inc. v. Hawaiian
                                                                     individua contrctual relationship with Brentwoo
            Electric Indutries, Inc. (1999), 89 Haw.                 Services (*23J from which to assert an individual breh
                                                                     of contrtual relationship claim, and, while Plaintiff may
            427, 974 F.2d 1017; Corcoran v. Fran B.
            Hall & Co., Inc. (1989), 149 AD.2d 165,                  contend 'that it was a third par beneficiar of the
                                                                     contrct between the Trust and Brentwood Servces, any
            545 N. l.S.2d 278. Concentrating this
            authority in the hands of a liquidator                   injury incued from a breach of the adinistrative
            serves to reduce the potential that a                    servìces contrct would be in common with the Trust,
            multiplicity of actions by claimants having              and, thus a common clai. This is equally true of
            antaonistic interests wil deplete the
                                                                     Plaintiffs claims for failure to adequately supervise and
                                                                     failure to perform fiduciar duties ciwed to the Trust.
             insurets asets before the insurer's
            obligations are fairly extinguishecl.
                                                                          We, therefore, affrm the tral cours conclusion that

                  By necessity, the interest that                    Plaintiff failed to state a claim for which relief could be
            shareholders or other interested parties                 grted for Brentwood Services' alleged failure to
             may seek to protect wi!! be limited to the              adequately supervise, failure to perorm fiduciar duties,
                                                                     breach of contract, and negligence, as each and all of
             interests they possess. The' interests the
                                                                     these claims are common to the members' of the Trust.
             Superintendent must represent, however,
                                                                     Accordingly, we affrm the dismissal of the abve claims.
             go beyond those of the immediately,
             affected principals and include the                     We wi!! now consider the individual claims asserted by
             interests of insurers, claimants, creditors,
                                                                     Plaintiff.
             and the public generally, R.C. 3903.02(D).
                                                                     INIVIDUAL CLAIMS
             While the interests represented by
             shareholders and the interests represented                 While many of the claims asserted by Plaintiff were
             by the Supertendent may be in harony                    "common" claims that were in the sole discretion of the
             at ties, their interests may become                     Liquidator, and thus, were properly dismissed, some
             dissonant at other (*22J times. So that the             claims aserted by Platiff involved claims tiat were
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 123 of 177                                                     PageID 131

                                                                                                                              Page 10
                                                       2009 Tenn. App. LEXI 707, *23



   unque to Plaintiff or "personal" (*24) in natue.                       Ed. 2d 929 (2007) ((H9) "(AJ plaintiffs obligation to
                                                                          provide (*261 the 'grounds' of his .entitle(ment) to relief
            Plaitiff contends on appeal that it properly assert           requires' more than labels and conclusions, and           a
   claims tht were personal to Plaintiff and, thus, the tral              formula'i recitation of the elements of a cause of action
   cour erred in dismissing these claims. Brentwood                       wil not do).
   Services contends, however, that even if Plaintiff is
   entitled to assert these claims, Plaintiff failed to properly                For its misrepresentation claim. Plaitiff states that

   plead them; thus, the "personal claims" were properly                  Western Service made representations that the Trut was
   dismissed                                                              in compliance, that Plaintiff relied on these
                                                                          representations when entering into the Trust and forgoing
   FRAUD AND MlSREPRESENTA nON                                            alternatve opportities for insurce, and that based
                                                                          upon these false representations Plaintiff incurred
         We agree that claims for frud and misrepresentation              damages. (HNlO) The necessai elements to estalish a
   could constitute claims that are personal in natue, and,
   thus could be asertd by Plaintiff. However, we fid that
   these claims were not   properly pled.(HN8) Tenn. R. Civ.
                                                                          are: 2 .'
                                                                          caue of action based upon negligent misrepresntation



   P. 9.02 states that "(i)n all avennents of        frd or miste,                  One who, in the course of his business,
   the circumstace constituting frud or miste shall be                            profession, or employment, or durng a
   stted with parcularity."                                                       traction in which he had a pecuniary
                                                                                  interet,. supplies false information for the
     . A plaintiff must allege the following elements to
                                                                                  guidance of others in their busineSs
   assert a common law fraud claim: "(i) an' Ìntentional
                                                                                  transactions, is subject to liability for
   misreresentation of a material fact, (2) knowledge of the
                                                                                  pecuniar loss caUsed to them by their
   representation's fasity, . . . (3) an. injur caused by
                                                                                  justifiable reliance upon such information,
   reaonable reliance on the representaon (and (4) the                            if he fails to exercise reasonable ca or
   requirement) that the misrepresentation involve a past or                       competence in obtaining or
   existing fact. . . ." Dobbs v. Guenther, 846 S. W2d 270,                        communicating the information.
   274 (Tenn. Ct. App.I992). "A claim of fraud is deficient
   if the (*25) complaint fails to state with particularty an
                                                                          McElroy v. Boise Cascade Corp.. 632 S.W2d 127, 130
   intentiona misrepresentation of a material fact. n
                                                                          (Ten. Ct. App. 1982) (citing Jasper Aviation, Inc. v.
   Hermosa Holdings. Inc. 'v. Mid-Tennessee Bone & Joint                  McCollum Aviation, Inc., 497 SW.2d 240 (lenn.I972);
   Clinic; p.e, No. M2008-00597-COA-R3-CV. 2009 Tenn.
                                                                          Merriman v. Smith, 599 S. W2d 548 (Tenn. Ct.
   App. LEXIS 282, 2009 WL 711 125. at *10 (Tenn. Ct.                     App.1979); (*27) Hunt v. Walker, 483 S W2d 732 (Tenn.
   App. Mar. 16, 2009) (citing Dobbs, 846 S W2d at 274).                  1971)). "Statements of opinion or intention are not
    "To pass the paricularity test, the actors should be                  actionable," nor, is "puffng or other sales talk." Id.
    identified and the substance of each allegation should be
                                                                          e citing Sunderhaus v. Perel & Lowenstein, 2 I 5 Tenn.
    pled." !d. (citig Strategic Capital Res., Inc. v. Dylan Tire                                                   Plaintiff also
                                                                          619,388 SW2d 140 (1965)). We find that
   Indus., uC, 102 S. W3d 603. 6Jl (Tenn. Ct. App. 2002)).
                                                                          failed to state a claim for which relief ca be granted on
                                                                          its misrepresentation claim. Plaintiff doe not allege who
        We find that Plaintiff has not met this burden. The
    only.allegations of frud by Plaintiff are that Brentwood              made the misrepresentations or when the
                                                                          misrepresentaions were made, thereby failing to allege
    Services held "secret meetings" to conceal its failure to
    perform and failure to supervse, and that Brentwood
                                                                          the requird elements that a peron in the course of his
    Services' disregard of the "laws of         the State of Tennessee,   business supplied false information. Plaintiffs allegation
                                                                          is simply too vague to set fort a misrepresentation claim,
    and the rules and regulations of the Deparent of
                                                                          and, therefore, we af the chancery cour's dismissal
    Commerce and Inurce" was frudulent. We fid that
                                                                          of   the claim under Tenn. R. Civ. P. 1202(6). .
    these assertons are too vague to full the pleag
    requirements imposed by Tenn. R. CIv. P. 9.02, and, thus
                                                                                   2 Plaintiff does not specify whether it is
    the trial cour properly dismissed Plaintiffs clais for
                                                                                   asserting a èlaim for intentional misrepresentation
    frud under Tenn~ R. Civ. P. 12.02(6). See Bell Atl. Corp.
                                                                                   or negligent misrepresentation. Fo~ purses of
    v. Twombly, 550 U.S 544.555,127 S. Ct 1955. 167 L.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 124 of 177                                                  PageID 132

                                                                                                                          Page II
                                                    2009 Tenn. App. LEXlS 707, *27



               this appea, we shall evaluate the claim as one of      as opposed to facts upon which to base its claim. This is
               negligent misrepresentation due to the fact a claim    not enough to state a claim upon which relief can be
               for intentional misrepresentation would fail to        grated. First, we note that Plaintiff must also meet the
               satisfy the pleading reqirement of speificity, as.     pleading requirements set fort at Tenn. R. Civ. P. 9.02,
               was the case with Plaintiffs claim of fraud.           which apply to claims brought under the Tennessee
                                                                      Consumer Protection Act. See Harvey v. Ford Motor
   TENNESSEE CONSUMER PROTECTION ACT                                  Credit Co., 8 S.W-3d 273,276 (Tenn. Ct. App.1999).
                                                                      Plaintiffs vague assertions do not meet this standard, nor,
       We also find that Plaintiff (*28) has fåiled to state a        do they meet the less stringent stadads under Tenn. R.
   claim upon which relief can be granted for violatons of           . Civ. P. 8.01. (H12) Merely recitig the elements of a
   the Tennessee Consurrer Protection Act, Tenn. Code
                                                                      cause of action or makng conclusory. statements that
   Ann. § 47-18-101, et seq. One purpose of the Act is''(t)o         . Plaintiff is entitled to relief or was hared is not enough.
   protect consmers and legitimate business enterprises               See Twombly, 550 u.s. at 555; see also Polite v.
   frm those who engage in unfair or deceptive acts or                Metropolitan Development and Housing Agency, No.
   prctices in the conduct of any trade or commerce in part           M2007-02472-COA-R3-CV, 2008 Tenn. App. LEXS 501,
   or wholly within this state." Tenn. Code Ann. §                    2008 WL 3982915, at *3 (Fenn. Ct. App. Aug. 26, 2008)
   47-18-102(2); see also ATS Souiheast. Inc. v. Carrier
                                                                      (*30) ("Alleging mere conclusions, such as the board
   Corp., 18 S.W.3d 626 (Tenn. 2000).
                                                                      exceeded its authority, failed to follow the applicable
                                                                      sttues, or violated the plaintiffs legal rights, is not
        Plaintiff.   asserts that Brentwood Services violated the
                                                                      suffcient to state a claim for which relief can be
   Act based upon its. misrepresentations and "active
                                                                      granted. "). Therefore, we find that the tral cour properly
   parcipation in the marketing maneuvers." Plaintiff
                                                                      dismissed Plaintiffs TCP A claim.
   asserts that these actions violated(HN 1 i) §
   47-I8-104(b)(7), which provides it is a violation to               COMPENSATORY AND PUNITIVE DAMAGES
   represent that "goods òr services          are of a' paricular
   stdad, quality or gre, or that good ar of a                            Plaintiff also assert' that it is entitled to
   paricular style or model, if they are of another," and §          compensatory daages for the amount of the Liquidatots
   47-I8-104(b)(27), which provides that it is a violation to        assessments. agait Plaintiff in the liquidàtion
   engage "in any other act or practice which is decetive to         proceedigs, and that it is entitled to compensatory and
   the consumer or to any other persn." To the extent that           punitive daages based on the claims asserted in this
   Plaintiff assert that Brentwoo Services engaged in                action. Plaintiffs claims for daages have been rendered
   actions to concea its improper administration, this would         moot by our decision in this cae as the claims for
   fall under the common (*29) claims discussed                      , damages cannot stand alone.
   previously, as that would be an injury to the Trut as a
   whole and held commonly by other members of the                   IN CONCLUSION
   Trust. To the extent tht Plaitiff wnuld be able to assert
   a claim for misrepresentations specifically tageted at
                                                                         The judgment of the tral court is affrmed, and this
   Plaintiff, we find that Plaitif has not properly pled this
                                                                     matter is remilded with costs of appeal assessed against
   cause Qf action, despite being allowed an opportnity to           PlaintiffAppellant Western Express, Inc.
   amend its complaint by the trial cour Instad, Plaintiff
                                                                          FRANK G. CLJ?MENT, JR, JUGE
   does little more than make conclusory legal statements,
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 125 of 177   PageID 133
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 126 of 177                                            PageID 134


                                                                                                                      Page I




    .@ LexisNexis@

   .
   Positive
   As of: Dec 05, 201 1


                            MICHAEL DAVENPORT v. RICK BATES d/b/a RB AUTO SALES

                                                No. M200S-Q20S2-COA-R3-CV

                                 COURT OF APPEALS OF TENNSSEE, AT NASHVILLE

                            2006 Tenn. App. LEXIS 790; 61 u.e.e. Rep~ Sero 2d (Callaghan) 542

                                                     July 13, 2006, Session
                                                    December 12, 2006, Filed

    PRIOR mSTORY: (*1) Tenn. R. App. P. 3; Appeal                  his waiver of the original terms. At the very least,
    as of Right; Judgment of the Circuit Cour Affrmed as           reaonable minds could differ as to whether the seller
    Modified. DÎret Appeal from the Circuit Cour for               waived his right to repossess for late payments. It was
    Davidson County. No. 04C-2924. Walter Kur, Judge.              undisputed that the seller accepted the bUYer's late
                                                                   payments and did not charge late fee to the buyets
    DISPOSITION:. Judgment of the Circuit Court                    account for the firs thee years of the contrct. The buyer.
    Affrmed as Modified.                                           was current on his monthly payments thugh the end of
                                                                   2003, but he had not paid any late fe.es. He also did not
    CASE SUMRY:                                                    maintain insurance on the car, but the seller had never
                                                                   before declared him in default on that basis. There was
                                                                   ample evidence in the record to support a finding that the
    PROCEDURAL POSTURE: In a case involving the                    buyer was relying on the sellets pattern of accepting his
    repssession of two vehicles, appellant seiter appealed         payments late. Therefore, the evidence supported a
    the judgment of the Circuit Court for Davidson County          finding that the seller had waived his nght to repossess
    (Tennessee) that found, inter alia, that he wrongfully.        for late payments.
    repossessed appellee. buyer's car and that valued the
    amount of the deficiency owed on a trck. The buyer             OUTCOME: The trial courts $ 7,777 award of the
    cross appealed the directed verdict on his Tennessee           statutory penalty provided in consumer trsactions was
    Consumer Protection Act claim.                                 vacated. The two awads were offset for a total award of
                                                                   $ 3,547 to be awarded to the buyer. The judgment was
    OVERVIEW: The seller argued, inter alia, that the              otherwse afd. .
    finding of wrongful repossession of the ca was
    erroneous. The cour of appears disagreed The evidence          LexisNexis(R) Headontes
    supported a finding that the seller had 'waived his light to
    insist on prompt payment, the buyer had relied on that
    course of conduct, and the seller took DO action to retrct
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 127 of 177                                             PageID 135

                                                                                                                       Page 2

                           2006 Term App. LEXIS 790, *1; 61 D.e.C. Rep. SerVo 2d(Callaghan) 542



   Civil Procedure;: Trial ;: Jury Trials ;: Right to Jury        Cuntract Law ;: Contrac Conditns & Provisions ~
   Trial                                                          Waiers ;: Nuûce
   Civil Procedure ;: Appeals ;: Standards of Review ;:           Contacts Law ;:. Contract Intrpretaion ;: Parol
   Substantal Evidence;: General Overview                         Evince ~ Course of Dealing
   (H1J An appellate court will set aside a jwy's findings        Contact Law ;: Debtor & Creditor Relaons
   of fact only if there is no material evidence to support the   (HN4J It is settled law in Tennessee that as a result of a
   verdict. Tenn. R. App. P. 13(d). When addressing               coure of dealing between pares, the holder of an
   whi;ther there is material evidence to support a verdict, an   indebtedness may be deemed to have waived the right to
   appellate cour shal1: (1) tae the strongest legitimate         accelerate without giving prior notice to the debtor of his
   view of all the evidence in favor of the verdíct; (2)          intention to do so.
   assue the trth of all evidence that support the verdict;

   (3) aÌlow all reaonable inferences to sustain the verdict;     Contract Law ~ Contract Conditions & Provisions ~
   and (4) dicard all countervaig evidence. Appellate
                                                                  Waivers ;: Acceptace of Lat Payment
   cour do not reweigh the evidence, nor do they decide           Contact Law ;: Contraèt Interpretion ;: Parol
   where the preponderace of the evidence lies. If there is       Evidence;: Course of Dealing
   any material evidence to support the verdict, it must be
                                                                  (HN5J A secured par may be deemed to have waived its
   affrmed, or else the pares would be deprived of their          right to insist on prompt payment if it has established a
   constitutional right to a tral by jur.
                                                                  course of accting late payments. . In order for the
                                                                  "waver" reaoning to apply, an accepted course of
    Crvil Procedure;: Appeals ;: Standards of Review ~ De         conduct or dealing must have. been estalished by the
   Novo   Revie                                                   pares, and also, the debtor must have relied on that
    (HN2J An appellate cour reviews a tral cour's                 course of conduct in his further dealings.
    conclusions of law under a de novo stadard upon the
    record with DO presumption of correctness for the trial       Commercial Law (Ucq ~ Secured Transacûons
    cour's conclusions.
                                                                  (Artle 9) ~ Defauú ;: Furec/osure & Repossession ;:
                                                                  Disposiûon of Collateral
    Civil Ptocedure;: Trials ~ Judgment as Matter of Law          Commercial Law (UCC) ;: Secured Transactins
    ;: Directed Verdicts                                          (Article 9) ~ Default ~ Foreclosure & Repossession ~
    Crvu Procedure ;: Appeals ~ Standards of Review ;:            Noûce of Sale
    General Overview                                              (HN6J A secured par that disposes of collateral must
                                                                  send a reasonable authenticated notification of disposition
    (H3J In ruling on a motion for directed verdict, the
                                                                                                             1 (b) (2001). The
    cour must take the strongest legitimate view of the           to the debtor. Tenn. Code Ann. § 41-9-61

    evidence in favor of the non-moving par. In other             timeliness, content, and form of the notice are addrssed
    words, the cour must remove any conflct in the evidence       by Tenn. Code Ann. §§ 47-9-612 - 47-9-613 (2001). The
    by constring it in the light most favorable to the            provision for notice prior to a sale is intended to afford

    nOD-movant and discarng all countervailing evidence.          the debtor a reasonable opportnity to avoid the sale
    A motion for directed verdict should be grted only if,        altogether by redeeming the collateral, or in case of sae,
    afer assessing the evidence according to the foregoing        to see that the collateral brings a fair price.
    stadards, the cour determines that reasonable minds
    could not díffer as to the conClusions to be drwn frm         Civu Procedure;: Tris;: Jur Trials ~ Province of
    the evidence. On review of a tral cour's ruing on a
                                                                  Court & Jury
    motion for directed verdict, an appellate cour does not       Civil Procedure ;: Appeals ~ Stadads of ReView ;:
    reweigh the evidence. Instad, the appellate cour also         General Overvie
    must take the strongest legitimate view of the evidence in    Evidem:e ~ Testimony;: Crediilty ~ General Overvie
    favor of the non-movant, indulging inal1 reonable
                                                                  (HN7J Reconciling conflicting testimony between the
    inferences in his favor, and disregarding any evidence to     paries and evaluating witnesses' credibility are
    the contr. The motion should have been granted only
                                                                  responsibilties for the jury. An appellate court does not
    if there is no material evidence in the record that would     have the same opportnity to observe witnesses, and the
    support a verdict under the theories that were advanced.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 128 of 177                                                PageID 136


                                                                                                                         Page   3
                                2006 Tenn. App. LEXIS 790, *1; 61 D.C.C. Rep. Servo 2d (Callaghan) 542:



   appellate cour wili not reevaluat their credibility.              Dispositin ofCoUateral
   Rater, the appellate cour accords great weight to the             (HN10J In the context of the disposition of collateral, the
   jurys verdict                                                    . detennnation of whether secured propert is equipment
                                                                     or consumer goods is a question oflaw and the tral judge
                                                                     will select which calculation is applicable.
   Civil Procedure :: Remedies :: Damages :: Monetary
   Damages
   Commercial Law (UCe) :: Secûred Transactions                      Commercial Law (UCe) :: Secured Transacûons
   (Artle     9) :: Applicatin & Construction :: Definitions ::      (Article 9) :: Applicatin & Construction :: Definitons;:
   Colúral;: Goods :: Consumer Goods                                 Collatral:: Goods :: Consumer Goods
   Commercial ÚT (UCe) :: Secured Transactions                       Commercial Law (UCe) :: Secured Transactions
   (Artcle 9) :: Default :: Foreclsure & RepossessÚJn ::             (Article 9) :: Default ~ Foreclosure & Repossession ::
   Disposition of CoUateral                                          Dispositon of Collatral

   Commercial Law (UCC) :: Secured Transactions                      (HNIIJ In secured trsactions, collateral.is defined by
                                                                     its ty of primar use in the hands of the debtor.-
   (Article 9) :: Default;: Foreclosure & Repossession ::
   Notice of Sale                                                    "Consumer goods" are defined as goods that are used or
   (HN8) When a secured par fails to comply with the                 bought for use primarly for personal, family, or
   statutory notice requirements, the debtor. may recover             household puioses. Tenn. Code Ann; § 47-9-102(a)(23)
   . damages for its loss. Tenn. Code Ann. § 47-9-625 (2001).         (2001). The fact that an item is personally used does not
   However, if the. collateral is "consumer goods," the              mea it is for "personal use."
   debtor is entitled to recover a minimum statutory penalty
   without regard to his actual loss or his ability to prove          Commercial Law (UCe) ;: Secured Transactions
   that he has been damaged at alL. The consumer debtor
                                                                      (Artcle 9) :: Application & Constructn :: Definitons ;:
                                       les than 10% of the cash
    may recover an amount not
                                                                      Collatral;: Goods :: Consumr Goods
    price pius the time-price differential. § 47-9-625(c)(2).         Commercil Law (UeC) ;: Secured Transactns
                                                                      (Artile 9) :: Default :: Foreclosure & Repossession ::
    Commercial Law (UCC) :: Secured transactions                      Disposiûon ofCoUatral
    (Article 9) :: Defaul :: Foreclosure & Repossession ::            Evidence :: Procedural Considerations :: Burdens of
    Dispositin of CoUateral                                           Proof:: Allocatn
    (H9J Application of the terms in Tenn. Code Ann. §                (HNl2) When a debtor would benefit if collateral
    47-9-625 (2001) depends on whether Ule debtor received            constitutes "consumer goods," the debtor has the burden
    credit from Ule seller or a third-part financer. If the           of proving the natue of the collateraL. In borderline cases
    seller himself extended credit to the buyer, the formula          of classifyng collateral, the pricipal use of the propert
    including the time-price differential plus ten percent of         is determinative.
    the cash price is used. "Time-price differential" is defined
    as a figue representing the difference between the                Civil Procedure :: Remedies :: Damages :: Monetary
    current cash price of an item and the tota cost of
                                                                      Damages
    purchasing it on credit.                                          Commercial Law (UCe; :: Secured Transactions
                                                                      (Artile 9) ~ Default :: Foreclosure & RepossessÙJn ::

     Civil Procedure :: Appeals :: Standards of Review ::             General Overview
     Fact & Law Issues                                                (HN13) A creditor who wrongflly repossesses propert
     Commercial Law (UCe) :: Secured Tranactions                      may be held liable for conversion damages. When the
     (Article 9) :: Appliation & Construction :: Defmitins ::
                                                                      converter is a secured par, the measure of damages is
                                                                      the value of the vehicle at the time of the wrongful
     CoUatral:: Goods :: Consumer Goods
     Commercial Law (UCe) :: Secured Transactions                     repossession, less the amount owing thereon.
     (Article 9) :: Applicatin & Construction;" Definitons ~
     Collaeral:: Goods :: Equipment
                                                                      Civi Procedure :: Trials :: Jury Trials ;: Province of
     Commercial Law (UCC) :: Secured Tranactions                       Court & Jury
     (Article 9) :: Default ~ Foreclosure & Repossession ::
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 129 of 177                                                  PageID 137

                                                                                                                           Page   4
                                  2006 Tenn. App. LEXIS 790, *1; 61 u.C.C. Rep. Servo 2d (Calaghan) 542



   Civu Procedure ;: Remedes ;: Damages ;: General                    adertsing, offerig for sale, lease, rental, or distribution
   Overview                                                           of any goods, services, or propert. Tenn. Code Arm. §
   Crvu Procedure ;: Appeals ;: Standards of Review ;:                47-/8-/03(11) (2001).
                            Overvie
   Substantl Evidence;: General

   (HN14) The amount of daages rests in the sound                     COUNSEL: Thomas J. Drke, Jr, Nashville, TN, for
   discretion of the jury, and when approved    by the trial          Appellant.
   judge, the award will not be disturbed on appeal unless a
                                                                      Kik L. Clements, Goodlettsvile, TN~ for Appellee.
   violation of discretion by the jury is shown. A jury's
   daage verdict need not be reviewed for mathematical
                                                                      JUDGES: ALAN E. IDGHERS, J., delivered the opinion
   precision or certinty. When there is substatial evidence
                                                                      of the cour in which W. FRANK CRAWFORD, PJ.,
   in the record, and reasonable inferences may be drwn
                                                                      W.S., and DAVI R FARMR, J., joined.
   from that evidence, mathematical . certnty is riot
   required.
                                                                      OPINON BY: ALAN E. HlGHERS

   Anttrust & Trad Law ;: Consumer Protection ;:                      OPINION
   Deceptie Acts & Practices ;: General          Overview
                                   Ann. § 47-/8-104(0) (2005).
                                                                            This case involves the repossession of two vehicles -
   (H15) See Tenn. Code
                                                                      a car and a trck. The buyer sued the seller claing that
                                                                      he   had repossessed the vehicles in violation of. the sales
   Antitust & Trade Law ;: Consumer Protection ;:                     contracts and violat the Tennessee Consumer
   Deceptive Acts & Practies;: General OvervieW                       Protection Act, and he sought punitive dages. The
   (H16) Under the Tennessee Consumer Protetion Act,                  seller counterclaimed that the buyer had first breahed
   Tenn. Code Ann. § 47-/8-10/ et seq., "trade" or                     their contrct by making late payments. The trial court
   "commerce" is defined as the advertising, offering for              directed a verdict in the seller's favor on the Consumer
   sale, leae or rental, or distribution of any goOds,               . Protection Act claim and the request for punitive
   services, or propert, tagible or intangible, real,                 daages. The court also directed a verdict for the seller
   personal, or mixed, and other aricles, commodities, or             on the issue of wrongfl reposssion of the trck
   things of value wherever situated. Tenn.           Code Ann. §     because the buyer had told the seller to tae the trck. A
   47-/8-103(1l) (2001).                                              jur found that the ca was (*2) wrongfully repossessed
                                                                      because the seller had routinely accepted the buyer's late
                                                                      payments, and he had thereby waived his right to
   Antrtust & Trade Law ;: Consumer Protection ;:                     repossess for late payments. The jur also found that,
   Deceptrve Acts & Practices;: General          Overview
                                                                      after repossession, the seller had not pTGvided writtn
   Commercial Law (UCe) ;: Secured Transactions                       notice to the buyer before he resold the vehicles. As a
  . (Article 9) ;: Default ;: Foreclosure & Repossession ;:           result, the tral cour ordered the seller to pay a statutory
    General Overview
                                                                      penalty to buyer which is available in "consuer goods"
    (RN17) The definitions of "trade or commerce" in the              trsations. The cour also awarded daages to the
   Tennessee Consumer Protection Act, Tenn. Code Ann. §
                                                                      buyer for the wrongfl repossession of the car. After the
    47~18-101 et seq., do not extend to a dispute arising over
                                                                      jur determined the fair market value of the car when it
   repossession of collateral secunng a Joan.                                                                          the buyer.
                                                                      was repossessed the tral court awarded

                                                                      damges for the difference in the car's va!ue and the
   . Antitrust & Trade Law ;: Consumer Protection ;:                  amount the buyer still owed. The sale of the trck did not

   Deceptive Acts & Practies;: General Overvie                        produce enough money to cover what the buyer had owed .
    Commercial Law (UCe) ;: Secured Tranactions                       on it. The jury determined the deficiency existing on the
    (Artcl 9) ;: Default ;: Foreclosure & Repossession ;:             trck to be awarded to the seller. The tral court
    General    Overview                                               incorpraed all these damage awards into a final award
    (RN 18) The Tennessee Consumer Protection Act, Tenn.              to the buyer. Ori appeal, the seller contends that he did
    Code Ann. § 47-/8-/01 et seq., does not cover                     not wrongflly repossess the ca because the sales
    repssessions. Repossessions do not affect the                     contrct specifically provided that he could wave any
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 130 of 177                                                PageID 138


                                                                                                                          Page 5
                             2006 Tenn. App. LEXIS 790, *2; 61 U.C.c. Rep. Servo 2d (Callaghan) 542



   default without impairing his right to 'declare a                              . Seller may waive any default before
   subsequent defai.lt. Also, (*3) he Íigues that the                      or afer the same' has been declared
   evidence does not support the jur's finding that he .did                without impairing his right to declare a

   not send th required notices before he sold the verucles.               subsequent default hereunder, this right
   In addition, he claims that the evidence does not support               being a continuing one.

   a finding that the car was bought in a "consumer goods"
   trsaction beause the buyer testified that he used it in       The contrct also stted th Buyer was to purchase
   his business. He also challenges the jur's valuation. of       comprehensive insmance on the vehicle and fuish
   the fair market value of the car and the deficiency owed       evidence of the policy to Seller within ten days. The

   on the trck. The buyer claims that the tral court erred in     contract was signed by both paries and dated May I,
   directing a verdict on his Tennessee Consumer Protection       2000.
   Act claim.. For the following reasons, the tral còurts
                                                                       Buyer is a self-employed landscaper, and he testified
   judgment is affrmed as modified.
                                                                  that the Corvette (*5) was used in his landscaping
   OPINION                                                        business. Though he obviously did not use it to haul
                                                                  materials, he explained that he "went and looked at jobs
   i. FACTS & PROCEDURAL HISTORY                                  in jt, went and collected money in ít, and went and done
                                                                  proposals in it, things like that" One of his landscaping
       On May 1, 2000, Michael Davenport ("Buyer" or              employees was        paid to keep the ca clean. Buyer also
   "Appellee") purchased a 1995 Chevrolet Corvette from           attempted to insure the Corvette under a commercial
   Rick Bates d//a RB Auto Sales ("Seller" or "Appellant").       insurace policy, but for unkown reasons; the policy
   The Corvett was purchased puruat to a writtn                   was never issued. He proyided documentation of his
   contract which provided tht Buyer would make monthly           commercial insurance application to Seller.
   payments to Seller, and Seller would retan a security
   interest in the vehicle. The paYments were to be made               On April      1, 2003, Buyer purchased another vehicle, a
   over a five year period with an anual percentage rate of       1997 Chevrolet Silverado "dually, n from Seller. Ths
   i 1.45%. The total purchase price of the vehicle, with         trck was used in Buyets landscaping business to ca
   interest, was $ 30,402.93. Payments (*4) were to be            materials. Buyer signed another contract with provisions
   made on the first day of the month, and if any payment         identical to those meritioned above, except that payments
   .was more than two days late, Buyer would incur a late         were to be made over a period of four year with a 10%
   charge of $.10.00 per day. The contract also provided. in      anual percentage rate. The total price to be paid for the.
   pertinent par, that:                                           trck, including interes was $ 18,029.50.


             If any installment of ths note is not paid              Over the comse of three and a half year, Buyer
          when due, the entir~ amount      unpaid shall           made several late payments and some parial payments to
          be due and payable at the election of the               Seller. Buyer testified that he was often "tight on money"
          holder hereof, without notice. All pares                because of the nature of his work. but Seller would work
           hereto. . . hereby waive demand, notice                with him on his payment schedule. Buyer (*6) stated that
           and protest. .                                         he never paid any late charges and waS never asked to
                                                                  pay late fees by Seller. According to Buyer, there was
                                                                  never any problem with rus making payments late. Seller,
                                                                  on the other hand. claimed that he told Buyer from the
                Upon default, all sums secured hereby             beginning that he had to make payments on time. Seller
           shall immed,ately becme due and                        testified that he would tell Buyer about applicable late
           payable at Seller's option without notice to           fees, and Buyer would simply state that he refused to pay
           Buyer, and Seller may proceed to enforce               them. Seller claimed that he pleaded with Buyer on
           payment of same and to exercise any or all             numerous occasions to "do right" and make his payments.
           rights and remedies provided by the                    However, Seller admitted that no late fees were actually
           Uniform Commercial Code or other                       chaged to Buyets account until November of2003. 1
           applicable law. . . .
                                                                            1 At some pOint, the paries had a disagreement
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 131 of 177                                                    PageID 139


                                                                                                                           . Page 6
                                 2006 Tenn. App. LEXIS 790, *6; 61 D.C.C. Rep. Servo 2d (Callaghan) 542



            about landscaping work that Buyer had done at                     2 Buyer testified that around the end of 2003 or
            Seller's borne. The arguent appeas to have                        the first of 2004, he was unloading the trck on a
                                                                              hil and inadvertently failed to properly shif the
            affected their other dealings, and the situation
            involving the vehicles progressively worsened.                    vehicle into park. As a result, the trck rolled
                                                                              down the hill resulting in damage. Buyer took the
        On Januar 1, 2004, Buyer called Seller to say that                    trck to a repair shop for a preliminar estImate of
   he would be unable to make hi~ Januar payments on                          the cost to repair the damages. An estimate of $
   time. Buyer was curent on his payments through                             6,585.99 was provided on Januar 9, 2004. Seller
   December of 2003, (*7) but he ha made no payments                          claimed that Buyer had aditted wreckig the
   toward accrued late fees. He also maintained no                            trck on a cure one night. Seller also testified
   insurace on either vehicle~ According to Buyer, he                         that the trck appeaed to have been "stripped," as

   informed Seller that he would be in to make the payments                   it was missing the tailgate, the battery, and a
   on the following Friday, which was Januar 9t and                           mior, in addition to its other ctmages, which
   Seller did not appear to have any problem with that                        included a cracked windshield and one whole side
   arangement Seller, on the other had, tetified that                         of the trck being smashed in.

   Buyer called and said not to call hi about that month's
   payment because he had not been workig. He claims                         (*9) Seller subsequently resold both vehicles,
   Buyer only said that he would get there when he
                                                             could.    receiving $ 12,500 from a wholesaler for the Corvette and
                                                                       $ 8,000 for the trck. At tral, conflcting evidence was
   At that point, accordig to Seller, he inonned Buyer that
   "it (was) over," he would no longer tolerate the late               presented regarding whether Seller notified Buyer of
   payments and was sending someone to repossess the car.              these sales. Buyer claims be never received notice of
                                                                       either sale, nor did h~ receive an explanation of whether a
      The Corvette wa repossessed on Januar 6, 2004.                   deficiency or surlus remained after the sale. Seller
   Buyer claims he knew nothing about Seller's plans to                testified that it was his policy to send a letter of notice to
   repossess until he got home and the car was gone. Seller            a customer ten days prior to a sale of the customer's
   testified that when his agent attempted to repossess the            repossessed vehicle. He also acknowledged his policy of
   ca, it would not even star. The car had to be towed back            providing notice of any surplus or deficiency existing
   to the lot, where Seller discovered fuer repairs that               upon sale: Seller claimed that he complied with these
   were necessar before the car could be resold. Buyer                 policies in deaing with Buyer. According to his
   called Seller and demanded to know the full "payoff                 testImony, he sent the appropriate letters to Buyer's home
   amount he was required to pay in order to get the car               address, but the letters were returned to him. When asked.
   back. According to Buyer, Seller (*8) replied that he was           about the curent location of these notices, Seller stated
    unsure of the amount and would have to check with the              that he had provided the originals to Buyer's former
    ban which had financed the              loan. Seller asked Buyer   attorney, and Seller had no copies. However, upon
    about the trck payment, and Buyer responded that he                re-examination, Seller acknowledged ils inconsistent
    intended to pay the curent payments owing on it as welL.           deposition testimony, in which he had staed that no
    At some point, Buyer went to Seller's car lot to discuss           notice was given to Buyer prior to the sale.
    the vehicles. At that time, Buyer did not present any
    money to payoff the car or to make a payment on the                     Buyer had made payments. on the Corvette over the
    trck, but he claims that he could have borrowed fuds               c9ur of ('" 1 0) three and a half yeas totaling
                                                                       approximately $ 22,700.00, leaving a balance of $
    from a frend if he had known the actul amount neeed.
    He secretly taped the pares' conversation, and the
                                                                       7,624.61 owing at the time of repossession according to
    cassette tae was entered as an exhibit in the trial court          the balance shown on his last payment receipt Prior to
    and played for the jury. When Seller again mentioned the           the sale, Seller performed repairs on the car in the amount
                                                                        of $ 847.00. Seller then resold the Corvette for about $
    dually during that conversation, Buyer responded, "you
    can repo that dually any day you want to repo it." With             i 2,500.00 wholesale. It is undisputed that Seller retained
    the help of the Sumner County Sheriffs Deparent,                    money from the sale beyond what he was owed on the
    Seller eventually located and repossessed the trck,
                                                                        car, and Buyer never received that "surplus."
    which had been wreked. 2
                                                                            Buyer had paid on the trck for approximately eight
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 132 of 177                                                 PageID 140

                                                                                                                             Page 7

                               2006 Tenn. App. LEXIS 790, "'10; 61 U.C.C. Rep. Servo 2d (Callaghan) 542



   months and still owed approximately $ 13,380.60 at the                      same grounds for the complait.
   time of its repossession accordig to his last receipt In
                                                                          Sellets answer stated varous defenses. Relevant to
   addition, Seller incured abut $ 1,500.00 in repairing the
                                                                     this appea, he claimed that Buyer had breahed the
   vehicle Seller recived $ 8,00.00 from the sale of the
                                                                     partes' contract by failing to make payments.
   trck. This left an estimated deficiency of about $
                                                                     Additionally, Seller included a counterclaim for payment
   6967.00, according to Sellets figures. However, the
                                                                     of the balance owing under the two-eontrcts.
   paries disputed whether the amount Buyer stil owed
   should be reduced to reflect the amount of interest that               Buyer's answer to Sellets countercomplaint asserted
   was charged for the original four-year loan. Buyer argued         that Seller was barred from recovery under the doctrne
   that because the vehicle was repossessed early, he should
                                                                     of equitable estoppel because he frequently allowed
   not be required to pay the full interest charge.                  Buyer to make late payments without consequence. Also,
                                                                     Buyer claimed that Seller could not recover because he
        Buyer first brought suit against Seller in the
                                                        Davídson     failed to comply with the proper procedures for
   Metropolitan General Sessions (*1 i) Court of
                                                                     repossession under Tennessee law. He also cited other
   County by obtaining issuace of a civil warant on
                                                                     defenses which are not relevant to this appeal.
   Febru 24, 2004. Seller filed a counterclaim against
   Buyer on May 3, 2004. However, both claims were                        At   tral, which was held April 19-20, 2005, Buy~r
   dismised at tral on September 29, 2004. Buyer fied an
                                                                     tetified about (*13) the paries' transactions. In addition,
   appe bond on October 5, 2004, and subsequently                    he presnted the testimony of another       'local car dealer
   requested a jur triaL.                                            règading the value of the vehicles and testimony about
                                                                     the Corvette's condition from Buyer's girlfrend and one
         Buyer filed an amended complaint in the Circuit
                                                                     of Buyer's landscaping employees. The jur subsequently
   Cour for Davidson County on JaIuar 1 i, 2005, alleging
                                                                     heard testimony from Seller, two of Selletsemployees,
   that Se1Jer repossessed the vehicles in violation of the
                                                                     and a local auto mechanic who reaired the Corvette afer
   sales contracts, violate the Tennessee Consumer
                                                                     repossession. SeJler moved for and was grted a directed
   Protection Act, and engaged in intentional and outrgeous
                                                                     verdict on the causes of action for outgeous conduct
   conduct entitling Buyer to punitive damages. 3 Buyer's
                                                                     and punitive damages, violation of the Tennessee
   request for relief included: compensaory damages; costs,
                                                                     Consumer Protection Act, and wrongfl repossession of
   interest, and attorney's fees; discretionar costs; punitive
                                                                     the trck. The court found that Buyer had voluntarily
   damages; treble damages; and statutory daages pursuant
                                                                     surrendered the trck by basically telling Seller to go get
   to Tenn. Code Ann. § 47-9-625, which provides remedies
                                                                     it
    to a buyer if a secured par fails to comply with proper
    procedures upon a buyer's default 4                                    The tral court charged the jury and submitted five
                                                                     interrogatories to be answered, as follows, in perinent
             3 Although Buyer's complaint alleged that Seller
                                                                     par:
             "fail(ed) to act in a commercially reonable
             maner as required by T.CA. § 47-9-607," his
                                                                                 A. Statutory Damages
             counsel stated at trial that he wa not raising an
             issue of whether the, sale afer repossession was
                                                                                    1. Did (Seller) notify (Buyer) by mail
             commercially reasonable. Instead, Buyer
                                                                               at his last known address that the Corvette
             contended that the repossession of the vehicle                    would be sold at a certin time and place
             itself was not commercially reasonable.                           pnor to the resale of the repossessed
    (*12)                                                                      Corvette?
             4 A second amended complaint was. fied on
             Januar 20, 2005. The pares agreed that Buyer                           2. Did (Seller) notify (Buyer) by mail
             could amend his original amended complaint                        at his last known address that the
             because it appers that the previous complaint                     pickN-up trck would be' sold at a certin
             misstated Seller's name in its factual allegations.               time and place pnor to i:e resale of the
             Therefore, a second amended complaint was filed,                  (* 14) repossessed trck?
             amending the factal allegatons but alleging the
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 133 of 177                                              PageID 141

                                                                                                                         Page 8
                               2006 Tenn. App. LEXIS 790, *14; 61 D.C.C. Rep. Servo 2d (Callaghan) 542



                 B. Wrongfl Repossession                            been submitted to the jur because the contract
                                                                    specifically provided that Seller could waive any default
                    3. Did (Seller) waive the right to              without impairing his right to declare a subsequent
            repossess the Corvette for late payment?                default. He also challenged the jur's detemiination of the
            (If you anwered "Yes" to this Question,                 Corvett's fair market value, which was (* 16) used to
            please pro to Question 4.)                              determine the daage award for wrongfl repossession,
                                                                    and he challenged the jur's calculation of the deficiency
                 4.' What was the fair market value of              remaining on the trck.
            the Corvette in Januar 2oo4?
                                                                        TIl addition, Seller argued that the weight of the
                 C. Counterclam for Deficiency                      evidence did not support the jury's finding that he had
                                                                    failed to provide notice prior to the sale of the vehicles,
                 5~ The defendant-counterclaimant is
                                                                    and therefore, no statntory damages were appropriate.
            entitled to recover the   deficiency owed on
                                                                    Alternatively, Seller challenged the cours award and
            the pickup trck. You ar to determine that
                                                                    caculation of. statlory damages. The cour had
            amount by determining the amount still
                                                                    calculated those damages according to the statu's
            owed at the time of repossession plus the
                                                                    provision for "consumer goo" trsactions. Buyer had
            cost of repossession, plus the cost of
                                                                    testified that both the ca and the trck were used in his
            repair, less the amount for which it was
                                                                    landscaping business. Seller also claimed that the present
            sold.
                                                                    "consumer-goods" calculation of damages had been
                                                                    improperly determined with regard to the amount of the
   The jur fouid tht Seller bad not provided notice to
                                                                    credit service charge to be included. He finaly claimed
   Buyer before the sale. of either vehicle. The jury also
                                                                    that the weight of the evidence did not support the total .
     concluded that Seller had waived the right to repossess
                                                                    award of$ 20,209.25.
   . the Corvette for late payment. The jur determined that
   the fair market value of the CorVette at the time of
                                                                        Buyer subsequently filed a motion to alter or amend,
   repossession was $ 17,500, and the deficiency on the             requesting attrney's fees pursuaIt to the Tennessee
   pick-up trck was valued at $ 6,328.14.                           Consumer Protection Act and prejudgment .interest. He
                                                                    also moved for discretionar costs puruant to Tenn. R.
        On May 6, 2005, the tral court entered an order
                                                                    Civ. P: 54.
   based on the jurys factual findings. Buyer was awarded $
   7,777 statutory daages for Sellets failure to provide                On July 25, 2005, the trial court entered (*17) an
   proper notice of the sale of the Corvette and $ 4,385            order on the pares' post-tral motions. Sellets motion for
    (* 15) statory damages for Sellds failure to provide            a new tral was denied, and- his motion to alter or amend
   proper notice of the sale of the trck. These statutory
                                                                    the judgment was denied in par and grted in part The
   damages were calculated puruant to Tenn. Code Ann. §           - cour withdrew the $ 4,385 statutory daages for
   47-9-625(c)(2) for "consumer goods" collateraL. In               consumer collateral in regard to the trck, which reduced
   addition, Buyer was awared $ 9,875.39 for the "surlus"           the total judgment against Seller to $ 15,824.25. Buyer's
   existing after th sale of the Corvette. The court took. the
                                                                    motion requesting attorney's fees pursuant to the
   jury's deficiency figure of $ 6,328.14 that Buyer still          Tennessee Consumer Protection Act was denied, but his
   owed on the trck and subtracted a $ 4,500 "surplus" that         motion for discretionar costs was grnted. Seller was
   Seller had received from the sale of the Corvette beyond         ordered to pay $ i 200 discretionar cost to Buyer. Seller
   the amount Buyer stil owed. This left an award of $              timely fied his appeal to this Court on August 22, 2005.
    1,828.14 to Seller, which was offet against the awards to
   Buyer. The award totaled $ 20,209.25 to be paid by               II. ISSUES PRESENTED
    Seller, pius court costs.
                                                                        Appellant presents the following issues, as we
        On June 3, 2005, Seller fied a motion to alter or          perceive them, for review:
    amend the judgment, or in the alternative, to grant a new
    tral. Relevant to this appeal, Seller contended that the                 i. Whether the trial cour erred in ruling
    issue of waiver of the right to repossess should not have              that a factual issue existed as to whether
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 134 of 177                                                     PageID 142

                                                                                                                              Page 9

                               2006 Tenn. App. LEXIS 790, "'17; 61 V.C.c. Rep. Servo 2d (Callaghan) 542



            Seller could waive the right to repossess                 S. W2d 437, 439-40 (Tenn. Ct. App. 1982)). Appellate
            the Corvette for lat payment, where the                   cour do not reweigh the evidence, nor do we decide

            contract specifically said no rights were                 where the preponderance of the evidence lies. Crabtree,
            waived;                                                   575 S. W.2d at 5. .If there is any material evidence to
                                                                      support the verdict, it must be afrmed, or else the pares
                  2. Whether there is any material                    would be deprived of their constitutional right to a tral
            evidence to support the jur's finding that                by jury.ld.
            Seller did not give notice of the sales;
                                                                                (HN2) We review
                                                                                                   a tral cour's   conclusions of law

                  3. Whether the transaction involving                under a de novo standard upon the record with no
            the' 1995 Chevrolet Corvett was a                         preswnption of corrctnes for the trial court's
            commercial trsaction;                                     conclusions. Union Carbide Corp. v. Huddlston, 854
                                                                      S.W.2d 87. 91 (Tenn. 1993) (citing Estate of Adkns V.
                  4. Whether the trial court erred in                 White Canso/. Indus., Inc., 788 S. W2d 815, 817 (Tenn.
            ('" l 8) grating statutory damages based                  Ct. App. 1989)).
            on the entire finance charge to be paid,
            where the proper measUre is the amount of                 IV. DISCUSSION
             finace charge which had been paid;
                                                                      A. Wrongful Repossession
                  5. Whether the damage for wrongful
             repossession of the Corvette was the                          According to Seller, the tral court ~rred in denying
             difference between the sale price, $                     his. motion for a directed verdict on the issue of wrongful
              12,500, and the balance owed, $ 7,624;                  repossession of the Corvette. Seller contends that no
                                                                      factual (*20) issue existed regarding his right to
                   6. Whether the deficiency on the trck              repossess upon late payment, and, therefore, the trial
             was $ 6,967.38 rather than $ 6,328.14 as                 cour erred in allowing the jur to determine whether
              determined by the jury.                                 Seller had waived his iightto repossess. The paries'
                                                                      contrt stted thar "Seller may waive any default before
    Additionally, Appellee presents the. following issue for          or aftr the same h~s been declared without impairing his
    review:                                                           right to declare a subsequent default. . . . n
                   7. Whether the tral cour properly
              directed a verdict on Buyets Tennessee                     (HN3) In ruling on a motion for directed verict, "the
              Consumer Protection Act claim.                          court must tae the strongest legitimate view of the
                                                                      evidence in favor of the non-moving par." Conatser v.
    For the following reasons, the decision of    the circuit court   Clarksvile Coca-Cola Botting Co., 920 S. W.2d 646, 647

    is affrmed as modified.                                           (Tenn. 1995). "In other words, the court must remove any
                                                                      conflict in the evidence by constring it in the light most
    II. STANDARD OF REVIEW                                            favorable to the non-movant and discading all
                                                                      countervailing evidence." Id. A motion for directed
          (HN1) This Court will set aside a jur's findings of         verdict should be granted only if, after assessing the
    fact only if there is no material evidence to support the         evidence according to the foregoing standads, the court
    verdict Tenn. R. App. P. 13(d). "When addressing                  determines that reasonable 'minds could not difer as to
    whether there is material evidence to support a verdict, an       the conclusions to be drawn from the evidence. ld. (citing
    appellate court shall: (I) take the strongest legitiate           Ealon v. McLain, 891 S.W.2d587, 590 (Tenn.          1994)).
    view of all the evidence in favor of the verdict; (2)
    asume the truth of all evidence that support the verdict;                    On review of a tral cours ruling on a motion for
    (3) allow all reasonable inferences to sustain the verdict;        directed verdict, (*21) an appellate cour does not
    and (4) discad all (countervailing) (*19) evidence."               reweigh the evidence. Conatser, 920 S. W.2d at 647,
    "'haley v. Perkins, 197 S. W.3d 665, 671 (Tenn. 2006)              (citing Wiliams v. Brown, 860 S.W.2d 854, 857
    (citing Crabtree Masonr Co., Inc. v. C & R Constr.,                (Tenn.      1993)). Instead, we also must "take the strongest
    Inc., 575 S.W.2d 4, 5 (Tenn. 1978); Black v. Quin, 646             legitimate view of the evidence in favor of the
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 135 of 177                                                 PageID 143

                                                                                                                        Page 10
                               2006 Tenn. App. LEXIS 790, *21; 61 U.C.C. Rep. Servo 2d (Callaghan) 542



                                                                             without first callng attention of appellants
   (non-movant), indulging in all reasonable inferences in
   his favor, and disregarding any evidence to the contrry."                 to the fact that he was insisting upon the

   It! The motion should have been granted only jf there is                  onginal terms, and that no fier iregular

   no. material evidence in the record that would support a                  payments would be accepted.
   verdict under the theories that were advanced. Id.
                                                                    Id. at 904. Although Lively involved a real estate
        The issue then, for this Court is whether the record        foreclosure,' the Co.ur's reasoning has also been applied
   contains any material evidence supporting Buyets caue            in wrongful repssession caes. See Crowe v. FirstAm.
   of action for wrongfl repossession. It is undisputed that        Nat'l Bank, No. W2oo1-00800-COA-R3-CV, 2001
   Seller did accept Buyets late payment, and did not               Tenn. App. LEXIS 950, at *10 (Tenn Ct. App. W.S.
   charge late fees to Buyets account for the first thee            Dec. 10, 200 i). (HN5) A secured par may also be
   yeàr of the contrt. Buyer was current on his monthly             deemed to have waived its right to insist on prompt
   payments though the end of 2003, but he had not paid             payment if it has esblished a course of accepting late
   any late fees. He alo did nofmáintai insUrce on the              payments. Robert M. Lloyd, Wrongjl Repossession in
   car, but Seller had never before declared him in default         Tennessee, 65 Tenn. L. Rev. 761, 764 (1998).
   on this basis. When Buyer called Seller on Januar 1,
   2004, to inform Seller that he would not be able to make                  5 When a secured par has accepted payments
   bis Januar payment (*22) on time, Seller repossessed                      late, but then wishes to declare a default upon
   the vehicle. Buyer claims that Seller had waived his right                fuer late payments, he may send the debtor a
   to repossess the vehicle for late payments by establishing                "strct compliance" letter to demand compliance
   a course of accepting his payments late. Seller argues that               with the original tenus of the agreement. Robert

   the contract does not allow such a waiver of the right to                 M. Lloyd, Wrongfl Repossession in Tennessee,
   repossess for late payments.                                              65 Tenn.' L. Rev. 761, 765 (1998). This info~s
                                                                             the debtor that even though late payments may
        The Tennessee Supreme Court has addressed the                        have been accepted oil previous occasions, the
   waiver issue in a case involving a real estate foreclosure.               secured par wilÌ proceed to repossess the -
   Lively v. Drake, 629 S. W.2d 900 (Tenn. 1982). In Lively,                 collateral if fuer payments are untimely. It!
   the Court affrmed a trial cours decision to enjoin a                      The secured pars waiver of the original terms is
   mortgagee from foreclosing on a deed of       trt It! at 904.             thereby retracted. Id. In this case, no such lettr
   The mortgagee had accepted irregular payments over a                      was sent to Buyer to demand strct compliance
   period of two yeas, and the mortgagors had become five                    with the monthly deadline.
   months behind in scheduled payments. Id. at 903. The
   mortgagee finally decided to- accelerate the maturity of              (*24) In order for Lively's "waiver~' reasoning to
   the note and to commence foreclosure. Id. However, he            apply to these facts, an accepted course of conduct or

   did not communicate with the mortgagors prior to                 dealing must have been established by the paries, and
   declaring a default Id. at 902. The Cour noted (HN4) it          also, the debtor must have relied on that course of
   was settled law in Tennessee that "as a result of a course       conduct in his fuer dealin~. Jerles v. Philips, No.
   of dealing between paies, the holder of an indebtedness          M200S-1494-COA-R3-CV. 2006 Tenn. App. LEXIS 558,
   may be deemed to have waived the (*23) right to                  at *12 (Fenn. Ct. App. Ws. at Nashvile Aug. 22, 2006);
   accelerate without giving prior notice to the debtor of his      Dtuus v. Weaver, Shelby Equity No. 29, 1988 Tenn. App.
                                                                    LEXIS 867, 1988 WL /38918        at *2 (Tenn. Ct. App. W.s.
   intention to do so." 5 Id. at 903. The Cour then
   concluded that:                                                  Dec. 28, 1988). In this case, there is material evidence in
                                                                    the record to support a finding that the paries had
               the course of deaing between the pares               established a course of dealing in which late payments
             over a penod of almost two year was                    were routinely accepted. Regarding the debtots reliance,
             such that appellants had been led to                   we have previously refused to apply Lively in situations
             believe that irregular payments would be _             in which a debtor stops making payments altogether, as
             accepted without acceleration. Under                   opposed to makg irregular payments. See Jerle, 2006
             those circumstances appllee should not                  Tenn. App. LEXS 558, at *12; Dacus, 1988 Tenn. App.
             be permitted to foreclose on the note                  LEXS 867, 1988 WL 138918 at *2. In other words, "it
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 136 of 177                                              PageID 144


                                                                                                                    Page II
                              2006 Tenn. App. LEXIS 790, *24; 61 U.c.e. Rep. Servo 2d (Callaghan) 542



   cannot reasonably be said that (a debtor) relied on (a                   (*27) unless it is in writing.
   creditots) acceptance of late payments when making no
   payment at alL." Dacus, I 988 Tenn. App. LEXIS 867,             Tenn. Code Ann. § 47-50-112 (2001) (emphass added).
   1988 WL 138918 at *2. In this cae, however, Buyer had           However, the statute does not address the effect of
   not stopped making payments (*25) altogether. In fact,          general non-waiver clauses which completely prohibit
   he was current on his pa.yments up through the previous
                                                                   any tye of waiver.
   month. He merely called on the day his next payment was
                                                                        There is no indication in Lively of whether. the
   due to say he. would be late, This is a cae of "irregular
                                                                   contract at issue contained a non-waiver clause. 629
   payment," like Lively, rather than a case of                    S. W.2d 900, 901-904. However, we have previously
   "nonpayment." There is ample evidence in the record to
                                                                   found that a bank waived its right to repossess for late
   support a finding that Buyer was relying ~n Seller's
                                                                   payment evim though a non-waiver clause was included
   pattern of accepting his payments late. Therefore, the
                                                                   in the paries' contract. In Crowe t'. First Am. Nall
   evidence supports a finding that Seller. had waived his
                                                                   Bank, No. W2001-00800-COA-RJ-CV, 2001 Tenn. App.
   right to repossess for late payments.
                                                                   LEXlS 950, at *10 (Tenn. Ct. App. W.S. Dec. 10,2001),
        Seller contends that, despite the fact that he had         a case analogous to the one before us, the paries' contrct
   accepted Buyets irreguar payments, the clause in their          provided that:
   contract providing tht he cm:ild stil declare a subsequent
                                                                                The Creditor can delay or refrin from
   default controls, and he could stil proced to repossess
   the vehicle upon fuer late payment Secured paries
                                                                             enforcing any of its rights under this
                                                                             contract without losing them. For
   ofteri include "antiwaiver" or "non-waiver" clauses in
                                                                             example, the Creditor ca extend the tie
   their original agreements, stating that the failure of the
                                                                             for making some payments without
   secured par to exercise its remedies On one default wil
                                                                             extending others. Any change in terms of
   not waive the right to exercise rights on subsequent
                                                                             this contrct must be in wrting and signed
   defaults. Lloyd, supra, at 767. The contrt in the case at
                                                                             by the Creditor.
   bar included this tye of "non-waiver" clause. (Exhibit 1).
    Cour in other jursdictions have refused to give effect to                                                              of
                                                                    2001 Tenn. App. LEXIS 950, at *4 . The course
    these clauses, (*26) finding that the secured par's
    conduct created an estoppel, or the secured par waived          dealing between the paries during a period of over three
    the non-waiver clause, or that non-waiver clauses are
                                                                    year was such that the debtor had been led to believe
    invalid and against public policy. Td. (mentioning In re        (*28) that the ban would accept late payments without
                                                                    considering him in default. 2001 Tenn. App. LEXIS 950,
    Bagley, 6 B.R. 387, 390 (Bankr. ND. Ga. 1980);
                                                                    at* i o. The bank. had never refused the debtor's late
    Montgomery Enter., Inc. v. Atlantic Nat'! Bank. 338 So.
    2d 1078, 1081 (Fla. Dis!. Ct. App. 1976); Pierce v.             payments before, and it had not notified the debtor that
                                                                    fue late payments would not be accepte ld. Also,
    Leasing IntI, Inc.. 142 Ga. App. 371, 235 S.E.2d 752,.
                                                                    debtor had never properly insured the trck as required
    754 (Ga. Ct. App. 1972); Cobb v. Midwest Recovery
    Bureau Co., 295 NW.2d 232. 237 (Minn. I
                                                           980);    by their contract, but the bank had neVer placed him in
    Westinghouse Credit Corp. v. Shelton, 645 F.2d869, 874          default. ld. When the debtor was late on another
                                                                    payment, the ban proceeded to repossess his trck. ld.
    (10th Cir. (Okla.) 1981); Smith v. General Fin. Corp..
    243 Ga. 500, 255 S.E.2d 14, 15 (Ga. 1979); Battista v.
                                                                    The creditor moved for a directed verdict on the issue of
    Savings Bank. 67 Md. App: 257, 507 A.2d 203 (Md. Ct.
                                                                    wrongful repossession, but we concluded that the tral
    Spec. App. 1986)). Tennessee has a statute addrsing             cour had correctly overred the motion. ld. The ban
    these clauses, which states:                                    had waived its right to declare a default for late
                                                                    payments, and it had not taen any action to retract its
                                                                    waiver.
                (c) If any such secunty agreement, note,
              deed of trst, or other contrct contai a                     In his brief, Seller cites two cases in which the
              provision to the effect that no waiver of
                                                                     Tennessee Cour of Appeals had determined there was no
              any terms or provisions thereof shall be
                                                                     waiver of creditors' rights to declare a default Spectra
              valid unless such waiver is in writing, no
                                                                     PlastÎls, Inc. v. Nashoba Bank. 15 S.W.3d 832. 842
              cour shall give effect to any such waiver
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 137 of 177                                                    PageID 145


                                                                                                                          Page 12
                          2006 Tenn. App. LEXIS 790, *28; 61 U,C.C. Rep. Servo 2d (Callaghan) 542



   (Tenn. Ct. App. 1999); Vane Fin Corp. v. McNiel,               must (*3 i 1 send a reasonable authenticated notification
   No. M2002-00047-:COA-R3-CV. 2003 Tenn. App. LEXS               of disposition to the debtor. Tenn. Code Ann. §
   2, at *5 (Tenn. Ct. App. MS. Jan. 7, 2003). However, we        47-9-611(b) (2001). The timeliness, content, and form of
   fid the two caes (*29) are distinguishable to the case at      the notice are addressed by Tenn. Code Ann. § 47-9-612 -
   bar. In Spectra, the cour refused to find a waiver of          613 (2001). The provision for notice prior to a sale is
   contract rights when the contrct specifcally provided          intended to afford the debtor a reasonable opportity to

   that its terms could not be modified except in writig. 15      avoid the sale altogether by redeeming the collateral, or
   S. W3d at 842. The court reasoned that the ~no oral            in case of sale, to see that the collatera brings a far price.
   modification" clause should be enforced according to           R & J of Tenn., Inc. v. Blanknship-Me/ton Real
   Tenn. Code Ann. § 47-50-112(c) (2001), which we have           Esúúe, Inc., 166 S. W3d 195, 203 (Ienn. Ct. App. 2004).
   previously discussed.Id. The contract at issue in this case    On appeal, Seller assert that there is no material

   does not contain a "no oral modification" clause. (Exhibit     evidence to support the jurys finding that Seller did       not
   1). It contains a general non-waiver clause which is not       give notice of the sales. Seller testified that it was his
   addressed by Tenn. Code Ann. § 47-50-112(c) (2001).            policy to send a notice letter to a customer ten days prior
                                                                  to the sale of their repossesed vehicle. He claimed that
        In the other case Seller mentions, Vantage, the           he sent the appropriate letters to Buyer, but the letters
   debtor had Dot made any payments for over'a year. 2003         were returned because Buyer would not accept his maiL. 6
   Tenn. App. LEXS 2, at *6 . His promissory note was             He did not produce copies of any such letters because he
   assigned to another credtor, who made a demand for             allegedly sent the originals to Buyer's former attorney.
   payment. Id. The debtor still did not pay. Id. The cour
   stated that a course of conduct of accepting late payments              6 When addressing this issue in his brief, Seller
   "does not excuse (the debtots) failure to make arr                      also refers to the testimony of one of his

   payments . . . when (the creditor) made demand for                      employees, who stated that he had called Buyer
   paymeDt.~ 2003 Tenn. App. LEXIS 2, at *6 (emphasis                      on numerous occasions to inform him of late fees
   added). The cours reasoning was similar to that (*30)                   he had incured. Seller iiso staes that he
   employed in Jerles, 2006 Tenn. App. LEXIS 558, at *12 ,                 personaly told Buyer to make payments on time
   and Dacus, 1988 Tenn. App. LEXIS 867, 1988 WL                           or else he would be chared late fee. However,
    138918. at *2. Although a pattern of accepting late                    this evidence does not appear to be relevant to the
   payments may prevent the creditor from immediately                       issue of whether Seller provided the required

   repossessing a vehicle upon a fuer late payment, the                    notice following repossession before dispositon
   pattern of paying late doe not justify a debtots complete               of the collateral in accordace with Tenn. Code
    refusal to make any payment. In this case, Buyer did not               Ann. § 47-9-611-613.
   refue to pay altogether, and Seller made no demand for
   payment Seller repossessed the Corvette when Buyer                  (*32) Buyer claimed he never received notice of
                                                                  either sale. Upon re-examination of Seller, Buyer's
    called to say he would be late. Therefore, this case is not
                                                                  counsel introduced deposition testimony in which Seller
    analogous to either of the caes cited by Seller.
                                                                  admitted he had never provided notice of the sales to
        In sum, we find sufcient material evidence in the         Buyer. Seller then explained that he was told not to

    record to support Buyets claim for Mongful repossession       contact Buyer directly, but only to communicate through
    of the Corvette. The evidence support a finding that          their attrneys. He stated that a notice letter was sent to
    Seller had waived his right to insist on prompt payment,      Buyer's attorney, and it was refused by both the attorney
    Buyer had relied on that course of conduct, and Seller         and Buyer. Still, no copy of any notice letter was
    took no action'to retract his waiver of the original terms.    produced.
    At the very least, reasonable minds coula differ as to
                                                                       Given the testimony in the case at bar, material
    whether Seller waived his right to repossess for' late
                                                                   evidence existed to support the jury's finding that Seller
    paymentS. Therefore, the tral court properly denied his
                                                                   did not send the required notices. (l7) Reconciling
    motion for a directed verdct.
                                                                   conflcting testimony between the pares and evaluating

    B. Notice prior to Sales                                       witnesses' crdibility are responsibilities for the jury.
                                                                   Sasser v. Averitt Exp., Inc., 839 S. W2d 422, 427 (Tenn.
         (H6) A secured par that disposes of collateral
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 138 of 177                                              PageID 146


                                                                                                                     Page 13

                            2006 Tenn. App. LEXIS 790, 'i32; 61 U.C.c. Rep. Servo 2d (Callaghan) 542



   Ct. App. 1992). This Cour does not have the same                      . Uniform Commercial Code: Part II, 54 Bus. Law.
   opportity to observe witnesses, and we will not                        1737, 1804 (1999). If the seller himself extended
   reevaluate their credibility. Id. Rather, we accord great              credit to the buyer, as in this ca, then we use the
   weight to the jurs verdict. Id. Buyets testimony, along
                                                                          formula including the time-price differential plus
   with the inconsistent testimony of Seller, . constituted               ten percent of the cash price. Id. "Time-price'
   suffcient evidentiar support for the jurys conclusion
                                                                          differential" is defined by Black's Law Dictionar
   that no (*33 J notices were sent.
                                                                          as: "(aJ figue' representing the difference between
                                                                          the curent cash price of an item and the total cost
   C. Damages                                                             of purchasing it on credit." Black's La
                                                                          Dictionar (8th ed. 2004).
   1. Consumer or Commercial Transaction
                                                                        (*34) The tral cour awarded statuory damages to
        (H8)- Wben a secured par fails to comply with the          Buyer for Seller's failure to notify him of the sales
   statutoiy notice requirements, the debtor may recover           pursuant to Tenn. Code Ann. § 47-9-625(c)(2) (2001) for
   damages for its loss. Tenn. Code Ann. § 47-9-625 (2001).        "conswner goods" collateral. (Vol., p.84). Initially, the
   However, if the collateral is "consumer goods," the             awar included $ 7,777 regarding the sale of the Corvette
   debtor is entitled to recover a minimum statutoiy penalty       and $ 4,385 regading the trck. On Seller's motion to
   without regad to his actu loss or his ability to prove          alter or amend, the tral court withdrew the award for the
   that he has been daaged at alL. Davenport v. Chrysler           trck, apparently concluding that it was not a "consumer
   Credit Corp., 818 S.W.2d 23, 31 (Tenn. Ct. App. 1991).          goods" transaction. The cour did not alter the $ 7,777
   The consumer debtor may recover an amount not Jess              statutory daage award regarding the Corvette.
   than 10% of the cash price pIus the time-price
   differential. 7 Tenn. Cod Ann. § 47-9-625(c)(2).                   . On appea, Seller argues that the tral cour erred in
                                                                   calculating daages for a "consumer goods" trsaction
           7 Tenn. Code Ann. § 47-9-625(c)(2) (2001)              . because Buyer himself testified that he used the Corvette
           actuaJly reads:                                          in his landscaping business. As previously discussed, the
                                                                   tral court submitted to the juiy the issue of whether
                        if the collateral is consumer              notice was properly given. However, the court did not
                   goos, a person that was a debtor                submit an interrogatoiy asking whether the trsaction
                   or a secondar obI igor at the. time a           was consumer or commercial in nature. Although the
                   secured par failed to comply with               paries did not challenge the manner in which the tral
                   this par may recover for that                   cour proceeded on this issue, we must addrs it in order
                   failur in any event an amount not               to ascertn the correct stndard of our review. In secure
                   less than the credit service charge             transactions (*35J caes, there has been a divergence of
                   plus ten percent (10%) of the                    opinion as to whether the classification of collateral is a
                   principal amount of the obligation              question of law or a question of fact. See McFarla v.
                   or the time-price differential plus             Brier, 850 A.2d 965, P76 (Rl. 2004); First Natl Ban in
                   ten percent (10%) of the cash                    Grand Prairie v. Lone Star Life Ins Co., 524 S. W2d .
                   price.                                           525,533 (Tex. Civ. App. 1975); Mater of   Newman, 993
                                                                    F.2d 90, 93 (5th Cir. (Tex.) i 993) ("Clasification of
           The section does not define the terms "credit            collateral under the VCC is a question of law"). But see
           service chage," "time-price differential," and           Morgan County feeders, Inc. v. McCormick, 836 P.2d
          ,"cash price." According to the comments                  1051, 1053 (Colo. App. 1992); Zeagler v. Custom Auto,
            following the text, the constrction and                 Inc., 880 F.2d 1284, 1286 (II th Cir. (Ala.) i 989)
            application of the term are left to the cour. Tenn.     (concluding that in borderline cases involving whether
            Code Ann. § 47-9-625 offcial comment 4.                 good is "conswner good," determintion is best made by
            However, "( c Jase law and scholarly commenta           trer of fact). Although there appea to be no reported
            reveal that (HN9J applicaon depends on whether          cases from Tennessee cour addressing this issue, and
            the debtor received credit from the seller or a         the paries have Dot cited any, the "Tennessee Pattrn
            third-par financer." Timothy R. Zinnecker, The          Jur Instrctions" provide some gudace. The Pattern
            Default Provisions of Revised Article 9 of the
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 139 of 177                                                  PageID 147

                                                                                                                          Page 14
                                  2006 Tenn. App. LEXIS 790, *35; 61 V.e.e. Rep. Servo 2d (Callaghan) 542



    Jur Instrction regarding "Wrongfl Sale Aftr                                    A. I bought it and used it II my
    Repossession" sets out the two alternative damage                          landscaping business.
    calculations for commercial and consumer transactions. 8
    Tenn. Practice: (*36) Tenn.          Pattern Jury Instrcti¿ns -                Q. Okay. Wht - explain that to us.
    Cívíl § 14 71 (6th ed. 2006). The Instrction is followed
                                                                                   A. Well, of course, I didn't haul dir in
    by a "Use Note," which provides: (HN10J "(tJhe
                                                                               it, jt was a Corvett. (*38) I went and
    determinaton of whether the secured propert is                            looked at jobs in it, went and collected
    equipment or consumer goo is a question of law and                                           went and done proposals
                                                                              money in it, and
    the tral judge wil select" which caculation is applicable.
                                                                              in it, thigs like that
    Id. In this cas, the trial judge's actions were in
    accordance with ~e Pattrn Jury Instrctions. Although
                                                                       Buyer also stated that one of his landscaing employees
   . we recognize that the Pattern Jur Insctions are meant
                                                                       was paid to keep the car clean. In addition, when
    to be an aid and are not mandatory authority, See
                                                                       questioned about his failure to insure the vehicles as
    Cortazzo v. Blackburn 912 S.W,2d 735, 740 (Tenn. Ct.
                                                                       required by the contract, Buyer stated that he had
    App. 1995), we find that the tral judge proceeded
                                                                       attempted to have the Corvett and the dualy put on one
    properly in treating the issue as a question of law and
                                                                       commercial insurance policy. He also. provided
    selecting which damage caculation applied to this
                                                                       documentation to Seller of his application for a
    co llatem!.
                                                                       com:ercial insurance policy. For some time, Seller was

         We wil next consider the tral judge's conclusion              under the impression that the commercial policy covered
                                                                       the vehicles.
    that the Corvette transaction involved "consumer goods."
  . If the Corvett is considered "consumer goods," Buyer is
                                                                            Buyer now contends that his testimony, along with
    entitled to the sizeble statutory penalty. As previously
                                                                       that of his witnesses, demonstates that the Corvette was
   noted, we review a trial court's conclusions of law under
                                                                       a collectots item, and thus, inherently for persona use.
   a de novo standard upon the record with no presumption
                                                                       He refers to his testimony that he kept the Corvette in
    of corrctness for the tral court's conclusions. Union
                                                                       excellent condition and had it cleaned on a regular basis.
    Carbide Corp. v. Huddleston, 854 S.W.2d 87,91 (Tenn.
                                                                       He also notes that he referr to the car as his "baby" and
    1993) (*37) (citation omitted).
                                                                       said he loved the ca. Also, he testified that he kept the
               1   I ) In secured transactions, collatera is defined   ca in a garge aid did not drive it in the rain. According
         (l
                                                                       to Buyer, this is "conclusive proof' that the vehicle was'
    by its tye of primar use in the. hands of the debtor.
                                                                       purhased for personal use. We disagree.
    Walker v. Assoc. Commercial Corp., 673 S. W.2d 517,
    522 (Fenn. Ct. App. 1983). "Consumer goods" are
                                                                           In seahing the extensive (*39) trascript of the
    defined as "goods that are used or bought for use
                                                                       testimony in this case, we are unable to locate a single
    primarily for personal, famly, or household puioses."
                                                                       reference to an occaion of Buyer drving the car for
    Tenn. Code Ann. § 47-9-102(a)(23) (2001). "Of course,
                                                                       personal or family use. To the contr, all of Buyer's
    broadly speaking, every buyer is a 'consumer.'" Intl
                                                                       tesimony relates to his use of the car in his business.
   . Harvester Credit Corp. v. Hil. 496 F. Supp. 329, 333-34
            Tenn. 1979). However, the fact that an item is
                                                                       (H12) When a debtor would benefit if the collateral
     (MD.
                                                                       constituted "consumer goods," the debtor has the burden
     personally used does not mean it was for "personal use. n         of proving the natue of the collateraL. 10 Ronald A.
     Iff at 334.
                                                                       Anderson, Anderson on the Uniform Commercial Code §
          At tral, varous witnesses gave lengthy testimony
                                                                       9-507:77 (3rd ed. 1999) (citing Wilmington Trut Co. v.
    about the value of the Corvette and its condition.                 Conner, 415 A.2d 773, 781 (Del. 1980); Bundrick v. First
    However, the testimony as to Buyer's use of the Corvett'           Natl Bank. 570 S. W,2d 12, (Tex. Civ. App. 1978)). In
    was fairly limited. The following exchange took place              borderline cases of classifying collateral, th principal use
                                                                       of the propert is determinative. In re Fra'lr, 16 B.R.
    between Buyer and his counsel':
                                                                       674. 680 (Ban.MD.Tenn. 1981). Buyer simply did not
                                                                       produce any evidence that the vehicle was "used or
                   Q. Just tell me what you did with the
              Corvette once you purchased the Corvette.                bought for use primarily for personal, family, or
                                                                       household puioses." Tenn. Code Ann. § 47-9-102(a)(23)
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 140 of 177                                                   PageID 148


                                                                                                                             Page 15
                                 2006 Tenn. App. tEXIS 790, *39; 61 V.C.C. Rep. Servo 2d (Callaghan) 542



    (2001).                                                           to need a Corvett. However, as we have already
                                                                      discussed Buyets testimony reveaed (*42) that he used
            Buyer, on appal, cites two cases in support of his        the Corvette for various commercial reasons. In our
    argwent that the Corvett was a "consumer good.". first,           opinion, Buyer's occupation would qualify as a business
    be notes that jus because a vehicle is used for (*40) a           requiring the use of an automobile. He did not merely
    paricular purpse .does not necessarily place the vehicle          drive to and from an offce everyday with no' occasion to
    in     that parcular category, and he cites Int'l Harvester       use the car for business reasons. Although he may not
    Credit Corp. v. HUl, 496 F Supp. 329, 333-34                      have needed'a Corvette, specifically, he needed some
    (MD.      Tenn. 1979). We agree with Buyets statement. We         tye of vehicle and chose to purchase a Corvette. If
    must consider the "primar use"      of the collateral in the      Buyer had used another trck or a less expnsive car and
    hands of the debtor. Walker, 673 S. W2d at 522. In Intl           testified that he used it for these saIe commercial
    Harester, the collateral at issue was a tractor. 496 F.           purses, the vehicle would clearly not be classified as a
    Supp. at 333. The cour classified it as equipment, sttig          consumer good. We will not accept Buyets argument on
    that jus because an item is personally .used does not             appeal that the Corvett is "inherently" a coJlectots item,
    mea it was for "personal use" under the statute. ItL at           and therefore for personal use, when the evidence he
    334. The cour also said, "(i)t is the actual use to which         presented at trial does not support that conclusion.
    the equipment is put and not the ocupational status of
    the ow~er which is determinative. tr ItL at 333. In this               In sum, we conclude that the evidence presented in
    cae, just becuse Buyer is a landsaper does not mean he            th case doe not support a finding      that the CorVette was
    could not use th~ Corvette for commercial puroses.'               purchased in a "consumer goods" trnsaction. Therefore,
     Buyer hiself aclqowledged the peculianty of his using            the statory penaltyavaiJable in consumer transactions
   . the Corvette in his landscping business. He explained;           was awarded in error. We vacate the tral cour's award of
    "of course, I didn't haul dirt in it, it was a Corvette. I went   $ 7,777 to Buyer regading the Corvette. We find it
    and looked at jobs in it, went and collected money in it,         unnecessa to address the issue Seller presented
    lind went (*41) and done proposals ¡nit, things like that."       regarding the tral cour's alleged (*43J errr in
    He hauled dirtand materials in the dually. His testimony          calculating the award.
    demonstrates that he had a need for another vehicle in
    which he could easily travel to potential job sites and           2. Surplus Following Sale of the Corvette
    interact with cust0!Ders, and he ,used the Corvette for
                                                                           The tral judge awarded damages to Buyer for
    those purposes.
                                                                      Sellets wrongf repossession of the Corvette. The

            Buyer also discusses Mallcoat v. Volunteer Fin. &         damage award allowed Buyer to recover his equity in the
    Loan Corp., 57 Tenn. App. 106, 415 S. W 2d 347 (Tenn.
                                                                      collateraL. The judge calculated the award as the
    Ct. App. 1966), in which the court briefly discussed the          reaonable value of the collateral at the time' of the
    classification of collatera. The cour sta:                        wrongf reossession Jess the amount of debt owed on
                                                                      the car ($ 17,500 value - $ 7,624.61 owed = $ 9,875.39
                 There is no proof    that (the buyer) was in         surplus). The jury bad determined the fair market value of
               a business requiring the use of an                     the Corvette was $ 17,500. Seller argues on aPpeal that
               automobile. He testified he bought it to               the jur's determination of the value of the car wa not
                                                                      supported by the evidence. The judge determined the
               use in going to and from his place of
               employment. It is clearly not 'equipment,              amount owed from the balance shown on Buyer's last
               'far products' or 'inventory' as defined by:
                                                                      payment receipt. 8 He then calculated the surplus of $
               T.C.A. § 47-9-109. We, therefore, hold                 9,875.39 and awarded that amount to Buyer.
               tht it falls within the category of
                                                                               8 As previously discussed, the pares disputed
               'consumer good' as defined by the same
                                                                               whether the receipts displayed the tre amount
               Section of the Act.
                                                                               owed on the vehicles becuse the figures included
                                                                               the entire interest charge. However, on appeal,
    Id. at 349-50. Buyer now asserts that he used the
                                                                               neither par challenged the tral cour's use of
    Corvette in precisely the same way - to trvel to and from
                                                                               this figure in his calculation of the surplus for the
    his employment. He argues that he was not in a business
                                                                               car.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 141 of 177                                                  PageID 149


                                                                                                                          Page 16
                            2006 Tenn. App. LEXIS 790, it43; 61 U.C.c. Rep. Servo 2d (Callaghan) 542



            (it44) However, the judge also reduced Sellets           $ 17,500 at the time of repossession. Therfore, the trial
   deficiency award by offsetting it with a $ 4,500 "surlus."        judge properly included this figue in his daage
   Although the final order does' not explai the cours               calculaton.
   cacuIations, the judge discussed the damage awards aftr
   the jury returned its answers to the interrogatories. The
                                                                         Next, we wil address the proper formula for
                                                                     calculating damages for wrongful repossession. 9 Seller
   court stated, "(oJn the counterclaim, I award (Seller) $
                                                                     clais in his brief mat the correct mesure of damages is
   6,328.14, but 1 set off $ 4.500 to thal, which is a surplus
                                                                     the difference between the "sale price" and the balance
   on the Corvette, whatever that figue is. fW)hich is only
   going to be around, off the top of my hea, $ 1,800"
                                                                     still owed on the car ($ 12,500 sale price - $ 7,624.61
                                                                     àmount owed = $ 4,875.39 surplus). 10 It is not Clea from
   awarded to Seller. (Emphasis added). So, in sum, the
                                                                     Seller's arguent whether he is again stating that the $
   coi: awarded Buyer a $ 9,875.39 surlus in addition to
                                                                     12,500 sales price should have estalished the fair market
   the $ 4,500 surlus it credited agaist Sellets deficiency
                                                                     value of the vehícle, or whethr be claims that a different
   award. It appears that the $ 4,500 surlus figte cae
                                                                     formula should have been used in calculating daages.
   from Sellets testony that, aftr the sale of the Corvette,
   he had retaned approximately $ 4,500 "surplus" beyond
                                                                     We find it necessar to addrs the proper meare of
                                                                     damages' because of the various calculations used by the
   what he was owed ($ 12,500 sale price - approx. $ 7,900
                                                                     paries and the trial court. Again, we note that the tral
   owed = approx. $ 4500).
                                                                     couitl conclusions of law are reviewed de novo with no
          First, we addres Seller's arguent that the jury's          presumption of correctness. Union Carbide Corp., 854
   valuation of the Corvette's fair market value was not             S.W.2d at 91.
   supportd by the testimony at trial. Seller had contended
                                                                              9 It is important to note that Buyer did not
   that the fair maret value equaled the wholesale price he
                                                                              challenge the commercial reasonableness of the
   received $ 12,500.
                                                                              sale following repossesion. When a sale
           As previously Doted, this (*45) Court will set aside a             following repossession is determined to be
                        fact only if there is no material evidence            commercially uneasonable, the proper measure
   jurs   fmdings of

   to support the verdict. Tenn. R. App. P. 13(et). We wil                    of damages is "the excess of the fair market value
                                                                                            repossession over the greater of
                                                                              .at the time of                                the
   tae the strongest legitimate view of all the evidence in
    favor of the verdict, assume the trth of all that tends to                disposition' sale price of the collatera or thè
    support it, allow al reasonable inferences to sustain the
                                                                              indebtedness due on the coUatera." Walker v.
    verdict, and discard all to the contr. Crabtree, 575                      Assoc. CominercÍafCorp.,.673 S.W.2d 517,523
                                                                              (Tenn. Ct. App. 1983) (emphasis added); See also

    Id. .
    S. W2d at 5. We wil not reweigh the evidence, nor will
    we decide where the preponderance of the evidence lies.                   8 Tenn. Practice: Tenn. Pattern Jur Instructions - .
                                                                              Civil § 14.71 comment (6th ed 2006) (stating that
                                                                              the anove mentioned meaure of daages applies
           Having examined the record, we conclude that the                   when the secured par fails to conduct a
   jur's determination of the car's fai market value is                       commercially reasonable sale, regadless of
   supported by material evidence. At tral, a local car                       whether the repossession itself   was wrongful).
    salesman testified that, in bis opinion, the Corvette was         1*47)
    wort around $ 16,00 to $ 18,000 at the time of                             10 Seller also states in bis brief that the trial
    repossession. He stated that he had been in the car                       court had calculated damages of $ 5,000 by
    business for approximately twenty years, he regularly                     subtracting the sale price from the fair market
    saw Corvettes sold at auction, and he saw the Corvette at                  value ($ 17,500 value - $ 12,500 sale price = $
    issùe after it was repossessed. Although Seller claimed                    5000 surplus). This appear to be a misstatement
    that th Corvette was in por condition when                                 of the facts as we ca find no such award in the
    repossessed, Buyer and his girlfend testified that itwas                   record, and SeHer doe not cite to the record when
    in excellent condition. Buyer also stated bis own opinion                  mentionig the award. As previously noted, the
    that the Coiyette was valued (*46) between $ 16,000 and                    cour . actually calculated the surlus damage
    $ 18,00. This evidence, if believed by the jur, would                      award by subtracting the amount owed from the
    support a finding that the Corvette's fair market value was                value of   the car ($ 17,500 value - $ 7,624.61 owed
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 142 of 177                                              PageID 150

                                                                                                                      Page 17
                               2006 Tenn. App. LEXS 790, *47; 61 D.C.C. Rep. Servo 2d (Callaghan) 542



            = $ 9,875.39 surlus). The judge also credited a        amount should be $ 6,967.38.
           '''surplus'' to Buyer by subtrctig. the amount
                                                                        Buyer   explains the jur's lower figure as taing into
            owed from the actul sales price, ($ 12,500 sale
            price - approx. $ 7,900 owed = approx. $ 4500).        account the pares' dispute as to the amount Buyer still
            Neither of these calculations corrsponds to the        owed at the time of repossession. According to Buyer, the
            formula Seller claims the court used.                  jur could have agreed that the amount he owed was less
                                                                   than Seller had claimed. When Buyer made his last
        (H l3J A creditor who wrongfully repossesses               payment on the dually, his payment receipt showed a
   propert may be held liable for conversion damages. See          remaining balance of $ 13,380.60 on the loan. At trial,
   Harns Tnu:k &. Trailer Sales v. Foote, 58 Tenn. App.            Seller tetifed (*50) that the "payoff' amount owed
   no, 719.436 S. w'2d 460,464 (Tenn. Ct. App.1968); 68A           should equal the balance shown on that receipt. Buyer, on
   Am. Jur. .2d Secured Tranactions § 583 (*48) (2d ed.            the other hand, claimed that the payoff amount should be
   2006); Robert M. Lloyd, Wrongfl Repossession in                 lower than what was shown on the receipts because the
   Tenessee, 65 Tenn. L. Rev. 761, 789 (1998). When the            vehicles were repossessed ealy. He argued that he should

   converter is a secured par, the mease of damages is             not bè required to pay the extra interest if he did not pay
   the value of the vehicle at the time of the wrongful            on the vehicle for the entire life of the loan. Buyer's

   repossession, less the amount owig thereon. Harri, 58           counel later questioned Seller on whether the entire
   Tenn. App. at 719, 436 S. W2d at 464; Lloyd, supra. at          finance charge had been included in Seller's figures. He
   790. This method of calculation gives Buyer the benefit         introduced Seller's deposition testmony in which Seller
   of receiving the fair market value of the car rather than       had stated that the amount listed on the receipts did
   the price Seller received from selling it wholesale. Before     include the finance charge.

   trl, 'the judge acknowledged that. this          measure of
                                                                       Again, if there is any material evidence to support
   damages was applicable to this cae. The first surlus
   award to Buyer was caculated using this formula ($              the jurys decision, we must affnn the judgment. Tenn. R.
   i 7,500 value - $ 7,624.61 owed = $ 9,875.39 surplus).          App. P. 13(d). (HNI4J The amount of daages rests in
   We conclude that this was the proper measure of                 the sound discretion of the jury, and when approved by
   damages to be awarded to Buyer for wrongful                     the trial judge, the award wìl not be disturbed on appeal
                                                                   unless a violation of discretion by the jury is shown.
   repossessiòn. However, the $ 4,500 "surlus" should not
   have been additionally credited on Buyets behalf. In            Sholodge Franchise Systems, Inc. v. McKibbon Bros.,
   effect, Buyer was awarded damages based on what Seller          Inc., 919 S. W2d 36, 42-43 (Tenn. Ct. App. 1995) (citing
   did receive from the sale beyond what he was owed and           Southern R.R. Co. v. Deakins, 107 Tenn. 522, 64 S. W
   also what Seller could have received. from the sale             477 (1901); Ellis v. White Freightliner Corp., 603 S.W2d
   beyond what he was owed The only "      surlus" that            125 (Ienn.1980); (*51) D.M Rose & Co. v. Snyder, 185
   should have been awarded (*49) to Buyer was the $               Tenn. 499, 206 S. W2d 897 (I947); Strother v. Lae, 554
   9,875.39 based on the value of the v.ehicleat the time of       S. W2d 631 (Tenn. Ct. App. 1976)). A jur's damage
                                                                   verdict need not be reviewed for matematica precision
   repossession, less the amount owing thereon. This award
   properly compensated Buyer for his equity in the car at         or certainty. Hunter v. Ura, 163 S.W.3d 686, 705 (Tenn.
   the time of the wrongful repssession.                           2005). When there is substatial evidence in the record,
                                                                   and reaonable inferences may be drawn from that
   3. Deficiency FolJowing Sale of the Dually                      evidence, mathematica certainty is not required.
                                                                   Cummins v. Brodie, 667 S. W.2d 759. 765 (Tenn. Ct. App.
        Seller also challenges the jury's valuation of the         1983).
   deficiency remaining on the trck. The jur was asked to
   determine the deficiency as: the amount stil owed at the             In our view, the jur's valuation of the deficiency is

   tie of repssession, plu the cost of repossession, plus          supported by material evidence and within the reasonable
   the cost of repairs, less the amunt for which the trck          range of damages supported by the record. In weighing
   was sold. The jury returned the interrogatory with a            the evidence and assessing the witnesses' credibility, the
   figue of $ 6,328.14 with no explanaton of its                   jury could have determined that Buyer did not stil owe
   calculations. Seller argues that the jury's figure is not       the full amount claimed by Seller. Alternatively, the jur

   supported by the weight of the evidence and the correct         could have decided that all of the repairs Seller had
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 143 of 177                                                   PageID 151


                                                                                                                           Page 18
                            2006 Tenn. App. LEXIS 790, *51; 61 U.C.c. Rep. Servo 2d (Callaghan) 542



                                                                          and entered in favor of           (Buyer ) against
   performed following the repossession were not try
   necesar. Either way, the jurs damage award was not                     (Seller) in the amowits as follows:
   grossly disproportionate to the amount claimed by
                                                     Seller
                                                                                i. $ 7,777 for statory damages
   so that we would consider it an abuse of the jury's
                                                                          puruant to T.CA. § 47-9-625 for failure
   discretion. Although it is unclear what precise (*52)
                                                                          to provide proper notice of the sale of the
   amounts were used in the jur's calculation. as we have
                                                                          1995 Chevrolet Corvette;
   note, we need "not review the award for mathematical
   certaity.                                                                    2. $ 4,385 for statuory damages
                                                                          pursuant to T.C.A. § 47-9-625 for failure
   4. Total Damages
                                                                          to provide proper notice of the sale of the
       Because we have vacated the consumer penalty                        1997 Chevrolet Silverao pick up trck;

   award and modified the surplus award to Buyer, we wil
                                                                                3. $ 9.875.39 for the surplus on the
   explain the correct amount of total damages to be
                                                                           i 995 Chevrolet Corvett;
   awarded II There is sufficient proof in the .record to
   enable us to calculate the damages. Thus, we need not                        4. Less $ 1.828./4 for the deficiency
   require the paries or the trial court to go to the time and             on the 1997 Chevrolet Silverado pick up
   expense of doing so on remand. When the trial court                     trck minus the surplus (òf $ 4500) on the.
   issued its final order and awarded damages, the court                   Chevrolet Corvette.
   listed the jury's findings and its awards as follows, in
   pertinent par:

                . . . the ju found that by the                             11 Seller claims that the tota amount of
           preonderance of the evidence as follows:                        damages should be caculatèd by tang the
                                                                           surplus he owes to Buyer and subtrctig the
                1. (Seller) failed to provide wrttn                        deficiency that Buyer owes hi~.
           notice of the sale of the 1997 Chevrolet
           Silverado pick up trck to (Buyer).                            (*54) All in an amount equal to twenty thousand
                                                                  and two hundrd and nine dollars and twenty-five cents
                2. (Seller) failed to provide writtn              ($ 20,209.25). (emphasis added). On Seller's motion to
           notice of the sale of the 1995 Chevrolet               alte or amend, the tral cour withdrew the $ 4,385
           Corvett to (Buyer).                                    consumer penalty for sellng the trck without notice.         We
                                                                  have vacated the consumer penalty of $ 7,777 for sale of
                3. (SeHer) wrngflly repossessed the
                                                                  the ca. We affrm the $ 9,875.39 surlus award to Buyer
           1995 Chevrolet Corvette;
                                                                  representing damages for wrongful repossession of the
                                                                  ca. However, the full amount of the deficiency owed to
                4. The 1995 Chevrolet Corvette. had
                                                                  Seller, $ 6,328.14, should be awarded to him without the
           the fair market value of seventeen
                                                                  offset for an additional surlus.
           thousand and five hundred dollars ($
           i 7,500) at the time of   the repossession;
                                                                       The surlus and deficiency awars are affrmed as
                                                                  modifed. In su, we conclude that the remaining awar
                5. The deficiency on the 1997 ("'53)
                                                                  of $ 9,875.39 to Buyer should be offset against the
           Chevrolet Silverado pick up trck is six
                                                                  deficiency award of $ 6,328.14 to Seller, with a total
           thousand three hundred and twenty-eight
                                                                  award remaining to Buyer of$ 3,547.25.
           dollar and fourteen cents ($ 6,328.14).

                                                                  D. The Tetmessee Consumer Protection Act
                Wherefore, it appearing to the Cour
           the said verdict of the jur is appropriate
                                                                        On appeal, Buyer claims that the tral cour erred in
           and was unanimous;                                     directig a verdict on his claim for violation of the
                                                                  Tennessee Consumer Protection Act, Tenn. Code Ann. §
                It is therefore, ordered, adjudged and
                                                                  47-l8-101. et seq. The Act provides that (H15J
            decreed that a judgment is hereby awarded
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 144 of 177                                                   PageID 152

                                                                                                                          Page 19 .
                           2006 Tenn. App. LEXIS 790, *54; 61 u.C.C. Rep. Servo 2d (Callaghan) 542



   "(u)nfair or deceptive acts or practices affecting the
                                                                 goods, services, or propert. . . ." Iff at 841. The Court
   conduct of any trde or (*55) commerce constitute              proceeded to. confine its holding to the facts and
   unlawful acts or practices. . . ." Tenn.. Code Ann. §         circumstaces of that case and did not generally exempt
   4 7-18-104(a) (2005). So in order for the Act to apply, the   all baning activities from the coverage of the Act. Id. at
   unfair or deceptive acts must affect trade or commerce, as    842.
   defined by the Act. In Pursell v. First Am. Natl Bank,
                                                                        The cae at bar is analogous to Pursell, and we
   937 S. W,2d 838, 842 (Tenn. 1996), the Supreme Court of
                                                                 decline the opportity to exted the coverage of the
   Tennessee concluded that our Consumer Protection Act
   .did not apply to a ban's acons with regard to
                                                                 Consumer Protection Act to this repssession. In Pursell,
   repossession of collateral. In the Cour's opinion, the        the debtor argued that, in effect, ever action of an entity
                                                                 engaged in business afects trde or commerce, and, if
   ban's actions durng repossession did not affect the
   conduct of any "trade or commerce." Iff at 839.               unfair or deceptive, gives rise to a clai under the Act.
                                                                 Id. at 841. The Cour acknowledged that other banking
   However, Buyer argues that this case is distinguishable
  . from Pursell because it involves a repossession arising      activities may afect trde or commerce and was caeful
   from a buyer-seller relationship rather than by a             to point out that it was not exempting those activities
   third-par creditor such as a ban.
                                                                 from the coverage of the Act. /d. at 842. However, by
                                                                 (*58) cohs'idering the natul and ordinary meaning of
        (HNI6) Under the Act, "trde" or "commerce" is
                                                                 the language oftbe Act, the Cour concluded that (H17)
   defined as the "advertismg, offerig for sale, lease or        the definitions of "tre or commerce" did not extend to a
   renta, or distrbution of any goods, services, or propert,     dispute arising over repossession of collateral secunng a .
   tagible or intagible, real, personal, or mixed, and other     loan. Id. Likewise, we conclude that a plain reading of
   arcles, commodties, or things of value wherever               the defition of "trade" or "commerce" does not extend

   situted." Tenn. Code Ann. § 47-18-103(11) (2001).             to this situation involving repossession. The acts
                                                                                                      the adveitising, offering for
   Buyer argues (*56) that, in essence, the tranaction at        complained of do not affect

   issue here involves a sale, . and the repossession only       sale, lease, rental, or distrbution of any goods, 'services,

   makes up par of Seller's deceptive actions. He states that,   or propert as described in Tenn. Code Ann. §
   in short, Seller sold Buyer a vehicle, "accepted payments.    47-18-103(11) (2001). Although other activities in
   of over $ 22,000 over a thee and a half year period, (and)    Seller's business may afect trade or commerce, the Act
   stole it from him via wrongfl repossession. . . ." He         doe not then automatically apply to any other actions
   compares his situation to onè in which a seller sells a       taen, even if unfair or deceptive.
   vehicle outright and then steals it back after some time.
   He also cites certin statutory language requirng a liberal
                                                                        Only a few states have iillowed recovery under state
                                                                 consumer 'protection acts for wrongfl repossessions.
   constrction of the Act to provide a means of
   "maintaining ethical stadards of deaing . . . to the end      Robert M. Lloyd, Wrongfl Repossession in Tennessee,
                                                                 65 Tenn. L. 'Rev. 761, 797 (1998) (mentioning Entriken v.
   that good faith dealings between buyers and sellers at all
                                                                 Motor Coach Fed Credit Union, 256 Mont. 85, 845 P.2d
   leýels of   commerce be had in this state." Tenn. Code Ann.
                                                                 93, 98 (Mont. 1992); Sherwood v. Bellevue Dodge. Inc.,
   § 47-18-102(4) (2001) (emphasis added).
                                                                 35 Wn. App. 741, 669 P.2d 1258, 1263-64 (Wash. Ct.
        In Pursell, the Cour acknowledged the provisions of      App. 1983), (*59) modified, 676 P.2d 557 (Wash. Ct.

   the Act which require a liberal consction to protect          App. 1984)). It has been suggested that the drfters of our

   aganst unfair or deceptive acts or practices. 937 S. w'2d     Consumer Protection Act may have intentionally
   at 841. However, the Cour concluded that the parameters       exempted repossessions from the coverage of           the Act. Id.
   of the Act do not extend to every action of every business    at 798. It is possible they believed that repossessors are
   in the state. ¡d. The Cour further noted, "(tJhough the       entitled to use deceptive practices that would be unlawful
   definitions of   'trde or commerce' (*57) contained within    under the Act in other contexts. Id. For example, after
   the Tennessee Consumer Protection Act are broad, they         default, a secured par may tae possession of collateral
   do not extend to this dispute, which arose over               without judicial process if he can do so wi thout a breach

   repossession of the collateral securing the loan." Id. at     of the peae. Tenn. Code Ann. § 47.9.609 (2001). The

   842. The repossession did not affect the "advertising,        secured par is not required to give prior notice to the
   offering for sale, lease or rental, or distrbution of any     debtor before repossessing the collateral, unless their
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 145 of 177                                             PageID 153

                                                                                                                     Page 20
                              2006 Tenn. App. LEXIS 790, *59; 61 D.C.C. Rep. Servo 2d (Callaghan) 542



   contract provides otherwise, because doing so would             475 (Wyo. 1990)). From our reaing of (H18) the
   allow an unscrupulous debtor to hide or dispose of              Consumer Protection Act, it does not cover
   collatera and avoid rightfl repossession by a secure            repossessions. Repossessions do not affect the
                                                                   "advertising, offering for sale, lease, rental, or
   par. 11 Ronald A. Anderson, Anderson on the Uniform
   Commercial Code (Rev) § 9-609:5 (3rd ed. 1999).                 distribution of any goods, serices, or propert." Tenn.
   . Although he canot use or theaten violence or force            Code Ann. § 47-18-103(1 I) (2001). We do not wish to
   entr into closed premises, Dflenport v. Chryler Credit          upset the balancing of the interest of secured creditors

   Corp., BI8 S.W2d 23,29-30 (Term. Ct. App. 1991), if      the    and debtors which the. legislatue has achieved.
   secured part (*60) taes propert from a driveway or              Therefore, we wil not extend the Tennessee Consumer
   open area even though he is technically trespassing, it         Protection Act to cover repossessions (*62) without a
   wil not generally, by itsel~ constitute a breach of the         clear expression of our legislature's intention to cover
   peace. Anderson, supra, (Rev) § 9-609:6. However, some          these trsations.

   may perceive this tye of action by a repossessor as
                                                                   V. CONCLUSION
   "deceptive" or "unfair."
                                                                        For the   aforementioned reaons, we conclude that the
       Although the tenn "deceptive act or practice" is not
                                                                   tral court properly ovenuled Seller's motion for a
   defined by the Act, a non-exclusive, illustrative Jist of
                                                                   directed verdict on the issue of wrongfl repossession of
   deceptive acts or practices affecting trade or commerce is
                                                                   the Corvette, and we find rnatenal evidence in the record
   provided. Tenn. Code Ann. § 47-18-104(b) (1)-(40)
                                                                   to support the jurs finding that no notice were sent
   (2005). Three more specifc ilustrations of deceptive acts       prior to sale of the vehicles. Regading daages, we find
   affecting trde or commerce were added durng the most
                                                                   no evidence in the record to support a rinding that the
   recnt legislative session. See 2006 Tenn. Pub. Ch. 628;
                                                                   transaction at issue involved "consumer goods," and
    2006 Tenn. Pub. Ch. 671; 2006 Term. Pub. Ch. 746.
                                                                   therefore we vacate the tral cour's $ 7,777 award of the
   None of the specific exarples listed deal with
                                                                    statutory penalty provided in consumer transations. We
    repossessions. If, afer Pursell, the General Assembly
                                                                    do find evidence supporting the jury's valuation of the
    wished to clarify or express its intention that the
                                                                    fair market value of the Corvette, and we affrm the tral
    Tennessee Consumer Protection Act would cover
                                                                    cour's award of $ 9,875.39 to Buyer for the surlus. We
    repossessions,. it surely would have responded with a
                                                                    also find material ev!dence to support the jurys fiding
    specific ilustration addressing repossessions.
                                                                    that $ 6,328.14 existed as a deficiency owed on the trck,
         The self-belp procedures provided in repossession          and that full amount should have been awarded to Seller.
    situations are the product of a carefu balancing of the         In sum, we will offset the two awards for a total award of
    interests of secured (*61) Piirtes and debtors.                 $ 3,547.25 to be awarded to Buyer, plus the discretionary
    Davenport. 818 S. W2d at 30. "On one hand, secured              costs he was awarded below which the paries have not
    creditprs have a legitimate interest in obtaining               appealed. The judgment (*63) of the circuit cour is
    possession of collateral without resortng to expensive          afrmed as modified.
    and .sometimes cumbersome ji:dicial procedures. On the
                                                                        Cost of this appeal are taed one-half to Appellant,
    other hand, debtors have a legitimate interest in being
                                                                    Rick Bates d//a RB Auto Sales, and his surety, and
    free from unwaranted invasions of their propert and
                                                                    one-half to Appellee, Michael Davenport, for which
    privacy interests." It! (citig Riley State Bank v.
                                                                    exeCution may issue if necessary.
    Spilman. 242 Kan. 696, 750 P.2d 1024, 1029 (Kan.
    1988); General Elec. Credit Corp. v. Timbrook, 170 W.
                                                                        ALAN E. HlGHERS, JUGE
    Va. 143, 291 S.E.2d 383, 385 (W.Va. 1982); Salisbury
    Livestock Co. v. Colo. Cent. Credit Union, 793 P.2d 470,
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 146 of 177   PageID 154
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 147 of 177                                        PageID 155

                                                                                                                   Page i




                   Lexi sNexis@

   .Positive
    As of: Dec 05, 2011

                   MICHAEL R. LAUNIUS, Plaintiff, v. WELLS FARGO BANK, N.A. and WILSON
                                  & ASSOCIATES, P.L.L.C., Defendants.

                                                    No.3:09-C-501

                      UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
                                              TENNESSEE

                                              2010 U.S. Dist. LEXIS 89234


                                                 August 27, 2010, Filed

    COUNSEL: (*1) For Michaei R Launius, Plaintiff: Jack         This matter is before the Cour on defendant Wells
    W Piper, Jr, O'COlUor, Pett, Child, & Piper, Knoxville,   Fargo Ban, N.A.'s ("Wells Fargo") Motion to Dismiss
    TN.                                                       (Doc. 6). Pursuant to Rule 12(b)(6) of the Federal Rules
                                                              of Civil Procedure, Wells Fargo moves to dismiss this
    For Wells Fargo Ban, National Association, Defendant:     lawsuit. (ld.).
    Kenny L. Saffes, LEAD A ITORNEY, Baker, Donelson,
    Bearan, Caldwell & Berkowitz, PC (Knox), Knoxvile,             This cae is based upon the foreclosure of real
    TN.                                                       propert located in Sevierville, Tennessee. Plaitiff has
                                                              sued Wells Fargo, the ban which foreclosed upon the
    For Wilson and Associates, PLLC, Defendant: Jason S       propert after Plaintiff defaulted on his mortgage
    Mangrm, LEAD ATIRNEY, Wilson & Associates,                payments. Plaintiff has also sued Wilson & Associates,
    PLLC (Brentwoo), Creekside Crossing II, Brentwood,        P.L.L.C. ("Wilson & Associates"), the law finn which
    TN.                                                       conducted the foreclosure sale. Plaintiff has sued the
                                                              defendants for the following: (1) a claim for intentional
    JUDGES: Thomas W. Phillips, United States District        infliction of emotional distress; (2) a (*2) claim under
    Judge.                                                    the Tennessee Consumer Protection Act; T c.A. §§
                                                              47-18-102, et seq; (3) a claim for promissoiy estoppel;
    OPINION BY: Thomas W. Phillips                            and (4) a claim for intentional misrepresentation.

    OPINION                                                        There are two issues before the Court Firs does the
                                                              Statu of Frauds bar Plaitiffs claims? Second, if the
                                                              cliùs are not bard, has Plaitiff    pled sufcient facts to
     MEMORADUM AND ORDER                                      surive a 12(b)(6) motion?
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 148 of 177                                                PageID 156


                                                                                                                         Page 2
                                                 2010 U.S. Dist. LEXIS 89234, *2



         For the following reons, Wells Fargo's Motion to         the phone with a Wells Fargo representatiye about his
   Dismiss (Doc. 6) is. GRANTED IN PART AND                       fiaicial condition. Plaintiff also authorized his father,

   DENIED IN PART. While the Statue of Frauds doe                 Donald D. Launius, to speak with ASC representaives
   notbar Plaitiffs claims, he has failed to plead suffcient      about the Loan.
   fats to surve a 12(b)(6) motion. Aceordingly,
                                                                     Weeks later, Plainti reeived. a letter from ASC
   Plaintiffs claims are DISMISSED WITH
                                                                  dated June 2, 2009, indicating that his request for
   PREJUDICE.
                                                                  modification was denied. (Plaintiffs Complaint, Doc. I at
   i. BACKGROUND                                                  4). However, the lettr. stated that "there might be
                                                                  alternative options available," and that he could "be
         As a preliminar matter, the Court notes that it has      reconsidered for work out options" by caling the phone
   jurisdiction puruant to . 28 u.s.c. § 1332. Because            number listed in the letter. (Id.). After receiving this
   jurisdiction "is predicated on the diversity of paries, we     letter, Plaintiff spoke with ASC representatives over the
   are obligated to. apply stte law in resolvig the.              phone abo:ut "work out plans." On June 10,2009, an ASC
   substative issues presented." Rutherford v. Columbia           representative told Plaintiff that he would be reconsidered
    Gas. 575 F.3d 616, 623 (6th Clr. 2009) (citing Erie R.R.      for a "work-out plan."
    v. Tompkins. 304 u.s. 64. 78, 58 S. Ct. 817, 82 L. Ed.
    1188 (1938)). Tennessee law therefore governs the                   Following these phone cals, Plaintiff received a
                                                                                                                       Wilson &
    substantive issues in this case.                               letter dated June 12,2009, from the law firm of

                                                                   Associates stating that Plaitiff owed $231,249.72. The
        The following facts are taken mostly from Plaintiffs       letter stated that the debt was due imediately, and tht
    complaint. In Mach 1996, Plaintiff (*3) purhased rea           Wilson & Associates would be initiatng foreclosure
    propert located at 1875 Blue Tick Way in Sevierville,          proceedings on the Prope.
   , Tennessee (hereafer, the "Prope"). In order to finance
    the purchase, Plaintiff obtained a loan in the amount of           On June 18, 2009, Plaintiffs fater called ASC
    $240,00.00 (hereafter, the "Loan") from RGMG, Inc.             representatives (*5) to discuss a "work-out plan." An
    ("RGMC"). Plaintiff executed a Promissory Note and             ASC representative told him that she could delay the
    Deed of Trut which gave RGMC a security interest in            foreclosure, but that she could not stop it. Following this
    the Prpert.                                                    phone call, Plaintiff    received a letter dated June 17,2009,
                                                                   from Wilson & Associates specifying the date of tle
          Later on, Wells Fargo became the successor in            foreclosue sale.
    interest and assignee ofRGMG. This gave Wells Fargo a
    securty interest. in the Propert. To serVice the Loan,              On July 6, 2009, Plaitiffs father again called ASC
    Wells Fargo used Amenca's Servicing Company                    representatives to discuss a "work-out plan." During that
    ("ASC"), a division of
                                 Wells Faro.                       phone call, an ASC representative told him that "she
                                                                   would delay the foreclosure, in fact, she was doing so at
       In 2009, Plaintiff became deUnquent on his Loan             that time," and that "the foreclosure would not occur until
    payments. The Deed of Trust provided that Plaintiffs           afer. a negotiator had been in contat by phone to discuss
    debt could be accelerated if he fell behind in his             a work-out plan." (Id. at 7).
    payments. As a result, Wells Fargo began to initiate
    foreclosure proceedings on the Propert. The Deed of               On July 13, 2009, Plaintiff received a letter from
    Trust also provided that the mortgage holder (Wells
                                                                   ASC (dated July 7, 2009) that provided a phone number
    Fargo, after it became the suceessor in interest to RGMG)      for Plaintiff to call "if you (plaintiff would like to be
    could foreclose upon the Propert if Plaintiff defated on       considered for work-out options." (Id. at 8). On July 14,
    his Loan payments.                                             2009, the Propert was foreclosed upon. Wilson &
                                                                   Associates conducted the foreclosue sale, and Wells
         . From April 21, 2009 through July 14, 2009 (the          Faro purchased the Propert for $234,9%.31.
     foreclosure date), Plaintiff and      his father caled ASC
    representatves in an attmpt to modify the Loan                 II. STANDARD OF REVIEW
     agreement (*4) These modifications are known as
                                                                         In ruling upon motions to dismiss under Rule
     "work-oot plans." On April 21, 2009, Plaintiff spoke over
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 149 of 177                                                     PageID 157


                                                                                                                             Page   3
                                                 2010 U.S. Dist. LEXIS 89234, *5



   /2(b)(6) of the Federal Rules of Civil Procedure, a court        attempting to modifY. the wrtten agreement thougl: the
   must "constre the complaint in the light most favorable          use of ora statements; and (3) the writtn agreement may
   to (*6) the plaintiff, acept its allegations as tre, and         only be modified in wrting. (See Wells Fargo's
   drw all reasonale inferences in favor of the plaintiff."         Memorandum of Law in Support of its Motion to
   DIRECTV, Inc. v. Treesh, 487F.3d 47/, 476 (6th Cir.              Dismiss~ Doc. 7 at 5-8). Wells          Fargo cites to Bilyeu v.
   2007). The cour, however, "need not accept as tre legal          Volunteer State, but its reliance upon that cae is
   conclusions or unwarted factual inferences, n lei.               misplaced. 2006 Tenn. .App. LEXIS 241, 2006 WL
   (quoting Gregory v. Shelby Count, 220 F.3d 433, 446              1005130 (Ienn. Cl. App. Apr. 17,2006).
   (6th Cir. 2000)). To surive. a motion to dismiss, the
                                                                         In Bilyeu, the plaintiff fied suit against a bank in
   "(f)actual allegations contained in (the) complaint must
   'raise a right to relief above the speculative leveL.'"
                                                                    cliiicery court. Id. The plaintiff argued that a (*8) bank
                                                                    offcer made an oral promise to modifY a loan agreement.
   Bassett v. Nai'l Collegiate Athletic Ass'n, 528 F.3d 426,
   430 (6th. Cir. 2008) (quoting Bell Atlantic Corp. v.             Id. The plaintiff wanted to enjoin the ban from
   Twombly, 550 u.s. 544, 127 S. Ct. 1955, 1965, 167 L.             foreclosing upon his propert, based. upon the ora
   Ed. 2d 929 (2007)). This "does not 'requir heightened            statements made by the bank offcer. ld. The bank moved.
   fact pleadng of speifics, but only enough fats to state a        for judgment on the pleadings, arguing that the plaintiffs
   claim to relief that is plausible on its face: .. Id. (quoting   claims violated the Statute of Frauds,. T. CA. §
                                                                    29-2-101(b)(J). Id. The tral cour granted the motion and
   Twombly, 127 S. Ct. at 1974).
                                                                    the Tennesee Court of Appeals affmed. Id.
   iii. ANALYSIS
                                                                         The present case is distinguishable from Bilyeu. The
   A. The Statute of Frauds Does Not Bar Plaintiffs                 plaintiff in Bilyeu sought to modify a written agreement
   Claims                                                           (the loan ageement) through the use of oral statements.
                                                                    2006 Tenn. App. LEXlS 24/, (W) at *2. In fat, the
        Wells Fargo argues that "the stanite of frauds bar all      plaintiff argued that the wrtten agreement was actually
   of Plaintiffs claims because all of his claim are                modified by the ora statements. Id. The plaintiff did not
   predicated on the enforceability of the alleged oral             sue the ban for other damages, but merely sought to
   promise. . ." (Wells Faro's Memoiadum of Law in                  avoid foreclosure upon the propert. Id. The plaintiffs
   Support of its Motion to Dismiss, Doc. 7 at 7). Defendant        entire action was an attempt to modifY a written
   cites to rCA. § 29-2-101(b)(1) (*7) for support. Tht             ageement though the use of oral statements. Id.
   statute provides:
                                                                          In the present case, Plaintiff has sued Wells Fargo
               No action shall be brought against a                 iider four different theories: (I) a claim for intentional

           lender or creditor upon any promise or                   infliction of emotional distress; (2) a Clai under the
           commitment . . . to alter, amend, renew,                 Tennessee Consumer Protection Act, T.CA. §§
           extend or otherwise modify or supplement                 47-J8-102, et seq: (3) a claim for promissory (*9)
           any wrtten promise, agreement or                         estoppel; and (4) a claim for intentional
           . commitment to lend money or extend
                                                                    misrepresentation. Wells Fargo argues that "(t)he statute
           credit, unless the promise or agreement,                 of fruds bars all of Plaintiffs claims because all of his
           upon which such action shall be brought,                 claims ar predicated on the enforceability of the alleged
           or some memorandum or, note thereof,                     oral promise to delay the foreclosure." (Wells Fargo's

           shall be in writig and signed by the                     Memoiadum of Law in Support of its Motion to
           lender or creditor, or some other person                 Dismiss, Doc. 7 at 7J This is a mischaracterization of
           lawfully authorized by such lender or                    Plaintiffs claims. In fact, none of Plaintiffs claims are
           creditor.                                                based upon the enorceability of the oral statements.
                                                                    While the Loan agrment-- that is, the Deed of          Trut and
                                                                    Promissory Note-- falls within the Statute of Frauds i,
         T.CA. § 29-2-101(b)(1). Wells Fargo argues that the        Plaintiff is not seeking to modify the Loan agreeent
   Statute of Frauds bar Plaintiffs claims because: (1)             The Statute of Frauds only bars claims that attempt to
   Plaintiffs claims are an attempt to modify a wrttn               modifY a wrttn agreement through oral statements. As
    agreement-- that is, the Loan agrement; (2) Plaintiff is
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 150 of 177                                               PageID 158


                                                                                                                           Page   4
                                                2010 U.S. Dist. LEXlS 89234, *9



   evidenced by' Plaintiffs "prayer for relief," he is not        also filed a claim under the Tennessee Consumer
   seeking to modify the Loan agreement:                          Protecion Act. Tbis claim is based upon the alleged
                                                                  dective or unfai practices of Wells Fargo-- not the
              Wherefore, Plaintiff demands judgment               enforceability of oral sttements. Accordingly, Wells
           against the defendants, jointly and                    Fargo's M~tion to Dismiss (Doc. 6) is DENIED IN
           severally, in an amount which is proven to             PART,-whereby the Court finds that Plaintiffs claims
           compensate Plaintiff for the loss of valùe             are not barred by the Statute of Frauds.
           of the propert sustained by the wrongfl
                                                                           2 See Osceola Inv. v. Union Planters Nat7 Bank
           foreclosure and for the damages which
                                                                           of   Memphis. 1990 Tenn. App. LEXIS 36, 1990 WL
           flow from that loss, including but not
                                                                           4338, at k2 (Tenn. Ct. App. Jan. 25. 1990).
           limited to all recoverable 'compensatory
           damages.. .                                                     (recognizig the "tort of negligent
                                                                           misrepresentation," and thus by extension, the tort
                                                                           of intentional misrepresentation).
        (Plaintiffs ('!1O) Complait, Doc. i at 11-12).
   Unlike the plaintiff in Bilyeu, Plaintiff does not request     B. Plaintifls Claims Are Dismissed Pursuant to Rul
   that the CoUr modify the Loan agreement. Unlike the
                                                                  12(b)(6) o/the Federal Rules o/Civil Procedure
   plaintiff in Bilyeu, Plaintiff döes not seek to enjoin Wells
                                                                  i. Intentional Inflction of Emotional Distress
   Fargo from foreclosing upon the propert. Rather,
   Plaintiff is seeking compensatory and puntive damages                Plaintiff has sued the Defendats for the "tort of
   for the foreclosure that has already occurred.. Plaintiff      outrgeous conduct." (*12) (plaintiffs Complaint, Doc. i
   does not argue that the Loan agreement- the written            at 11). In Tennessee, the tort of intentional inflction of
   agreement covered by the Statute of' Frauds--was               emotional distress is synonymous with the tort of
   modified by oral statements. Rather, Plaintiff argues that     outrageous conduct. See Lyons v. Farmers Ins. Exch., 26
   he relied upon misrepresentations made by ASC                  S. W.3d 888, ß93 (Tenn. Ct. App. 2000) ("Intentional
   representatives. Plaintiff does not argue tht those            infliction of emotional stress aId outrageous conduct are
   misrepresentations actually modified the Loan agreement. .     simply different names for the same cause of action. . . ").
   None of Plaintiffs actions are predicated on the
   enforceability of the oral statements.                               To establish a claim for intentional infliction of
                                                                  emotional distress ("lIED"), the plaintiff must show that a
            i The Loan aireement falls with the Statute of        defendant's conduct was "(i) intentional or reckless; (2)
           Frauds because it is a "wrtten promise, agreement      so outrgeous that it cannot be tolerated in a civilize
           or commitment to lend money or extend credit."         society; and (3) the cause of serious mental injur to the
           T.C.A. § 29-2-101(b)(I). See Bilyeu v. Volunteer       plaintiff." Bain v. Wells, 936 S.W2d 618, 623 (Tenn.
           State Bank, 2006 Tenn. App. LEXS 241,2006 WL           1997). In determining whether condUct is "outrageous,"
            1005130, at *2 (Tenn. Ct. App. Apr. 17, 2006)         cour ar instrcted to follow the Restatement (Second)
           ("Both the promissory note and Mr. Bilyeu's            of   Tort:
           personal guaranty fall within the scope of the
           statute of fruds.") (citing In re Estate of                          It has not been enough that the defendat
           Dickerson, 600 S.W.2d 714, 716-17 (Tenn.                        has acted with an intent which is tortious
            1980)).                                                        or even crminal, or that he has intended to
                                                                           inflict emotional distrss, or even that his
        As (*1 I) cowts in Tennessee recognize, the Statute                conduct has been characterized by
    of Frauds applies "only in suits for the breh or                       'malice,' or a degree of aggravation which
    enforcement of a contract and are thus inapplicable to tort                                   plaintiff to punitive
                                                                           would entitle the
    clais." In re Estate of Nelson, 2007 Tenn. App. LES                    damages for another tort. Liability has
    147, 2007 WL 851265, at *16 (Tenn. Ct. App. 2007).                     been found only where the conduct has
    Plaintiff has filed tort claims agains Wells Fargo,                    been (* 13) so outrgeous in character, and
    including claims for intentional infliction of emotional               so extreme in degree, as to go beyond all
    distress and intentional misrepresentation 2, Plaintiff has
                                                                           bounds of decency, and to be regarded as
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 151 of 177                                                    PageID 159


                                                                                                                              Page 5
                                                       2010 U.S. Dist. LEXIS 89234, *13



            atrocious and utterly intolerable in a                       commodities, (*15) or things wherever situated." T.CA.
            civilized community.                                         § 47-l8-l03(9).

                                                                            Plaintiff does not fall within the ambit of the TCPA. .
        Restatement (Second) of Torts, Section 46, Comment               Court in Tennessee have held that the Act does not apply
   d, Under this high stadard, "mere insults, indignities,               to a ban's repossession, of collateral that was used to

   threats, anoyances, pett oppression or other trivialities"            secure a loan. See Pursell v. First Am. Natl Ban 937
   are not recognized as '¡outrageous." Bain, 936 S. W2d at              S. W,2d 838, 842 (Tenn. 1996). In Pursell, the Tennessee
   622.                                                                  Supremè Court held that the TCP A did not apply to a
                                                                         ban's repossession of collatera becuse it did not afect
        In adtion, the mental injur must be "so severe that              "trade or commerce," fd. a1839, In that case, the plaintif
   no reasonable person would be expected to endur it."                  sued a bank and repossession company under the TCP A.
   Arnett v. Domino's Piza I, L.L.c., 124 S.W.3d 529, 540                Id. The plaintiff had borrowed money from the bånk to
   (Tenn. Ct. App. 2003). Physical manifestations of                     purchas a nuck. fd. at 839. As par of the loan
   emotional distress-though not required to sustain. a                  agreement, the ban was given a security interest in the
   claim-may serve as proof of serious mental injury.                    trck. Id. In other words, the trck served as collateral to
   Miller v. Wilbanks, 8 S.W.3d 607, 615 (Tenn.                1999).    secure the loan. Id. Two year later, the plaitiff became
   ':Moreover, evidence that a plaintiff has suffered from               delinquent on his loan payments. Id The bank then
   nightmares, insomnia, and depression or has sought                    repossessed the trck. Id.
   psychiatrc treatment may support a claim of senous
   mental injury," Id The intensity and duraton of the                         The plaitiff filed suit under the TCPA, arguing that
   mental distress "are also factors that may be considered in           bank representatives made deceptive statements. fd at
   determining the severity of        the injur." Id                     840. The bank moved to disITss the TCPA claim, aId the
                                                                         lower court granted the motion. The Tennessee Supreme
        Viewing the facts in the light most favorable to                 Court affnned dismissal, recognizing that "(t)hough the
   Plaitiff, the Cour fids that Plaitiff has faled to plead              definitions ("'16) of   'trde or commerce' contained within

   (*14) suffcient . facts to support an liED claim. Firt,               the Tennessee Consumer Protection Act are broad, they
   Plaintiff has failed to identify any conduct that is "so              do not extend to this dispute, which arose over
   outrageous that it is not tolerated by civilized society."            repossession of the collateral securing the loan." fd. at
   Lyons, 26 S. W,3d at 893. Second, Plaintiff does not                  842 (emphasis added). While the TCP A is a broad
   allege that he suffered serious mental injur. Because                 statute, "(t)he parameters of the Act, however, do not
   Plantiff does not allege that he suffered senous mental               extend to every action of every business in the State." fd.
   injury, he has faik:d to establish an essential element. See          at   841.
   Arnett, 1 Ù S. W3d at 540. Accordingly, Plaintiffs claim
   . for intentional inflction of emotional distress is                        Since Pursell, courts have declined to extend the
   DISMISSED WIH PREJUDICE.                                              TCP A to repossession actions. As one court has stated,
                                                                         "(w)e do not wish to upset the balancing of the interests
    2. Tennessee Consumer Protection Act                                 of secured creditorS anetdebtors which the legislature has
                                                                         achieved. Therefore, we wil not extend the Tennessee
         The Tennessee Consumer Protection Act ("TCP A")                 Consumer Protection Act to cover repossessions without
    is designed to "(t)o protect consumers. . . from those who           a clear expression of our legislature's intention to cover
    eng?ge in unfair or deceptive acts or practices in the               these tractions. ti Davenport, 2006 Tenn. App. LEXS
    conduct of any trade or commerce . . ." T. CA. §                     790,2006 WL 3627875, at otl9;see also Hunter v. Wash.
    47-18-102(2). For the Act to apply, "the unfair or                   Mut. Bank. 2008 u.s. Dist. LEXIS 71587, 2008 WL
    deceptive acts must affect trae or commerce, as defied               4206604, at *5 (ED. Tenn. Sept. 10, 2008) ("The
    by the Ace Davenport v. Bates, 2006 Tenn. App. LEXS                  Supreme Cour of Tennessee has held that the TCP A
    790, 2006 wi 3627875, at *17 (Tenn. Ct. App. Dec. 12,                does not apply to repssession and collateral dispsition
    2006). The terms "trade" and "commerce" are defined as               activities because that conduct does not affect the
    "the advertising, offenng for sale, lease or rental, or              advertising, offering for sale, lease or rental, or
    distrbution of any goos, services, or propert, tagible               distribution of any goods, services, or propert as
    or intagible, real, persnal, or mixed. and other arcles,
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 152 of 177                                            PageID 160

                                                                                                                       Page   6
                                               2010 U.S. Dist. LEXIS 89234, *16



   required by the TCP A. ") (Citing (* 17) Pursell, 937                 estoppel, "a distinct and disparte doctrne, is
   S. W2d at 841-42). The Tennessee legislature has not                  recognized in Tennessee as an exception to the

    clealy indicated that the TCPA should cover                          Statute of Frauds." Id. (citaons omitted). This

    repossession actions.                                                doctrne has been followed in caes "where to
                                                                         enforce the Statute of Frauds would make it an
        In Schmidt v. Natl City Corp., this Court recognized             instrment of hardship and oppression, verging on
    that "(tJhe actions of a bank in repossessing and disposing          (*19J actual frud." Id. (quoting BaWes v. Cities
    of its collateral do not constitute violations of the                Sen Co., 578 S. W.2d 621, 624 (Tenn. 1979)).
    (TCPA), even if the ban acted wrongflly in
    repossessing the collateral." 2008 us. Dist. LEXlS                To establish a claim for promissory estoppel, the

    102371, 2008 WL 5248706, at *8 (E.D. Tenn. Dec. 17,           par must show the following:
    2008). The plaintiff in Schmidt argued that they suffered
    daages because their borne was foreclosed upon. 2008                    A promise which the promisor should
    US. Dist; LEXS 102371, (WLJ at *1. The plaintiff fied                reasonably expect to induce action or

    a TCPAclaim against the mortgage holder (the bank) that              forbearce on the part of the promisee or
    foreclosed upon their home. 2008 US. Dist. LEXlS                     third person and which does induce such
    102371, rWLJ àt 8. The ban moved for sumar                           action or forbearce is binding if injustice
   judgment on the TCP A claim and the CoUr granted the                  can be avoided only by enforèement of the
    motion. Id. In paricular, the Court found that the TCP A             promise. The remedy grate for breach
    did not apply to the ban's foreclosure: Id. .                      . may be limited as justice requires.

        The reaonig of Schmidt applies in the present case.
    Plaitiff has filed a claim under the TCP A against the            Amacher v. Brown-Forman Corp., 826 S. W,2d 480,
    mortgage holder (Wells Fargo). This claim is basedupon        482 (Tenn. Ct. App. 1991). As one court has stated, "(tlo
    statements tht were made concerning the foreclosure           successfully state a claim for promissory estoppel, the

    date. As the Cour recognized in Schmidt, when a debtor        asserting par must first show that a promise was made

    defaults on a mortgage payrent. and the mortgage holder       and that it reasonably relied upon the promise to its
    forecloses upon the collateral that (*18) secured the loan    detriment." Hermosa Holdings, 1nc. v. Mid-Tennessee
                                                                  Bone & Joint Clinic, P.C., 2009 Tenn. App. axis 282,
    (in this case, the Propert), the TCPA does not appiy. Id.
    AccordingIy, Plaintiffs TCPA claim is DISMISSED               2009 WL 711125, at *8 (Tenn. Ct. App. Mar. 16, 2009)
    WITH PREJUDICE.                                               (emphasis added) (citations omitted). In other words, "in
                                                                  order for the theory of promissory estoppel to apply,
    3. Promissory Estoppel                                        Appellant must show that the promises made . . . induced'
                                                                  an action or forberance by Appellant to her detriment in
         Wells Fargo argues that promissory estoppel should       reliance on those promises . . . n Cochran v. Robinood
    not apply because "promissory estoppel is not an              Lane Baptist Church, 2005 Tenn. App. LEXIS 814, 2005
    exception to the statute of fruds." (Wells Fargo's            WL 3527627, at *5 (Tenn. Ct. App. Dec. 27, 2005) (*20)
    Memoradum of Law in Support       of its Motion to
                                                                  (emphasis added). A par demonstrates "reasonable
     Dismiss, Doc. 7 at i 0). While promissory estoppel is not    reliance" by showig that theT\': was a "substantial change .
   . an exception to the Statute of Fraud, it does provide an     of position by the promisee in reliance on the promise. .
    independent cause of action. 3 Therefore, the Court must      ." Alden v. Presley, 637 S. W.2d 862, 864 (Tenn. 1982).
     determine whether Plainti has alleged facts supporting a     . Accordingly, the Court must determe whether
   . promissory estoppel claim.                                   Plaintiff- assuming all factu alegations in the
                                                                  complait are tre-- substatially chaged his position as
            3 As the Tennessee Cour of Appeals has
                                                                  a result of promises made by ASC representatives.
            recognzed, "the thst of the cases is that
            promissory estoppel is not recognized as an               In this cae, Plaintiff did not substatially change his
            exception to the Statute of Frauds." Nationsbank,
                                                                  position in reliance upon any statements. Assuming that
            N.A. (South) v. Millngton Homes Inv., Ltd., 1999 .    ASC repreentatives told Plaintiff that he would be
            Tenn. App. LEXIS 107, 1999 WL 79204. aI *3            "reconsidered" for a "work-out plan," Plaíntiff was still
            (Tenn. Ct. App, Feb. 19, 1999). Rather, equitable
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 153 of 177                                                 PageID 161


                                                                                                                             Page 7
                                                     2010 U.S. Dist LEXIS 89234, *20



   obligated to pay his Loan. Plaintiff was never formally                        (2) the representation was false when
   relieved of this obligaton. and Plaintiff adts that he                     mae;
   was unable to repay the Loan. In addition, Plaintiff never
                                                                                  (3) the representation was in regard to
   mad alternate arrgements to pay for the' Loan.
                                                                              a material fact;
   Although Plaintiff was told that he would be
   "reconsidered" for a "work-out plan," he was never told
                                                                                  (4) the false representation was made
   that anargement had ben reached. Such arangement,                          either knowingly or without belief in its
   if made, might have constituted a substatial change in                     trth or recklessiy~
   position. See Burger King Corp. v. Hinton, Inc., 203
   F.Supp. 2d I357, 1364 (S.D. Fla. 2007) (denying a claim                         (5) plaintiff reasonably relied on the
   for promisoiy (*21) estoppel because the plaintiff did                     misrepresented material fact;
   not provide "conclusive evidence showing that they
   reived an instrction from BKC (Burger King                                      (6) plaintiff suffered damage as a
   Corporation) to cease their regular payments, as a                         result of the misrepresentation.
   'workout plan' would be formulated as an alternative. ");
   see alo Osceola Inv. v. Union Planters Nat'l Bank of
                                                                           Walker v. Sunrise Pontiac-GMC Truck, 249 S. W,3d
    Memphis, 1990 Tenn. App. LEXIS 36, 1990 WL 4338, at
    *3 (Tenn. Ct. App. Jan. 25, 1990) (rejecting a plaintiffs         301, 311 (Tenn. 2008) (citations omittd).
   . claim for promisoiy estoppel arsing out of a ban's
                                                                           With regard to the first element, Wells Fargo argues
    failure to approve a loan because there existed "no proof
                                                                      that "it is unclea. . . whether Plaintiffs father was told
    that the Plaitiff changed its plans in reliance on the
                                                                      that the foreclosur was delayed, was being delayed, or
    promise. H). At most, Plaintiff was told that the
                                                                      would be delayed." (Wells Fargo's Memorandum of Law
    foreclosure would be delayed. Even assuing that ASC
                                                                      in Support (*23) of its Motion to Dismiss, Doc. 7 at 12
    representatives told Plaintiff that the foreclosure would
                                                                      n.9). However, in the complaint, Plaintiff alleges that
    be delayed, he did not change his position in reliance .
                                                                      during the July 6, 2009 phone call an ASC representative
    upon those statements. Plaintiff did not make any
                                                                      told his father that "she would delay the foreclosure, in
    payments under the Loan, nor did ASC representatives
                                                                      fact, she was doing so at that time. " (plaintiffs
    agree to a "work-out plan." Plaintiff did not tae any
                                                                      Complaint, Doc. 1 at 7) (emphasis added). The present
    "action or forbeace" in relying upon the statements
                                                                      tense "was doing" indicates that the ASC representative
    concerning forelosure. Cochran, 2005 Tenn. App. LEXIS
                                                          remained    made a statement concerning a fact that existed at that
    814,2005 WL 3527627, al *5. Instead, Plaintiff
                                                                      time. Thus, with rega to ¡it least the July 6, 2009 phone
    in the same position that he was previously in: unable to
                                                                      cal, the first element has been m.et
    avoid foreclosure. Because Plaintiff has failed to allege
    any facts that show he substantially (*22) changed his                Even assuming that an ASC repreentative made a
    position in reliance upon the statements made by ASC              false statement durng the July 6, 2009 phone call,
    representatives, his promissory. estoppel claim is                Plaintiff has failed to show that he reasonably relied upon
    DISMISSED WITH PREJUDICE.                                         that statement. As Wells Faro correctly argues, Plaintiff
                                                                      did not materially change his position in reliance upon
    4. Intentional Misrepresentation
                                                                      the statements concerning foreclosure. (See Wells Faro's
          According to the complaint, Wells Fargo                      Memoradum of Law in Support of its Motion to
    "misrepresented the intentions and actions which the               Dismiss, Doc. 7 at 13-14). In fact, Plaintiff did not
    Defendants took when they proceeded with the                       change his position at all:
    foreclosure sale of the propert on July 14, 2009."
                                                                                  There is not one single allegation that
    (Plaintiffs Complaint, Doc. I at 9). To establish a claim
    for intentional misrpresentation, Plaintiff must show:                     Plaintiff took some action, or chose not to
                                                                               tae some action, that might have
                                                                               prevented the foreclosur because he was
                (1) the defendat made a representation
              of ai existing or past fact;                                     told the foreclosure would not occur on
                                                                               July 14, 2009. Instead, (*24) Plaintiff
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 154 of 177                                            PageID 162

                                                                                                                      Page 8
                                               2010 U.S. Dist. LEXIS 89234, *24



          maintained the same position that he had                      4 See Par IILB.3
          been in for months, i.e., Plaintiff could not
          cure the default and was completely
                                                                 IV. CONCLUSION
          dependent on the av~Jability of a workout .
                                                                     For the foregoing reasons, Well.s Fargo's Motion to
          option. Put simply; Plaitiff has not
                                                                 Dismiss (Doc. 6) is GRATED IN PART AND
          aHeged that anytg changed from prior
                                                                 DENIED IN PART. While the Statue of Frauds does
          to the alleged misrepresentation to after it.
                                                                 not bar Plaintiffs cIaims, he has failed to plead sufficient
                                                                 facts to survve a l2(b)( 6) motion. Accordingly,
                                                                 Plaitiffs claims are DISMISSED W1TH
       (Id. at 13). For the same reaons that the Plaintiff did
   not show "reasonable reliarce" in the context of his          PREJUDICE.
   promissory estoppel clai 4, the Cour finds tht Plaintiff          IT IS SO ORDERED.
   has failed to show "reliance" to support an intentional
   misrepresentaton clai. Because Plaintiff has failed to.           lsi Thomas W. Phillips
   show that he substatially changed his position in
   reliance upon the statments made by ASC                           United States District Judge
   representaives, his intentional misrepresentaton claim is
   DISMISSED WITH PREJUICE.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 155 of 177   PageID 163
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 156 of 177                                              PageID 164


                                                                                                                       Page I




                     LexisNexis@

   Jifl\
    Caution
  . As of: Dec 05, 2011

                     Andrea Marks, Plaintiff, vs. BANK OF AMERICA, N.A.; a foreign corporation,
                       FEDERAL NATIONAL M0.RTGAGE ASSOCIATION dba Fannie Mae, a
                    Federally Chartered Corpration, Black Corporations 1-5, White Parterships f..5,
                                       John Does 1-5      and Jane Does 1-5, Defendant.

                                                 No.03:IO-cv-08039-PHX-JAT

                       UNITD STATES DISTRICT COURT FOE THE DISTRICT OF ARIZONA

                                                  2010 U.S. Dist. LEXIS 61489


                                                       June ZI, ZOIO, Decided
                                                         June 2Z, 2010, Filed


   COUNSEL: (*1 J For Andrea Marks, a single woman,                 of America N.A. ("Defendant") breached an agreement
   Plaintiff: Lisa Jeanette Counters, The Counters Finn,            with the U.S. Treasur in which she Was a third-par
   Marcopa, AZ.                                                     beneficiar. Plaintiff argues that Defendant did not fulfill
                                                                    contractual obligations per the . Home Affordable
    For Bank of America NA., a foreign corporation,                 Modification Progra ("RAMP") Guidelines. As such,
    Federal National Mortgage. Association, a Federally             Plaintiff maintans that a suspension of any foreclosure or
    Charered Corporation doing business as Fannie Mae,              trtee's sale pending dispsition of her request is
    Defendats: An-Mara Andrews, David Winthrop                      manated. (PI. Amended Complaint P ;21). Pending
    Cowles, Emily Snow Cates, . Lewis & Roca LLP,                   before the Cour is Defendant's Rule 12(b)(6) Motion to
    Phoenix, Äl.                                                    Dismiss. (Doc. # 15). For the reasons that follow, the
                                                                    Court dismisses Plaintiffs complaint with prejudice.
    JUDGES; James A. Teilborg, United States Distrct
    Judge.                                                          i. Background

                                                                        Plaintiffs propert ("the Propert") is located in
    OPINION BY; James A. Teilborg
                                                                    Prescott Valley, Arizona. (PI. Amended Complaint P 1)..
    OPINION                                                         Plaintiff financed (*2) the purchase of the Propert with
                                                                    fuds underwitten or otherwise backed by Defendat
                                                                    Fannie Mae. (pt. Amended Complaint P 2). Defendat
    ORDER                                                           Ban of America N.A. ("Defendat") is now servicing
                                                                    loans fonnerly owned .by Countrwide Mortgage as a
           Plaintiff Andrea Marks argues that Defendant Bank        result of Defendant's acquisition of Countrywide
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 157 of 177                                                  PageID 165

                                                                                                                           Page      2
                                                  2010 U.S. Dist. LEXIS 61489, *2



   Mortgage. (PI. Amended Complaint P 6).                           the pleader's obligation to provide the grounds for relíef
                                                                    requires "more. than labels and conclusions, and a
      . On August 17, 2009, Plaintiff retained New York             formulaic recitation of the elements of a cause of action
   Financial to assist her in submittng an application to           will not do." Twombly, 550 Us. at 555 (internal citations
   Defendant for a loan modification under RAMP. (PI.               omitted). The factual allegations of the complaint must be
   Amended Complaint P 8). Plaintiff submitted her                  sufficient to raise a right to relief above a speculative
   application on October 2,2009. (PI. Amended Complaint            leveL. Id Rule 8(a)(2) "requires a 'showing,' rather than a
   P 9). Defendat advised her that Plaintiff qualified for          blanket asserton, of entitlement to relief. Without some
   assistance and modification of her-loan. (Id). Defendat          factual allegation in the complaint, it is hard to see how a
   informed Plaintiff that her mortgage payment wou!d be            claimant could satisfy the requirement of providing -not
   reduced       by almost fift percent. (Id). Plaintiff accepted   only 'fair notice' of the nature of the claim, but also
    the offer and requested the loan modification paperwork.        'grounds' on whicb the claim rests." Id (citing 5 C.
    (Id). Plaintiff offered to make a payment and Defendant         WRGHT & A. MILLER, FEDERAL PRACTICE AND
    sought to obtain the modified payment from Plaintiff;           PROCEDUR § 1202, pp. 94, 95 (3d ed. 2004)).
    however, Defendant was unable to process the payment.
                                                                         The Rule 8 pleading standard demands more than
    (Id). Defendant advised her to send the payment with the
    signed loan modification documents she would receive            "an unadorned,
                                                                    the-defendant-unlawfully-haned-me-accus ation."
  . within two weeks, (Id).
                                                                    Ashcroft v. Iqbal, 129 SCt. 1937, 1949, 173 L. Ed 2d
             Plaintiff waited for loan documents (*3) for two       868 (2009) (citing Twombly, 550 US at 555). A
   weeks. (PI. Amended Complaint P 11). Defendant then              complaint that .offers nothing more than naked assertons
   informed Plaintiff that "there could be more delay in            wil not suffce. To survive a motion to dismiss, a
   getting the paper work for her signatue." (Id). During a         complaint must contan suffcient factual mattr, which,
   November 2009 call between Plaintiff and Defendant,              if accepted (* 5) as tre, states a claim to relief that is
   Defendant told Plaintiff it had "45 days to get the              "plausible on its face." Iqbal, 129 S.C!. at 1949. Facial
   paperworkrt to her. (PI. Amended Complaint P 12). Two            plausibility exists if the pleader pleads factu content
   weeks later, Defendant advised Plaintiff that the                that allows the court to drw the reasonable inference that
   foreclosure date had been rtpushed backrt and that the           the defendat is liable for the misconduct alleged. ¡d
   paperwork delay seemed to be some sort of a "ban                 Plausibility does not equal "probability," but plausibility
   error" that would be corrected. (PI. Amended Complaint           requires more than a sheer possibility that a defendant has
   P 12-13).                                                        acted unlawfully. Id. "Where a complaint pleads facts
                                                                    that are 'merely consistent' with a defendant's liability, it
             In Januar 2010, Defendant foreclosed the Propert       'stops short of the line between possibility and
   and initiated a Forcible Entr and Detainer action. (PI.          plausibility of 'entitlement to relief.'" Id. (citing Twombly,
   Amended Complaint P 16).                                         550 u.s. at 557).

   II. Legal Standard                                                    In deciding a motion to dismiss under Rule 12(b)(6),
                                                                    the Cour must constre the facts alleged in the complaint
             To surve a 12(b)(6) motion for faìlure to state a
                                                                    in the light most favorable to the drafer I of the
   claim, a complaint must meet the requirements of
                                                                    compiaint and the Cour must accept aU well-pleaded
   Federal Rule of Civil Procedure 8(a)(2), Rule 8(a)(2)
                                                                    factual allegations as tre. See Schwarz v. US, 234 F.3d
   requires a "short and plai statement of the claim
                                                                    428, 435 (9th Gir. 2000).
   showing that the pleader is entitled to relief,rt so that the
   defendant has a "fair notice of what the. . , claim is and               1 Given tbe procedurl posture of the case and
   the grounds upon which it rests." Bell At!. Corp. v,                     the pending Motion, the Court must constre the
   Twombly, 550 Us. 544, 555, I27 S. Ct. I       955, I671. Ed              facts alleged 10 the Amended Complaint in the
   2d 929 (2007) (quoting Conley v. Gibson, 355 US. 4I,                     light mòst favorable to Plaintiff.
   47, 78 S Ct. 99, 2 L. Ed. 2d 80 (1957)).
                                                                    III. Analysis
             Althougb a complaint attacked for failure (*4) to
   state a claim does not need detaled factual allegations,              In support of Defendat's Motion to Dismiss,
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 158 of 177                                                     PageID 166

                                                                                                                              Page 3
                                                        2010 U.S. Dist. LEXJS 61489, *5




   Defendant argues that Plaintiff (*6) does not have: (l)
   stading to bring a suit for breach of contract; (2) an                Id at 1211. (citing the RESTATEMENT (SECOND) OF
   express, private right of action to sue for a violation of            CONTRACTS § 302 (1979)). "To sue as a third-par
   the HA; and (3) an implied, private right     of action to            beneficiary of a contract, the third part must show that
   sue for a violation of      the HAMP. Based on the following          the contract reflects the express or implied intention of
   reasons, the Cour grants Defendants Motion to dismiss                 the paries to the contract to benefit the third par."
   with prejudice.                                                       Klamath, 204 F.3d at 1211.

   A. No Standing to State a Claim for Breach of                              "One way to ascertn such intent is to ask whether
   Contract                                                               the beneficiary would be reasonable in relying on the
                                                                          promise as manifesting an intention ("'8) to confer a right
         Plaintiff attempts to sue on an agreement between                on him or her." Id (citing RETATEMENT OF
   Defendant and the u.s. Departent of Treasury as a                      CONTRACTS § 302(l)(b) cmt. d.). Under the HAMP, a
   third-par beneficiar. 2 (Doc. # 1-2, p. 5-6). Defendant                qualified borrower would not. be reasonable in relying on
   maintains that Plaintiff lacks stading to make a breach                an ageement between a parcipating servicer and the
   of contract claim because Plaintiff is not an intended                 U.S. Deparent of Treasur as manifesting an intention
   beneficiar. (Doc. # 15, p.l, 4-6). The Cour agrees with                to confer a right on the borrower because th~ agrement
   Defendant and finds that Plaintiff lacks stding to
                                                                bring     does not require that the paricipating servicer modifY
   suit for breach of contrct because Plaintiff is, at most, an           eligible loans. 3 Escobedo. 2009 U.s. Dist. LEXIS
    incidenta beneficiary.                                                Jl7017, 2009 WL 4981618, *3. Even Fannie Mae, which
                                                                          has rights under the Agreement, cannot force a
              2 Plaintiff has not provided the Court with a               paricipating servicer . to make a paricular loan
              copy of the agreement referred to in Plaintiffs             modification. Id. Fannie Mae can tae steps against a
              Amended Complaint (Doc. # 1-2) or in Plaintiffs             participating servcer, but cannot impose a modification.
              Response to Defendants Motion to Dismiss (Doc.              Id. Thus, a borrower could not require the servicer to
              # 23).                                                      make any paricular loan modification under the HAMp
                                                                          Agreement.
         In order to present a claim for breach of contrct, a
    plaintiff must allege the fonnationof acon.tract, its                         3 The agreement in Escobedo set forth Home
    breach, and damages. E.g., Chattone, Inc. v. Bernini, 207                     Affordable Modification Progr Guidelies. The
    Ariz. I   62, 83 P.3d II 03, ILLI (Ari. App. 2004). (*7)                      Guidelines set fort eligibility requirements and
    Before a third par can present a claim for breach of                          state: "(p)articipating servicers are required to
    contrct, they must show that the contrct was made for                         consider all eligible loans under th program
    their direct benefit-that they are an intended beneficiar                     gudelines unless prohibited by the rules of the
    òf the contrct. Klamath Water Users Protective Ass'n v.                       applicable PSA and/or other investor servicing
    Paterson, 204 F.3d 1206 (9th Cir. 2000). The Ninth                            agreements." Escobedo v' Countryide Home
    Circuit defines third par beneficiares as:                                   Loans, Inc., 2009 U.S. Dist. LEXIS 1I 7017, 2009
                                                                                  WL 498I6I8, at *3 (S.D. CaL. 2009).
                  (1) Unless otherwise agreed between
              promisor and promisee, a beneficiar of a                         Furthermore, (*9) the Ninth Circuit has held that
              promise is an intended beneficiar if                        paries who benefit from government contracts are
              recognition of a right to performance in                     generally assumed to be incidental beneficiares, and may
              the beneficiary is appropriate to effectuate                not enforce the contract absent clear intent to the
              the intention of the paries and . . . (b) the                contrary. Klamath, 204 F.3d1206. /210-11 (9th Cir.
              circumstances indicate that the promisee                     2000) (emphasis added). See RESTATEMENT OF
              intends to give the beneficiar the benefit                   CONTRACTS § 313(cmt. a) ("govermental contrcts
              of the promised performance.                                 often benefit the public, but individual members of the
                                                                           public are treated as incidental beneficiares unless a
                    (2) An incidental beneficiary is a                     different intention is manifested."). See also County of
              beneficiar who is not an intended                            Santa Clara v. Astra USA, Inc., 588 F.3d I 237, 1244 (9th
              beneficiar.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 159 of 177                                                       PageID 167


                                                                                                                               Page    4
                                                     2010 U.S. Dist. LEXIS 61489, *9



   Cir. 2009). (outlining the diffcultY            of demonstrating   has a goal of assisting homeòwners, the HAMP
   third-part beneficiar status in                 the context of     Agreement does not express any intent to grant
   governent contracts).                                              borrowers a right to enforce the HAW contract between
                                                                      the government, and loan servicer." Benito v. Indmac
         "Clear intent" is not shown "by a contract's recitation      Mortgage Serv., 2010 u.s. Dist. LEXIS 51259, 2010 WL
   of interested. constituencies, (vJague, horttory                   2130648, *7 (D. Nev. 2010) (emphasis added).
   pronouncements, statement(s) of puiose, explicit
   reference to a third par or even a showing that the                       Here, Defendant was not obligated to modify
   contrct 'operates to the (third pares') benefit and was            Plaintiffs Joan. As a result, the Agreement does not grant
  - entered into with (them) in mind." County ofSanta Clara,          Plaintiff the right to enforce the provisions of the
   588 F.3d at 1244 (internal quotations and citations                agreement. Because Defendant was not reqired to admit

   omitted). Instead, the contract's precise language must            or deny Plaintiffs loan, only to consider, Plaintiff could
   demonstrate a clear intent to rebut the presumption that           riot have been reasonably believed that Defendant was
   the plaintiff is an incidental (* 10) beneficiary.1d               obligated to modify her loan.

                                                                                                      is not an intended beneficiar. If
        For example, in Klamath the Ninth Circuit held that                  In addition, Plaintiff

   although a contract between the United States and a dam            the Court were to grnt Plaitiff third-par beneficiary

   operator operated to the irrgators' benefit and was                status, (* 12) the Court would be opening the door to
   "unoubtedly entered into with the irrgators in mind,"              potentially 3-4 million homeowners filing individual
   nothing in the contrct evinced an intention of the paries          claims. See Vila, 2010 U.S. Dist. LEXlS 23741,2010 WL
   to the contrct to grt the irrigators enforceable rights.           935680, at * I (stating that the breadth and indefinteness
   204 F.3d at f211-f2. As the Ninth Circuit explained,               of a class of beneficiaries is entitled to some weight in
    "(T)o allow them intended third-par beneficiar status
                                                                      negating the inference of intended beneficiar status).
   would open the door to all users receiving a benefit from          Allowing such a large number of potential plaintiffs
   the Project achieving similar status, a result not intended        dealy contravenes the purpse of the RAM as an.
   by the Contract" Id. at 1212.                                       adinistrative tool tò effectute the goals of the EESA.
                                                                       Willams v. GeiLhner, 2009 US. Dist. LEX1S 104096,
         By appiying the Klamath reasoning, the Escobedo               2009 WL 3757370, *2 (D. Minn. 2009). Also, permittng
    cour found that the Plaintiff was an incidental                    these individual claims would undermine Freddie Mac's
    beneficiar of the HAP agreement. Escobedo, 2009                    role as the compliance offcer for          the RAMP. U.S. DepOt
    US. Dist. LEXIS 117017, fV 4981618, at *2-3. As such,              of   Treasury, Supplementa Directive 2009-08, at 4 (Nov.
    the court denied plaintiffs' cause of action for breach of         3,2009).4
    contract under the RAMP agreement. ¡d. The court
    reasoned that the agrement between Countride Home                           4 For furter discussion, see irifra n.B.

    Loans and.the U.S. Treasur was entered into in par for
    the ben~fit of qualified borrowers, but the language of the
                                                                             As in Klamath and Escobedo, Plaintiff is an
                                                                       incidenta beneficiar to a goverrental contrct between
    contract does not show that the pares intended to grant
                                                                       Defendat and the U.S. TreaSur. Plaintiff claims that the
    qualified borrowers the right to enforce the agreement.
                                                                       contrt was intended to benefit homeowners like her.
    2009 Us. Dist. LEXIS ll7017, (WL) at *2. See Vila v.
    Wells Fargo Bank N.A., 2010 U.S. Dist. LEXlS 23741,
                                                                       However, Plaintiffs claim does nòt plausibly meet the
                                                                       requisite "clear intent" stadard. While the intent of the
    2010 wi 935680, at *3 (S.D. CaL. 2010).
                                                                       HAMP might be to benefit qualified borrowers,
                                                                                                                                      the
          Even (*11) though one District Cour in California            statements of purpse are not enough to defeat

    allowed Plaitiff to procee with a breach of contract               presumption against intended ('.13) beneficiaries under
    claim, that Plaintiff had plead sufficient facts to plausibly      governent contrcts. Rather, Plaintiff is an incidental
    support his third-par beneficiar theory by identifying             beneficiar because there is no clear intent to the
    the contrct at issue arid attaching a copy of the contract         contrar.
    to his complaint. Reyes v. Saxon Mortgage Servs., 2009
                                                                            Because Plaintiff is not an intended beneficiary of
    Us. Dist. LEUS 125235, 2009 WL 3738177 (S.D. CaL
                                                                       the agreement between Defendant and the U.S. Dept. of
    2009). However, another Distrct Court recently noted
    that, "although the overall RAMP program undoubtably               Treasury, Plaintiff does not have standing to sue for a
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 160 of 177                                              PageID 168

                                                                                                                       Page 5
                                               2010 U.S. Dist. LEXIS 61489, *13



   breach of contract claim. AS such, the Court grants            evaluated for a modification. U.S. Dep't of the Treasury,

   Defendat's Motion to Dismiss.                                  Home Affordable Modification Program Guidelines
                                                                  (Mar. 4, 2009). 5
   B. No Express Private Right of Action Exists Under
   HAMP.                                                                  5 The HAM guidelines are available at
                                                                          htt://ww . ustreas .gov/presslreleaseslre
       Furermore, Plaintiffs allegations regading breach                  port/modification yrogram _guidelines.pd f (last
   of contract are simply an attempt at enforcing a private               visited on Jwie 15, 20 i 0).
   right of action under HAMP. See Aleem v. Bank of Am.,
   NA., 2010 Us. Dist. LEXIS 11944,2010 WL 532330, *4                 Per designation by the Seceta,     Freddie Mac ,serves
   (CD. Cal. 2010). See alo Ung v. GMAC Mortg., 2009              as compliance offcer for the. HAMP. U.S. Dep't of
   u.s. Dist. LEXIS 115900.2009 WL 2902434, *9-11 (CD.            Treaur, Supplemental Directive 2009-08, at 4 (Nov. 3,
   Cal. 2009) (dismissing, with prejudice, TARP-based             2009). 6 The HAMP requires mortgagee' to collect,
   claims pled as the basis for state law claims). Plaintiffs     retain, ànd trsmit mortgagor and propert data to
   argwents under RA refer to recently enacted and                Freddie Mac in order to ensure compliance with the
   rapidly evolving areas of legislative and administrtive        progra. See Supplementa Directive 2009-01, at 13-14,
   action. Below, the Court provides the requisite history to     19-21 (Apr. 6, 2009); Supplemental Directive 2009-06
   explain that an express right to sue. fund recipients, like    (Sept i i, 2009). As the compliance agent, Freddie Mac
   Defendant, does not exist under the HAMP. See id.              is charged with conducting "independent compliance
                                                                  assessments" including "evaluation of documented
        On October 8, 2008, President Bush signed into law        evidence to confirm adherence . . . to HAMP
   the Emergency Economic Stabilization Act of 2008, Pub.         requirements" such as the evaluation of borrower
   L. No. 110-343, 122 Stat. 3765 (*'1) (codified 12 Us.c.        eligibility. Supplemental Directive 2009-01, at 25-26.
   § 5201 et seq.) ("EESA"). Section 109 required the
   Secretar of the Treasury ("the Secreta") to take certain               6 Supplemental Directives cited herein are
   measures in order to encourage and facilitate loan                     available . at
   modifications. 12 US.C § 5219. However, Section 109                    www.hmpadin.comlportallprogramslhamp/se
   did not create any private right of action against servicers           rvicer.html (*16) (last visited on June 15, 2010).
   for grievances relating to the EESA. Ramirez v. Liton
   Loan Serv" LP, 2009 US. Dist. LEXS 52484, 2009 WL                 Nowhere in the HAM Guidelines, nor in the EESA,
   1750617, *1 (D. Ariz. 2009); Barrey v. Ocwen Loan              does it expressly provide for a private right of action.
   Serv., LLC, 2009 u.s. Dist. LEXIS 109848, 2009 WL              Ratheri Congressional intent expressly indicates that
   1940717, *1 (D.         Ari. 2009).
                                                                  compliance authority was delegated solely to Freddie
                                                                  Mac. By delegating compliance authority to one entity,
        The EESA authorizied the Secretar of     the Treasury,    Freddie Mac, Congress intended that a private cause of
   FHF A, Fanie Mae, and Freddie Mac to create the                action was not permitted. See Reyes-Gaona v. N C.
   Making Home Affordable Program on February 18,                 Growers Ass'n, 250 F.3d 861, 865 (4th Cir. 2001)
   2009, which consists of two componets: (I) the Home            (reiterating that "the doctrne of expressiq unis est
   Affordable Refinance Program, and (2) the HAMP.                exc!usio alterius instrcts that where a law expressly
   Wiliams, 2009 u.s. Dist. LEXIS 104096, 2009 WL                 describes a paricular situation to which it shall apply,
   3757370, *2. The HAMP aims to financially assist three         what was omitted or excluded was intended to be omitted
   to four million homeowners who have defaulted on their         or excluded. ").
   mortgages or whò are in imminent risk of default by
   reducingmonthly payments to sustainable levels.                    Because Plaintiff is precluded from asserting a
                                                                  private cause of action wider the HAMP, even disguised
        The HAM works by providing financial incentives           as a breach of contract claím, Defendant's Motion to
   to paricipating mortgage servicers to modify the terms of      Dismiss is warranted.
   eligible loans. On March 4, 2009, the Secreta issued
   guidelines Under the RA requiring lenders to consider          2. No Implied Right of Action under the RAMP
   borrowers for loan modifications (* 15) and suspend
                                                                      . In addition to not expressly intending a private cause
   foreclosure activities while a given borrower was being
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 161 of 177                                                  PageID 169


                                                                                                                         Page 6
                                                  2010 U.S. Dist. LEXIS 61489, *16



   of action, the Cour wil not imply a right of action under         275, 290, 121 S. Ct. /511, 149 L. Ed. 2d 517 (2001)

   the RAMP either.                                                  (stting that the express provision of one method of
                                                                     enforcing a substantive rule suggests tha Congress
             "In the absence of clear evidence of congressional      intended to preclude others).
   i¡itent, Ia court) may not usurp the legislative power by
   unilaterally creating a cause of action." In re Digimarc                  7 Under the Administrative Procedure Act
   Corp. Derivative Litig.. 549 F.3d 1223, 1230-31 (9th Cir.                 (nAPA"), any judicial review would be limited
   2008). (* 17) Thus, to detennine whether a federal statute                due to the strictures ("19) of the delegating

   was intended to create a private cause of action, the                     statue, the EESA, in addition to rule ~nd
                                                                             adjudication
   Supreme Cour requires consideration of the following                                     guidelines set fort under the AP A.

   four factors: (1) whether the plaitif is "one of the class
                                                                             See 12 Us. C. § 5229(a); 5 u.s. C. §§ 553, 554,
                                                                             556, and 706.
   for whose espeial benefit the state was enacted- that
   is, (whether) the state create(s) a federal nght in favor
                                                                         Next, Plaintifis proposed cause of action would not
   of the plaintiff"; (2) whether "there (is) any indication of
                                                                     fuer the underlying legislative scheme. As previously
   legislative intent, explicit or implicit, either to create such
   a remedy or to deny one"; (3) whether the cause of action
                                                                     mentioned, Freddie Mac was designated as . the
                                                                     compliance offcer. As such, the enforcement of the
   is "consistent with the underlying purposes of the
                                                                     modification program is contemplated only from the top
   legislative scheme"; and (4) whether "the cause of action
                                                                     down. Fwtermore, the RAM Guidelines already
   (is) one tradtionally relegated to state law, in an area
                                                                     impose extensive data reportng requirements on
   basically the concern of the States, so that it would be.
                                                                     servicers. See Supplemental Directve 2009-01, at 13-14,
   inappropriate to infer a cause of action based solely on
                                                                     19-21. Plaintifis cause of action would Dot fuher the
   federal      law." Id. (quoting Cart v. Ash, 422 US. 66, 78, 95
                                                                     legislative intent because the HA Guidelines already
   S. Ct. 208Q. 45 L. Ed. 2d 26 (1975)).
                                                                     designated a 'scheme to correct for any mortgagee

       First, Plaintiff is not one of the class for whose .          wrongdoing.
   "especial benefit" the RAMP was enacted. While
                                                                          Lat, loan modification requirements for pending
   Plaintiff may be a par of a class of homeowners whom
                                                                     foreclosure proceedings, are generally relegated to state
   EESA and HAMP are intended to benefit, the statute
   sweeps much more broadly than their "esecial benefit."
                                                                     law. Real propert interests and contract rights are
                                                                     pardigms of state law concern. In Arizona, the courts
   These statutes are addressed to large-scale economic
                                                                     have already expressly rejected the suggestion that EESA
   phenomena affecting not only (* 18J distressed
                                                                     creates a private right of action against lenders. See
    homeowners, but also financial institutions and
                                                    mechanics of     Ramirez, 2009 Us. Dist. LEXIS 52484, 2009 WL
    homeownèrs at large. The statutes alter the
                                                                     1750617, at *1; Barrey. 2009 Us. Dist. LEXI 109848,
    home foreclosure in an effort to stem the downward
                                                                     2009 WL 1940717. at *1. Because    the HAMP is the
    spiral of home prices as a national phenomenon. The
                                                                     administrative progr to accomplish (*20) the EESA's
    economic stimulus effort attempts to promote the welfare
                                                                     goals, a private right of action is clearly precluded.
    of foreclosure paries generally, but it does not connote
    the power to delay foreclosures.                                     Because Plaintiffs claim fails to meet the requisite
                                                                     four factors to allow for an implied private right of
         Second, legislative intent does not create a cause of
                                                                     action, the Cour finds that Defendant's Motion to
    action under the RAMP. The HAM eases restrictions on
                                                                     Dismiss with prejudice is fuher waranted.
    lenders and servicers and encourages loan modifications.
    12 Us.c. § 5219. Specifically, the HAP was intended              CQuiet Title
    to effectute the goals of the EESA. Wiliams, 2009 Us.
   . Dist. LEXIS 104096. 2009 WL 3757370, *2. In addition,                Plaintiffs quiet title claim is based on the claim for
    legislative history indicates that the right to intiate a        breach of contrct as explained above. Since that claim
    cause of action lies with the Secretary via the                   fails, Plaintiffs quiet title claim also fails.
    Administrative procedure Act. 7 Allowing the Plaitiff to
    assert a private cause of action would contravene clear           D. Declaratory and Injunctive Relief
    legislative intent. See Alexander v. Sandoval, 532 Us.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 162 of 177                                          PageID 170

                                                                                                                  Page 7
                                                2010 U.S. Dist. LEXIS 61489, "'20



   Plaintiffs claim for declaratory and injunctive relief is          IT IS ORDERED that Defendant's 12(b)(6) Motion
   also based on the claim for breah of contract Agai,            to Dismiss (Doc. # 15) is grted with prejudice.
   since. the clai for breach of contract fails, Plair¡tiffs
   claim for declaratory and injunctive relief also fails.           IT is FURTHER ORDERED that the Clerk of the
                                                                  Cour shall enter judgment accordingly and close ths
   IV. Conclusion                                                 case.

       Because Plaintiff is an incidental aid not an intended         DATED this 21st day (*21J ofJune, 2010,
   oeneficiar, Plaintiff lacles stading to bring a sut for
   breach of contract. Furermore, Plaintiff does not have             lsI James A. Teilborg
   an express or implied private right of action to sue for
                   the HAP.                                           James A. Teilborg
   violations of


                                                                      United States Distrct Judge
        Accordingly,
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 163 of 177   PageID 171
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 164 of 177                                                   PageID 172

                                                                                                                           Page I




                          Lexis.exis
                          . ... N. . · @


                              MILTON J. CONSTANTIN Plaintiff-Appellant VS THE UNIVERSITY OF
                                             TENNESSEE Defendant-Appellee

                                                      APPEAL No. 86-7-11

                                             Court of Criminal Appeals of Tennessee

                                               1986 Tenn. Crim. App. LEXIS2380


                                                       July 9, 1986, Filed


   SUBSEQUENT HISTORY;                    (* I) Application for    the 19 years that he had worked for the University; it had
   Permissi(ln to Appeal Denied,         Concurrng In Results      never informed him that the funding source. for     his
   Only, September 22, 1986                                        employment would affect his tenUre statu. The professor
                                                                   alleged that he had a de fucto tenure contrct with the
   PRIOR mSTORY; APPEALED FROM THE                                 University. The professor did not assert that the
   TWENTIETH JUICIAL DISTRICT, PART II, FOR                        University had executed a wrtten tenure contrct, and he

   DAVIDSON . COUNY, TENNSSEE THE                                  did not attch a written contrct to the- complaint as
    HONORALE C. ALLEN HIGH, CHANCELLOR                             required byTenn. R. Civ. P. 10.03. The University fied a
                                                                   motion to dismiss on the ground that the complait failed
   DISPOSITION: The judgme'nt of the Chancellor is                 to state a legal cause of action and on the ground that the
    affrmed with costs assessed against the plaintiff and the      trial. cowt lacked jurisdiction to hear the matter. In
    cause remanded to the Chancery Court for the collection        affrming the dismissal, the court noted that although
    of costs and furter necessar proceedings.                      former Tenn. Code Ann. § 29-IO-101(a)(1) allowed the
                                                                   State to be sued upon an express contrct, §
    CASE SUMMARY:                                                  29-JO-101(a)(1) did not allow the Unïversity to be sued
                                                                   upon an implìed contract. The sovereign immunity
                                                                   state, Tenn. Code Ann. § 20-13- J 02, deprived the'        tral
    PROCEDURA POSTURE: Plaintiff          professor fied an        cour of jurisdiction to entertin the action.
    action agait defendant University of Tennessee after he
    was dismissed from his teaching position. The professor        OUTCOME: The court affirmed the judgment ard
    sought to be reinstated to his position and reimbursed for     assessed costs against the professor.
    his lost salar. He appealed afer the Chancery Cour,
    Part- II, for Davidson County, Twentieth Judicial Distrct      LexisNexis(R) Headnotes
    (Tennessee), dismissed the complaint for lack of
    jursdiction pursuant to Tenn. Code Ann. § 29-10-101.


    OVERVIEW; The professor's complaint asserted that,
                                                                   Constiutional Law ;: Bil of Rights ? Fundamental
    when be was originally hired, the University's personnel
                                                                   Freedoms? Freedom to Petitin
    policies provided for the automatic grt of tenure after
    seven year. He had been continually promoted durng             (HNl) See Tenn. Canst. art. I, § 17.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 165 of 177                                                       PageID 173


                                                                                                                              Page 2
                                                  1986 Tenn. Crim. App. LEXIS 2380, .1



                                                                                                                                  of
   Civil Procedure:; Jurisdiction:; Jurisdictional Sources            the pares, the only difference being in the chacter


   ;, General Overvie                                                 evidence necessary to establish it. In other words, in an
   Educaton Law ;, Immunitie :; School District                       expreSs contrt all the terms and conditions are
                                                                      expressed between the pares. while in an implied
   Immunit
                                                                      contract some one or more of the terIs and conditions
   Governments :; State & Terriorial Governments :;
                                                                      are implied from the conduct of         the parties.
   Claims By & Agait
   (HN2J See Tenn. Code Ann. § 20-13-102.
                                                                      Civil. Procedure ;, Pleading & Practice ;, Pleadngs ;:
   Governments, ;, State & Territorial Government :;
                                                                      Complaint ;, GeneràJ Overvie
   Claim By & Against                                                 Contracts Law;: Breach ;:- Causes of Action;: General
                                                                      Overview
   (H3J The legislature makes provision for the State to be
   sued upon an expres contract.                                      (HN7J If there is a writtn contract to fonn the basis of a
                                                                      plaintiffs clai. Tenn. R. Civ. P. 10.03 requires him to
                                                                      attch it to the complaint.
   Civil Procedure;" Equit:; General            Overview
   Governments ;: Court ;,' Authority to Adjudicate                   COUNSEL: JERROLD L. BECKER, LOCKRDGE &
   Government ;: State & Territoria Governments :;                    BECKER, P.c., P. O. Box 107, Knoxvile. Tennessee
   Claims By & Against                                                37901 ATTORNEY   FOR PLAIIFF-APPELLANT
   (HN4J See former Tenn. Code Ann. § 29-10-1
                                                       01   (a)(J).
                                                                      BEAUCHAMP E. BROGAN. General Counsel. ALAN
                                                                      M. PARKR, Associate General Counsel. The University
   Educatin Law;, Civil Liabilit ;: General Overview                  of . Tennessee, 810 Andy Holt Tower. Knoxville,
   Education Law;, Immunities-;, Statutory Immunity                   Tennessee 37996-0184 ATTORNEYS FOR
    Governmnts ;: State & Territorial Governments ;:                  DEFENDANT-APPELLEE
    Claims By & Against
    (HN5J The University of Tennessee. may. pursuant to               JUDGES: SAMUEL L. LEWIS, JUDGE, wrote the
    Tenn. Code Ann. § 29-10-JOI(a)(J), be sued in the                 opinion. HENRY F. TODD, Presiding Judge. M.S.,
    chancery or circuit courts of Davidson County upon                 concur. BEN H. CANTRELL, Judge, dissents, separate
    express contract or breach thereof. but not upon an                opinion.
    implied contrct.

                                                                       OPINION BY: LEWIS
    Contracts Law;: Types of Contracts;: Implied-in-Fact
                                                                       OPINION
    Contracts
    Contnuts Law;: Types of Contracts ;, Implied-in-Law                     SAMUEL L. LEWIS, Judge
    Contracts
    (HN6) Contracts are express when their terms are stated            OPINON
    by the pares. and they are often said to be implied when
    their terms are not so stated. Thus. an implied contract is             Plaintiff Milton J. Constatin filed his complaint on
    one inferred from the conduct of the parties, though not           September 24, 1984, in which he alleged that the
    expressed in words. Contracts may be implied either in             defendant, The University of Tennessee. notwitstanding
    law or in fact. Contracts implied in fact are inferred from        its recognition of his de facto tenure as a Professor of
    the facts and circumstances of the case, and are not               Agnculture, dismissed him without cause.
    formally    or explicitly stated in words. It is often sad that
    - the only difference between an express contract and a                  He (*2) sought reinstatement as a full Professor in
     contract implied in fact is that in the former the pares          the Institute of Agrculture at The University of
    arve at their agreement by words, whether oral or                  Tennessee and reimbursement for all loss of salar

    written, while in the later their agreement is arived at by        incured since December 30, 1981.
    a consideration of their acts and conduct, and that in both
                                                                            The defendant filed its motion to dismiss "upon the
    of these cases there is, in fact, a contract existing between
                                                                        grounds that the complaint fails to state a cause of action
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 166 of 177                                                     PageID 174


                                                                                                                                 Page 3

                                                     i 986 Tenn. Cri. App. LEXIS 2380, '"2



   and for a lacjc of subject matter jurisdiction."                             automatic' without specific review by the
                                                                                Chancellor, President or Board of
             The Chancellor, subsequent to .oral arguent,                       Trutees. Further, Plaintiff was never
   dismissed plaintiffs complaint on the ground, inter alia,                    informed that the fuding souce for his
   that it was based upon an implied contract and that,                         employment with the Defendant would
   pursuant to Tenn. Code Ann. § 29-10-101,. the cour was                       affect his tenure statu.
   without      jurisdiction to entertain the suit
                                                                                     Plaintiff contends that the actions of
             The perti~ent portion ofthe complaint is as follows:               the Defendant and its representatives prior
                                                                                to October 20, 1980 constituted de facto
                                                                                recognition of his statLs as a tenured
                                                                                professor of the faculty of the Institute of
                  On or about June 16, 1960, the Plaintiff                      Agriculture. Furer, (*4) he contends
                was notified by Nathan S. Hall,                                 that other members of the faculty within
                Laoratory Director, the University of                           the Institute were granted tenure under
                Tennessee, CoIlege of Agricultue and                            circumstaces similar to his and that the
                Home' Economics, Agricultual                                    actions of Dean Gossett in October of
                Experiment Station, of his appointment to                       i 980 were in response to losing the
                the Universitj of Tennessee/A.E.C.                              "CARL" contnct and not because the
                Agricultual Research      Laboratory, Oak                       Plaintiff was not a competent tenured
                Ridge, Tennessee, as an assistant scientist.                    member of the Insttute of Agriculture's
                At that time, he was notified that his                          faculty.
                anual salar was to be Six Thousand
                ($6,00.00) Dollars and that he would                                Plaintiff contends that his reduction in
                enjoy the regular frnge benefits offered to                      salar and denial of continued
                all University of Tennessee employees.                           employment with the Defendant is a
                1"'3)                                                            violation of the Defendant's tenure policy,
                                                                                 as he was not temiinated for cause, for
                        On or about September 1, 196 J, the                      age, or because of financial exigency.
                Plaintiff was promoted to Associate                              Accordingly, Plaintiff contends that he is
                Professor within the College of                                  entitled to be maintained at his former
                Agrcultue. and continued in his                                  tenured rank of full Professor at the
                assignment with the Agrcultural                                  Institute of Agrcultue and demands
                Experiment Station.                                              reinstatement to said position. Furter the
                                                                                 Plaintiff demands that he be reimbrused
                     Thereafer, the Plaintiff was promoted
                                                                                 for all loss of salar he has incured since
                to Professor and finally, on May 21, 1979,                       December 30, 1981.
                the Plaintiff becae Professor and
                Associate Director of the Comparative
                 Animal Research Laboratory (hereinafter                      Article I, Section 17, of the Constitution of
                 referred to as "CARL")' within the                       Tennessee provides in part as follows: (HNl) "Suits may'
                 University of Tennessee, Institute of                    be brought against the state in such maner and in such
                 Agricultu.                                               cour as the legislatue may by law direct."

                      At the time of his initial employment                   Tennessee Code Annotated § 20-13-102 provides:
                 with the Defendant, the personnel policies
                 of the University of Tennessee, Knoxville
                 capus, stated in par that after a
                 probationar period, not to exceed seven                             (HN2) (a) No court in the state shall
                 (7) years, the teacher would be granted                         have any power, jurisdiction, or authority
                 tenure. Prior to ¡ 971, such action was                         (*5) to entertain any suit against the state,
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 167 of 177                                               PageID 175


                                                                                                                           Page   4
                                                1 986 Tenn. Crim. App. LEXIS 2380, *5



          or against any offcer of the state acting by                     terms are state by the parties, and they
          authority of the state, with a view to reach                     are often said to be implied when their
          the state, its treasur, funds, or propert,                       terms are not so stated. Thus, an implied
          and all such suits shal be dismissed as to                       contract is one inferred from the conduct
          the stae or such offcers, on motion, plea,                       of the paries, though not expressed in

           or demurer of the law offcer of the state,                      words.
           or counsel employed for the state.
                                                                               Contrcts may be implied either in
                (b) No sttutory or other provision
                                                                           law or in fact. Contrcts implied in fact are
           authorizing the University of Teriessee                         inferred from the facts and circumstances
           and its board of trstees to sue and be sued                     of the case, and ar not formally or
           shall constitute a waiver of sovereign                          explicitly stated in words. It is often said
           immunity.                                                       that the only difference between an
                                                                           express contrt and a .contract implied in
                                                                           fact is that in the fonner the parties arrive
        However, (HN3) the legislature has made provision                  at their agreement by "fords, whether oral
   for the state to be sued upon an express contract.                      or wrtten, while in the latter their
                                                                           agreement is arrved at by a consideration
        Tennessee Code Annotated § 29-10-101(0)(1) i at all                of their acts and conduct, and that in both
   times pertinent t.o our inquiry provided:                               of these cases there is, in fact, a contract
                                                                           existing between the paries, the only
                                                                           difference being in the character (*7) of
                                                                           evidence necessar to  establish it. In other
              (H4) The several circuit and ch~cery                         words, in an express contract alI the terms
           cour of Davidson County, Tennessee,
                                                                           and conditions are expressed between the
           shall, subject to appeal as provided by law,                    paries, while in an implied contract some
           have jurisdiction to enter judgments
                                                                           one or more of the terms and conditions
           against the state founded upon any     express
                                                                            are implied from the conduct of the
          . contract or breach thereof with the state                       parties.
           and shall determine all questions of fact
           involved without the intervention of a                    17 Am. JUl'. 2dContracts § 3 (1964).
           jur, subject to the limitations of this
           chapter.                                                      Plaintiffs complaint does not allege express words or
                                                                     wrtings were ever given to him by the defendant which
                                                                     could be considered an express contrct.

            1 TCA. §§ 29-10-101 - 29-10-103 were                         Plaintiffs complaint alleges a de facto tenure
           repealed, effective January i, 1985, by Chapter           contract which arose by implication from the defendant's
           972, § 19(b), Public Acts of 1984.
                                                                     conduct. He alleges that it was an informal system and
                                                                     that tenure was to be inferred by the conduct of the
          (*6) The defendant, (HN5) The University of
    Tennessee, may, pursuant to Tenn. Code Ann. §                    paries at some point not to exceed seven years after
    29-10-101(a)(I), be sued in the chancery or circuit cours
                                                                     initial employment. Plaintiff expressly states in his
                                                                     complaint that no fonnal tenure system existed when he
    of Davidson County upon "express contract or breach
                                                                     was employed.
    thereof," but not upon an implied contrct.
                                                                         If (HN7J there was a written contrct to form the
       The question before us then is', does the plaintiffs
    complaint allege an express or implied contrct.
                                                                     basis of plaintifls claim, he failed to attach it to the
                                                                     complaint as required by Rule LO.03, Teriessee Rules of
                                                                     Civil Procedure.

                                                                         The Chancellor properly held that he was without
              (HN6) Contracts are express when their
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 168 of 177                                              PageID 176

                                                                                                                          Page 5
                                                1986 Tenn. Crim. App. LEXIS 2380, *7



   jurisdiction to entertin plaintiffs complait.                    allegations:

        Plaintiff also complains that the "Trial Cour erred in
   not allowing (*8) the appellant to amend the complaint at
   the time of   the hearing."                                                 "(i) That at the time of the appellant's
                                                                           employment by the University of
        We have seached this recrd and find nothng to                      Tennessee, the university had a policy of
   show that plaintiff atempted to amend his complaint                     automatically grating tenure to anyone
   prior to hearig, at the heaing, or at any time after the                who served longer than seven consecutive
   . bearng.                                                               years.

        The "ORDER OF DISMISSAL" does state "Anual                                 (2) That the appellant was hired in
   appointment letters and a faulty handbook, which                         I 960; on September 1, 1961 he was
   petitioner at oral arguent claims to represent his express              promoted to Associate Professor within
   contract, ar not attched to the complaint as required by                the College of Agriculture; that he
   Tenn. R. Civ. P., Rule No. lO.03,. and are not even,                    ultimately was promoted to Professor, and
   mentioned in the complaint, and are not a par of the                     finally on May 21, 1979 he became
   record."                                                                 Professor and Associate Director of the
                                                                            Compartive Animal Reseach
         It canot be said frm the foregoing that the plaintiff              Laboratory .
   ever moved to amend his complaint or that he even
   offered the letters and faculty handbook for the                                (3) That the appellant therefore
   Chancellor's consideration.                                              acquired tenure with the university. That
                                                                            the appellant's dismissal from the
        The Chancellor cannot be held in error for failing to               university violated the rights he had
    allow an amendment tht was never offered.                               acquired as a tenured teacher."

         Plaintiffs issues are without merit.

                                                                        These allegations in the complaint, it seems to me,
         The judgment of the Chancellor is affirmed with            allege'.an express contract which had continued for the,
    costs assessed against the plaintiff and. the cause             requisite period of time to give the appellant rights as a
    remanded to the Chancery Court for the collection of
                                                                    tenured teacher. Therefore, his termination must be in
    costs and furter necessar proceedings.
                                                                    accrdance with the requirements for dismissal of any
                                                                    tenured teacher. See Chapdelaine vs. Torrence, (* ¡ 0)
    DISSENT BY: CANTLL                                              532 S. W2d 542 (Tenn. 1976).
    DISSENT                                                             1 would agree that the appellant should have attached
                                                                    as exhibits to his complaint the relevant documents,
         BEN H. CANTRELL, Judge.
                                                                    minute entries, or regulations of the university which
         i respectflly dissent from the opinlOn of the              supported his claim. However, I do not think his

   . majority and would hold that (*9) the complaint fied by        complaint should be dismissed for the failure to do so.
    the appellant stated a cause of action which, at least,
                                                                        1 would hold that the complaint states a cause of
    required an answer by the university.
                                                                    action and, therefore, would reverse the action of the
                                                                    cour below.
        . As I read the complaint it makes the following
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 169 of 177   PageID 177
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 170 of 177                                               PageID 178



     VVlaw,
                                                                                                                       Page 1


     Slip Copy, 2010 WL 1754358 (M.D.Tenn.)
     (Cite as: 2010 WL 1754358 (M.D.Tenn.))



     Only the Westlaw citation is curently available.             cepted as true, to 'state a claim to relief   that is plausi-
                                                                 ble on its face.' " Ashcroft v. Iqbal, --- U.S. ----, 129
                    United States District Cour,                  S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009) (quoting
                         M.D. Tennessee,                         Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 550,
                         Nashville Division.                      127 S.e. 1955, 167 L.Ed.2d 929 (2007)). "A claim
         AMRICAN         NATIONAL      PROPERTY AND              has facial plausibility when the plaintiff pleads fac-
              CASUALTY COMPAN, Plaintiff,                        tual content that allows the court to draw the reason-
                                 v.                              able inference that the defendant is liable for the mis-
     CAMBELL INSURCE, INC, et aI., Defendants.                   conduct alleged." Id A complaint must contain either
                                                                 direct or inferential allegations respecting all of the

                          No. 3:08-0604.                         material elements to sustain a recovery under some
                          April 30, 2010.                        viable legal theory. Id. at 944; Scheid v. Fanny
                                                                 Farmer Candy Shops, Inc., 859 F.2d 434, 436 (6th
                                                                 Cir.1988).
     Jonathan D. Rose, Thor Y. Urness, Bradley Arant
     Boult Cummings LLP, Nashville, TN, for Plaintiff.
                                                                       In the counterclaim, Campbell alleged that he en-
                                                                 tered into an Agent Agreement with ANP AC on June
     Steven W. Keyt Benjamin T. Reese, Cherie D.                 16, 1997 ("the 1997 Agreement"). He attached a
     Jewell, Leitner, Williams, Dooley & Napolitan,
                                                                 copy of the 1997 Agreement to the Answer and
     PLLC, Chattooga, TN, Brian C. Neal, John R.                 Counterclaim as Exhibit A. Campbell further alleged
     Wingo, Frost, Brown & Todd, LLC, Nashvile, TN,              that Section iv of the 1997 Agreement provided for
     John R McCan, Melissa Ann Maravich, Taylor A.               post-termination compensation as set fort in an at-
     Cates, Burch, Porter & Johnson, PLLC, Memphis,              tached "Post- Terrination Compensation Schedule."
     TN, for Defendants.                                         The Post-Termination Compensation Schedule pro-
                                                                 vided that payments were to begin within six (60)
                   MEMORAUM and ORDER                            days after termination. Campbell furter alleged he
     ALETA A. TRUGER, Distrct Judge.                             met all requirements for eligibility under paragraph 3.
        *1 Plaintiff American National Propert And               (Docket Entr No. 176, Counterclaim ~~ 1-2.)
     Casualty Company ("ANAC") fied a Motion To
     Dismiss (Docket Entr No. 189) the counterclaim                    Campbell alleged that the 1997 Agreement, in-
     included by Tommy Campbell ("Campbell") in the              cluding the Post-Termination Compensation Sched-
     Answer and Counterclaim (Docket Entr NO.1 76) to            ule, was in full force and effect until Campbell was
     AN AC's Third Amended Complaint (Docket Entr                terminated by ANAC by letter dated June 10,2008.
     No. 160). Defendant Campbell filed a response in            Campbell attched a copy of the termination letter to
     opposition to the motion to dismiss (Docket Entry
                                                                 the Answer and Counterclaim as Exhibit B. Campbell
     No. 192). ANPAC then filed a motion for leave to            fuher alleged that the termination letter, in the note
     file a reply and attached a reply brief. (Docket Entry      at the bottom of page 2, recited language contained in
     No. 198). ANAC's motion for leave to file the reply         the 1997 Agreement which is not contained in the
     brief is granted.                                           Agent Agreement between ANP AC and Campbell
                                                                 Insurance, Inc. Campbell also alleged that the termi-
          In ruling on the motion to dismiss for failure to      nation letter was addressed to him and sent to his
     state a claim under Federal Rule of Civil Procedure         home address as opposed to the business address of
     12(b )(6), the Cour must accept as tre Campbell's           Campbell Insurance, Inc. (Id. ~ 3.)
     allegations as plaintiff against AN AC as defendant
     and constre the allegations in Campbell's favor. See              *2 Campbell furter alleged that ANP AC failed
     Morgan v. Church's Fried Chicken, 829 F.2d 10, 11-          and refused to pay post-termination compensation as
     12 (6th Cir.1987). "To surive a motion to dismiss, a        provided in the 1997 Agreement, and ANAC's fail-
     complaint must contain suffcient factual matter, ac-        ure to honor the 1997 Agreement is a breach of con-




                                  @ 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 171 of 177                                        PageID 179

                                                                                                               Page 2


    Slip Copy, 2010 WL 1754358 (M.D.Tenn.)
    (Cite as: 2010 WL 1754358 (M.D.Tenn.))

    tract. (Id ~ 4.) Finally, Campbell alleged he is enti-      Amended Complaint ~~ 14-15.)
    tled to posttennination compensation as provided in
    the 1997 Agreement, and he seeks damages for                    Campbell contends he is not bound by any ad-
    breach of contract in excess of $75,000.00, along           missions he may have made prior to his Answer and
    with other relief. (Id ~ 5 & Prayer for Relief.)            Counterclaim to the Third Amended Complaint be-
                                                                cause the Third Amended Complaint and his Answer
            ANP AC seeks dismissal of the counterclaim on       and Counterclaim to the Third Amended Complaint
    the ground that the 2005 Agreement signed by                superseded all of the previous pleadings. Under Sixth
     Campbell (attached to the Third Amended Complaint          Circuit law, a statement made in a pleading, even if
     as Exhibit 1, Docket Entr No. 161) expressly super-        the pleading is subsequently amended or superseded,
     seded the 1997 Agreement. ANPAC contends that              can constitute an admission against interest, but the
     Campbell admitted within the four comers of the            pleading containing the admission must be admitted
    pleadings that he, along with Campbell Insurance,           into evidence at trial for the purpose of establishing
    Inc., and Colleen Campbell, entered into the 2005           the admission, and the better practice is for the court
     Agreement. In the Second Amended Complaint, AN-            not to take judicial notice of the admission. Shell v.
    PAC alleged:                                                Parrish, 448 F.2d 528, 530 (6th Cir.1971); Pennsl-
                                                                vania RR Co. v. City a/Girard, 210 F.2d 437, 440
            On Januar 24, 2005, American National entered                                these cases and because the
                                                                (6th Cir.1954). In light of

       into an Agent Agreement with Campbell Insurance,         case is now before the Court on a Rule 12(b)(6) mo-
                                                                tion to dismiss, the Court will not resolve-solely on
       Tommy Campbell and Colleen Campbell (the
       "Agent Agreement'). A tre and correct copy of            the pleadings and without competent evidence-
       the Agent Agreement is attached hereto as Exhibit        whether Campbell's statements made in prior plead-
       1.                                                       ings amount to admissions against interest.


            (Docket Entr No. 66, Second Amended Com-
                                                                      *3 Even assuming for present purposes that
     plaint ~ 10.) In response to this avennent, Campbell       Campbell entered into the 2005 Agreement as AN-
     and the other Campbell Defendants responded, "Ad-          PAC alleges, Campbell's signature on the 2005
     mitted." (Docket Entry No. 83, Answer to the Second        document alone does not resolve the matters in dis-
     Amended Complaint ~ 10.) ANPAC also points out             pute between the paries. ANAC claims the 1997
     that Campbell himself alleged, in his Second Coun-         Agreement was expressly superseded by the 2005
     terclaim contained within the Second Amended An-           Agreement, and it is true the 2005 Agreement Camp-
     swer (Docket Entr No. 83, Counterclaim at 16 ~ 1),         bell signed says: "This Agreement supersedes any
     that "Campbell Insurance, Inc. and Tommy Campbell          and all previous Agreements of whatever kind be-
     entered into the agency agreement with ANAC on             tween the paries." At first blush, this language would
     Januar 24, 2005." ANPAC furter claims that                 appear to render the 1997 Agreement irrelevant, and
     Campbell admitted he signed the 2005 Agreement             especially its Section IV, which provided for post-
     when he responded to ~~ 14 & 15 of the Third               termination compensation, which is the subject of

     Amended Complaint. However, what Campbell and              Campbell's counterclaim. On further examination,
     the other Campbell Defendants actually said in those       however, it appears that a major difference between
     paragraphs was:                                            the 1997 and 2005 Agreements is the deletion of Sec-
       14. It is admitted that ANPAC entered into an            tion rv in the 2005 Agreement. As a result of the
       agreement with Campbell Insurance on or about            deletion of Section IV, the sections of the 2005

       Januar 24, 2005. Tommy Campbell and Colleen              Agreement were renumbered accordingly. Conse-
       Campbell signed the agreement as representatives         quently, Section VI in the 1997 Agreement, titled
       of Campbell Insurance.                                   "RESERVED RIGHTS AN CONDITIONS OF
                                                                TH COMPANY," became Section V, with the same
                                                                title and nearly verbatim language, in the 2005
       15. It is admitted that Tommy Campbell and Col-
                                                                Agreement.
       leen Campbell signed the agreement as representa-
       tives of Campbell Insurance.
                                                                      Campbell points to a footnote in the termination
                                                                letter he received from ANAC in June 2008 (Docket
            (Docket Entr No. 176, Answer to Third




                                 @ 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 172 of 177                                        PageID 180


                                                                                                               Page 3


    Slip Copy, 2010 WL 1754358 (M.D.Tenn.)
    (Cite as: 2010 WL 1754358 (M.D.Tenn.))

    Entr No. 176-2) as evidence that ANP AC knew it            tained the language: "This Agreement shall not im-
    was terminating the 1997 Agreement when it sent the        pair your right to monies, if any, eared under a prior
    termination letter addressed only to Campbell at his       Agreement or Agreements with the Company."
    home address. The footnote stated in par:                  Whether the 1997 Agreement was stil. in force and
                                                               not superseded at the time of Campbell's termination

      Additionally, under Section VI-RESERVED                  in June 2008 and whether Campbell is entitled to
      RlGHTS AND CONDITIONS OF TH COM-                         claim post-termination compensation under the 1997
      PAN, ANAC may deduct, from any compensa-                 Agreement are mixed questions of law and fact that
      tion due you, for any and all debts or claims you
                                                               require further factual and legal development.
      have with the Company. Therefore, any commis-
      sions payable are being retainèd by the Company               *4 At this juncture, the allegations of Campbell's
      and applied to your Agent Advance Agreement               counterclaim satisfy the pleading standards of Iqbal
      (AA) deficit.                                             and Twombly. Campbell alleges the elements of a
                                                                breach of contract claim and suffcient facts to sup-
                                                                port the claim. See BancorpSouth Bank, Inc. v Hat-
         (Id. at 2.) Campbell contends the letter's refer-
    ence to Section VI-RESERVED RIGHTS AND                      chel, 223 S.W.3d 223, 227 (Tenn.Ct.App.2006) (ob-
    CONDITIONS OF TH COMPANY could only                         serving elements of breach of contract are: (1) the
    have meant the 1997 Agreement.                              existence of an enforceable contract; (2) nonperform-
                                                                ance amounting to a breach of the contract; and (3)
                                                                damages caused by the breach of contract). Campbell
         ANPAC asserts that Campbell is just tring to
                                                                alleges the existence of a 1997 Agreement with AN-
    capitalize on a typographical error in the footnote of
                                                                PAC which included a provision for Campbell's post-
    the termination letter, noting that "Section VI" should
                                                                termination compensation, a breach of that agreement
    have read "Section V." Whether the difference in
                                                                due to ANPAC's failure to pay Campbell any post-
    section numbers can be attbuted to typographical
                                                                termination compensation, and damages resulting
    error requires review of evidence that is not before
                                                                from the breach. Because Campbell's counterclaim
    the Court on a Rule 12(b)(6) motion to dismiss.
                                                                pleads a claim for breach of contract under Tennessee
    Moreover, the 2005 Agreement (in Section V), simi-
                                                                law and Campbell has alleged suffcient facts to sup-
    larly to the 1997 Agreement (in Section VI), provided
                                                                port his clai under Iqbal and Twombly,
    (emphasis added):

    F. SOLE AGREEMENT                                               (1) ANAC's Motion To Dismiss (Docket Entry
                                                                No. 189) is hereby DENID.
         This Agreement, with the atthed Schedules and
         Supplements, constitutes the sole agreement and
         supersedes any and all prior Agreements be-                 (2) ANAC's Motion For Leave To File Reply
         tween you and the Company. This Agreement              To Defendant Tommy Campbell's Response To
         shall not impair your right to monies, if any,         Plaintiffs Motion To Dismiss (Docket Entr No.
         earned under a prior Agreement or Agree-               198) is hereby GRAD and the Clerk is directed
         ments with the Company.                                to file the reply, which appears as an attchment to
                                                                Docket Entr No. 198, under a separate docket entry
                                                                number.
         (Docket Entr No. 161, Ex. 1 at 8.) FNI

             FNl. The only difference in Section F. as              (3) The case is hereby returned to the Magistrate
                                                                Judge for further case management.
             between the two agreements was that the
             2005 Agreement added the words "any and"
             before "all prior Agreements between you               It is so ORDERED.
             and the Company."
                                                                M.D.Tenn.,2010.
         Thus, while both the 1997 and the 2005 Agree-
                                                                American Nat. Propert and Cas. Co. v. Campbell

     ments provided that a later agreement would super-
                                                                Ins., Inc.
     sede all prior agreements, both Agreements also con-       Slip Copy, 2010 WL 1754358 (M.D.Tenn.)




                                (Q 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 173 of 177                  PageID 181


                                                                                        Page 4


    Slip Copy, 2010 WL 1754358 (MD.Tenn.)
    (Cite as: 2010 WL 1754358 (M.D.Tenn.))



    END OF DOCUMNT




                            ig 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 174 of 177   PageID 182
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 175 of 177                                                      PageID 183


                                                                                                                               Page 1




                       LexisNexis@

   o
   Cited.
   As of: Dec 05, 20 1 I

                                    DOUGLAS C. YORK, M.D. v. JOSEPH V. BATSON, ET AL.

                                                           No. M2007-0241S-COA-RJ-CV

                                     COURT OF APPEALS OF T'ENNESSEE, AT NASHVLLE

                                                            2008 Tenn. App. LEXIS 535

                                                              July 17, 200S, Session
                                                             September 16,2008, Filed

   PRIOR mSTORY: (*J)                                                      seller's agent in his dealings with a third par. At no time
     Tenn. R. App. P. 3; Appeal as of Right; Judgment of            the    did the seller propose that the buyer obtan the third par
   Chancery Cour Affrmed. Appeal from the Chancery                         tract in the seller's name. There was no indiCation that thè
   Cour for Wiliamson County. No. 31733. Robert E. Lee                     seller had any control over the buyer. The buyer
   Davies, Judge.                                                          ultimately obtained the third part tract in his own name.
                                                                           The undisputed facts did not support the sellets claim for
                                                                                    estoppel against the buyer. There was no proof



                                                                             , .
   DISPOSITION:                Judgment of the Chancery Cour               equitale

   Affrmed.                                                                tht the buyets conduct was consistent with the terms of
                                                                           the oral agreement. The Statute of Frauds barred the
   CASE SUMMARY:                                                           sellets claim that an enforceable contrct existed between
                                                                           himself and the buyer. The tral court declined to grant
                                                                           summar judgment on the buyers' counterclaim as they
   PROCEDURAL POSTURE: The Chancery Court for                              failed to satisfy the prima facie elements necessary to
   Wiliamson County, Tennessee, gianted appellee buyers'                   establish a claim for wrongful inducement of a breach of
   motion for sumar judgment, dismissing all of                            contrct claim. The seller did not act with malicious
   appellant seller's agency, breah of contract, equitable                 intent in informing the third par of his agreement with
   estoppel, and wrongful inducement of a breach of                        the buyer.
   contract claims, but declined to grant summar judgment
   in favor of the buyers on their counterclaim. The seller                OUTCOME: The judgment was affirmed.
   appealed.
                                                                           LexisNexis(R) Headnotes
   OVERVIEW: The seller argued that the trial cour erred
   in its finding that the buyer was not acting as the seller's
   agent in the purchase of certain real propert and in
   grating his motion for sumar judgment The appellate
   cour concluded that the buyer was not acting as the Civil Procedure;: Summary Judgment;: Burdens of
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 176 of 177                                             PageID 184


                                                                                                                       Page 2
                                               2008 Tenn. App. LEXIS 535, *1



    Production & Proof~ Movanl                                  Principal
    Civu Procedure ~ Summary Judgment ~ Evidence                (H4) An important element of an agency relationship is
    Civu Procedure ~ Summary Judgment ~ Stadards ~              that the object of the contract be for the benefit of the
    Genuine Disput                                              principal The principal test of agency is whether the
    (HNI J It is well setted that a motion for summar           principal has the right to control the conduct of the agent
   jud~ent should be grated when the movant                     with respect to mattrs entrsted to the agent.
   demonstrates that there ar no genuine issues of material     Furtermore, the burden of proof is on the. person
   fact and that the moving part is entitled to a jud~eDt as    attempting to establish an agency that the alleged agent
    a matter of law, Tenn. R. Civ. P. 56.04. The par moving     was in fact the agent of the alleged principal and was
    for summar judgment bear the burden of demonstrating        authorized to do the acts done.
   that no genuine issue of material fact exists. On a motion
   for summar judgment, the cour must tae the strongest
                                                                Contacts Law ~ Stauts of Fraud ~ General Overvie
   legitimate view of evidence in favor of the nonmoving
                                                                (H5) See Tenn. Code Ann. §29-2-lOJ(a)(4) (Supp.
   par, allow all reasonable inferènces in favor of that
                                                                2007).
   par, and disc.d all countervailing evidence.


                                                                Contract Law ~ Defenses ~ Equitable Estoppel ~
   Civu Procedure;: Summary Ju.dgment ~ Burdens of
                                                                Statutes of Frauds
   Production & Proof~ Nonmovants
                                                                Contracts Law ~ Statutes of Frauds ~ Exteptions ~
   Civu Procedure ~ Summary Judgment ~ Standards ~
                                                                Partal Performance
    Genuine Disputes
                                                                (HN6J The purpose of the Statute of Frauds, Tenn. Code
   (HN2J Once it is shown by the moving par that there is
                                                                Ann. §2P-2-JOJ(a)(1), is to reduce contracts to a certnty
   no genuine issue of material fact, the nonmoving par
                                                                in order to avoid peijuiy on one hand and frud on the
   must then demonstrate, by affdavits or discovery
                                                                other. It is wen settled in Tennessee that an oral contract
   materia~ that there is a genuine, material fact dispute to
                                                                for the sale of land win not be enforced on the basis of
   warant a tral. In this regard, Rule 56.05 provides th the
                                                                partal performance, nor wil parial pedormance take an
   nonmoving part cannot. simply rely upon his pleaings
                                                                oral agreement out of the Statute of Frauds. The
   but must set fort specific fa showing that there is a
                                                                harshness of this. rue has, however, been eased by the
   genuine issue of material fact for tral.
                                                                application of the doctre of equitable estoppel.
                                                                Equitable estoppel is only anowed as an exception to the
    Civu Procedure ~ Summary Judgment ~ Appellate               Statute óf Frauds. in exceptional cases where to enforce
   Review ~ Stanrds of Review                                   the Statute of Frauds would make it an instrent of
   Civu Procedure ~ Summary Judgment ~ Standards ~              hardship and oppression, verging on actual             frud:
   Approprueness                                                Equitale estoppel, in the modem sense, arises from the
   CcVil Procedure ~ Appeals ~ Sumdards of Review ~ Dé          'conduct' of the par, using that word in its broadest
   Novo   Revie                                                 meaing, as including his spoken or written words, his
    (HN3) Summary judgment is only appropriate when the         positive acts, and     his silence or negative omission to do
   facts and the legal conclusions drawn from the facts         anyting. Its foundation is justice and good conscience.
   reasonably permit only one conclusion. Because only          Its object is to prevent the unconscientious imd
   questions of law are involved, there is no presumption of    inequitable assertion or enforcement of claims or rights
   correctness regarding a tral cour's grant or denial of       whcb might have existed or been enforceable by other
   summar judgment. Therefore, the appellate court's            rules of law unless prevented by an estoppel; and its
   review of the tral cour's grant of summary judgment is-      practical effect is, from motives of equity and fair
   de novo on the record before the appellate court.            dealing, to create and vest opposing rights in the part
                                                                who obtains the benefit of the estoppel.

   Business & Corporate Law ~ Agency Relationships ~
    Causes of Actú:m & Remedies ~ Burdens of Proof              Contracts Law ~ Defenses ~ EquitalJle Estoppel ~
   Business & Corporate Law ~ Agency Relaionships ~             Statutes of Fraud
   Establihment ~ Elements ~ Right to Control lJy               (HN7) Because the doctnne of equitable estoppel only
Case 2:12-cv-02344-JPM-dkv Document 1-2 Filed 05/02/12 Page 177 of 177                                              PageID 185

                                                                                                                       Page 3
                                                   2008 Tenn. App. LEXIS 535, *'1




   applies in extrordinar cases as. a bar to the Statute of         JUDGES: J. STEVEN STAFFORD, J., delivered the
   Frauds, Tenn. Code Ann. §29-2-101(a)(4), the following           opinon of the cour in which ALAN E. HIGHERS, P.J.,
   must be shown with resect to the par iiainst whom                W.S., and HOLLY M. KIY, J., joined.
   estoppel is asserted: 1. Conduct which amounts to a false
   representation or. concealment of material facts; 2.             OPINION BY: J. STEVEN STAFFORD
   Intention, or at leat expectation, that such conduct shall
   be acted upon by the other par; and 3. Knowledge of              OPINION
   the real facts.
                                                                         This is a summar judgment case. Appellant and
                                                                    Appellee entered into an oral agreement for the exchange
    Contract Law:; Defenses:; Equi1able Estoppel :;                 of land. Appellee negotiated the purchase of the propert
  . Stautes of Fraud                                                with a third par which he then was to .exchange with

   (H8) Equitale estoppel also requires that the following          Appellant. When Appellee decided to keep the propert
   elements be shown with respect to the par asserting              for himself, Appellat filed suit, alleging agency, breach
   estoppel: 1. Lack of knowledge and the means of                  of contract, equitale estoppel, and wrongfl inducement
   knowledge of the trth as to the facts in question; 2.            of a breach of contract. Appellees filed a counter-claim

   Reliance upon the conduct of the par estopped; and 3.            for wrongful inducement of a breach of contract. The trial
   Action based thereon of such a character as to change his        cour grated Appellees' motion for sumar judiment,
   or her position prejudicially.                                   dismissing all of Appellants claims, but declined to grant
                                                                    summar judgment in. favor . of Appellees on their
                                                                    counter-claim. Finding no error, we affirm.

    of   Claims .
    Contracts La :; Breach:; Causes of Action :: Elements


    Contracts Law :: Third Parties :: General      Overview
                                                                    OPINION

    (HN9) See Tenn. Code Ann §47-50-1 09.                               Appellant. (*2) Douglas C. York, M.D. is the owner
                                                                    of a ten-acre trct of unimproved land located at the
                                                                    intersection of Highway 96 Eat and Trinity Road in
    Contracts Law :: Breach :: Causes of Action:; Elements          Wiliamson County (the "York Tract;'). In 2004, Appellee
    of   Claim                                                      Joseph V. Batson and Appellee Claudine Dmeke were
    Contracts Law :; Third Parties:; General Overview               looking for undevelope land on which to build a house.
    (HNIO) In Tennessee, there is both a common law and a           Mr. Batson wrote to Dr.' York, expressing his interest in
    statutory tort caIled wrongful inducement of breach of          the York Tract. Dr. York responded that the York Tract
    contract that allows recovery when a thrd par causes a          was not for sale.
    breach of    contract, Tenn.   Code Ann. § 47-50-109.

                                                                         Dr. York also owns a one-hundred-acre farm in
                                                                    Williamson County. In 2004, he was interested in
    Contracts Law:; Breach:; Causes of Action ~ Elements
                                                                    expanding his far by acquiring adjoining land. One of
    of   Claims
                                                                     the parcels adjoining Dr. York was owned by Gar D.
    (Hll) In addition to the existence ofa legal contract, in
                                                                    Kiviniemi (the "Kiviniemi Tract"). i
    order to establish a cause of action for wrongfl
     inducement of a breach of contrct, the plaintiff must also             1 Several years prior, Mr. Kiviniemi had leased
    prove that: (l) the alleged wrorigdoer was aware Qf the                propert from Dr. York. Mr. Kiviniemi had fallen
     contract; (2) the alleged wrngdoer maliciously intended               behind on his rents, and Dr. York had evicted him
     to induce a breach; (3) that, as a proximate result of the            from the propert. Because of this "bad blood,"
     wrongdoer's action, a breach actually occured, and (4)                Dr. York initially decided to approach Mr.
     the plaintiff suffered damage.                                        Kiviniemí about purchasing his propert though
                                                                           an intermediary Wayne Jones. Mr. Kiviniemi told
     COUNSEL: Emily K. Moore, Fraklin,lN, Appellant.                        Mr. Jones that he would sell the proper for $
                                                                            222,000; however, Mr. Kiviniemi ultimately
     Douglas S. Hale, Fralin, IN, Appellant.
                                                                            broke off åiscussions with Mr. Jones.
     Thomas J. Elmlinger, Nashville, TN, Appellees.
